                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF WISCONSIN
                        MILWAUKEE DIVISION

                                          )
WALWORTH COUNTY, WISCONSIN,               )
                                          )
                             Plaintiff,   )
                                          )
v.                                        )   CIVIL ACTION NO.: 18-CV-1181
                                          )
AMERISOURCEBERGEN DRUG                    )
CORPORATION; CARDINAL HEALTH,             )
INC.; McKESSON CORPORATION;               )
PURDUE PHARMA L.P.; PURDUE                )
PHARMA, INC.; THE PURDUE FREDERICK        )
COMPANY, INC.; TEVA                       )
PHARMACEUTICAL INDUSTRIES, LTD.;          )               COMPLAINT
TEVA PHARMACEUTICALS USA, INC.;           )
CEPHALON, INC.; JOHNSON & JOHNSON;        )       Complaint for Public Nuisance;
JANSSEN PHARMACEUTICALS, INC.;            )   Violations of Racketeer Influenced and
ORTHO-MCNEIL-JANSSEN                      )   Corrupt Organizations Act (RICO), 18
PHARMACEUTICALS, INC. n/k/a JANSSEN       )
                                               U.S.C. § 1961 et seq.; Violations of 18
PHARMACEUTICALS, INC.; JANSSEN            )
PHARMACEUTICA INC. n/k/a JANSSEN          )   U.S.C. § 1962 et seq.; Violations of the
PHARMACEUTICALS, INC.; NORAMCO,           )    Wisconsin Deceptive Trade Practices
INC.; ENDO HEALTH SOLUTIONS INC.;         )   Act, Wis. Stat. § 100.18; Negligence and
ENDO PHARMACEUTICALS, INC.;               )        Negligent Misrepresentation;
ALLERGAN PLC f/k/a ACTAVIS PLC;           )   Negligence Per Se; Strict Responsibility
WATSON PHARMACEUTICALS, INC. n/k/a        )        Misrepresentation; Fraud and
ACTAVIS, INC.; WATSON                     )
                                                Fraudulent Misrepresentation; and
LABORATORIES, INC.; ACTAVIS LLC;          )
ACTAVIS PHARMA, INC. f/k/a WATSON         )             Unjust Enrichment
PHARMA, INC.; MALLINCKRODT PLC ;          )
MALLINCKRODT LLC; INSYS                   )
THERAPEUTICS, INC.; CVS HEALTH            )
CORP.; WALGREENS BOOTS ALLIANCE,          )
INC.; and WAL-MART, INC.                  )
                                          )
                           Defendants.    )
                                          )
                                          )
                                          )   JURY TRIAL DEMANDED AND
                                          )   ENDORSED HEREON
                                          )




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           - 18 U.S.C. § 1961, et seq. (Against Defendants Purdue, Cephalon, Endo, Mallinckrodt,
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         Plaintiff, WALWORTH COUNTY, WISCONSIN, brings this Complaint against

Defendants Purdue Pharma L.P.; Purdue Pharma, Inc.; The Purdue Frederick Company, Inc.;

Teva Pharmaceutical Industries, LTD.; Teva Pharmaceuticals USA, Inc.; Cephalon, Inc.;

Johnson & Johnson; Janssen Pharmaceuticals, Inc.; Ortho-McNeil-Janssen Pharmaceuticals, Inc.

n/k/a Janssen Pharmaceuticals, Inc.; Janssen Pharmaceutica Inc. n/k/a Janssen Pharmaceuticals,

Inc.; Noramco, Inc.; Endo Health Solutions Inc.; Endo Pharmaceuticals, Inc.; Allergan PLC f/k/a

Actavis PLC; Watson Pharmaceuticals, Inc. n/k/a Actavis, Inc.; Watson Laboratories, Inc.;

Actavis, LLC; Actavis Pharma, Inc. f/k/a Watson Pharma, Inc.; Mallinckrodt PLC; Mallinckrodt

LLC;      Insys     Therapeutics,        Inc.,    McKesson         Corporation;       Cardinal      Health,      Inc.;

AmerisourceBergen Drug Corporation; CVS Health Corporation; Walgreens Boots Alliance, Inc.

a/k/a Walgreen Co., and Wal-Mart Inc., f/k/a Wal-Mart Stores, Inc. (collectively “Defendants”)

and alleges as follows:

                                           I.    INTRODUCTION

         1.     Plaintiff brings this civil action to eliminate the hazard to public health and safety

caused by the opioid epidemic, to abate the nuisance caused thereby, and to recoup monies that

have been spent because of Defendants’ false, deceptive and unfair marketing and/or unlawful

diversion of prescription opioids.1 Such economic damages were foreseeable to Defendants and

were sustained because of Defendants’ intentional and/or unlawful actions and omissions.

         2.     Opioid analgesics are widely diverted and improperly used, and the widespread

abuse of opioids has resulted in a national epidemic of opioid overdose deaths and addictions.2



1
 As used herein, the term “opioid” refers to the entire family of opiate drugs including natural, synthetic and semi-
synthetic opiates.
2
 See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain—Misconceptions and Mitigation
Strategies, 374 N. Eng. J. Med. 1253 (2016).




                                          1
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        3.     The opioid epidemic is “directly related to the increasingly widespread misuse of

powerful opioid pain medications.”3

        4.     Plaintiff brings this suit against the manufacturers of prescription opioids. The

manufacturers aggressively pushed highly addictive, dangerous opioids, falsely representing to

doctors that patients would only rarely succumb to drug addiction. These pharmaceutical

companies aggressively advertised to and persuaded doctors to prescribe highly addictive,

dangerous opioids, turning patients into drug addicts for their own corporate profit. Such actions

were intentional and/or unlawful.

        5.     Plaintiff also brings this suit against the wholesale distributors of these highly

addictive drugs. The distributors and manufacturers intentionally and/or unlawfully breached

their legal duties under federal and state law to monitor, detect, investigate, refuse and report

suspicious orders of prescription opiates.

                                             II.     PARTIES

    A. PLAINTIFF.

        6.     Plaintiff, WALWORTH COUNTY, WISCONSIN, (“Walworth County” or

“Plaintiff”) is a body corporate of the State of Wisconsin, and is authorized to bring the causes of

action brought herein. Wis. Stat. § 59.01.

        7.     Plaintiff is responsible for the public health, safety and welfare of its citizens.

        8.     Plaintiff has declared, inter alia, that opioid abuse, addiction, morbidity and

mortality has created a serious public health and safety crisis, and is a public nuisance, and that

the diversion of legally produced controlled substances into the illicit market causes or

contributes to this public nuisance.


3 See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J. Med. 1480 (2016).




                                         2
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       9.    The distribution and diversion of opioids into Wisconsin (“the State”), and into

Walworth County and surrounding areas (collectively, “Plaintiff’s Community”), created the

foreseeable opioid crisis and opioid public nuisance for which Plaintiff here seeks relief.

       10.   Plaintiff directly and foreseeably sustained all economic damages alleged herein.

Defendants’ conduct has exacted a financial burden for which the Plaintiff seeks relief.

Categories of past and continuing sustained damages include, inter alia,: (1) costs for providing

medical care, additional therapeutic, and prescription drug purchases, and other treatments for

patients suffering from opioid-related addiction or disease, including overdoses and deaths; (2)

costs for providing treatment, counseling, and rehabilitation services; (3) costs for providing

treatment of infants born with opioid-related medical conditions; (4) costs associated with law

enforcement and public safety relating to the opioid epidemic; (5) and costs associated with

providing care for children whose parents suffer from opioid-related disability or incapacitation.

These damages have been suffered, and continue to be suffered directly, by the Plaintiff.

       11.   Plaintiff also seeks the means to abate the epidemic created by Defendants’

wrongful and/or unlawful conduct.

       12.   Plaintiff has standing to bring an action for the opioid epidemic nuisance created by

Defendants. See, e.g., Wis. Stat. § 823.01 (“Any . . . county, . . . may maintain an action to

recover damages or to abate a public nuisance from which injuries peculiar to the complainant

are suffered, so far as necessary to protect the complainant’s rights and to obtain an injunction to

prevent the same.”).

       13.   Plaintiff has standing to recover damages incurred as a result of Defendants’

actions and omissions. Plaintiff has standing to bring all claims pled herein, including, inter alia,

to bring claims under the federal RICO statute, pursuant to 18 U.S.C. § 1961(3) (“persons”




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include entities which can hold legal title to property) and 18 U.S.C. § 1964 (“persons” have

standing).

   B. DEFENDANTS.

             1. Manufacturer Defendants.

       14.    The Manufacturer Defendants are defined below. At all relevant times, the

Manufacturer Defendants have packaged, distributed, supplied, sold, placed into the stream of

commerce, labeled, described, marketed, advertised, promoted and purported to warn or

purported to inform prescribers and users regarding the benefits and risks associated with the use

of the prescription opioid drugs. The Manufacturer Defendants, at all times, have manufactured

and sold prescription opioids without fulfilling their legal duty to prevent diversion and report

suspicious orders.

       15.    PURDUE PHARMA L.P. is a limited partnership organized under the laws of

Delaware. PURDUE PHARMA INC. is a New York corporation with its principal place of

business in Stamford, Connecticut, and THE PURDUE FREDERICK COMPANY, INC. is a

Delaware corporation with its principal place of business in Stamford, Connecticut (collectively,

“Purdue”).

       16.    Purdue manufactures, promotes, sells, and distributes opioids such as OxyContin,

MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER, and Targiniq ER in the United States.

OxyContin is Purdue’s best-selling opioid. Since 2009, Purdue’s annual nationwide sales of

OxyContin have fluctuated between $2.47 billion and $2.99 billion, up four-fold from its 2006

sales of $800 million. OxyContin constitutes roughly 30% of the entire market for analgesic

drugs (painkillers).

       17.    CEPHALON, INC. is a Delaware corporation with its principal place of business in

Frazer, Pennsylvania. TEVA PHARMACEUTICAL INDUSTRIES, LTD. (“Teva Ltd.”) is an


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Israeli corporation with its principal place of business in Petah Tikva, Israel. In 2011, Teva Ltd.

acquired Cephalon, Inc. TEVA PHARMACEUTICALS USA, INC. (“Teva USA”) is a Delaware

corporation and is a wholly owned subsidiary of Teva Ltd. in Pennsylvania. Teva USA acquired

Cephalon in October 2011.

        18.    Cephalon, Inc. manufactures, promotes, sells, and distributes opioids such as Actiq

and Fentora in the United States. Actiq has been approved by the FDA only for the “management

of breakthrough cancer pain in patients 16 years and older with malignancies who are already

receiving and who are tolerant to around-the-clock opioid therapy for the underlying persistent

cancer pain.”4 Fentora has been approved by the FDA only for the “management of breakthrough

pain in cancer patients 18 years of age and older who are already receiving and who are tolerant

to around-the-clock opioid therapy for their underlying persistent cancer pain.” 5 In 2008,

Cephalon pled guilty to a criminal violation of the Federal Food, Drug and Cosmetic Act for its

misleading promotion of Actiq and two other drugs, and agreed to pay $425 million.6

        19.    Teva Ltd., Teva USA, and Cephalon, Inc. work together closely to market and sell

Cephalon products in the United States. Teva Ltd. conducts all sales and marketing activities for

Cephalon in the United States through Teva USA and has done so since its October 2011

acquisition of Cephalon. Teva Ltd. and Teva USA hold out Actiq and Fentora as Teva products

to the public. Teva USA sells all former Cephalon branded products through its “specialty

medicines” division. The FDA-approved prescribing information and medication guide, which is

4
  Highlights of Prescribing Information, ACTIQ® (fentanyl citrate) oral transmucosal lozenge, CII (2009),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2009/020747s030lbl.pdf.
5
  Highlights of Prescribing Information, FENTORA® (fentanyl citrate) buccal tablet, CII (2011),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2012/021947s015lbl.pdf.
6
  Press Release, U.S. Dep’t of Justice, Biopharmaceutical Company, Cephalon, to Pay $425 Million & Enter Plea to
Resolve Allegations of Off-Label Marketing (Sept. 29, 2008),
https://www.justice.gov/archive/opa/pr/2008/September/08-civ-860.html.




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distributed with Cephalon opioids, discloses that the guide was submitted by Teva USA, and

directs physicians to contact Teva USA to report adverse events.

          20.     All of Cephalon’s promotional websites, including those for Actiq and Fentora,

display Teva Ltd.’s logo.7 Teva Ltd.’s financial reports list Cephalon’s and Teva USA’s sales as

its own, and its year-end report for 2012 – the year immediately following the Cephalon

acquisition – attributed a 22% increase in its specialty medicine sales to “the inclusion of a full

year of Cephalon’s specialty sales,” including, inter alia, sales of Fentora®.8 Through

interrelated operations like these, Teva Ltd. operates in the United States through its subsidiaries

Cephalon and Teva USA. The United States is the largest of Teva Ltd.’s global markets,

representing 53% of its global revenue in 2015, and, were it not for the existence of Teva USA

and Cephalon, Inc., Teva Ltd. would conduct those companies’ business in the United States

itself. Upon information and belief, Teva Ltd. directs the business practices of Cephalon and

Teva USA, and their profits inure to the benefit of Teva Ltd. as controlling shareholder. Teva

Pharmaceutical Industries, Ltd., Teva Pharmaceuticals USA, Inc., and Cephalon, Inc. are

referred to as “Cephalon.”

          21.     JANSSEN PHARMACEUTICALS, INC. is a Pennsylvania corporation with its

principal place of business in Titusville, New Jersey, and is a wholly owned subsidiary of

JOHNSON & JOHNSON (J&J), a New Jersey corporation with its principal place of business in

New Brunswick, New Jersey. NORAMCO, INC. (“Noramco”) is a Delaware company

headquartered in Wilmington, Delaware and was a wholly owned subsidiary of J&J until July

2016. ORTHO-MCNEIL-JANSSEN PHARMACEUTICALS, INC., now known as JANSSEN

7
    E.g., ACTIQ, http://www.actiq.com/ (displaying logo at bottom-left) (last visited Jan. 16, 2018).
8
 Teva Ltd., Annual Report (Form 20-F) 62 (Feb. 12, 2013),
http://annualreports.com/HostedData/AnnualReportArchive/t/NASDAQ_TEVA_2012.pdf.




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PHARMACEUTICALS, INC., is a Pennsylvania corporation with its principal place of business

in Titusville, New Jersey. JANSSEN PHARMACEUTICA INC., now known as JANSSEN

PHARMACEUTICALS, INC., is a Pennsylvania corporation with its principal place of business

in Titusville, New Jersey. J&J is the only company that owns more than 10% of Janssen

Pharmaceuticals’ stock, and corresponds with the FDA regarding Janssen’s products. Upon

information and belief, J&J controls the sale and development of Janssen Pharmaceuticals’ drugs

and Janssen’s profits inure to J&J’s benefit. Janssen Pharmaceuticals, Inc., Ortho-McNeil-

Janssen Pharmaceuticals, Inc., Janssen Pharmaceutica, Inc., Noramco, and J&J are referred to as

“Janssen.”

       22.   Janssen manufactures, promotes, sells, and distributes drugs in the United States,

including the opioid Duragesic (fentanyl). Before 2009, Duragesic accounted for at least $1

billion in annual sales. Until January 2015, Janssen developed, marketed, and sold the opioids

Nucynta (tapentadol) and Nucynta ER. Together, Nucynta and Nucynta ER accounted for $172

million in sales in 2014.

       23.   ENDO HEALTH SOLUTIONS INC. is a Delaware corporation with its principal

place of business in Malvern, Pennsylvania. ENDO PHARMACEUTICALS INC. is a wholly

owned subsidiary of Endo Health Solutions Inc. and is a Delaware corporation with its principal

place of business in Malvern, Pennsylvania. Endo Health Solutions Inc. and Endo

Pharmaceuticals Inc. are referred to as “Endo.”

       24.   Endo develops, markets, and sells prescription drugs, including the opioids

Opana/Opana ER, Percodan, Percocet, and Zydone, in the United States. Opioids made up

roughly $403 million of Endo’s overall revenues of $3 billion in 2012. Opana ER yielded $1.15

billion in revenue from 2010 and 2013, and it accounted for 10% of Endo’s total revenue in




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2012. Endo also manufactures and sells generic opioids such as oxycodone, oxymorphone,

hydromorphone, and hydrocodone products in the United States, by itself and through its

subsidiary, Qualitest Pharmaceuticals, Inc.

       25.   ALLERGAN PLC is a public limited company incorporated in Ireland with its

principal place of business in Dublin, Ireland. ACTAVIS PLC acquired ALLERGAN PLC in

March 2015, and the combined company changed its name to ALLERGAN PLC in January

2013. Before that, WATSON PHARMACEUTICALS, INC. acquired ACTAVIS, INC. in

October 2012, and the combined company changed its name to Actavis, Inc. as of January 2013

and then ACTAVIS PLC in October 2013. WATSON LABORATORIES, INC. is a Nevada

corporation with its principal place of business in Corona, California, and is a wholly-owned

subsidiary of ALLERGAN PLC (f/k/a Actavis, Inc., f/k/a Watson Pharmaceuticals, Inc.).

ACTAVIS PHARMA, INC. (f/k/a Actavis, Inc.) is a Delaware corporation with its principal

place of business in New Jersey and was formerly known as WATSON PHARMA, INC.

ACTAVIS LLC is a Delaware limited liability company with its principal place of business in

Parsippany, New Jersey. Each of these defendants is owned by ALLERGAN PLC, which uses

them to market and sell its drugs in the United States. Upon information and belief, ALLERGAN

PLC exercises control over these marketing and sales efforts and profits from the sale of

Allergan/Actavis products ultimately inure to its benefit. ALLERGAN PLC, ACTAVIS PLC,

ACTAVIS, Inc., Actavis LLC, Actavis Pharma, Inc., Watson Pharmaceuticals, Inc., Watson

Pharma, Inc., and Watson Laboratories, Inc. are referred to as “Actavis.”

       26.   Actavis manufactures, promotes, sells, and distributes opioids, including the

branded drugs Kadian and Norco, a generic version of Kadian, and generic versions of Duragesic




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and Opana, in the United States. Actavis acquired the rights to Kadian from King

Pharmaceuticals, Inc. on December 30, 2008, and began marketing Kadian in 2009.

       27.   MALLINCKRODT, PLC is an Irish public limited company headquartered in

Staines-upon-Thames, United Kingdom, with its U.S. headquarters in St. Louis, Missouri.

MALLINCKRODT, LLC is a limited liability company organized and existing under the laws of

the State of Delaware. Mallinckrodt, LLC is a wholly owned subsidiary of Mallinckrodt, PLC.

Mallinckrodt, PLC and Mallinckrodt, LLC are referred to as “Mallinckrodt.”

       28.   Mallinckrodt manufactures, markets, and sells drugs in the United States including

generic oxycodone, of which it is one of the largest manufacturers. In July 2017 Mallinckrodt

agreed to pay $35 million to settle allegations brought by the Department of Justice that it

failed to detect and notify the DEA of suspicious orders of controlled substances.

       29.   INSYS THERAPEUTICS, INC. is a Delaware corporation with its principal place

of business in Chandler, Arizona. Insys’s principal product and source of revenue is Subsys.

       30.   Insys made thousands of payments to physicians nationwide, including in the State,

ostensibly for activities including participating on speakers’ bureaus, providing consulting

services, assisting in post-marketing safety surveillance and other services, but in fact to

deceptively promote and maximize the use of opioids.

       31.   Subsys is a transmucosal immediate-release formulation (TIRF) of fentanyl,

contained in a single-dose spray device intended for oral, under the tongue administration.

Subsys was approved by the FDA solely for the treatment of breakthrough cancer pain.

       32.   In 2016, Insys made approximately $330 million in net revenue from Subsys. Insys

promotes, sells, and distributes Subsys throughout the United States, the County, and Plaintiff’s

Community.




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       33.     Insys’s founder and owner was recently arrested and charged, along with other

Insys executives, with multiple felonies in connection with an alleged conspiracy to bribe

practitioners to prescribe Subsys and defraud insurance companies. Other Insys executives and

managers were previously indicted.

             2. Distributor Defendants.

       34.     The Distributor Defendants also are defined below. At all relevant times, the

Distributor Defendants have distributed, supplied, sold, and placed into the stream of commerce

the prescription opioids, without fulfilling the fundamental duty of wholesale drug distributors to

detect and warn of diversion of dangerous drugs for non-medical purposes. The Distributor

Defendants universally failed to comply with federal and/or state law. The Distributor

Defendants are engaged in “wholesale distribution,” as defined under state and federal law.

Plaintiff alleges the unlawful conduct by the Distributor Distributors is responsible for the

volume of prescription opioids plaguing Plaintiff’s Community.

       35.     McKESSON CORPORATION (“McKesson”) and its subsidiaries at all relevant

times, operated as a licensed wholesale distributor in Wisconsin, licensed by the Wisconsin

Pharmacy Examining Board. McKesson is a Delaware corporation. McKesson has its principal

place of business located in San Francisco, California. McKesson operates distribution centers in

Windsor, Wisconsin.

       36.     CARDINAL HEALTH, INC. (“Cardinal”) and its subsidiaries at all relevant times,

operated as a licensed wholesale distributor in Wisconsin, licensed by the Wisconsin Pharmacy

Examining Board. Cardinal’s principal office is located in Dublin, Ohio. Cardinal operates a

distribution center in Hudson, Wisconsin.

       37.     AMERISOURCEBERGEN DRUG CORPORATION (“AmerisourceBergen”) at

all relevant times, operated as a licensed wholesale distributor in Wisconsin, licensed by the


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Wisconsin Pharmacy Examining Board. AmerisourceBergen is a Delaware corporation and its

principal place of business is located in Chesterbrook, Pennsylvania.

         38.   Defendant CVS HEALTH CORPORATION is a Delaware corporation with its

principal place of business in Rhode Island. CVS Health Corporation conducts business as a

licensed wholesale distributor under the following named business entities: CVS Indiana, L.L.C.;

CVS Orlando FL Distribution; CVS Pharmacy, Inc.; CVS RX Services, Inc., d/b/a CVS

Pharmacy Distribution Center; CVS TN Distribution, LLC ; and CVS VERO FL Distribution,

L.L.C. (collectively “CVS”).      At all times relevant to this Complaint, CVS distributed

prescription opioids throughout the United States, including in the State and the County and

Plaintiff’s Community specifically. At all relevant times, this Defendant operated as a licensed

wholesale distributor in Wisconsin, licensed by the Wisconsin Pharmacy Examining Board.

         39.   Defendant WALGREENS BOOTS ALLIANCE, INC., also known as Walgreen

Co. (“Walgreens”) is a Delaware corporation with its principal place of business in Illinois.

Walgreens Boots Alliance Inc. conducts business as a licensed wholesale distributor under the

following named business entities: Walgreen Co.; Walgreen Eastern Co., Inc.; Walgreen Arizona

Drug Co. (collectively “Walgreens”). At all times relevant to this Complaint, Walgreens

distributed prescription opioids throughout the United States, including in the State, the County

and Plaintiff’s Community specifically. At all relevant times, this Defendant operated as a

licensed wholesale distributor in Wisconsin, licensed by the Wisconsin Pharmacy Examining

Board.

         40.   Defendant WAL-MART INC., formerly known as Wal-Mart Stores, Inc. (“Wal-

Mart”), is a Delaware corporation with its principal place of business in Arkansas. At all times

relevant to this Complaint, Wal-Mart distributed prescription opioids throughout the United




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States, including in the State, the County and Plaintiff’s Community specifically. Wal-Mart

Stores, Inc. conducts business as a licensed wholesale distributor under the following named

business entities: Wal-Mart Warehouse #28; Wal-Mart Warehouse #6045 aka Wal-Mart

Warehouse #45; Wal-Mart Warehouse # 6046 aka Wal-Mart Warehouse #46 (“collectively

“Wal-Mart”). At all relevant times, this Defendant operated a licensed wholesale distributor in

Wisconsin, licensed by the Wisconsin Pharmacy Examining Board.

       41.    Collectively, Defendants CVS, Walgreens, and Wal-Mart are referred to as

“National Retail Pharmacies.”      Cardinal, McKesson, AmerisourceBergen, and the National

Retail Pharmacies are collectively referred to as the “Distributor Defendants.”

       42.    Defendants include the above referenced entities as well as their predecessors,

successors, affiliates, subsidiaries, partnerships and divisions to the extent that they are engaged

in the manufacture, promotion, distribution sale and/or dispensing of opioids.

                            III.    JURISDICTION & VENUE

       43.    This Court has subject matter jurisdiction under 28 U.S.C. § 1331 based upon the

federal claims asserted under the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C.

§ 1961, et seq. (“RICO”). This Court has supplemental jurisdiction over Plaintiff’s state law

claims pursuant to 28 U.S.C. § 1367 because those claims are so related to Plaintiff’s federal

claims that they form part of the same case or controversy.

       44.    This Court also has jurisdiction over this action in accordance with 28 U.S.C. §

1332(a) because the Plaintiff is a “citizen” of this State, the named Defendants are citizens of

different states and the amount in controversy exceeds the sum or value of $75,000, exclusive of

interest and costs.

       45.    This Court has personal jurisdiction over Defendants because they conduct

business in the State, purposefully direct or directed their actions toward the State, some or all


                                        12
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consented to be sued in the State by registering an agent for service of process, they consensually

submitted to the jurisdiction of the State when obtaining a manufacturer or distributor license,

and because they have the requisite minimum contacts with the State necessary to

constitutionally permit the Court to exercise jurisdiction.

        46.     This Court also has personal jurisdiction over all of the defendants under 18 U.S.C.

§ 1965(b). This Court may exercise nation-wide jurisdiction over the named Defendants where

the “ends of justice” require national service and Plaintiff demonstrates national contacts. Here,

the interests of justice require that Plaintiff be allowed to bring all members of the nationwide

RICO enterprise before the court in a single trial. See, e.g., Iron Workers Local Union No. 17

Insurance Fund v. Philip Morris Inc., 23 F. Supp. 2d 796, 803 (N.D. Ohio 1998) (citing LaSalle

National Bank v. Arroyo Office Plaza, Ltd., 1988 WL 23824, *2 (N.D. Ill. Mar 10, 1988);

Butcher’s Union Local No. 498 v. SDC Invest., Inc., 788 F.2d 535, 539 (9th Cir. 1986)).

        47.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 and 18 U.S.C. §1965

because a substantial part of the events or omissions giving rise to the claim occurred in this

District and each Defendant transacted affairs and conducted activity that gave rise to the claim

of relief in this District. 28 U.S.C. § 1391(b); 18 U.S.C. §1965(a).

                                 IV.     FACTUAL BACKGROUND

    A. THE OPIOID EPIDEMIC.

              1. The National Opioid Epidemic.

        48.     The past two decades have been characterized by increasing abuse and diversion of

prescription drugs, including opioid medications, in the United States.9



9
 See Richard C. Dart et al., Trends in Opioid Analgesic Abuse and Mortality in the United States, 372 N. Eng. J.
Med. 241 (2015).




                                         13
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           49.     Prescription opioids have become widely prescribed. By 2010, enough prescription

opioids were sold to medicate every adult in the United States with a dose of 5 milligrams of

hydrocodone every 4 hours for 1 month.10

           50.     By 2011, the U.S. Department of Health and Human Resources, Centers for

Disease Control and Prevention, declared prescription painkiller overdoses at epidemic levels.

The press release noted:

                 a. The death toll from overdoses of prescription painkillers has more than tripled in
                    the past decade.

                 b. More than 40 people die every day from overdoses involving narcotic pain
                    relievers like hydrocodone (Vicodin), methadone, oxycodone (OxyContin), and
                    oxymorphone (Opana).

                 c. Overdoses involving prescription painkillers are at epidemic levels and now kill
                    more Americans than heroin and cocaine combined.

                 d. The increased use of prescription painkillers for nonmedical reasons, along with
                    growing sales, has contributed to a large number of overdoses and deaths. In
                    2010, 1 in every 20 people in the United States age 12 and older—a total of 12
                    million people—reported using prescription painkillers non-medically according
                    to the National Survey on Drug Use and Health. Based on the data from the Drug
                    Enforcement Administration, sales of these drugs to pharmacies and health care
                    providers have increased by more than 300 percent since 1999.

                 e. Prescription drug abuse is a silent epidemic that is stealing thousands of lives and
                    tearing apart communities and families across America.

                 f. Almost 5,500 people start to misuse prescription painkillers every day.11

           51.     The number of annual opioid prescriptions written in the United States is now

roughly equal to the number of adults in the population.12


10
  Katherine M. Keyes at al., Understanding the Rural-Urban Differences in Nonmedical Prescription Opioid Use
and Abuse in the United States, 104 Am. J. Pub. Health e52 (2014).
11
  See Press Release, Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., Prescription
Painkiller Overdoses at Epidemic Levels (Nov. 1, 2011),
https://www.cdc.gov/media/releases/2011/p1101_flu_pain_killer_overdose.html.
12
     See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J. Med. 1480 (2016).




                                           14
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        52.    Many Americans are now addicted to prescription opioids, and the number of

deaths due to prescription opioid overdose is unacceptable. In 2016, drug overdoses killed

roughly 64,000 people in the United States, an increase of more than 22 percent over the 52,404

drug deaths recorded the previous year.13

        53.    Moreover, the CDC has identified addiction to prescription pain medication as the

strongest risk factor for heroin addiction. People who are addicted to prescription opioid

painkillers are forty times more likely to be addicted to heroin.14

        54.    Heroin is pharmacologically similar to prescription opioids. The majority of current

heroin users report having used prescription opioids non-medically before they initiated heroin

use. Available data indicates that the nonmedical use of prescription opioids is a strong risk

factor for heroin use.15

        55.    The CDC reports that drug overdose deaths involving heroin continued to climb

sharply, with heroin overdoses more than tripling in 4 years. This increase mirrors large

increases in heroin use across the country and has been shown to be closely tied to opioid pain

reliever misuse and dependence. Past misuse of prescription opioids is the strongest risk factor

for heroin initiation and use, specifically among persons who report past-year dependence or

abuse. The increased availability of heroin, combined with its relatively low price (compared




13
  See Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., Provisional Counts of Drug
Overdose Deaths, (August 8, 2016), https://www.cdc.gov/nchs/data/health_policy/monthly-drug-overdose-death-
estimates.pdf.
14
  See Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., Today’s Heroin Epidemic,
https://www.cdc.gov/vitalsigns/heroin/index.html (last updated July 7, 2015).
15
 See Wilson M. Compton, Relationship Between Nonmedical Prescription-Opioid Use and Heroin, 374 N. Eng. J.
Med. 154 (2016).




                                        15
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with diverted prescription opioids) and high purity appear to be major drivers of the upward

trend in heroin use and overdose.16

          56.    The societal costs of prescription drug abuse are “huge.”17

          57.    Across the nation, local governments are struggling with a pernicious, ever-

expanding epidemic of opioid addiction and abuse. Every day, more than 90 Americans lose

their lives after overdosing on opioids.18

          58.    The National Institute on Drug Abuse identifies misuse and addiction to opioids as

“a serious national crisis that affects public health as well as social and economic welfare.” 19 The

economic burden of prescription opioid misuse alone is $78.5 billion a year, including the costs

of healthcare, lost productivity, addiction treatment, and criminal justice expenditures.20

          59.    The U.S. opioid epidemic is continuing, and drug overdose deaths nearly tripled

during 1999–2014. Among 47,055 drug overdose deaths that occurred in 2014 in the United

States, 28,647 (60.9%) involved an opioid.21




16
 See Rose A. Rudd et al., Increases in Drug and Opioid Overdose Deaths—United States, 2000–2014, 64
Morbidity & Mortality Wkly. Rep. 1378 (2016).
17
  See Amicus Curiae Brief of Healthcare Distribution Management Association in Support of Appellant Cardinal
Health, Inc., Cardinal Health, Inc. v. United States Dept. Justice, No. 12-5061 (D.C. Cir. May 9, 2012), 2012 WL
1637016, at *10 [hereinafter Brief of HDMA].
18
  Opioid Crisis, NIH, National Institute on Drug Abuse (available at https://www.drugabuse.gov/drugs-
abuse/opioids/opioid-crisis, last visited Sept. 19, 2017) (“Opioid Crisis, NIH”) (citing at note 1 Rudd RA, Seth P,
David F, Scholl L, Increases in Drug and Opioid-Involved Overdose Deaths — United States, 2010–2015, MMWR
MORB MORTAL WKLY REP. 2016;65, doi:10.15585/mmwr.mm655051e1).
19
     Opioid Crisis, NIH.
20
   Id. (citing at note 2 Florence CS, Zhou C, Luo F, Xu L, The Economic Burden of Prescription Opioid Overdose,
Abuse, and Dependence in the United States, 2013, MED CARE 2016;54(10):901-906,
doi:10.1097/MLR.0000000000000625).
21
 See Rose A. Rudd et al., Increases in Drug and Opioid-Involved Overdose Deaths—United States, 2010–2015, 65
Morbidity & Mortality Wkly. Rep. 1445 (2016).




                                           16
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        60.     The rate of death from opioid overdose has quadrupled during the past 15 years in

the United States. Nonfatal opioid overdoses that require medical care in a hospital or emergency

department have increased by a factor of six in the past 15 years.22

        61.     Every day brings a new revelation regarding the depth of the opioid plague: just to

name one example, the New York Times reported in September 2017 that the epidemic, which

now claims 60,000 lives a year, is now killing babies and toddlers because ubiquitous, deadly

opioids are “everywhere” and mistaken as candy.23

        62.     In 2016, the President of the United States declared an opioid and heroin

epidemic.24

        63.     The epidemic of prescription pain medication and heroin deaths is devastating

families and communities across the country.25 Meanwhile, the manufacturers and distributors

of prescription opioids extract billions of dollars of revenue from the addicted American public

while public entities experience hundreds of millions of dollars of injury – if not more – caused

by the reasonably foreseeable consequences of the prescription opioid addiction epidemic.

        64.     The prescription opioid manufacturers and distributors, including the Defendants,

have continued their wrongful, intentional, and unlawful conduct, despite their knowledge that

such conduct is causing and/or contributing to the national, state, and local opioid epidemic.



22
  See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain—Misconceptions and Mitigation
Strategies, 374 N. Eng. J. Med. 1253 (2016).
23
   Julie Turkewitz, ‘The Pills are Everywhere’: How the Opioid Crisis Claims Its Youngest Victims, N.Y. Times,
Sept. 20, 2017 (“‘It’s a cancer,’ said [grandmother of dead one-year old], of the nation’s opioid problem, ‘with
tendrils that are going everywhere.’”).
24
  See Proclamation No. 9499, 81 Fed. Reg. 65,173 (Sept. 16, 2016) (proclaiming “Prescription Opioid and Heroin
Epidemic Awareness Week”).
 See Presidential Memorandum – Addressing Prescription Drug Abuse and Heroin Use, 2015 Daily Comp. Pres.
25

Doc. 743 (Oct. 21, 2015), https://www.gpo.gov/fdsys/pkg/DCPD-201500743/pdf/DCPD-201500743.pdf.




                                         17
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                 2. The Wisconsin Opioid Epidemic.

           65.    Wisconsin has been especially ravaged by the national opioid crisis.

           66.    The Wisconsin State Health Assessment and Health Improvement Plan reports that

between 2005 and 2015—as prescription opioid sales steadily increased—the number of opioid-

related overdose deaths in Wisconsin more than doubled.26 The main cause of drug overdoses is

prescription opioids, which caused six of 10 opioid-related deaths and eight of 10 hospital visits

in Wisconsin.27 By 2015, over two hundred thousand Wisconsin residents aged 12 and older had

used opioids non-medically or illegally—slightly less than the population of Madison,

Wisconsin.28 And from 2010 to 2014, the rate of prescription drug deaths increased by 21

percent in Wisconsin, alongside a 188% increase in the number of deaths from heroin (which is

cheaper and easier for addicts to obtain, and causally related to the use of prescription opioids).29

Three out of four people in Wisconsin who use heroin began their drug abuse using prescription

opioids.30 “In 2014, more than 14,000 hospital visits in Wisconsin were because of opioids, and

almost 3,000 were for opioid overdoses.”31

           67.    The rate of opioid overdose deaths in Wisconsin almost doubled from 2006 to

2015, going up from 5.9 deaths per 100,000 residents in 2006 to 10.7 deaths per 100,000 people




26
  See Wisconsin State Health Assessment and Health Improvement Plan, Priority: Opioids (2015)
https://healthy.wisconsin.gov/healthywifiles/8346-healthy-wi-plan-opioids.pdf (last visited February 5, 2015).
27
     Id.
28
     Id.
29
     Id.
30
     Id.
31
     Id.




                                           18
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in 2015.32       “Prescription opioids have been the main driver of drug overdose deaths and

poisonings.”33 In 2015, almost two-thirds of opioid-related deaths involved prescription drugs.34

           68.   Wisconsin suffered a statistically significant increase in the drug overdose death

rate from 2015 to 2016, according to data from the Centers for Disease Control and Prevention

(CDC).35 The death rate rose by 24.5 percent.36

       Statistically significant drug overdose death rate increase from 2015-2016, US states




           69.   According to the CDC, in 2016, 1,074 people died of drug overdoses in Wisconsin,

for a rate of 19.3 per 100,000 people.37 In 2015, 878 people died from drug overdoses while in

2014, 853 people died.38


32
 Wisconsin Department of Health Services, Select Opioid-Related Morbidity and Mortality Data for Wisconsin,
November 2016, https://www.dhs.wisconsin.gov/publications/p01690.pdf (last visited May 31, 2018).
33
     Id.
34
     Id.
35
   Centers for Disease Control and Prevention, Drug Overdose Death Data, (“2015-2016 Death Increases” tab,
https://www.cdc.gov/drugoverdose/data/statedeaths.html (last visited Feb. 9, 2018).
36
     Id.




                                           19
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           70.     Based on data from emergency room visits from July 2016 to September 2017,

Wisconsin had a 109 percent increase in opioid overdoses, well above the national increase of

29.7 percent.39 That number likely underreports overdoses since many people do not go to the

emergency room.40

           71.     The number of opioid-related hospitalizations also steadily increased from 2006-

2015 in Wisconsin:




37
     Id. at “2016 Deaths” tab.
38
     Id. at “2015 Deaths” tab and “2014 Deaths” tab.
 Alana M. Vivolo-Kantor, et al, Centers for Disease Control and Prevention, “Vital Signs: Trends in Emergency
39

Department Visits for Suspected Opioid Overdoses – United States, July 2016-September 2017,” Morbidity and
Mortality Weekly Report (March 6, 2018), https://www.cdc.gov/mmwr/volumes/67/wr/mm6709e1.htm (last visited
March 7, 2018).
40
  Rob Stein, “Jump In Overdoses Shows Opioid Epidemic Has Worsened,” NPR (March 6, 2018),
https://www.npr.org/sections/health-shots/2018/03/06/590923149/jump-in-overdoses-shows-opioid-epidemic-has-
worsened (last visited March 7, 2018).




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        72.    Neonatal Abstinence Syndrome (NAS), a collection of symptoms newborn babies

experience withdrawing from opioid medications taken by the mother, increased dramatically in

Wisconsin between 2000 and 2013 from 0.4 per 1,000 hospital births in 2000 to 7.9 in 2013.41

From 2006 to 2014 the NAS rate increased 335 percent, from 2.0 to 8.7 per 1,000 live births.42

              3. The Opioid Epidemic in Plaintiff’s Community.

        73.    The opioid epidemic is particularly devastating in Plaintiff’s Community.




 Jean Y. Ko, et al., Incidence of Neonatal Abstinence Syndrome — 28 States, 1999-2013, 65 Morbidity & Mortality
41

Wkly. Rep. 799 (2016).
42
  Wisconsin Department of Health Services, Select Opioid-Related Morbidity and Mortality Data for Wisconsin,
supra, note 32 at 38.




                                        21
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            74.     The number of deaths due to opioids has risen considerably. For example, in 2015,

there were 12 opioid-involved deaths and in 2014 there were 14, up from 5 opioid-related deaths

in 2006.43

            75.     Walworth County also has a high overdose death rate for deaths involving opioids -

a rate of 12.7 deaths per 100,000 residents from 2013 to 2015 with 39 total deaths.44 Walworth

County’s death rate for opioid overdoses increased from 5 deaths per 100,000 residents in 2006

to 13.6 in 2014 and 11.7 in 2015.45

            76.     A high percentage of these opioid-related deaths are due to prescription opioids.

Walworth County had a death rate of 7.8 deaths due to prescription opioid overdoses per 100,000

residents from 2013 to 2015 with 24 total deaths.46 The County has also seen deaths from drug

overdoses involving heroin rise. From 2013 to 2015, there were 12 deaths from heroin.47

            77.     Opioids have also been responsible for a large number of hospitalizations and

emergency department visits in Walworth County. In 2014, the county had 29 inpatient and

emergency hospitalizations visits involving opioids at a rate of 28.2 per 100,000 residents.48

This frequency has more than doubled since 2006 when there were 14 such visits at a rate of 13.9




43
  Wisconsin Department of Health Services, Select Opioid-Related Morbidity and Mortality Data for Wisconsin,
supra at 4.
44
     Id. at 5.
45
     Id. at 4.
46
     Id. at 10.
47
     Id. at 15.
48
     Id. at 19.




                                                22
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per 100,000 residents.49 Of the 98 hospital-encounters involving opioids from 2012 to 2014,50

seventy-five (75) of these were due to prescription opioids.51

            78.   Walworth County also has experienced increased hospital encounters involving

heroin, up from zero in 2006 and 2007 to 10 in 2014.52 From 2012 to 2014, there were 25 such

hospital visits, which is a rate of 8.1 per 100,000 residents.53

            79.   In 2015, Walworth County had 80 ambulance runs in which naloxone was

administered, which is tied for sixth highest in the State with for a rate of 78.1 per 100,000

residents.54 This is down from 95 such runs in 2012.55 From 2013 to 2015 naloxone was

dispensed on 240 ambulance trips.56

            80.   Walworth County’s incidence of neonatal abstinence syndrome rose from two (2)

cases in 2006 to eight (8) each year in 2012, 2013 and 2014.57

       B. THE MANUFACTURER DEFENDANTS’ FALSE, DECEPTIVE, AND UNFAIR
          MARKETING OF OPIOIDS.

            81.   The opioid epidemic did not happen by accident.

            82.   Before the 1990s, generally accepted standards of medical practice dictated that

opioids should only be used short-term for acute pain, pain relating to recovery from surgery, or

for cancer or palliative (end-of-life) care. Due to the lack of evidence that opioids improved


49
     Id.
50
     Id. at 21.
51
     Id. at 27.
52
     Id. at 31.
53
     Id. at 32.
54
     Id. at 36.
55
     Id.
56
     Id. at 37.
57
     Id. at 41.




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patients’ ability to overcome pain and function, coupled with evidence of greater pain complaints

as patients developed tolerance to opioids over time and the serious risk of addiction and other

side effects, the use of opioids for chronic pain was discouraged or prohibited. As a result,

doctors generally did not prescribe opioids for chronic pain.

       83.   Each Manufacturer Defendant has conducted, and has continued to conduct, a

marketing scheme designed to persuade doctors and patients that opioids can and should be used

for chronic pain, resulting in opioid treatment for a far broader group of patients who are much

more likely to become addicted and suffer other adverse effects from the long-term use of

opioids. In connection with this scheme, each Manufacturer Defendant spent, and continues to

spend, millions of dollars on promotional activities and materials that falsely deny or trivialize

the risks of opioids while overstating the benefits of using them for chronic pain.

       84.   The Manufacturer Defendants have made false and misleading claims, contrary to

the language on their drugs’ labels, regarding the risks of using their drugs that: (1) downplayed

the serious risk of addiction; (2) created and promoted the concept of “pseudoaddiction” when

signs of actual addiction began appearing and advocated that the signs of addiction should be

treated with more opioids; (3) exaggerated the effectiveness of screening tools to prevent

addiction; (4) claimed that opioid dependence and withdrawal are easily managed; (5) denied the

risks of higher opioid dosages; and (6) exaggerated the effectiveness of “abuse-deterrent” opioid

formulations to prevent abuse and addiction. The Manufacturer Defendants have also falsely

touted the benefits of long-term opioid use, including the supposed ability of opioids to improve

function and quality of life, even though there was no scientifically reliable evidence to support

the Manufacturer Defendants’ claims.




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           85.    The Manufacturer Defendants have disseminated these common messages to

reverse the popular and medical understanding of opioids and risks of opioid use. They

disseminated these messages directly, through their sales representatives, in speaker groups led

by physicians the Manufacturer Defendants recruited for their support of their marketing

messages, and through unbranded marketing and industry-funded front groups.

           86.    The Manufacturer Defendants’ efforts have been wildly successful. Opioids are

now the most prescribed class of drugs. Globally, opioid sales generated $11 billion in revenue

for drug companies in 2010 alone; sales in the United States have exceeded $8 billion in revenue

annually since 2009.58 In an open letter to the nation’s physicians in August 2016, the then-U.S.

Surgeon General expressly connected this “urgent health crisis” to “heavy marketing of opioids

to doctors . . . [m]any of [whom] were even taught – incorrectly – that opioids are not addictive

when prescribed for legitimate pain.”59 This epidemic has resulted in a flood of prescription

opioids available for illicit use or sale (the supply), and a population of patients physically and

psychologically dependent on them (the demand). And when those patients can no longer afford

or obtain opioids from licensed dispensaries, they often turn to the street to buy prescription

opioids or even non-prescription opioids, like heroin.

           87.    The Manufacturer Defendants intentionally continued their conduct, as alleged

herein, with knowledge that such conduct was creating the opioid nuisance and causing the

harms and damages alleged herein.




58
  See Katherine Eban, Oxycontin: Purdue Pharma’s Painful Medicine, Fortune, Nov. 9, 2011,
http://fortune.com/2011/11/09/oxycontin-purdue-pharmas-painful-medicine/; David Crow, Drugmakers Hooked on
$10bn Opioid Habit, Fin. Times, Aug. 10, 2016, https://www. ft.com/content/f6e989a8-5dac-11e6-bb77-
a121aa8abd95.
59
     Letter from Vivek H. Murthy, U.S. Surgeon General (Aug. 2016), http://turnthetiderx.org/.




                                           25
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             1. Each Manufacturer Defendant Used Multiple Avenues to Disseminate Their
                False and Deceptive Statements about Opioids.

       88.    The Manufacturer Defendants spread their false and deceptive statements by

marketing their branded opioids directly to doctors and patients in and around the State,

including in Plaintiff’s Community. Defendants also deployed seemingly unbiased and

independent third parties that they controlled to spread their false and deceptive statements about

the risks and benefits of opioids for the treatment of chronic pain throughout the State and

Plaintiff’s Community.

       89.    The Manufacturer Defendants employed the same marketing plans and strategies

and deployed the same messages in and around the State, including in Plaintiff’s Community, as

they did nationwide. Across the pharmaceutical industry, “core message” development is funded

and overseen on a national basis by corporate headquarters. This comprehensive approach

ensures that the Manufacturer Defendants’ messages are accurately and consistently delivered

across marketing channels – including detailing visits, speaker events, and advertising – and in

each sales territory. The Manufacturer Defendants consider this high level of coordination and

uniformity crucial to successfully marketing their drugs.

       90.    The Manufacturer Defendants ensure marketing consistency nationwide through

national and regional sales representative training; national training of local medical liaisons, the

company employees who respond to physician inquiries; centralized speaker training; single sets

of visual aids, speaker slide decks and sales training materials; and nationally coordinated

advertising. The Manufacturer Defendants’ sales representatives and physician speakers were

required to stick to prescribed talking points, sales messages, and slide decks, and supervisors

rode along with them periodically to both check on their performance and compliance.




                                       26
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                   i. Direct Marketing.

       91.   The Manufacturer Defendants’ direct marketing of opioids generally proceeded on

two tracks. First, each Manufacturer Defendant conducted and continues to conduct advertising

campaigns touting the purported benefits of their branded drugs. For example, upon information

and belief, the Manufacturer Defendants spent more than $14 million on medical journal

advertising of opioids in 2011, nearly triple what they spent in 2001.

       92.   Many of the Manufacturer Defendants’ branded ads deceptively portrayed the

benefits of opioids for chronic pain. For example, Endo distributed and made available on its

website opana.com a pamphlet promoting Opana ER with photographs depicting patients with

physically demanding jobs like construction worker, chef, and teacher, misleadingly implying

that the drug would provide long-term pain-relief and functional improvement. Upon information

and belief, Purdue also ran a series of ads, called “Pain vignettes,” for OxyContin in 2012 in

medical journals. These ads featured chronic pain patients and recommended OxyContin for

each. One ad described a “54-year-old writer with osteoarthritis of the hands” and implied that

OxyContin would help the writer work more effectively.

       93.   Second, each Manufacturer Defendant promoted the use of opioids for chronic pain

through “detailers” – sales representatives who visited individual doctors and medical staff in

their offices – and small-group speaker programs. The Manufacturer Defendants have not

corrected this misinformation. Instead, each Defendant devoted massive resources to direct sales

contacts with doctors. Upon information and belief, in 2014 alone, the Manufacturer Defendants

spent in excess of $168 million on detailing branded opioids to doctors, more than twice what

they spent on detailing in 2000.

       94.   The Manufacturer Defendants’ detailing to doctors is effective. Numerous studies

indicate that marketing impacts prescribing habits, with face-to-face detailing having the greatest


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influence. Even without such studies, the Manufacturer Defendants purchase, manipulate and

analyze some of the most sophisticated data available in any industry, data available from IMS

Health Holdings, Inc., to track, precisely, the rates of initial prescribing and renewal by

individual doctor, which in turn allows them to target, tailor, and monitor the impact of their core

messages. Thus, the Manufacturer Defendants know their detailing to doctors is effective.

        95.   The Manufacturer Defendants’ detailers have been reprimanded for their deceptive

promotions. In March 2010, for example, the FDA found that Actavis had been distributing

promotional materials that “minimize[] the risks associated with Kadian and misleadingly

suggest[] that Kadian is safer than has been demonstrated.” Those materials in particular “fail to

reveal warnings regarding potentially fatal abuse of opioids, use by individuals other than the

patient for whom the drug was prescribed.”60

                    ii. Indirect Marketing.

        96.   The Manufacturer Defendants indirectly marketed their opioids using unbranded

advertising, paid speakers and “key opinion leaders” (“KOLs”), and industry-funded

organizations posing as neutral and credible professional societies and patient advocacy groups

(referred to hereinafter as “Front Groups”).

        97.   The Manufacturer Defendants deceptively marketed opioids in the State and

Plaintiff’s Community through unbranded advertising – e.g., advertising that promotes opioid

use generally but does not name a specific opioid. This advertising was ostensibly created and

disseminated by independent third parties. But by funding, directing, reviewing, editing, and

distributing this unbranded advertising, the Manufacturer Defendants controlled the deceptive


60
  Letter from Thomas Abrams, Dir., Div. of Drug Mktg., Advert., & Commc’ns, U.S. Food & Drug Admin., to
Doug Boothe, CEO, Actavis Elizabeth LLC (Feb. 18, 2010),
http://www.fdanews.com/ext/resources/files/archives/a/ActavisElizabethLLC.pdf.




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messages disseminated by these third parties and acted in concert with them to falsely and

misleadingly promote opioids for the treatment of chronic pain. Much as Manufacturer

Defendants controlled the distribution of their “core messages” via their own detailers and

speaker programs, the Manufacturer Defendants similarly controlled the distribution of these

messages in scientific publications, treatment guidelines, Continuing Medical Education

(“CME”) programs, and medical conferences and seminars. To this end, the Manufacturer

Defendants used third-party public relations firms to help control those messages when they

originated from third-parties.

       98.   The Manufacturer Defendants marketed through third-party, unbranded advertising

to avoid regulatory scrutiny because that advertising is not submitted to and typically is not

reviewed by the FDA. The Manufacturer Defendants also used third-party, unbranded

advertising to give the false appearance that the deceptive messages came from an independent

and objective source. Like the tobacco companies, the Manufacturer Defendants used third

parties that they funded, directed, and controlled to carry out and conceal their scheme to deceive

doctors and patients about the risks and benefits of long term opioid use for chronic pain.

       99.   The Manufacturer Defendants also identified doctors to serve, for payment, on their

speakers’ bureaus and to attend programs with speakers and meals paid for by the Manufacturer

Defendants. These speaker programs provided: (1) an incentive for doctors to prescribe a

particular opioid (so they might be selected to promote the drug); (2) recognition and

compensation for the doctors selected as speakers; and (3) an opportunity to promote the drug

through the speaker to his or her peers. These speakers give the false impression that they are

providing unbiased and medically accurate presentations when they are, in fact, presenting a

script prepared by the Manufacturer Defendants. On information and belief, these presentations




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conveyed misleading information, omitted material information, and failed to correct the

Manufacturer Defendants’ prior misrepresentations about the risks and benefits of opioids.

       100. Borrowing a page from Big Tobacco’s playbook, the Manufacturer Defendants

worked through third parties they controlled by: (a) funding, assisting, encouraging, and

directing doctors who served as KOLs, and (b) funding, assisting, directing, and encouraging

seemingly neutral and credible Front Groups. The Manufacturer Defendants then worked

together with those KOLs and Front Groups to taint the sources that doctors and patients relied

on for ostensibly “neutral” guidance, such as treatment guidelines, CME programs, medical

conferences and seminars, and scientific articles. Thus, working individually and collectively,

and through these Front Groups and KOLs, the Manufacturer Defendants persuaded doctors and

patients that what they have long known – that opioids are addictive drugs, unsafe in most

circumstances for long-term use – was untrue, and that the compassionate treatment of pain

required opioids.

       101. In 2007, multiple States sued Purdue for engaging in unfair and deceptive practices

in its marketing, promotion, and sale of OxyContin. Certain states settled their claims in a series

of Consent Judgments that prohibited Purdue from making misrepresentations in the promotion

and marketing of OxyContin in the future. By using indirect marketing strategies, however,

Purdue intentionally circumvented these restrictions. Such actions include contributing to the

creation of misleading publications and prescribing guidelines which lack reliable scientific

basis, and promoting prescribing practices which have worsened the opioid crisis.

       102. Pro-opioid doctors are one of the most important avenues that the Manufacturer

Defendants use to spread their false and deceptive statements about the risks and benefits of

long-term opioid use. The Manufacturer Defendants know that doctors rely heavily and less




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critically on their peers for guidance, and KOLs provide the false appearance of unbiased and

reliable support for chronic opioid therapy. For example, the State of New York found in its

settlement with Purdue that the Purdue website “In the Face of Pain” failed to disclose that

doctors who provided testimonials on the site were paid by Purdue and concluded that Purdue’s

failure to disclose these financial connections potentially misled consumers regarding the

objectivity of the testimonials.

        103. The Manufacturer Defendants utilized many KOLs, including many of the same

ones.

        104. Dr. Russell Portenoy, former Chairman of the Department of Pain Medicine and

Palliative Care at Beth Israel Medical Center in New York, is one example of a KOL whom the

Manufacturer Defendants identified and promoted to further their marketing campaign. Dr.

Portenoy received research support, consulting fees, and honoraria from Cephalon, Endo,

Janssen, and Purdue (among others), and was a paid consultant to Cephalon and Purdue. Dr.

Portenoy was instrumental in opening the door for the regular use of opioids to treat chronic

pain. He served on the American Pain Society (“APS”) / American Academy of Pain Medicine

(“AAPM”) Guidelines Committees, which endorsed the use of opioids to treat chronic pain, first

in 1996 and again in 2009. He was also a member of the board of the American Pain Foundation

(“APF”), an advocacy organization almost entirely funded by the Manufacturer Defendants.

        105. Dr. Portenoy also made frequent media appearances promoting opioids and

spreading misrepresentations, such as his claim that “the likelihood that the treatment of pain

using an opioid drug which is prescribed by a doctor will lead to addiction is extremely low.” He

appeared on Good Morning America in 2010 to discuss the use of opioids long-term to treat

chronic pain. On this widely-watched program, broadcast across the country, Dr. Portenoy




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claimed: “Addiction, when treating pain, is distinctly uncommon. If a person does not have a

history, a personal history, of substance abuse, and does not have a history in the family of

substance abuse, and does not have a very major psychiatric disorder, most doctors can feel very

assured that that person is not going to become addicted.”61

           106. Dr. Portenoy later admitted that he “gave innumerable lectures in the late 1980s and

‘90s about addiction that weren’t true.” These lectures falsely claimed that fewer than 1% of

patients would become addicted to opioids. According to Dr. Portenoy, because the primary goal

was to “destigmatize” opioids, he and other doctors promoting them overstated their benefits and

glossed over their risks. Dr. Portenoy also conceded that “[d]ata about the effectiveness of

opioids does not exist.”62 Portenoy candidly stated: “Did I teach about pain management,

specifically about opioid therapy, in a way that reflects misinformation? Well, . . . I guess I

did.”63

           107. Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director

of Lifetree Clinical Research, an otherwise unknown pain clinic in Salt Lake City, Utah. Dr.

Webster was President of the AAPM in 2013. He is a Senior Editor of Pain Medicine, the same

journal that published Endo special advertising supplements touting Opana ER. Dr. Webster was

the author of numerous CMEs sponsored by Cephalon, Endo, and Purdue. At the same time, Dr.

Webster was receiving significant funding from the Manufacturer Defendants (including nearly

$2 million from Cephalon).




61
     Good Morning America (ABC television broadcast Aug. 30, 2010).
62
  Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, Wall St. J., Dec. 17, 2012,
https://www.wsj.com/articles/SB10001424127887324478304578173342657044604.
63
     Id.




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        108. During a portion of his time as a KOL, Dr. Webster was under investigation for

overprescribing by the U.S. Department of Justice’s Drug Enforcement Agency, which raided his

clinic in 2010. Although the investigation was closed without charges in 2014, more than 20 of

Dr. Webster’s former patients at the Lifetree Clinic have died of opioid overdoses.

        109. Ironically, Dr. Webster created and promoted the Opioid Risk Tool, a five question,

one-minute screening tool relying on patient self-reports that purportedly allows doctors to

manage the risk that their patients will become addicted to or abuse opioids. The claimed ability

to pre-sort patients likely to become addicted is an important tool in giving doctors confidence to

prescribe opioids long-term, and for this reason, references to screening appear in various

industry-supported guidelines. Versions of Dr. Webster’s Opioid Risk Tool appear on, or are

linked to, websites run by Endo, Janssen, and Purdue. Unaware of the flawed science and

industry bias underlying this tool, certain states and public entities have incorporated the Opioid

Risk Tool into their own guidelines, indicating, also, their reliance on the Manufacturer

Defendants and those under their influence and control.

        110. In 2011, Dr. Webster presented, via webinar, a program sponsored by Purdue

entitled “Managing Patient’s Opioid Use: Balancing the Need and the Risk.” Dr. Webster

recommended use of risk screening tools, urine testing, and patient agreements as a way to

prevent “overuse of prescriptions” and “overdose deaths.” This webinar was available to and was

intended to reach doctors in the State and doctors treating members of Plaintiff’s Community.64

        111. Dr. Webster also was a leading proponent of the concept of “pseudoaddiction,” the

notion that addictive behaviors should be seen not as warnings, but as indications of undertreated


64
  See Emerging Solutions in Pain, Managing Patient’s Opioid Use: Balancing the Need and the Risk,
http://www.emergingsolutionsinpain.com/ce-education/opioid-
management?option=com_continued&view=frontmatter&Itemid=303&course=209 (last visited Aug. 22, 2017).




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pain. In Dr. Webster’s description, the only way to differentiate the two was to increase a

patient’s dose of opioids. As he and co-author Beth Dove wrote in their 2007 book Avoiding

Opioid Abuse While Managing Pain—a book that is still available online—when faced with

signs of aberrant behavior, increasing the dose “in most cases . . . should be the clinician’s first

response.”65 Upon information and belief, Endo distributed this book to doctors. Years later, Dr.

Webster reversed himself, acknowledging that “[pseudoaddiction] obviously became too much

of an excuse to give patients more medication.”66

           112. The Manufacturer Defendants also entered into arrangements with seemingly

unbiased and independent patient and professional organizations to promote opioids for the

treatment of chronic pain. Under the direction and control of the Manufacturer Defendants, these

“Front Groups” generated treatment guidelines, unbranded materials, and programs that favored

chronic opioid therapy. They also assisted the Manufacturer Defendants by responding to

negative articles, by advocating against regulatory changes that would limit opioid prescribing in

accordance with the scientific evidence, and by conducting outreach to vulnerable patient

populations targeted by the Manufacturer Defendants.

           113. These Front Groups depended on the Manufacturer Defendants for funding and, in

some cases, for survival. The Manufacturer Defendants also exercised control over programs and

materials created by these groups by collaborating on, editing, and approving their content, and

by funding their dissemination. In doing so, the Manufacturer Defendants made sure that the

Front Groups would generate only the messages that the Manufacturer Defendants wanted to


65
     Lynn Webster & Beth Dove, Avoiding Opioid Abuse While Managing Pain (2007).
66
  John Fauber, “Painkiller Boom Fueled by Networking,” Milwaukee Journal Sentinel, Feb. 18, 2012,
http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-networking-dp3p2rn-
139609053.html.




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distribute. Despite this, the Front Groups held themselves out as independent and serving the

needs of their members – whether patients suffering from pain or doctors treating those patients.

        114. Defendants Cephalon, Endo, Janssen, and Purdue, in particular, utilized many Front

Groups, including many of the same ones. Several of the most prominent are described below,

but there are many others, including the American Pain Society (“APS”), American Geriatrics

Society (“AGS”), the Federation of State Medical Boards (“FSMB”), American Chronic Pain

Association (“ACPA”), the Center for Practical Bioethics (“CPB”), the U.S. Pain Foundation

(“USPF”) and Pain & Policy Studies Group (“PPSG”).67

        115. The most prominent of the Manufacturer Defendants’ Front Groups was the

American Pain Foundation (“APF”), which, upon information and belief, received more than $10

million in funding from opioid manufacturers from 2007 until it closed its doors in May 2012,

primarily from Endo and Purdue. APF issued education guides for patients, reporters, and

policymakers that touted the benefits of opioids for chronic pain and trivialized their risks,

particularly the risk of addiction. APF also launched a campaign to promote opioids for returning

veterans, which has contributed to high rates of addiction and other adverse outcomes –

including death – among returning soldiers. APF also engaged in a significant multimedia

campaign – through radio, television and the internet – to educate patients about their “right” to

pain treatment, namely opioids. All of the programs and materials were available nationally and

were intended to reach citizens of the State and Plaintiff’s Community.

        116. In 2009 and 2010, more than 80% of APF’s operating budget came from

pharmaceutical industry sources. Including industry grants for specific projects, APF received

67
  See generally, e.g., Letter from Sen. Ron Wyden, U.S. Senate Comm. on Fin., to Sec. Thomas E. Price, U.S.
Dep’t of Health and Human Servs., (May 5, 2015),
https://www.finance.senate.gov/imo/media/doc/050517%20Senator%20Wyden%20to%20Secretary%20Price%20re
%20FDA%20Opioid%20Prescriber%20Working%20Group.pdf.




                                        35
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about $2.3 million from industry sources out of total income of about $2.85 million in 2009; its

budget for 2010 projected receipts of roughly $2.9 million from drug companies, out of total

income of about $3.5 million. By 2011, upon information and belief, APF was entirely

dependent on incoming grants from defendants Purdue, Cephalon, Endo, and others to avoid

using its line of credit.

        117. APF held itself out as an independent patient advocacy organization. It often

engaged in grassroots lobbying against various legislative initiatives that might limit opioid

prescribing, and thus the profitability of its sponsors. Upon information and belief, it was often

called upon to provide “patient representatives” for the Manufacturer Defendants’ promotional

activities, including for Purdue’s Partners Against Pain and Janssen’s Let’s Talk Pain. APF

functioned largely as an advocate for the interests of the Manufacturer Defendants, not patients.

Indeed, upon information and belief, as early as 2001, Purdue told APF that the basis of a grant

was Purdue’s desire to “strategically align its investments in nonprofit organizations that share

[its] business interests.”

        118. Plaintiff is informed, and believes, that on several occasions, representatives of the

Manufacturer Defendants, often at informal meetings at conferences, suggested activities and

publications for APF to pursue. APF then submitted grant proposals seeking to fund these

activities and publications, knowing that drug companies would support projects conceived as a

result of these communications.

        119. The U.S. Senate Finance Committee began looking into APF in May 2012 to

determine the links, financial and otherwise, between the organization and the manufacturers of

opioid painkillers. The investigation caused considerable damage to APF’s credibility as an

objective and neutral third party, and the Manufacturer Defendants stopped funding it. Within




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days of being targeted by Senate investigation, APF’s board voted to dissolve the organization

“due to irreparable economic circumstances.” APF “cease[d] to exist, effective immediately.”68

        120. Another front group for the Manufacturer Defendants was the American Academy

of Pain Medicine (“AAPM”). With the assistance, prompting, involvement, and funding of the

Manufacturer Defendants, the AAPM issued purported treatment guidelines and sponsored and

hosted medical education programs essential to the Manufacturer Defendants’ deceptive

marketing of chronic opioid therapy.

        121. AAPM received substantial funding from opioid manufacturers. For example,

AAPM maintained a corporate relations council, whose members paid $25,000 per year (on top

of other funding) to participate. The benefits included allowing members to present educational

programs at off-site dinner symposia in connection with AAPM’s marquee event – its annual

meeting held in Palm Springs, California, or other resort locations. AAPM describes the annual

event as an “exclusive venue” for offering education programs to doctors. Membership in the

corporate relations council also allows drug company executives and marketing staff to meet

with AAPM executive committee members in small settings. Defendants Endo, Purdue, and

Cephalon were members of the council and presented deceptive programs to doctors who

attended this annual event.

        122. Upon information and belief, AAPM is viewed internally by Endo as “industry

friendly,” with Endo advisors and speakers among its active members. Endo attended AAPM

conferences, funded its CMEs, and distributed its publications. The conferences sponsored by

AAPM heavily emphasized sessions on opioids – 37 out of roughly 40 at one conference alone.


68
   Charles Ornstein & Tracy Weber, Senate Panel Investigates Drug Companies’ Ties to Pain Groups, Wash. Post,
May 8, 2012, https://www.washingtonpost.com/national/health-science/senate-panel-investigates-drug-companies-
ties-to-pain-groups/2012/05/08/gIQA2X4qBU_story.html.




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AAPM’s presidents have included top industry-supported KOLs Perry Fine and Lynn Webster.

Dr. Webster was even elected president of AAPM while under a DEA investigation.

        123. The Manufacturer Defendants were able to influence AAPM through both their

significant and regular funding and the leadership of pro-opioid KOLs within the organization.

        124. In 1996, AAPM and APS jointly issued a consensus statement, “The Use of

Opioids for the Treatment of Chronic Pain,” which endorsed opioids to treat chronic pain and

claimed that the risk of a patients’ addiction to opioids was low. Dr. Haddox, who co-authored

the AAPM/APS statement, was a paid speaker for Purdue at the time. Dr. Portenoy was the sole

consultant. The consensus statement remained on AAPM’s website until 2011, and, upon

information and belief, was taken down from AAPM’s website only after a doctor complained.69

        125. AAPM and APS issued their own guidelines in 2009 (“AAPM/APS Guidelines”)

and continued to recommend the use of opioids to treat chronic pain.70 Treatment guidelines

have been relied upon by doctors, especially the general practitioners and family doctors targeted

by the Manufacturer Defendants. Treatment guidelines not only directly inform doctors’

prescribing practices, but are cited throughout the scientific literature and referenced by third-

party payors in determining whether they should cover treatments for specific indications.

Pharmaceutical sales representatives employed by Endo, Actavis, and Purdue discussed

treatment guidelines with doctors during individual sales visits.

        126. At least fourteen of the 21 panel members who drafted the AAPM/APS Guidelines,

including KOLs Dr. Portenoy and Dr. Perry Fine of the University of Utah, received support


69
  The Use of Opioids for the Treatment of Chronic Pain: A Consensus Statement From the American Academy of
Pain Medicine and the American Pain Society, 13 Clinical J. Pain 6 (1997).
70
  Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic Non-Cancer Pain, 10 J.
Pain 113 (2009).




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from Janssen, Cephalon, Endo, and Purdue. The 2009 Guidelines promote opioids as “safe and

effective” for treating chronic pain, despite acknowledging limited evidence, and conclude that

the risk of addiction is manageable for patients regardless of past abuse histories.71 One panel

member, Dr. Joel Saper, Clinical Professor of Neurology at Michigan State University and

founder of the Michigan Headache & Neurological Institute, resigned from the panel because of

his concerns that the 2009 Guidelines were influenced by contributions that drug companies,

including Manufacturer Defendants, made to the sponsoring organizations and committee

members. These AAPM/APS Guidelines have been a particularly effective channel of deception

and have influenced not only treating physicians, but also the body of scientific evidence on

opioids; the Guidelines have been cited hundreds of times in academic literature, were

disseminated in the State and/or Plaintiff’s Community during the relevant time period, are still

available online, and were reprinted in the Journal of Pain. The Manufacturer Defendants widely

referenced and promoted the 2009 Guidelines without disclosing the lack of evidence to support

them or the Manufacturer Defendants’ financial support to members of the panel.

           127. The Manufacturer Defendants worked together, through Front Groups, to spread

their deceptive messages about the risks and benefits of long-term opioid therapy. For example,

Defendants combined their efforts through the Pain Care Forum (“PCF”), which began in 2004

as an APF project. PCF is comprised of representatives from opioid manufacturers (including

Cephalon, Endo, Janssen, and Purdue) and various Front Groups, almost all of which received

substantial funding from the Manufacturer Defendants. Among other projects, PCF worked to

ensure that an FDA-mandated education project on opioids was not unacceptably negative and



71
     Id.




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did not require mandatory participation by prescribers, which the Manufacturer Defendants

determined would reduce prescribing.

          2. The Manufacturer Defendants’ Marketing Scheme Misrepresented the Risks
             and Benefits of Opioids.

              i. The Manufacturer Defendants embarked upon a campaign of false,
                 deceptive, and unfair assurances grossly understating and misstating the
                 dangerous addiction risks of the opioid drugs.

       128. To falsely assure physicians and patients that opioids are safe, the Manufacturer

Defendants deceptively trivialized and failed to disclose the risks of long-term opioid use,

particularly the risk of addiction, through a series of misrepresentations that have been

conclusively debunked by the FDA and CDC. These misrepresentations – which are described

below – reinforced each other and created the dangerously misleading impression that: (1)

starting patients on opioids was low risk because most patients would not become addicted, and

because those at greatest risk for addiction could be identified and managed; (2) patients who

displayed signs of addiction probably were not addicted and, in any event, could easily be

weaned from the drugs; (3) the use of higher opioid doses, which many patients need to sustain

pain relief as they develop tolerance to the drugs, do not pose special risks; and (4) abuse-

deterrent opioids both prevent abuse and overdose and are inherently less addictive. The

Manufacturer Defendants have not only failed to correct these misrepresentations, they continue

to make them today.

       129. Opioid manufacturers, including Defendants Endo Pharmaceuticals, Inc. and

Purdue Pharma L.P., have entered into settlement agreements with public entities that prohibit

them from making many of the misrepresentations identified in this Complaint. Yet even

afterward, each Manufacturer Defendant continued to misrepresent the risks and benefits of




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long-term opioid use in the State and Plaintiff’s Community and each continues to fail to correct

its past misrepresentations.

        130. Some illustrative examples of the Manufacturer Defendants’ false, deceptive, and

unfair claims about the purportedly low risk of addiction include:

            a. Actavis’s predecessor caused a patient education brochure, Managing Chronic
               Back Pain, to be distributed beginning in 2003 that admitted that opioid addiction
               is possible, but falsely claimed that it is “less likely if you have never had an
               addiction problem.” Based on Actavis’s acquisition of its predecessor’s marketing
               materials along with the rights to Kadian, it appears that Actavis continued to use
               this brochure in 2009 and beyond.

            b. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for People
               Living with Pain (2007), which suggested that addiction is rare and limited to
               extreme cases of unauthorized dose escalations, obtaining duplicative opioid
               prescriptions from multiple sources, or theft. This publication is still available
               online.72

            c. Endo sponsored a website, “PainKnowledge,” which, upon information and
               belief, claimed in 2009 that “[p]eople who take opioids as prescribed usually do
               not become addicted.” Upon information and belief, another Endo website,
               PainAction.com, stated “Did you know? Most chronic pain patients do not
               become addicted to the opioid medications that are prescribed for them.” Endo
               also distributed an “Informed Consent” document on PainAction.com that
               misleadingly suggested that only people who “have problems with substance
               abuse and addiction” are likely to become addicted to opioid medications.

            d. Upon information and belief, Endo distributed a pamphlet with the Endo logo
               entitled Living with Someone with Chronic Pain, which stated that: “Most health
               care providers who treat people with pain agree that most people do not develop
               an addiction problem.”

            e. Janssen reviewed, edited, approved, and distributed a patient education guide
               entitled Finding Relief: Pain Management for Older Adults (2009), which
               described as “myth” the claim that opioids are addictive, and asserted as fact that
               “[m]any studies show that opioids are rarely addictive when used properly for the
               management of chronic pain.”

            f. Janssen currently runs a website, Prescriberesponsibly.com (last updated July 2,
               2015), which claims that concerns about opioid addiction are “overestimated.”

72
 Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter APF, Treatment
Options], https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf.




                                        41
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               g. Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its
                  Management, which claims that less than 1% of children prescribed opioids will
                  become addicted and that pain is undertreated due to “[m]isconceptions about
                  opioid addiction.”73

               h. In 2010, Mallinckrodt sponsored an initiative “Collaborating and Acting
                  Responsibly to Ensure Safety (C.A.R.E.S.), through which it published and
                  promoted the book “Defeat Chronic Pain Now!” aimed at chronic pain patients.
                  The book, which is still available for sale, and is promoted online at
                  www.defeatchronicpainnow.com, advises laypeople who are considering taking
                  opioid drugs that “[o]nly rarely does opioid medication cause a true addiction.”74
                  Further, the book advises that even the issue of tolerance is “overblown,” because
                  “[o]nly a minority of chronic pain patients who are taking long-term opioids
                  develop tolerance.” In response to a hypothetical question from a chronic back
                  pain patient who expresses a fear of becoming addicted, the book advises that “[i]t
                  is very uncommon for a person with chronic pain to become ‘addicted’ to
                  narcotics IF (1) he doesn’t have a prior history of any addiction and (2) he only
                  takes the medication to treat pain.”

               i. Consistent with the Manufacturer Defendants’ published marketing materials,
                  upon information and belief, detailers for Purdue, Endo, Janssen, and Cephalon in
                  the State and Plaintiff’s Community minimized or omitted any discussion with
                  doctors of the risk of addiction; misrepresented the potential for abuse of opioids
                  with purportedly abuse-deterrent formulations; and routinely did not correct the
                  misrepresentations noted above.

               j. Seeking to overturn the criminal conviction of a doctor for illegally prescribing
                  opioids, the Manufacturer Defendants’ Front Groups APF and NFP argued in an
                  amicus brief to the United States Fourth Circuit Court of Appeals that “patients
                  rarely become addicted to prescribed opioids,” citing research by their KOL, Dr.
                  Portenoy.75

           131. These claims are contrary to longstanding scientific evidence. A 2016 opioid-

prescription guideline issued by the CDC (the “2016 CDC Guideline”) explains that there is

“[e]xtensive evidence” of the “possible harms of opioids (including opioid use disorder [an



73
  Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011) [hereinafter APF,
Policymaker’s Guide], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf.
74
     Charles E. Argoff & Bradley S. Galer, Defeat Chronic Pain Now! (2010).
75
  Brief of the American Pain Foundation, the National Pain Foundation, and the National Foundation for the
Treatment of Pain in Support of Appellant and Reversal of the Conviction, United States v. Hurowitz, No. 05-4474
(4th Cir. Sept. 8, 2005) [hereinafter Brief of APF] at 9.




                                           42
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alternative term for opioid addiction], [and] overdose . . .).”76 The 2016 CDC Guideline further

explains that “[o]pioid pain medication use presents serious risks, including overdose and opioid

use disorder” and that “continuing opioid therapy for 3 months substantially increases risk for

opioid use disorder.”77

            132. The FDA further exposed the falsity of Defendants’ claims about the low risk of

addiction when it announced changes to the labels for extended-release and long-acting

(“ER/LA”) opioids in 2013 and for immediate release (“IR”) opioids in 2016. In its

announcements, the FDA found that “most opioid drugs have ‘high potential for abuse’” and that

opioids “are associated with a substantial risk of misuse, abuse, NOWS [neonatal opioid

withdrawal syndrome], addiction, overdose, and death.” According to the FDA, because of the

“known serious risks” associated with long-term opioid use, including “risks of addiction, abuse,

and misuse, even at recommended doses, and because of the greater risks of overdose and

death,” opioids should be used only “in patients for whom alternative treatment options” like

non-opioid drugs have failed.78

            133. The State of New York, in a 2016 settlement agreement with Endo, found that

opioid “use disorders appear to be highly prevalent in chronic pain patients treated with opioids,

with up to 40% of chronic pain patients treated in specialty and primary care outpatient centers

76
  Deborah Dowell et al., CDC Guideline for Prescribing Opioids for Chronic Pain—United States, 2016, Morbidity
& Mortality Wkly. Rep., Mar. 18, 2016, at 15 [hereinafter 2016 CDC Guideline],
https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm.
77
     Id. at 2, 25.
78
  Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food and Drug Admin.,
U.S. Dep’t of Health and Human Servs., to Andrew Koldny, M.D., President, Physicians for Responsible Opioid
Prescribing (Sept. 10, 2013), https://www.regulations.gov/contentStreamer?documentId=FDA-2012-P-0818-
0793&attachmentNumber=1&contentType=pdf.; Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation
and Research, U.S. Food and Drug Admin., U.S. Dep’t of Health and Human Servs., to Peter R. Mathers & Jennifer
A. Davidson, Kleinfeld, Kaplan and Becker, LLP (Mar. 22, 2016),
https://www.regulations.gov/contentStreamer?documentId=FDA-2014-P-0205-
0006&attachmentNumber=1&contentType=pdf.




                                             43
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meeting the clinical criteria for an opioid use disorder.”79 Endo had claimed on its

www.opana.com website that “[m]ost healthcare providers who treat patients with pain agree

that patients treated with prolonged opioid medicines usually do not become addicted,” but the

State of New York found that Endo had no evidence for that statement. Consistent with this,

Endo agreed not to “make statements that . . . opioids generally are non-addictive” or “that most

patients who take opioids do not become addicted” in New York. Endo remains free, however, to

make those statements in this State.

           134. In addition to mischaracterizing the highly addictive nature of the drugs they were

pushing, the Manufacturer Defendants also fostered a fundamental misunderstanding of the signs

of addiction. Specifically, the Manufacturer Defendants misrepresented, to doctors and patients,

that warning signs and/or symptoms of addiction were, instead, signs of undertreated pain (i.e.

pseudoaddiction) – and instructed doctors to increase the opioid prescription dose for patients

who were already in danger.

           135. To this end, one of Purdue’s employees, Dr. David Haddox, invented a

phenomenon called “pseudoaddiction.” KOL Dr. Portenoy popularized the term. Examples of the

false, misleading, deceptive, and unfair statements regarding pseudoaddiction include:

               a. Cephalon and Purdue sponsored Responsible Opioid Prescribing (2007), which
                  taught that behaviors such as “requesting drugs by name,” “demanding or
                  manipulative behavior,” seeing more than one doctor to obtain opioids, and
                  hoarding, are all signs of pseudoaddiction, rather than true addiction. 80 The 2012
                  edition, which remains available for sale online, continues to teach that
                  pseudoaddiction is real.81



79
  Assurance of Discontinuance, In re Endo Health Solutions Inc. and Endo Pharm. Inc. (Assurance No. 15-228), at
16, https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.
80
     Scott M. Fishman, M.D., Responsible Opioid Prescribing: A Physician’s Guide (2007) at 62.
81
     See Scott M. Fishman, M.D., Responsible Opioid Prescribing: A Physician’s Guide (2d ed. 2012).




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           b. Janssen sponsored, funded, and edited the Let’s Talk Pain website, which in 2009
              stated: “pseudoaddiction . . . refers to patient behaviors that may occur when pain
              is under-treated . . . . Pseudoaddiction is different from true addiction because
              such behaviors can be resolved with effective pain management.”

           c. Endo sponsored a National Initiative on Pain Control (“NIPC”) CME program in
              2009 entitled “Chronic Opioid Therapy: Understanding Risk While Maximizing
              Analgesia,” which, upon information and belief, promoted pseudoaddiction by
              teaching that a patient’s aberrant behavior was the result of untreated pain. Endo
              appears to have substantially controlled NIPC by funding NIPC projects;
              developing, specifying, and reviewing content; and distributing NIPC materials.

           d. Purdue published a pamphlet in 2011 entitled Providing Relief, Preventing Abuse,
              which, upon information and belief, described pseudoaddiction as a concept that
              “emerged in the literature” to describe the inaccurate interpretation of [drug-
              seeking behaviors] in patients who have pain that has not been effectively
              treated.”

           e. Upon information and belief, Purdue sponsored a CME program titled “Path of
              the Patient, Managing Chronic Pain in Younger Adults at Risk for Abuse”. In a
              role play, a chronic pain patient with a history of drug abuse tells his doctor that
              he is taking twice as many hydrocodone pills as directed. The narrator notes that
              because of pseudoaddiction, the doctor should not assume the patient is addicted
              even if he persistently asks for a specific drug, seems desperate, hoards medicine,
              or “overindulges in unapproved escalating doses.” The doctor treats this patient
              by prescribing a high-dose, long-acting opioid.

           f. In 2010, Mallinckrodt sponsored an initiative “Collaborating and Acting
              Responsibly to Ensure Safety (C.A.R.E.S.), through which it published and
              promoted the book “Defeat Chronic Pain Now!” aimed at chronic pain patients.
              The book, which is still available for sale, and is promoted online at
              www.defeatchronicpainnow.com, teaches laypeople that “pseudoaddiction” is
              “caused by their doctor not appropriately prescribing the opioid medication.” It
              teaches that “[p]seudoaddiction happens when a patient’s opioid medication is not
              being prescribed in doses strong enough to provide good pain relief, or if the drug
              is not being prescribed often enough throughout the day. . . When a
              pseudoaddicted patient is prescribed the proper amount of opioid medication, he
              or she doesn’t take any extra pills because his or her pain is relieved.”

       136. In the 2016 CDC Guideline, the CDC rejects the validity of the pseudoaddiction

fallacy invented by a Purdue employee as a reason to push more opioid drugs onto already

addicted patients.




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            137. In addition to misstating the addiction risk and inventing the pseudoaddiction

falsehood, a third category of false, deceptive, and unfair practice is the Manufacturer

Defendants’ false instructions that addiction risk screening tools, patient contracts, urine drug

screens, and similar strategies allow them to reliably identify and safely prescribe opioids to

patients predisposed to addiction. These misrepresentations were especially insidious because the

Manufacturer Defendants aimed them at general practitioners and family doctors who lack the

time and expertise to closely manage higher-risk patients on opioids. The Manufacturer

Defendants’ misrepresentations made these doctors feel more comfortable prescribing opioids to

their patients, and patients more comfortable starting on opioid therapy for chronic pain.

Illustrative examples include:

                  a. Endo paid for a 2007 supplement in the Journal of Family Practice written by a
                     doctor who became a member of Endo’s speakers bureau in 2010. The
                     supplement, entitled Pain Management Dilemmas in Primary Care: Use of
                     Opioids, emphasized the effectiveness of screening tools, claiming that patients at
                     high risk of addiction could safely receive chronic opioid therapy using a
                     “maximally structured approach” involving toxicology screens and pill counts.

                  b. Purdue, upon information and belief, sponsored a 2011 webinar, Managing
                     Patient’s Opioid Use: Balancing the Need and Risk, which claimed that screening
                     tools, urine tests, and patient agreements prevent “overuse of prescriptions” and
                     “overdose deaths.”

                  c. As recently as 2015, upon information and belief, Purdue has represented in
                     scientific conferences that “bad apple” patients – and not opioids – are the source
                     of the addiction crisis and that once those “bad apples” are identified, doctors can
                     safely prescribe opioids without causing addiction.

            138. The 2016 CDC Guideline confirms the falsity of these claims. The Guideline

explains that there are no studies assessing the effectiveness of risk mitigation strategies “for

improving outcomes related to overdose, addiction, abuse or misuse.”82



82
     Id. at 11.




                                            46
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            139. A fourth category of deceptive messaging regarding dangerous opioids is the

Manufacturer Defendants’ false assurances regarding the alleged ease of eliminating opioid

dependence. The Manufacturer Defendants falsely claimed that opioid dependence can easily be

addressed by tapering and that opioid withdrawal is not a problem, but they failed to disclose the

increased difficulty of stopping opioids after long-term use. In truth, the 2016 CDC Guideline

explains that the symptoms of opioid withdrawal include abdominal pain, vomiting, diarrhea,

sweating, tremor, tachycardia, drug cravings, anxiety, insomnia, spontaneous abortion and

premature labor in pregnant women.83

            140. The Manufacturer Defendants nonetheless downplayed the severity of opioid

detoxification. For example, upon information and belief, a CME sponsored by Endo, entitled

Persistent Pain in the Older Adult, claimed that withdrawal symptoms can be avoided by

tapering a patient’s opioid dose by 10%-20% for 10 days. And Purdue sponsored APF’s A

Policymaker’s Guide to Understanding Pain & Its Management, which claimed that

“[s]ymptoms of physical dependence can often be ameliorated by gradually decreasing the dose

of medication during discontinuation” without mentioning any hardships that might occur.84

Similarly, in the 2010 Mallinckrodt/C.A.R.E.S. publication “Defeat Chronic Pain Now!”

potential opioid users are advised that tolerance to opioids is “easily remedied,” and that “[a]ll

patients can be safely taken off opioid medication if the dose is slowly tapered down by their

doctor.”

            141. A fifth category of false, deceptive, and unfair statements the Manufacturer

Defendants made to sell more drugs is that opioid dosages could be increased indefinitely

83
     Id. at 26.
84
  Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011) [hereinafter APF,
Policymaker’s Guide], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf., at 32.




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without added risk. The ability to escalate dosages was critical to Defendants’ efforts to market

opioids for long-term use to treat chronic pain because, absent this misrepresentation, doctors

would have abandoned treatment when patients built up tolerance and lower dosages did not

provide pain relief. The Manufacturer Defendants’ deceptive claims include:

            a. Upon information and belief, Actavis’s predecessor created a patient brochure for
               Kadian in 2007 that stated, “Over time, your body may become tolerant of your
               current dose. You may require a dose adjustment to get the right amount of pain
               relief. This is not addiction.” Based on Actavis’s acquisition of its predecessor’s
               marketing materials along with the rights to Kadian, Actavis appears to have
               continued to use these materials in 2009 and beyond.

            b. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for People
               Living with Pain (2007), which claims that some patients “need” a larger dose of
               an opioid, regardless of the dose currently prescribed. The guide stated that
               opioids have “no ceiling dose” and insinuated that they are therefore the most
               appropriate treatment for severe pain.85 This publication is still available online.

            c. Endo sponsored a website, “PainKnowledge,” which, upon information and
               belief, claimed in 2009 that opioid dosages may be increased until “you are on the
               right dose of medication for your pain.”

            d. Endo distributed a pamphlet edited by a KOL entitled Understanding Your Pain:
               Taking Oral Opioid Analgesics (2004 Endo Pharmaceuticals PM-0120). In Q&A
               format, it asked “If I take the opioid now, will it work later when I really need it?”
               The response is, “The dose can be increased. . . . You won’t ‘run out’ of pain
               relief.”86

            e. Janssen sponsored a patient education guide entitled Finding Relief: Pain
               Management for Older Adults (2009), which was distributed by its sales force.
               This guide listed dosage limitations as “disadvantages” of other pain medicines
               but omitted any discussion of risks of increased opioid dosages.

            f. Upon information and belief, Purdue’s In the Face of Pain website promoted the
               notion that if a patient’s doctor does not prescribe what, in the patient’s view, is a
               sufficient dosage of opioids, he or she should find another doctor who will.



85
 Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter APF, Treatment
Options], https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf., at 12.
86
  Margo McCaffery & Chris Pasero, Endo Pharm., Understanding Your Pain: Taking Oral Opioid Analgesics
(Russell K Portenoy, M.D., ed., 2004).




                                        48
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                g. Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its
                   Management, which taught that dosage escalations are “sometimes necessary,”
                   and that “the need for higher doses of medication is not necessarily indicative of
                   addiction,” but inaccurately downplayed the risks from high opioid dosages.87

                h. In 2007, Purdue sponsored a CME entitled “Overview of Management Options”
                   that was available for CME credit and available until at least 2012. The CME was
                   edited by a KOL and taught that Non-steroidal Anti-inflammatory Drugs
                   (“NSAIDs”) and other drugs, but not opioids, are unsafe at high dosages.

                i. Purdue presented a 2015 paper at the College on the Problems of Drug
                   Dependence, “the oldest and largest organization in the US dedicated to
                   advancing a scientific approach to substance use and addictive disorders,”
                   challenging the correlation between opioid dosage and overdose.88

                j. Seeking to overturn the criminal conviction of a doctor for illegally prescribing
                   opioids, the Manufacturer Defendants’ Front Groups APF and NFP argued in an
                   amicus brief to the United States Fourth Circuit Court of Appeals that “there is no
                   ‘ceiling dose’” for opioids.89

                k. In the 2010 Mallinckrodt/C.A.R.E.S. publication “Defeat Chronic Pain Now!”,
                   potential opioid users are warned about the risk of “[p]seudoaddiction [b]ecause
                   of a [l]ow [d]ose,” and advised that this condition may be corrected through the
                   prescription of a higher dose. Similarly, the book recommends that for chronic
                   pain patients, the opioid dose should be “gradually increased to find the best daily
                   dose, as is done with all the other oral drugs.” The book discusses the risks of
                   NSAIDs and other drugs at higher doses, but not explain this risk for opioids.

           142. Once again, the 2016 CDC Guideline reveals that the Manufacturer Defendants’

representations regarding opioids were lacking in scientific evidence. The 2016 CDC Guideline

clarifies that the “[b]enefits of high-dose opioids for chronic pain are not established” while the

“risks for serious harms related to opioid therapy increase at higher opioid dosage.” 90 More

specifically, the CDC explains that “there is now an established body of scientific evidence



87
  Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011) [hereinafter APF,
Policymaker’s Guide], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf., at 32.
88
     The College on Problems of Drug Dependence, About the College, http://cpdd.org (last visited Aug. 21, 2017).
89
     Brief of APF, at 9.
90
     2016 CDC Guideline at 22–23.




                                            49
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showing that overdose risk is increased at higher opioid dosages.”91 The CDC also states that

there is an increased risk “for opioid use disorder, respiratory depression, and death at higher

dosages.”92 That is why the CDC advises doctors to “avoid increasing dosage” to above 90

morphine milligram equivalents per day.93

            143. Defendants’ deceptive marketing of the so-called abuse-deterrent properties of

some of their opioids has created false impressions that these opioids can cure addiction and

abuse.

            144. The Manufacturer Defendants made misleading claims about the ability of their so-

called abuse-deterrent opioid formulations to deter abuse. For example, Endo’s advertisements

for the 2012 reformulation of Opana ER claimed that it was designed to be crush resistant, in a

way that suggested it was more difficult to abuse. This claim was false. The FDA warned in a

2013 letter that Opana ER Extended-Release Tablets’ “extended-release features can be

compromised, causing the medication to ‘dose dump,’ when subject to . . . forms of manipulation

such as cutting, grinding, or chewing, followed by swallowing.”94 Also troubling, Opana ER can

be prepared for snorting using commonly available methods and “readily prepared for

injection.”95 The letter discussed “the troubling possibility that a higher (and rising) percentage

of [Opana ER Extended-Release Tablet] abuse is occurring via injection.”96 Endo’s own studies,



91
     Id. at 23–24.
92
     Id. at 21.
93
     Id. at 16.
94
  Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food and Drug Admin.,
U.S. Dep’t of Health and Human Servs., to Robert Barto, Vice President, Reg. Affairs, Endo Pharm. Inc. (May 10,
2013), at 5.
95
     Id. at 6.
96
     Id. at 6 n.21.




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which it failed to disclose, showed that Opana ER could still be ground and chewed. In June

2017, the FDA requested that Opana ER be removed from the market.

                         ii. The Manufacturer Defendants embarked upon a campaign of false,
                             deceptive, and unfair assurances grossly overstating the benefits of the
                             opioid drugs.

            145. To convince doctors and patients that opioids should be used to treat chronic pain,

the Manufacturer Defendants also had to persuade them that there was a significant upside to

long-term opioid use. But as the CDC Guideline makes clear, “[n]o evidence shows a long-term

benefit of opioids in pain and function versus no opioids for chronic pain with outcomes

examined at least 1 year later (with most placebo-controlled randomized trials ≤ 6 weeks in

duration)” and that other treatments were more or equally beneficial and less harmful than long-

term opioid use.97 The FDA, too, has recognized the lack of evidence to support long-term opioid

use. Despite this, Defendants falsely and misleadingly touted the benefits of long-term opioid use

and falsely and misleadingly suggested that these benefits were supported by scientific evidence.

            146. Some illustrative examples of the Manufacturer Defendants’ false claims are:

                  a. Upon information and belief, Actavis distributed an advertisement claiming that
                     the use of Kadian to treat chronic pain would allow patients to return to work,
                     relieve “stress on your body and your mental health,” and help patients enjoy their
                     lives.

                  b. Endo distributed advertisements that claimed that the use of Opana ER for chronic
                     pain would allow patients to perform demanding tasks like construction work or
                     work as a chef and portrayed seemingly healthy, unimpaired subjects.

                  c. Janssen sponsored and edited a patient education guide entitled Finding Relief:
                     Pain Management for Older Adults (2009) – which states as “a fact” that “opioids
                     may make it easier for people to live normally.” The guide lists expected
                     functional improvements from opioid use, including sleeping through the night,
                     returning to work, recreation, sex, walking, and climbing stairs.



97
     Id. at 15.




                                            51
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            d. Janssen promoted Ultracet for everyday chronic pain and distributed posters, for
               display in doctors’ offices, of presumed patients in active professions; the caption
               read, “Pain doesn’t fit into their schedules.”

            e. Upon information and belief, Purdue ran a series of advertisements for OxyContin
               in 2012 in medical journals entitled “Pain vignettes,” which were case studies
               featuring patients with pain conditions persisting over several months and
               recommending OxyContin for them. The ads implied that OxyContin improves
               patients’ function.

            f. Responsible Opioid Prescribing (2007), sponsored and distributed by Cephalon,
               Endo and Purdue, taught that relief of pain by opioids, by itself, improved
               patients’ function.

            g. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for People
               Living with Pain (2007), which counseled patients that opioids “give [pain
               patients] a quality of life we deserve.”98 This publication is still available online.

            h. Endo’s NIPC website “PainKnowledge” claimed in 2009, upon information and
               belief, that with opioids, “your level of function should improve; you may find
               you are now able to participate in activities of daily living, such as work and
               hobbies, that you were not able to enjoy when your pain was worse.” Elsewhere,
               the website touted improved quality of life (as well as “improved function”) as
               benefits of opioid therapy. The grant request that Endo approved for this project
               specifically indicated NIPC’s intent to make misleading claims about function,
               and Endo closely tracked visits to the site.

            i. Endo was the sole sponsor, through NIPC, of a series of CMEs entitled
               “Persistent Pain in the Older Patient.”99 Upon information and belief, a CME
               disseminated via webcast claimed that chronic opioid therapy has been “shown to
               reduce pain and improve depressive symptoms and cognitive functioning.”

            j. Janssen sponsored and funded a multimedia patient education campaign called
               “Let’s Talk Pain.” One feature of the campaign was to complain that patients
               were under-treated. In 2009, upon information and belief, a Janssen-sponsored
               website, part of the “Let’s Talk Pain” campaign, featured an interview edited by
               Janssen claiming that opioids allowed a patient to “continue to function.”

            k. Purdue sponsored the development and distribution of APF’s A Policymaker’s
               Guide to Understanding Pain & Its Management, which claimed that “[m]ultiple
               clinical studies” have shown that opioids are effective in improving “[d]aily

98
 Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter APF, Treatment
Options], https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf.
99
  E.g., NIPC, Persistent Pain and the Older Patient (2007),
https://www.painedu.org/Downloads/NIPC/Activities/B173_Providence_RI_%20Invite.pdf.




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                function,” “[p]sychological health,” and “[o]verall health-related quality of life
                for chronic pain.”100 The Policymaker’s Guide was originally published in 2011.

            l. Purdue’s, Cephalon’s, Endo’s, and Janssen’s sales representatives have conveyed
               and continue to convey the message that opioids will improve patient function.

        147. As the FDA and other agencies have made clear for years, these claims have no

support in the scientific literature.

        148. In 2010, the FDA warned Actavis, in response to its advertising of Kadian

described above, that “we are not aware of substantial evidence or substantial clinical experience

demonstrating that the magnitude of the effect of the drug [Kadian] has in alleviating pain, taken

together with any drug-related side effects patients may experience . . . results in any overall

positive impact on a patient’s work, physical and mental functioning, daily activities, or

enjoyment of life.”101 And in 2008, upon information and belief, the FDA sent a warning letter to

an opioid manufacturer, making it clear “that [the claim that] patients who are treated with the

drug experience an improvement in their overall function, social function, and ability to perform

daily activities . . . has not been demonstrated by substantial evidence or substantial clinical

experience.”

        149. The Manufacturer Defendants also falsely and misleadingly emphasized or

exaggerated the risks of competing medications like NSAIDs, so that doctors and patients would

look to opioids first for the treatment of chronic pain. Once again, these misrepresentations by

the Manufacturer Defendants contravene pronouncements by and guidance from the FDA and

CDC based on the scientific evidence. Indeed, the FDA changed the labels for extended-release


  Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011) [hereinafter APF,
100

Policymaker’s Guide], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf., at 29.
101
   Letter from Thomas Abrams, Dir., Div. of Drug Mktg., Advert., & Commc’ns, U.S. Food & Drug Admin., to
Doug Boothe, CEO, Actavis Elizabeth LLC (Feb. 18, 2010),
http://www.fdanews.com/ext/resources/files/archives/a/ActavisElizabethLLC.pdf.




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and long-acting (“ER/LA”) opioids in 2013 and immediate-release (“IR”) opioids in 2016 to

state that opioids should only be used as a last resort “in patients for which alternative treatment

options” like non-opioid drugs “are inadequate.” And the 2016 CDC Guideline states that

NSAIDs, not opioids, should be the first-line treatment for chronic pain, particularly arthritis and

lower back pain.102 Purdue misleadingly promoted OxyContin as being unique among opioids in

providing 12 continuous hours of pain relief with one dose. In fact, OxyContin does not last for

12 hours – a fact that Purdue has known at all times relevant to this action. Upon information and

belief, Purdue’s own research shows that OxyContin wears off in under six hours in one quarter

of patients and in under 10 hours in more than half. This is because OxyContin tablets release

approximately 40% of their active medicine immediately, after which release tapers. This

triggers a powerful initial response, but provides little or no pain relief at the end of the dosing

period, when less medicine is released. This phenomenon is known as “end of dose” failure, and

the FDA found in 2008 that a “substantial proportion” of chronic pain patients taking OxyContin

experience it. This not only renders Purdue’s promise of 12 hours of relief false and deceptive, it

also makes OxyContin more dangerous because the declining pain relief patients experience

toward the end of each dosing period drives them to take more OxyContin before the next dosing

period begins, quickly increasing the amount of drug they are taking and spurring growing

dependence.

           150. Purdue’s competitors were aware of this problem. For example, upon information

and belief, Endo ran advertisements for Opana ER referring to “real” 12-hour dosing.

Nevertheless, Purdue falsely promoted OxyContin as if it were effective for a full 12 hours.



102
      2016 CDC Guideline at 12.




                                           54
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Upon information and belief, Purdue’s sales representatives continue to tell doctors that

OxyContin lasts a full 12 hours.

        151. Front Groups supported by Purdue likewise echoed these representations. For

example, in an amicus brief submitted to the Supreme Court of Ohio by the American Pain

Foundation, the National Foundation for the Treatment of Pain and the Ohio Pain Initiative in

support of Purdue, those amici represented:

        OxyContin is particularly useful for sustained long-term pain because it comes in
        higher, compact pills with a slow release coating. OxyContin pills can work for
        12 hours. This makes it easier for patients to comply with dosing requirements
        without experiencing a roller-coaster of pain relief followed quickly by pain
        renewal that can occur with shorter acting medications. It also helps the patient
        sleep through the night, which is often impossible with short-acting medications.
        For many of those serviced by Pain Care Amici, OxyContin has been a miracle
        medication.103

        152. Cephalon deceptively marketed its opioids Actiq and Fentora for chronic pain even

though the FDA has expressly limited their use to the treatment of cancer pain in opioid tolerant

individuals. Both Actiq and Fentora are extremely powerful fentanyl-based IR opioids. Neither is

approved for or has been shown to be safe or effective for chronic pain. Indeed, the FDA

expressly prohibited Cephalon from marketing Actiq for anything but cancer pain, and refused to

approve Fentora for the treatment of chronic pain because of the potential harm, including the

high risk of “serious and life-threatening adverse events” and abuse – which are greatest in non-

cancer patients. The FDA also issued a Public Health Advisory in 2007 emphasizing that Fentora

should only be used for cancer patients who are opioid-tolerant and should not be used for any




103
   Reply Brief of Amicus Curiae of the American Pain Foundation, The National Foundation for the Treatment of
Pain and the Ohio Pain Initiative Supporting Appellants, Howland v. Purdue Pharma L.P., No. 2003-1538 (Ohio
Apr. 13, 2004), 2004 WL 1637768, at *4 (footnote omitted).




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other conditions, such as migraines, post-operative pain, or pain due to injury.104 Specifically, the

FDA advised that Fentora “is only approved for breakthrough cancer pain in patients who are

opioid-tolerant, meaning those patients who take a regular, daily, around-the-clock narcotic pain

medication.”105

            153. Despite this, Cephalon conducted and continues to conduct a well-funded campaign

to promote Actiq and Fentora for chronic pain and other non-cancer conditions for which it was

not approved, appropriate, and for which it is not safe. As part of this campaign, Cephalon used

CMEs, speaker programs, KOLs, journal supplements, and detailing by its sales representatives

to give doctors the false impression that Actiq and Fentora are safe and effective for treating non-

cancer pain. For example:

            a. Cephalon paid to have a CME it sponsored, Opioid-Based Management of Persistent
               and Breakthrough Pain, published in a supplement of Pain Medicine News in 2009.
               The CME instructed doctors that “[c]linically, broad classification of pain syndromes
               as either cancer- or non-cancer-related has limited utility” and recommended Actiq
               and Fentora for patients with chronic pain.

            b. Upon information and belief, Cephalon’s sales representatives set up hundreds of
               speaker programs for doctors, including many non-oncologists, which promoted
               Actiq and Fentora for the treatment of non-cancer pain.

            c. In December 2011, Cephalon widely disseminated a journal supplement entitled
               “Special Report: An Integrated Risk Evaluation and Mitigation Strategy for Fentanyl
               Buccal Tablet (FENTORA) and Oral Transmucosal Fentanyl Citrate (ACTIQ)” to
               Anesthesiology News, Clinical Oncology News, and Pain Medicine News – three
               publications that are sent to thousands of anesthesiologists and other medical
               professionals. The Special Report openly promotes Fentora for “multiple causes of
               pain” – and not just cancer pain.




104
   See U.S. Food & Drug Admin., Public Health Advisory: Important Information for the Safe Use of Fentora
(fentanyl buccal tablets) (Sept. 26, 2007),
https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProviders/ucm051273.htm.
105
      Id.




                                            56
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        154. Cephalon’s deceptive marketing gave doctors and patients the false impression that

Actiq and Fentora were not only safe and effective for treating chronic pain, but were also

approved by the FDA for such uses.

        155. Purdue also unlawfully and unfairly failed to report or address illicit and unlawful

prescribing of its drugs, despite knowing about it for years. Purdue’s sales representatives have

maintained a database since 2002 of doctors suspected of inappropriately prescribing its drugs.

Rather than report these doctors to state medical boards or law enforcement authorities (as

Purdue is legally obligated to do) or cease marketing to them, Purdue used the list to demonstrate

the high rate of diversion of OxyContin – the same OxyContin that Purdue had promoted as less

addictive – in order to persuade the FDA to bar the manufacture and sale of generic copies of the

drug because the drug was too likely to be abused. In an interview with the Los Angeles Times,

Purdue’s senior compliance officer acknowledged that in five years of investigating suspicious

pharmacies, Purdue failed to take action – even where Purdue employees personally witnessed

the diversion of its drugs. The same was true of prescribers; despite its knowledge of illegal

prescribing, Purdue did not report that a Los Angeles clinic prescribed more than 1.1 million

OxyContin tablets and that Purdue’s district manager described it internally as “an organized

drug ring” until years after law enforcement shut it down. In doing so, Purdue protected its own

profits at the expense of public health and safety.106

        156. Like Purdue, Endo has been cited for its failure to set up an effective system for

identifying and reporting suspicious prescribing. In its settlement agreement with Endo, the State

of New York found that Endo failed to require sales representatives to report signs of abuse,


106
   Harriet Ryan et al., More Than 1 Million Oxycontin Pills Ended Up in the Hands of Criminals and Addicts. What
the Drugmaker Knew, L.A. Times, July 10, 2016, http://www.latimes.com/projects/la-me-oxycontin-part2/.




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diversion, and inappropriate prescribing; paid bonuses to sales representatives for detailing

prescribers who were subsequently arrested or convicted for illegal prescribing; and failed to

prevent sales representatives from visiting prescribers whose suspicious conduct had caused

them to be placed on a no-call list.

               3. The Manufacturer Defendants Targeted Susceptible Prescribers and
                  Vulnerable Patient Populations.

           157. As a part of their deceptive marketing scheme, the Manufacturer Defendants

identified and targeted susceptible prescribers and vulnerable patient populations in the U.S.,

including this State and Plaintiff’s Community. For example, the Manufacturer Defendants

focused their deceptive marketing on primary care doctors, who were more likely to treat chronic

pain patients and prescribe them drugs, but were less likely to be educated about treating pain

and the risks and benefits of opioids and therefore more likely to accept the Manufacturer

Defendants’ misrepresentations.

           158. The Manufacturer Defendants also targeted vulnerable patient populations like the

elderly and veterans, who tend to suffer from chronic pain. The Manufacturer Defendants

targeted these vulnerable patients even though the risks of long-term opioid use were

significantly greater for them. For example, the 2016 CDC Guideline observes that existing

evidence confirms that elderly patients taking opioids suffer from elevated fall and fracture risks,

reduced renal function and medication clearance, and a smaller window between safe and unsafe

dosages.107 The 2016 CDC Guideline concludes that there must be “additional caution and

increased monitoring” to minimize the risks of opioid use in elderly patients. Id. at 27. The same




107
      2016 CDC Guideline at 13.




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is true for veterans, who are more likely to use anti-anxiety drugs (benzodiazepines) for post-

traumatic stress disorder, which interact dangerously with opioids.

               4. Insys Employed Fraudulent, Illegal, and Misleading Marketing Schemes to
                  Promote Subsys.

           159. Insys’s opioid, Subsys, was approved by the FDA in 2012 for “management of

breakthrough pain in adult cancer patients who are already receiving and who are tolerant to

around-the-clock opioid therapy for their underlying persistent cancer pain.” Under FDA rules,

Insys could only market Subsys for this use. Subsys consists of the highly addictive narcotic,

fentanyl, administered via a sublingual (under the tongue) spray, which provides rapid-onset pain

relief.     It is in the class of drugs described as Transmucosal Immediate-Release Fentanyl

(“TIRF”).

           160. To reduce the risk of abuse, misuse, and diversion, the FDA instituted a Risk

Evaluation and Mitigation Strategy (“REMS”) for Subsys and other TIRF products, such as

Cephalon’s Actiq and Fentora. The purpose of REMS was to educate “prescribers, pharmacists,

and patients on the potential for misuse, abuse, addiction, and overdose” for this type of drug and

to “ensure safe use and access to these drugs for patients who need them.”108 Prescribers must

enroll in the TIRF REMS before writing a prescription for Subsys.

           161. Since its launch, Subsys has been an extremely expensive medication, and its price

continues to rise each year. Depending on a patient’s dosage and frequency of use, a month’s

supply of Subsys could cost in the thousands of dollars.

           162. Due to its high cost, in most instances prescribers must submit Subsys prescriptions

to insurance companies or health benefit payors for prior authorization to determine whether they


108
      Press Release, FDA, FDA Approves Shared System REMS for TIRF Products, Dec. 29, 2011.




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will pay for the drug prior to the patient attempting to fill the prescription. According to the U.S.

Senate Homeland Security and Governmental Affairs Committee Minority Staff Report (“Staff

Report”), the prior authorization process includes “confirmation that the patient had an active

cancer diagnosis, was being treated by an opioid (and, thus, was opioid tolerant), and was being

prescribed Subsys to treat breakthrough pain that the other opioid could not eliminate. If any one

of these factors was not present, the prior authorization would be denied . . . .” 109

        163. These prior authorization requirements proved to be daunting. Subsys received

reimbursement approval in only approximately 30% of submitted claims. In order to increase

approvals, Insys created a prior authorization unit, called the Insys Reimbursement Center

(“IRC”), to obtain approval for Subsys reimbursements. This unit employed a number of

fraudulent and misleading tactics to secure reimbursements, including falsifying medical

histories of patients, falsely claiming that patients had cancer, and providing misleading

information to insurers and payors regarding patients’ diagnoses and medical conditions.

        164. Subsys has proved to be extremely profitable for Insys. Insys made approximately

$330 million in net revenue from Subsys last year. Between 2013 and 2016, the value of Insys

stock rose 296%.

        165. Since its launch in 2012, Insys aggressively worked to grow its profits through

fraudulent, illegal, and misleading tactics, including its reimbursement-related fraud. Through

its sales representatives and other marketing efforts, Insys deceptively promoted Subsys as safe

and appropriate for uses such as neck and back pain, without disclosing the lack of approval or

evidence for such uses, and misrepresented the appropriateness of Subsys for treatment those


109
  U.S. Senate Homeland Security & Governmental Affairs Committee, Fueling an Epidemic, Insys Therapeutics
and the Systemic Manipulation of Prior Authorization, https://www.documentcloud.org/documents/3987564-
REPORT-Fueling-an-Epidemic-Insys-Therapeutics.html.




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conditions. It implemented a kickback scheme wherein it paid prescribers for fake speakers

programs in exchange for prescribing Subsys. All of these fraudulent and misleading schemes

had the effect of pushing Insys’s dangerous opioid onto patients who did not need it.

            166. Insys incentivized its sales force to engage in illegal and fraudulent conduct. Many

of the Insys sales representatives were new to the pharmaceutical industry and their base salaries

were low compared to industry standard. The compensation structure was heavily weighted

toward commissions and rewarded reps more for selling higher (and more expensive) doses of

Subsys, a “highly unusual” practice because most companies consider dosing a patient-specific

decision that should be made by a doctor.110

            167. The Insys “speakers program” was perhaps its most widespread and damaging

scheme. A former Insys salesman, Ray Furchak, alleged in a qui tam action that the sole purpose

of the speakers program was “in the words of his then supervisor Alec Burlakoff, ‘to get money

in the doctor’s pocket.’” Furchak went on to explain that “[t]he catch . . . was that doctors who

increased the level of Subsys prescriptions, and at higher dosages (such as 400 or 800

micrograms instead of 200 micrograms), would receive the invitations to the program—and the

checks.”111 It was a pay-to-prescribe program.

            168. Insys’s sham speaker program and other fraudulent and illegal tactics have been

outlined in great detail in indictments and guilty pleas of Insys executives, employees, and

prescribers across the country, as well as in a number of lawsuits against the company itself.

            169. In May of 2015, two Alabama pain specialists were arrested and charged with

illegal prescription drug distribution, among other charges. The doctors were the top prescribers

110
      Id.
111
   Roddy Boyd, “Insys Therapeutics and the New ‘Killing It’,” Southern Investigative Reporting Foundation, The
Investigator, April 24, 2015.




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of Subsys, though neither were oncologists. According to prosecutors, the doctors received

illegal kickbacks from Insys for prescribing Subsys. Both doctors had prescribed Subsys to treat

neck, back, and joint pain. In February of 2016, a former Insys sales manager pled guilty to

conspiracy to commit health care fraud, including engaging in a kickback scheme in order to

induce one of these doctors to prescribe Subsys. The plea agreement states that nearly all of the

Subsys prescriptions written by the doctor were off-label to non-cancer patients.      In May of

2017, one of the doctors was sentenced to 20 years in prison.

       170. In June of 2015, a nurse practitioner in Connecticut described as the state’s highest

Medicare prescriber of narcotics, pled guilty to receiving $83,000 in kickbacks from Insys for

prescribing Subsys. Most of her patients were prescribed the drug for chronic pain. Insys paid

the nurse as a speaker for more than 70 dinner programs at approximately $1,000 per event;

however, she did not give any presentations. In her guilty plea, the nurse admitted receiving the

speaker fees in exchange for writing prescriptions for Subsys.

       171. In August of 2015, Insys settled a complaint brought by the Oregon Attorney

General. In its complaint, the Oregon Department of Justice cited Insys for, among other things,

misrepresenting to doctors that Subsys could be used to treat migraine, neck pain, back pain, and

other uses for which Subsys is neither safe nor effective, and using speaking fees as kickbacks to

incentivize doctors to prescribe Subsys.

       172. In August of 2016, the State of Illinois sued Insys for similar deceptive and illegal

practices. The Complaint alleged that Insys marketed Subsys to high-volume prescribers of

opioid drugs instead of to oncologists whose patients experienced the breakthrough cancer pain

for which the drug is indicated. The Illinois Complaint also details how Insys used its speaker

program to pay high volume prescribers to prescribe Subsys. The speaker events took place at




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upscale restaurants in the Chicago area, and Illinois speakers received an “honorarium” ranging

from $700 to $5,100, and they were allowed to order as much food and alcohol as they wanted.

At most of the events, the “speaker” being paid by Insys did not speak, and, on many occasions,

the only attendees at the events were the speaker and an Insys sales representative.

            173. In December of 2016, six Insys executives and managers were indicted and then, in

October 2017, Insys’s founder and owner was arrested and charged with multiple felonies in

connection with an alleged conspiracy to bribe practitioners to prescribe Subsys and defraud

insurance companies. A U.S. Department of Justice press release explained that, among other

things: “Insys executives improperly influenced health care providers to prescribe a powerful

opioid for patients who did not need it, and without complying with FDA requirements, thus

putting patients at risk and contributing to the current opioid crisis.”112 A Drug Enforcement

Administration (“DEA”) Special Agent in Charge further explained that: “Pharmaceutical

companies whose products include controlled medications that can lead to addiction and

overdose have a special obligation to operate in a trustworthy, transparent manner, because their

customers’ health and safety and, indeed, very lives depend on it.”113

               5. The Manufacturer Defendants made Materially Deceptive Statements and
                  Concealed Material Facts.

            174. As alleged herein, the Manufacturer Defendants made and/or disseminated

deceptive statements regarding material facts and further concealed material facts, in the course

of manufacturing, marketing, and selling prescription opioids. The Manufacturer Defendants’




112
   Press Release, DOJ, U.S. Attorney’s Office, Dist. of Mass., Founder and Owner of Pharmaceutical Company
Insys Arrested and Charged with Racketeering (Oct. 26, 2017), https://www.justice.gov/usao-ma/pr/founder-and-
owner-pharmaceutical-company-insys-arrested-and-charged-racketeering.
113
      Id.




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actions were intentional and/or unlawful. Such statements include, but are not limited to, those

set out below and alleged throughout this Complaint.

       175. Defendant Purdue made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

             a. Creating, sponsoring, and assisting in the distribution of patient education
                materials distributed to consumers that contained deceptive statements;

             b. Creating and disseminating advertisements that contained deceptive statements
                concerning the ability of opioids to improve function long-term and concerning
                the evidence supporting the efficacy of opioids long-term for the treatment of
                chronic non-cancer pain;

             c. Disseminating misleading statements concealing the true risk of addiction and
                promoting the deceptive concept of pseudoaddiction through Purdue’s own
                unbranded publications and on internet sites Purdue operated that were marketed
                to and accessible by consumers;

             d. Distributing brochures to doctors, patients, and law enforcement officials that
                included deceptive statements concerning the indicators of possible opioid abuse;

             e. Sponsoring, directly distributing, and assisting in the distribution of publications
                that promoted the deceptive concept of pseudoaddiction, even for high-risk
                patients;

             f. Endorsing, directly distributing, and assisting in the distribution of publications
                that presented an unbalanced treatment of the long-term and dose-dependent risks
                of opioids versus NSAIDs;

             g. Providing significant financial support to pro-opioid KOL doctors who made
                deceptive statements concerning the use of opioids to treat chronic non-cancer
                pain;

             h. Providing needed financial support to pro-opioid pain organizations that made
                deceptive statements, including in patient education materials, concerning the use
                of opioids to treat chronic non-cancer pain;

             i. Assisting in the distribution of guidelines that contained deceptive statements
                concerning the use of opioids to treat chronic non-cancer pain and misrepresented
                the risks of opioid addiction;

             j. Endorsing and assisting in the distribution of CMEs containing deceptive
                statements concerning the use of opioids to treat chronic non-cancer pain;


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             k. Developing and disseminating scientific studies that misleadingly concluded
                opioids are safe and effective for the long-term treatment of chronic non-cancer
                pain and that opioids improve quality of life, while concealing contrary data;

             l. Assisting in the dissemination of literature written by pro-opioid KOLs that
                contained deceptive statements concerning the use of opioids to treat chronic non-
                cancer pain;

             m. Creating, endorsing, and supporting the distribution of patient and prescriber
                education materials that misrepresented the data regarding the safety and efficacy
                of opioids for the long-term treatment of chronic non-cancer pain, including
                known rates of abuse and addiction and the lack of validation for long-term
                efficacy;

             n. Targeting veterans by sponsoring and disseminating patient education marketing
                materials that contained deceptive statements concerning the use of opioids to
                treat chronic non-cancer pain;

             o. Targeting the elderly by assisting in the distribution of guidelines that contained
                deceptive statements concerning the use of opioids to treat chronic non-cancer
                pain and misrepresented the risks of opioid addiction in this population;

             p. Exclusively disseminating misleading statements in education materials to
                hospital doctors and staff while purportedly educating them on new pain
                standards;

             q. Making deceptive statements concerning the use of opioids to treat chronic non-
                cancer pain to prescribers through in-person detailing; and

             r. Withholding from law enforcement the names of prescribers Purdue believed to
                be facilitating the diversion of its opioid, while simultaneously marketing opioids
                to these doctors by disseminating patient and prescriber education materials and
                advertisements and CMEs they knew would reach these same prescribers.

       176. Defendant Endo made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

             a. Creating, sponsoring, and assisting in the distribution of patient education
                materials that contained deceptive statements;

             b. Creating and disseminating advertisements that contained deceptive statements
                concerning the ability of opioids to improve function long-term and concerning
                the evidence supporting the efficacy of opioids long-term for the treatment of
                chronic non-cancer pain;



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  c. Creating and disseminating paid advertisement supplements in academic journals
     promoting chronic opioid therapy as safe and effective for long term use for high
     risk patients;

  d. Creating and disseminating advertisements that falsely and inaccurately conveyed
     the impression that Endo’s opioids would provide a reduction in oral, intranasal,
     or intravenous abuse;

  e. Disseminating misleading statements concealing the true risk of addiction and
     promoting the misleading concept of pseudoaddiction through Endo’s own
     unbranded publications and on internet sites Endo sponsored or operated;

  f. Endorsing, directly distributing, and assisting in the distribution of publications
     that presented an unbalanced treatment of the long-term and dose-dependent risks
     of opioids versus NSAIDs;

  g. Providing significant financial support to pro-opioid KOLs, who made deceptive
     statements concerning the use of opioids to treat chronic non-cancer pain;

  h. Providing needed financial support to pro-opioid pain organizations – including
     over $5 million to the organization responsible for many of the most egregious
     misrepresentations – that made deceptive statements, including in patient
     education materials, concerning the use of opioids to treat chronic non-cancer
     pain;

  i. Targeting the elderly by assisting in the distribution of guidelines that contained
     deceptive statements concerning the use of opioids to treat chronic non-cancer
     pain and misrepresented the risks of opioid addiction in this population;

  j. Endorsing and assisting in the distribution of CMEs containing deceptive
     statements concerning the use of opioids to treat chronic non-cancer pain;

  k. Developing and disseminating scientific studies that deceptively concluded
     opioids are safe and effective for the long-term treatment of chronic non-cancer
     pain and that opioids improve quality of life, while concealing contrary data;

  l. Directly distributing and assisting in the dissemination of literature written by
     pro-opioid KOLs that contained deceptive statements concerning the use of
     opioids to treat chronic non-cancer pain, including the concept of
     pseudoaddiction;

  m. Creating, endorsing, and supporting the distribution of patient and prescriber
     education materials that misrepresented the data regarding the safety and efficacy
     of opioids for the long-term treatment of chronic non-cancer pain, including
     known rates of abuse and addiction and the lack of validation for long-term
     efficacy; and




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             n. Making deceptive statements concerning the use of opioids to treat chronic non-
                cancer pain to prescribers through in-person detailing.

       177. Defendant Janssen made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

             a. Creating, sponsoring, and assisting in the distribution of patient education
                materials that contained deceptive statements;

             b. Directly disseminating deceptive statements through internet sites over which
                Janssen exercised final editorial control and approval stating that opioids are safe
                and effective for the long-term treatment of chronic non-cancer pain and that
                opioids improve quality of life, while concealing contrary data;

             c. Disseminating deceptive statements concealing the true risk of addiction and
                promoting the deceptive concept of pseudoaddiction through internet sites over
                which Janssen exercised final editorial control and approval;

             d. Promoting opioids for the treatment of conditions for which Janssen knew, due to
                the scientific studies it conducted, that opioids were not efficacious and
                concealing this information;

             e. Sponsoring, directly distributing, and assisting in the dissemination of patient
                education publications over which Janssen exercised final editorial control and
                approval, which presented an unbalanced treatment of the long-term and dose
                dependent risks of opioids versus NSAIDs;

             f. Providing significant financial support to pro-opioid KOLs, who made deceptive
                statements concerning the use of opioids to treat chronic non-cancer pain;

             g. Providing necessary financial support to pro-opioid pain organizations that made
                deceptive statements, including in patient education materials, concerning the use
                of opioids to treat chronic non-cancer pain;

             h. Targeting the elderly by assisting in the distribution of guidelines that contained
                deceptive statements concerning the use of opioids to treat chronic non-cancer
                pain and misrepresented the risks of opioid addiction in this population;

             i. Targeting the elderly by sponsoring, directly distributing, and assisting in the
                dissemination of patient education publications targeting this population that
                contained deceptive statements about the risks of addiction and the adverse effects
                of opioids, and made false statements that opioids are safe and effective for the
                long-term treatment of chronic non-cancer pain and improve quality of life, while
                concealing contrary data;



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           j. Endorsing and assisting in the distribution of CMEs containing deceptive
              statements concerning the use of opioids to treat chronic non-cancer pain;

           k. Directly distributing and assisting in the dissemination of literature written by
              pro-opioid KOLs that contained deceptive statements concerning the use of
              opioids to treat chronic non-cancer pain, including the concept of
              pseudoaddiction;

           l. Creating, endorsing, and supporting the distribution of patient and prescriber
              education materials that misrepresented the data regarding the safety and efficacy
              of opioids for the long-term treatment of chronic non-cancer pain, including
              known rates of abuse and addiction and the lack of validation for long-term
              efficacy;

           m. Targeting veterans by sponsoring and disseminating patient education marketing
              materials that contained deceptive statements concerning the use of opioids to
              treat chronic non-cancer pain; and

           n. Making deceptive statements concerning the use of opioids to treat chronic non-
              cancer pain to prescribers through in-person detailing.

       178. Defendant Cephalon made and/or disseminated untrue, false and deceptive

statements, and concealed material facts in such a way to make their statements deceptive,

including, but not limited to, the following:

           a. Creating, sponsoring, and assisting in the distribution of patient education
              materials that contained deceptive statements;

           b. Sponsoring and assisting in the distribution of publications that promoted the
              deceptive concept of pseudoaddiction, even for high-risk patients;

           c. Providing significant financial support to pro-opioid KOL doctors who made
              deceptive statements concerning the use of opioids to treat chronic non-cancer
              pain and breakthrough chronic non-cancer pain;

           d. Developing and disseminating scientific studies that deceptively concluded
              opioids are safe and effective for the long-term treatment of chronic non-cancer
              pain in conjunction with Cephalon’s potent rapid-onset opioids;

           e. Providing needed financial support to pro-opioid pain organizations that made
              deceptive statements, including in patient education materials, concerning the use
              of opioids to treat chronic non-cancer pain;

           f. Endorsing and assisting in the distribution of CMEs containing deceptive
              statements concerning the use of opioids to treat chronic non-cancer pain;



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             g. Endorsing and assisting in the distribution of CMEs containing deceptive
                statements concerning the use of Cephalon’s rapid-onset opioids;

             h. Directing its marketing of Cephalon’s rapid-onset opioids to a wide range of
                doctors, including general practitioners, neurologists, sports medicine specialists,
                and workers’ compensation programs, serving chronic pain patients;

             i. Making deceptive statements concerning the use of Cephalon’s opioids to treat
                chronic non-cancer pain to prescribers through in-person detailing and speakers’
                bureau events, when such uses are unapproved and unsafe; and

             j. Making deceptive statements concerning the use of opioids to treat chronic non-
                cancer pain to prescribers through in-person detailing and speakers’ bureau
                events.

       179. Defendant Actavis made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

             a. Making deceptive statements concerning the use of opioids to treat chronic non-
                cancer pain to prescribers through in-person detailing;

             b. Creating and disseminating advertisements that contained deceptive statements
                that opioids are safe and effective for the long-term treatment of chronic non-
                cancer pain and that opioids improve quality of life;

             c. Creating and disseminating advertisements that concealed the risk of addiction in
                the long-term treatment of chronic, non-cancer pain; and

             d. Developing and disseminating scientific studies that deceptively concluded
                opioids are safe and effective for the long-term treatment of chronic non-cancer
                pain and that opioids improve quality of life while concealing contrary data.

             6. The Manufacturer Defendants Fraudulently Concealed Their Misconduct.

       180. The Manufacturer Defendants, both individually and collectively, made, promoted,

and profited from their misrepresentations about the risks and benefits of opioids for chronic pain

even though they knew that their misrepresentations were false and deceptive. The history of

opioids, as well as research and clinical experience establish that opioids are highly addictive and

are responsible for a long list of very serious adverse outcomes. The FDA warned the

Manufacturer Defendants of this, and the Manufacturer Defendants had access to scientific


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studies, detailed prescription data, and reports of adverse events, including reports of addiction,

hospitalization, and death – all of which clearly described the harm from long-term opioid use

and that patients were suffering from addiction, overdose, and death in alarming numbers. More

recently, the FDA and CDC have issued pronouncements, based on medical evidence, that

conclusively expose the falsity of the Manufacturer Defendants’ misrepresentations, and Endo

and Purdue have recently entered into agreements in New York prohibiting them from making

some of the same misrepresentations described in this Complaint.

       181. At all times relevant to this Complaint, the Manufacturer Defendants took steps to

avoid detection of and to fraudulently conceal their deceptive marketing and unlawful, unfair,

and fraudulent conduct. For example, the Manufacturer Defendants disguised their role in the

deceptive marketing of chronic opioid therapy by funding and working through third parties like

Front Groups and KOLs. The Manufacturer Defendants purposefully hid behind the assumed

credibility of these individuals and organizations and relied on them to vouch for the accuracy

and integrity of the Manufacturer Defendants’ false and deceptive statements about the risks and

benefits of long-term opioid use for chronic pain. The Manufacturer Defendants also never

disclosed their role in shaping, editing, and approving the content of information and materials

disseminated by these third parties. The Manufacturer Defendants exerted considerable influence

on these promotional and “educational” materials in emails, correspondence, and meetings with

KOLs, Front Groups, and public relations companies that were not, and have not yet become,

public. For example, PainKnowledge.org, which is run by the NIPC, did not disclose Endo’s

involvement. Other Manufacturer Defendants, such as Purdue and Janssen, ran similar websites

that masked their own role.




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       182. Finally, the Manufacturer Defendants manipulated their promotional materials and

the scientific literature to make it appear that these documents were accurate, truthful, and

supported by objective evidence when they were not. The Manufacturer Defendants distorted the

meaning or import of studies they cited and offered them as evidence for propositions the studies

did not support. The Manufacturer Defendants invented “pseudoaddiction” and promoted it to an

unsuspecting medical community. The Manufacturer Defendants provided the medical

community with false and misleading information about ineffectual strategies to avoid or control

opioid addiction. The Manufacturer Defendants recommended to the medical community that

dosages be increased, without disclosing the risks. The Manufacturer Defendants spent millions

of dollars over a period of years on a misinformation campaign aimed at highlighting opioids’

alleged benefits, disguising the risks, and promoting sales. The lack of support for the

Manufacturer Defendants’ deceptive messages was not apparent to medical professionals who

relied upon them in making treatment decisions, nor could it have been detected by the Plaintiff

or Plaintiff’s Community. Thus, the Manufacturer Defendants successfully concealed from the

medical community, patients, and health care payors facts sufficient to arouse suspicion of the

claims that the Plaintiff now asserts. Plaintiff did not know of the existence or scope of the

Manufacturer Defendants’ industry-wide fraud and could not have acquired such knowledge

earlier through the exercise of reasonable diligence.

   C. THE DISTRIBUTOR               DEFENDANTS’         UNLAWFUL         DISTRIBUTION         OF
      OPIOIDS.

       183. The Distributor Defendants owe a duty under both federal law (21 U.S.C. § 823, 21

CFR 1301.74) and Wisconsin law (see, e.g., Wis. Admin. Code § Phar 8.10) to monitor, detect,

investigate, refuse to fill, and report suspicious orders of prescription opioids originating from




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Plaintiff’s Community as well as those orders which the Distributor Defendants knew or should

have known were likely to be diverted into Plaintiff’s Community.

       184. The foreseeable harm from a breach of these duties is the diversion of prescription

opioids for nonmedical purposes.

       185. Each Distributor Defendant repeatedly and purposefully breached its duties under

state and federal law.    Such breaches are a direct and proximate cause of the widespread

diversion of prescription opioids for nonmedical purposes into Plaintiff’s Community.

       186. The unlawful diversion of prescription opioids is a direct and proximate cause

and/or substantial contributing factor to the opioid epidemic, prescription opioid abuse,

addiction, morbidity and mortality in the State and in Plaintiff’s Community. This diversion and

the epidemic are direct causes of harms for which Plaintiff seeks to recover here.

       187. The opioid epidemic in the State, including, inter alia, in Plaintiff’s Community,

remains an immediate hazard to public health and safety.

       188. The opioid epidemic in Plaintiff’s Community is a temporary and continuous

public nuisance and remains unabated.

       189. The Distributor Defendants intentionally continued their conduct, as alleged herein,

with knowledge that such conduct was creating the opioid nuisance and causing the harms and

damages alleged herein.

           1. Wholesale Drug Distributors Have a Duty under State and Federal Law to
              Guard Against, and Report, Unlawful Diversion and to Report and Prevent
              Suspicious Orders.

       190. As under federal law, opioids are a Schedule II controlled substance under

Wisconsin law. See Wis. Stat. § 961.16. Opioids are categorized as “Schedule II” drugs because

they have a “high potential for abuse” and the potential to cause “severe psychic or physical

dependence” and/or “severe psychological . . . dependence.” 21 U.S.C. § 812(b)(2)(A)-(C).


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        191. Wisconsin law required Defendants to be licensed by the Wisconsin Pharmacy

Examining Board. Wis. Stat. § 450.071(1). See also Wis. Stat. § 961.001 et seq. (Wisconsin

Controlled Substances Act); Wis. Stat. § 961.31 (“The pharmacy examining board may

promulgate rules relating to the manufacture, distribution and dispensing of controlled

substances within this state.”); Wis. Admin. Code §§ Phar 13.01 et seq. (listing requirements for

distributors to receive license).

        192. The Wisconsin Pharmacy Examining Board has the authority to “deny, revoke,

suspend or limit the license” issued to Wholesale Distributors who “[e]ngage[] in unprofessional

conduct.” Wis. Stat. § 450.10(1)(b)(1). “Unprofessional conduct” includes, inter alia, making

material false statements or giving materially false information in connection with an

application; “[e]ngaging in false, misleading or deceptive advertising”; or making “a substantial

misrepresentation in the course of practice which is relied upon by another person.” Wis. Stat. §

450.10(1)(a)(1), (4) and (5). “Unprofessional conduct” also includes violating any Wisconsin or

federal statute or rule “which substantially relates to the practice of the licensee.” Wis. Stat. §

450.10(1)(a)(2). See also Wis. Admin. Code § Phar 13.17(2) (“Failure to comply with applicable

federal, state, and local laws and regulations constitutes unprofessional conduct.”).

        193. Except as authorized, it is unlawful to “manufacture, distribute, or deliver a

controlled substance[.]” Wis. Stat. § 961.41(1). See also Wis. Stat. § 961.42 (“It is unlawful for

any person knowingly to keep or maintain any . . . warehouse, . . . building, . . . or other structure

or place, . . . which is used for manufacturing, keeping or delivering [controlled substances] in

violation of [the Wisconsin Controlled Substances Act]”).

        194. Wisconsin Pharmacy Examining Board Regulations require manufacturers and

distributors of controlled substances to “maintain complete and accurate records of each




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controlled substance received, manufactured, distributed, dispensed or disposed of in any other

manner.” Wis. Admin. Code § Phar 8.02(1). See also Wis. Admin. Code § Phar 8.02(3)(f)

(requiring DEA registrants authorized to possess controlled substances to send a copy to the

Pharmacy Examining Board of any required report to the DEA of theft or loss of controlled

substances); Wis. Admin. Code § Phar 13.14(1) (“distributor shall establish and maintain

inventories and records of all transactions regarding . . . prescription drugs.”).

       195. Furthermore, Wisconsin law incorporates federal requirements set out under the

Controlled Substance Act and related controlled substance laws and regulations. To receive and

maintain a Wisconsin license, each of the Defendants who registered as Wholesale Distributors

assumed a duty to comply with “applicable federal, state, and local laws and regulations.” Wis.

Admin. Code § Phar 13.17(1). See also Wis. Stat. § 450.10(1)(a)(2); Wis. Admin. Code § Phar

13.17(2); Wis. Admin. Code § Phar 8.02(2) (records required by federal controlled substances

act shall be maintained); Wis. Admin. Code § Phar 12.05.

       196. Each Distributor Defendant was further required to register with the DEA, pursuant

to the federal Controlled Substance Act. See 21 U.S.C. § 823(b), (e); 28 C.F.R. § 0.100. Each

Distributor Defendant is a “registrant” as a wholesale distributor in the chain of distribution of

Schedule II controlled substances with a duty to comply with all security requirements imposed

under that statutory scheme. Wisconsin law adopts and incorporates those requirements, as set

out above. See, e.g., Wis. Admin. Code § Phar 13.17.

       197. Each Distributor Defendant has an affirmative duty under federal and Wisconsin

law to act as a gatekeeper, guarding against the diversion of the highly addictive, dangerous

opioid drugs. Federal law requires that Distributors of Schedule II drugs, including opioids, must

maintain “effective control against diversion of particular controlled substances into other than




                                       74
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legitimate medical, scientific, and industrial channels.” 21 U.S.C. §§ 823(b)(1). Wisconsin law

requires that all locations “where a wholesale distributor stores, handles, repackages, or offers for

sale prescription drugs” shall require that a “security system is maintained that will provide

suitable protection against theft and diversion.” Wis. Admin. Code § Phar 13.10(5); see also

Wis. Admin. Code § Phar 13.02(8). In addition, drug distributors shall “establish, maintain, and

adhere to written policies and procedures, which shall be followed for the receipt, security,

storage, inventory, and distribution of prescription drugs, including policies and procedures for

identifying, recording, and reporting losses or thefts[.]” Wis. Admin. Code § Phar 13.15.

       198. The Wisconsin Legislature has found that “the abuse of controlled substances

constitutes a serious problem for society” that the “manufacture, distribution, delivery,

possession and use of controlled substances for other than legitimate purposes have a substantial

and detrimental effect on the health and general welfare of the people of this state.” Wis. Stats.

§§ 961.001, 001(1m). The Wisconsin Pharmacy Examining Board considers factors “relevant to

and consistent with the public health and safety” when determining eligibility for a distributor’s

license. Wis. Admin. Code § Phar 13.06(5).

       199. Federal regulations and Wisconsin law impose a non-delegable duty upon

wholesale drug distributors to “design and operate a system to disclose to the registrant

suspicious orders of controlled substances. The registrant [distributor] shall inform the Field

Division Office of the Administration in his area of suspicious orders when discovered by the

registrant. Suspicious orders include orders of unusual size, orders deviating substantially from a

normal pattern, and orders of unusual frequency.” 21 C.F.R. § 1301.74(b). See also Wis. Admin.

Code § Phar 8.10 (“Manufacturers and distributors of controlled substances shall disclose




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suspicious orders of controlled substances. . . . The licensee shall notify the regional office of the

DEA and the board of all suspicious orders.”).

        200. “Suspicious orders” include orders of an unusual size, orders of unusual frequency

or orders deviating substantially from a normal pattern. See 21 CFR § 1301.74(b). These criteria

are disjunctive and are not all inclusive. For example, if an order deviates substantially from a

normal pattern, the size of the order does not matter and the order should be reported as

suspicious. Likewise, a wholesale distributor need not wait for a normal pattern to develop over

time before determining whether a particular order is suspicious. The size of an order alone,

regardless of whether it deviates from a normal pattern, is enough to trigger the wholesale

distributor’s responsibility to report the order as suspicious. The determination of whether an

order is suspicious depends not only on the ordering patterns of the particular customer but also

on the patterns of the entirety of the wholesale distributor’s customer base and the patterns

throughout the relevant segment of the wholesale distributor industry.114

        201. If an order deviates substantially from a normal pattern, the size of the order does

not matter and the order should be reported as suspicious. Likewise, a registrant need not wait for

a “normal pattern” to develop over time before determining where a particular order is

suspicious. The size of an order alone, whether or not it deviates from a normal pattern, is

enough to trigger the registrant's responsibility to report the order as suspicious. The

determination of whether an order is suspicious depends not only on the ordering patterns of a

particular customer, but also on the patterns of the registrant's customer base and the patterns

throughout the relevant segment of the regulated industry.


114
   Masters Pharmaceuticals, Inc.; Decision and Order, 80 Fed. Reg. 55,418-01, 55,421, 2015 WL 5320504,
(September 15, 2015) (quoting December 27, 2007 letter from the Deputy Assistant Administrator, Office of
Diversion Control, Drug Enforcement Administration, to all registered distributors).




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          202. In addition to reporting all suspicious orders, distributors must also stop shipment

on any order which is flagged as suspicious and only ship orders which were flagged as

potentially suspicious if, after conducting due diligence, the distributor can determine that the

order is not likely to be diverted into illegal channels. See Southwood Pharm., Inc., 72 Fed. Reg.

36,487, 36,501 (Drug Enf’t Admin. July 3, 2007); Masters Pharmaceutical, Inc. v. Drug Enft

Admin, 861 F.3d 206, 212, No. 15-11355 (D.C. Cir. June 30, 2017). Regardless, all flagged

orders must be reported. Id.

          203. These prescription drugs are regulated for the purpose of providing a “closed”

system intended to reduce the widespread diversion of these drugs out of legitimate

channels into the illicit market, while at the same time providing the legitimate drug industry

with a unified approach to narcotic and dangerous drug control.115

          204. Different entities supervise the discrete links in the chain that separate a consumer

from a controlled substance. Statutes and regulations define each participant’s role and

responsibilities.116

          205. As the DEA advised the Distributor Defendants in a letter to them dated September

27, 2006, wholesale distributors are “one of the key components of the distribution chain. If the

closed system is to function properly … distributors must be vigilant in deciding whether a


115
      See 1970 U.S.C.C.A.N. 4566, 4571-72.
116
   Brief for Healthcare Distribution Management Association and National Association of Chain Drug Stores as
Amici Curiae in Support of Neither Party, Masters Pharm., Inc. v. U.S. Drug Enf’t Admin. (No. 15-1335) (D.C. Cir.
Apr. 4, 2016), 2016 WL 1321983, at *22 [hereinafter Brief for HDMA and NACDS]. The Healthcare Distribution
Management Association (HDMA or HMA)—now known as the Healthcare Distribution Alliance (HDA)—is a
national, not-for-profit trade association that represents the nation’s primary, full-service healthcare distributors
whose membership includes, among others: AmerisourceBergen Drug Corporation, Cardinal Health, Inc., and
McKesson Corporation. See generally HDA, About, https://www.healthcaredistribution.org/about (last visited Aug.
21, 2017). The National Association of Chain Drug Stores (NACDS) is a national, not-for-profit trade association
that represents traditional drug stores and supermarkets and mass merchants with pharmacies whose membership
includes, among others: Walgreen Company, CVS Health, Rite Aid Corporation and Walmart. See generally
NACDS, Mission, https://www.nacds.org/ about/mission/ (last visited Aug. 21, 2017).




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prospective customer can be trusted to deliver controlled substances only for lawful purposes.

This responsibility is critical, as … the illegal distribution of controlled substances has a

substantial and detrimental effect on the health and general welfare of the American people.”117

            206. The Distributor Defendants have admitted that they are responsible for reporting

suspicious orders.118

            207. The DEA sent a letter to each of the Distributor Defendants on September 27,

2006, warning that it would use its authority to revoke and suspend registrations when

appropriate. The letter expressly states that a distributor, in addition to reporting suspicious

orders, has a “statutory responsibility to exercise due diligence to avoid filling suspicious orders

that might be diverted into other than legitimate medical, scientific, and industrial channels.”119

The letter also instructs that “distributors must be vigilant in deciding whether a prospective

customer can be trusted to deliver controlled substances only for lawful purposes.” 120 The DEA

warns that “even just one distributor that uses its DEA registration to facilitate diversion can

cause enormous harm.”121




117
    See Letter from Joseph T. Rannazzisi, Deputy Assistant Adm’r, Office of Diversion Control, Drug. Enf’t
Admin., U.S. Dep’t of Justice, to Cardinal Health (Sept. 27, 2006) [hereinafter Rannazzisi Letter] (“This letter is
being sent to every commercial entity in the United States registered with the Drug Enforcement Agency (DEA) to
distribute controlled substances. The purpose of this letter is to reiterate the responsibilities of controlled substance
distributors in view of the prescription drug abuse problem our nation currently faces.”), filed in Cardinal Health,
Inc. v. Holder, No. 1:12-cv-00185-RBW (D.D.C. Feb. 10, 2012), ECF No. 14-51.
118
   See Brief for HDMA and NACDS, 2016 WL 1321983, at *4 (“[R]egulations . . . in place for more than 40 years
require distributors to report suspicious orders of controlled substances to DEA based on information readily
available to them (e.g., a pharmacy’s placement of unusually frequent or large orders).”).
119
      Rannazzisi Letter, at 2.
120
      Id. at 1.
121
      Id. at 2.




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            208. The DEA sent a second letter to each of the Distributor Defendants on December

27, 2007.122 This letter reminds the Defendants of their statutory and regulatory duties to

“maintain effective controls against diversion” and “design and operate a system to disclose to

the registrant suspicious orders of controlled substances.”123 The letter further explains:

            The regulation also requires that the registrant inform the local DEA Division
            Office of suspicious orders when discovered by the registrant. Filing a monthly
            report of completed transactions (e.g., “excessive purchase report” or “high unity
            purchases”) does not meet the regulatory requirement to report suspicious orders.
            Registrants are reminded that their responsibility does not end merely with the
            filing of a suspicious order report. Registrants must conduct an independent
            analysis of suspicious orders prior to completing a sale to determine whether the
            controlled substances are likely to be diverted from legitimate channels.
            Reporting an order as suspicious will not absolve the registrant of responsibility if
            the registrant knew, or should have known, that the controlled substances were
            being diverted.

            The regulation specifically states that suspicious orders include orders of unusual
            size, orders deviating substantially from a normal pattern, and orders of an
            unusual frequency. These criteria are disjunctive and are not all inclusive. For
            example, if an order deviates substantially from a normal pattern, the size of the
            order does not matter and the order should be reported as suspicious. Likewise, a
            registrant need not wait for a “normal pattern” to develop over time before
            determining whether a particular order is suspicious. The size of an order alone,
            whether or not it deviates from a normal pattern, is enough to trigger the
            registrant’s responsibility to report the order as suspicious. The determination of
            whether an order is suspicious depends not only on the ordering patterns of the
            particular customer, but also on the patterns of the registrant’s customer base and
            the patterns throughout the segment of the regulated industry.

            Registrants that rely on rigid formulas to define whether an order is suspicious
            may be failing to detect suspicious orders. For example, a system that identifies
            orders as suspicious only if the total amount of a controlled substance ordered
            during one month exceeds the amount ordered the previous month by a certain
            percentage or more is insufficient. This system fails to identify orders placed by a
            pharmacy if the pharmacy placed unusually large orders from the beginning of its
            relationship with the distributor. Also, this system would not identify orders as
            suspicious if the order were solely for one highly abused controlled substance if

  See Letter from Joseph T. Rannazzisi, Deputy Assistant Adm’r, Office of Diversion Control, Drug. Enf’t Admin.,
122

U.S. Dep’t of Justice, to Cardinal Health (Dec. 27, 2007), filed in Cardinal Health, Inc. v. Holder, No. 1:12-cv-
00185-RBW (D.D.C. Feb. 10, 2012), ECF No. 14-8.
123
      Id.




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            the orders never grew substantially. Nevertheless, ordering one highly abused
            controlled substance and little or nothing else deviates from the normal pattern of
            what pharmacies generally order.

            When reporting an order as suspicious, registrants must be clear in their
            communication with DEA that the registrant is actually characterizing an order as
            suspicious. Daily, weekly, or monthly reports submitted by registrant indicating
            “excessive purchases” do not comply with the requirement to report suspicious
            orders, even if the registrant calls such reports “suspicious order reports.”

            Lastly, registrants that routinely report suspicious orders, yet fill these orders
            without first determining that order is not being diverted into other than legitimate
            medical, scientific, and industrial channels, may be failing to maintain effective
            controls against diversion. Failure to maintain effective controls against diversion
            is inconsistent with the public interest as that term is used in 21 USC 823 and 824,
            and may result in the revocation of the registrant’s DEA Certificate of
            Registration.124

Finally, the DEA letter references the Revocation of Registration issued in Southwood

Pharmaceuticals, Inc., 72 Fed. Reg. 36,487-01 (July 3, 2007), which discusses the obligation to

report suspicious orders and “some criteria to use when determining whether an order is

suspicious.”125

            209. The Distributor Defendants admit that they “have not only statutory and regulatory

responsibilities to detect and prevent diversion of controlled prescription drugs, but undertake

such efforts as responsible members of society.”126

            210. The Distributor Defendants knew they were required to monitor, detect, and halt

suspicious orders. Industry compliance guidelines established by the Healthcare Distribution

Management Association, the trade association of pharmaceutical distributors, explain that

distributors are “[a]t the center of a sophisticated supply chain” and therefore “are uniquely

situated to perform due diligence in order to help support the security of the controlled

124
      Id.
125
      Id.
126
      See Brief of HDMA, 2012 WL 1637016, at *2.




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substances they deliver to their customers.” The guidelines set forth recommended steps in the

“due diligence” process, and note in particular: If an order meets or exceeds a distributor’s

threshold, as defined in the distributor’s monitoring system, or is otherwise characterized by the

distributor as an order of interest, the distributor should not ship to the customer, in fulfillment of

that order, any units of the specific drug code product as to which the order met or exceeded a

threshold or as to which the order was otherwise characterized as an order of interest. 127

        211. Each of the Distributor Defendants sold prescription opioids, including

hydrocodone and/or oxycodone, to retailers in Plaintiff’s Community and/or to retailers from

which Distributor Defendants knew prescription opioids were likely to be diverted to Plaintiff’s

Community.

        212. Each Distributor Defendant owes a duty to monitor and detect suspicious orders of

prescription opioids.

        213. Each Distributor Defendant owes a duty under federal and state law to investigate

and refuse suspicious orders of prescription opioids.

        214. Each Distributor Defendant owes a duty under federal and state law to report

suspicious orders of prescription opioids.

        215. Each Distributor Defendant owes a duty under federal and state law to prevent the

diversion of prescription opioids into illicit markets in the State and Plaintiff’s Community.

        216. The foreseeable harm resulting from a breach of these duties is the diversion of

prescription opioids for nonmedical purposes and subsequent plague of opioid addiction.




127
   Healthcare Distribution Management Association (HDMA) Industry Compliance Guidelines: Reporting
Suspicious Orders and Preventing Diversion of Controlled Substances, filed in Cardinal Health, Inc. v. Holder, No.
12-5061 (D.C. Cir. Mar. 7, 2012), Doc. No. 1362415 (app. B).




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        217. The foreseeable harm resulting from the diversion of prescription opioids for

nonmedical purposes is abuse, addiction, morbidity and mortality in Plaintiff’s Community and

the damages caused thereby.

             2. The Distributor Defendants Breached Their Duties.

        218. Because distributors handle such large volumes of controlled substances, and are

the first major line of defense in the movement of legal pharmaceutical controlled substances

from legitimate channels into the illicit market, it is incumbent on distributors to maintain

effective controls to prevent diversion of controlled substances. Should a distributor deviate from

these checks and balances, the closed system collapses.128

        219. The sheer volume of prescription opioids distributed to pharmacies in the Plaintiff’s

Community, and/or to pharmacies from which the Distributor Defendants knew the opioids were

likely to be diverted into Plaintiff’s Community, is excessive for the medical need of the

community and facially suspicious. Some red flags are so obvious that no one who engages in

the legitimate distribution of controlled substances can reasonably claim ignorance of them. 129

        220. The Distributor Defendants failed to report “suspicious orders” originating from

Plaintiff’s Community, or which the Distributor Defendants knew were likely to be diverted to

Plaintiff’s Community, to the federal and state authorities, including the DEA and/or the state

Board of Pharmacy.

        221. The Distributor Defendants unlawfully filled suspicious orders of unusual size,

orders deviating substantially from a normal pattern and/or orders of unusual frequency in



128
   See Rannazzisi Decl. ¶ 10, filed in Cardinal Health, Inc. v. Holder, No. 1:12-cv-00185-RBW (D.D.C. Feb. 10,
2012), ECF No. 14-2.
129
   Masters Pharmaceuticals, Inc., 80 Fed. Reg. 55,418-01, 55,482 (Sept. 15, 2015) (citing Holiday CVS, L.L.C.,
d/b/a CVS/Pharmacy Nos. 219 and 5195, 77 Fed. Reg. 62,316, 62,322 (2012)).




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Plaintiff’s Community, and/or in areas from which the Distributor Defendants knew opioids

were likely to be diverted to Plaintiff’s Community.

           222. The Distributor Defendants breached their duty to monitor, detect, investigate,

refuse and report suspicious orders of prescription opiates originating from Plaintiff’s

Community, and/or in areas from which the Distributor Defendants knew opioids were likely to

be diverted to Plaintiff’s Community.

           223. The Distributor Defendants breached their duty to maintain effective controls

against diversion of prescription opiates into other than legitimate medical, scientific, and

industrial channels.

           224. The Distributor Defendants breached their duty to “design and operate a system to

disclose to the registrant suspicious orders of controlled substances” and failed to inform the

authorities including the DEA of suspicious orders when discovered, in violation of their duties

under federal and state law.

           225. The Distributor Defendants breached their duty to exercise due diligence to avoid

filling suspicious orders that might be diverted into channels other than legitimate medical,

scientific and industrial channels.130

           226. The federal and state laws at issue here are public safety laws.

           227. The Distributor Defendants’ violations of public safety statutes constitute prima

facie evidence of negligence under State law.

           228. The Distributor Defendants supplied prescription opioids to obviously suspicious

physicians and pharmacies, enabled the illegal diversion of opioids, aided criminal activity, and

disseminated massive quantities of prescription opioids into the black market.

130
      See Cardinal Health, Inc. v. Holder, 846 F. Supp. 2d 203, 206 (D.D.C. 2012).




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       229. The unlawful conduct by the Distributor Defendants is purposeful and intentional.

The Distributor Defendants refuse to abide by the duties imposed by federal and state law which

are required to legally acquire and maintain a license to distribute prescription opiates.

       230. The Distributor Defendants acted with actual malice in breaching their duties, i.e.,

they have acted with a conscious disregard for the rights and safety of other persons, and said

actions have a great probability of causing substantial harm.

       231. The Distributor Defendants’ repeated shipments of suspicious orders, over an

extended period of time, in violation of public safety statutes, and without reporting the

suspicious orders to the relevant authorities demonstrates wanton, willful, or reckless conduct or

criminal indifference to civil obligations affecting the rights of others.

           3. The Distributor Defendants Have Sought to Avoid and Have Misrepresented
              their Compliance with Their Legal Duties.

       232. The Distributor Defendants have repeatedly misrepresented their compliance with

their legal duties under state and federal law and have wrongfully and repeatedly disavowed

those duties in an effort to mislead regulators and the public regarding the Distributor

Defendants’ compliance with their legal duties.

       233. Distributor Defendants have refused to recognize any duty beyond reporting

suspicious orders. In Masters Pharmaceuticals, the HDMA, a trade association run by the

Distributor Defendants, and the NACDS submitted amicus briefs regarding the legal duty of

wholesale distributors. Inaccurately denying the legal duties that the wholesale drug industry has

been tragically recalcitrant in performing, they argued as follows:

           a. The Associations complained that the “DEA has required distributors not only to
              report suspicious orders, but to investigate orders (e.g., by interrogating




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                       pharmacies and physicians) and take action to halt suspicious orders before they
                       are filled.”131

                    b. The Associations argued that, “DEA now appears to have changed its position to
                       require that distributors not only report suspicious orders, but investigate and halt
                       suspicious orders. Such a change in agency position must be accompanied by an
                       acknowledgment of the change and a reasoned explanation for it. In other words,
                       an agency must display awareness that it is changing position and show that there
                       are good reasons for the new policy. This is especially important here, because
                       imposing intrusive obligations on distributors threatens to disrupt patient access to
                       needed prescription medications.”132

                    c. The Associations alleged (inaccurately) that nothing “requires distributors to
                       investigate the legitimacy of orders, or to halt shipment of any orders deemed to
                       be suspicious.”133

                    d. The Association complained that the purported “practical infeasibility of requiring
                       distributors to investigate and halt suspicious orders (as well as report them)
                       underscores the importance of ensuring that DEA has complied with the APA
                       before attempting to impose such duties.”134

                    e. The Associations alleged (inaccurately) that “DEA’s regulations [] sensibly
                       impose[] a duty on distributors simply to report suspicious orders, but left it to
                       DEA and its agents to investigate and halt suspicious orders.”135

                    f. Also inaccurately, the Associations argued that, “[i]mposing a duty on distributors
                       – which lack the patient information and the necessary medical expertise – to
                       investigate and halt orders may force distributors to take a shot-in-the-dark
                       approach to complying with DEA’s demands.”136

            234. The positions taken by the trade groups is emblematic of the position taken by the

Distributor Defendants in a futile attempt to deny their legal obligations to prevent diversion of

the dangerous drugs.137


131
      Brief for HDMA and NACDS, 2016 WL 1321983, at *4–5.
132
      Id. at *8 (citations and quotation marks omitted).
133
      Id. at *14.
134
      Id. at *22.
135
      Id. at *24–25.
136
      Id. at *26.
137
    See Brief of HDMA, 2012 WL 1637016, at *3 (arguing the wholesale distributor industry “does not know the
rules of the road because” they claim (inaccurately) that the “DEA has not adequately explained them”).




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        235. The Court of Appeals for the District of Columbia recently issued its opinion

affirming that a wholesale drug distributor does, in fact, have duties beyond reporting. Masters

Pharm., Inc. v. Drug Enf’t Admin., 861 F.3d 206 (D.C. Cir. 2017). The D.C. Circuit Court

upheld the revocation of Master Pharmaceutical’s license and determined that DEA regulations

require that in addition to reporting suspicious orders, distributors must “decline to ship the

order, or conduct some ‘due diligence’ and—if it is able to determine that the order is not likely

to be diverted into illegal channels—ship the order.” Id. at 212. Master Pharmaceutical was in

violation of legal requirements because it failed to conduct necessary investigations and filled

suspicious orders. Id. at 218–19, 226. A distributor’s investigation must dispel all the red flags

giving rise to suspicious circumstances prior to shipping a suspicious order. Id. at 226. The

Circuit Court also rejected the argument made by the HDMA and NACDS (quoted above), that,

allegedly, the DEA had created or imposed new duties. Id. at 220.

        236. Wholesale Distributor McKesson has recently been forced to specifically admit to

breach of its duties to monitor, report, and prevent suspicious orders. Pursuant to an

Administrative Memorandum of Agreement (“2017 Agreement”) entered into between

McKesson and the DEA in January 2017, McKesson admitted that, at various times during the

period from January 1, 2009 through the effective date of the Agreement (January 17, 2017) it

“did not identify or report to [the] DEA certain orders placed by certain pharmacies which

should have been detected by McKesson as suspicious based on the guidance contained in the

DEA Letters.”138 Further, the 2017 Agreement specifically finds that McKesson “distributed

controlled substances to pharmacies even though those McKesson Distribution Centers should


138
   See Administrative Memorandum of Agreement between the U.S. Dep’t of Justice, the Drug Enf’t Admin., and
the McKesson Corp. (Jan. 17, 2017), https://www.justice.gov/opa/press-release/file/928476/download.




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have known that the pharmacists practicing within those pharmacies had failed to fulfill their

corresponding responsibility to ensure that controlled substances were dispensed pursuant to

prescriptions issued for legitimate medical purposes by practitioners acting in the usual course of

their professional practice, as required by 21 C.F.R § 1306.04(a).”139 McKesson admitted that,

during this time period, it “failed to maintain effective controls against diversion of particular

controlled substances into other than legitimate medical, scientific and industrial channels by

sales to certain of its customers in violation of the CSA and the CSA’s implementing regulations,

21 C.F.R. Part 1300 et seq., at the McKesson Distribution Centers.”140 Due to these violations,

McKesson agreed that its authority to distribute controlled substances from numerous facilities

would be partially suspended.141

            237. The 2017 Memorandum of Agreement followed a 2008 Settlement Agreement in

which McKesson also admitted failure to report suspicious orders of controlled substances to the

DEA.142 In the 2008 Settlement Agreement, McKesson “recognized that it had a duty to monitor

its sales of all controlled substances and report suspicious orders to DEA,” but had failed to do

so.143 The 2017 Memorandum of Agreement documents that McKesson continued to breach its

admitted duties by “fail[ing] to properly monitor its sales of controlled substances and/or report

suspicious orders to DEA, in accordance with McKesson’s obligations.”144 As a result of these

violations, McKesson was fined and required to pay to the United States $150,000,000.145


139
      Id. at 4.
140
      Id.
141
      Id. at 6.
142
      Id. at 4.
143
      Id.
144
   Id.; see also Settlement Agreement and Release between the U.S. and McKesson Corp., at 5 (Jan. 17, 2017)
[hereinafter 2017 Settlement Agreement and Release] (“McKesson acknowledges that, at various times during the
Covered Time Period [2009-2017], it did not identify or report to DEA certain orders placed by certain pharmacies,



                                             87
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            238. Even though McKesson had been sanctioned in 2008 for failure to comply with its

legal obligations regarding controlling diversion and reporting suspicious orders, and even

though McKesson had specifically agreed in 2008 that it would no longer violate those

obligations, McKesson continued to violate the laws in contrast to its written agreement not to do

so.

            239. Because of the Distributor Defendants’ refusal to abide by their legal obligations,

the DEA has repeatedly taken administrative action to attempt to force compliance. For example,

in May 2014, the United States Department of Justice, Office of the Inspector General,

Evaluation and Inspections Divisions, reported that the DEA issued final decisions in 178

registrant actions between 2008 and 2012.146 The Office of Administrative Law Judges issued a

recommended decision in a total of 117 registrant actions before the DEA issued its final

decision, including 76 actions involving orders to show cause and 41 actions involving

immediate suspension orders.147 These actions include the following:

               a. On April 24, 2007, the DEA issued an Order to Show Cause and Immediate
                  Suspension Order against the AmerisourceBergen Orlando, Florida distribution
                  center (“Orlando Facility”) alleging failure to maintain effective controls against
                  diversion of controlled substances. On June 22, 2007, AmerisourceBergen entered
                  into a settlement that resulted in the suspension of its DEA registration;

               b. On November 28, 2007, the DEA issued an Order to Show Cause and Immediate
                  Suspension Order against the Cardinal Health Auburn, Washington Distribution
                  Center (“Auburn Facility”) for failure to maintain effective controls against
                  diversion of hydrocodone;



which should have been detected by McKesson as suspicious, in a manner fully consistent with the requirements set
forth in the 2008 MOA.”), https://www.justice.gov/opa/press-release/file/928471/download.
145
      See 2017 Settlement Agreement and Release, at 6.
  Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
146

Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.
147
      Id.




                                            88
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  c. On December 5, 2007, the DEA issued an Order to Show Cause and Immediate
     Suspension Order against the Cardinal Health Lakeland, Florida Distribution
     Center (“Lakeland Facility”) for failure to maintain effective controls against
     diversion of hydrocodone;

  d. On December 7, 2007, the DEA issued an Order to Show Cause and Immediate
     Suspension Order against the Cardinal Health Swedesboro, New Jersey
     Distribution Center (“Swedesboro Facility”) for failure to maintain effective
     controls against diversion of hydrocodone;

  e. On January 30, 2008, the DEA issued an Order to Show Cause and Immediate
     Suspension Order against the Cardinal Health Stafford, Texas Distribution Center
     (“Stafford Facility”) for failure to maintain effective controls against diversion of
     hydrocodone;

  f. On May 2, 2008, McKesson Corporation entered into an Administrative
     Memorandum of Agreement (“McKesson 2008 MOA”) with the DEA which
     provided that McKesson would “maintain a compliance program designed to
     detect and prevent the diversion of controlled substances, inform DEA of
     suspicious orders required by 21 C.F.R. § 1301.74(b), and follow the procedures
     established by its Controlled Substance Monitoring Program”;

  g. On September 30, 2008, Cardinal Health entered into a Settlement and Release
     Agreement and Administrative Memorandum of Agreement with the DEA related
     to its Auburn Facility, Lakeland Facility, Swedesboro Facility and Stafford
     Facility. The document also referenced allegations by the DEA that Cardinal
     failed to maintain effective controls against the diversion of controlled substances
     at its distribution facilities located in McDonough, Georgia (“McDonough
     Facility”), Valencia, California (“Valencia Facility”) and Denver, Colorado
     (“Denver Facility”);

  h. On February 2, 2012, the DEA issued an Order to Show Cause and Immediate
     Suspension Order against the Cardinal Health Lakeland, Florida Distribution
     Center (“Lakeland Facility”) for failure to maintain effective controls against
     diversion of oxycodone;

  i. On December 23, 2016, Cardinal Health agreed to pay a $44 million fine to the
     DEA to resolve the civil penalty portion of the administrative action taken against
     its Lakeland, Florida Distribution Center; and

  j. On January 5, 2017, McKesson Corporation entered into an Administrative
     Memorandum Agreement with the DEA wherein it agreed to pay a $150 million
     civil penalty for violation of the McKesson 2008 MOA as well as failure to
     identify and report suspicious orders at its facilities in Aurora CO, Aurora IL,
     Delran NJ, LaCrosse WI, Lakeland FL, Landover MD, La Vista NE, Livonia MI,
     Methuen MA, Santa Fe Springs CA, Washington Courthouse OH and West
     Sacramento CA.



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        240. Rather than abide by their non-delegable duties under public safety laws, the

Distributor Defendants, individually and collectively through trade groups in the industry,

pressured the U.S. Department of Justice to “halt” prosecutions and lobbied Congress to strip the

DEA of its ability to immediately suspend distributor registrations. The result was a “sharp drop

in enforcement actions” and the passage of the “Ensuring Patient Access and Effective Drug

Enforcement Act” which, ironically, raised the burden for the DEA to revoke a distributor’s

license from “imminent harm” to “immediate harm” and provided the industry the right to “cure”

any violations of law before a suspension order can be issued.148

        241. In addition to taking actions to limit regulatory prosecutions and suspensions, the

Distributor Defendants undertook to fraudulently convince the public that they were complying

with their legal obligations, including those imposed by licensing regulations. Through such

statements, the Distributor Defendants attempted to assure the public they were working to curb

the opioid epidemic.

        242. For example, a Cardinal Health executive claimed that it uses “advanced analytics”

to monitor its supply chain, and represented that it was being “as effective and efficient as

possible in constantly monitoring, identifying, and eliminating any outside criminal activity.” 149



148
   See Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid Epidemic
Grew Out of Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-slowed-
enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-
d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of
DEA Enforcement Slowdown Amid Opioid Crisis, Wash. Post, Mar. 6, 2017,
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-enforcement-
slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had No
Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-Mail, Feb. 18, 2017,
http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.
149
   Lenny Bernstein et al., How Drugs Intended for Patients Ended Up in the Hands of Illegal Users: “No One Was
Doing Their Job,” Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/how-drugs-intended-
for-patients-ended-up-in-the-hands-of-illegal-users-no-one-was-doing-their-job/2016/10/22/10e79396-30a7-11e6-
8ff7-7b6c1998b7a0_story.html.




                                        90
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Given the sales volumes and the company’s history of violations, this executive was either not

telling the truth, or, if Cardinal Health had such a system, it ignored the results.

        243. Similarly, Defendant McKesson publicly stated that it has a “best-in-class

controlled substance monitoring program to help identify suspicious orders,” and claimed it is

“deeply passionate about curbing the opioid epidemic in our country.”150 Again, given

McKesson’s historical conduct, this statement is either false, or the company ignored outputs of

the monitoring program.

        244. By misleading the public about the effectiveness of their controlled substance

monitoring programs, the Distributor Defendants successfully concealed the facts sufficient to

arouse suspicion of the claims that the Plaintiff now asserts. The Plaintiff did not know of the

existence or scope of Defendants’ industry-wide fraud and could not have acquired such

knowledge earlier through the exercise of reasonable diligence.

        245. Meanwhile, the opioid epidemic rages unabated in the Nation, the State, and in

Plaintiff’s Community.

        246. The epidemic still rages because the fines and suspensions imposed by the DEA do

not change the conduct of the industry. The distributors, including the Distributor Defendants,

pay fines as a cost of doing business in an industry that generates billions of dollars in annual

revenue. They hold multiple DEA registration numbers and when one facility is suspended, they

simply ship from another facility.

        247. The wrongful actions and omissions of the Distributor Defendants which have

caused the diversion of opioids and which have been a substantial contributing factor to and/or


150
   Scott Higham et al., Drug Industry Hired Dozens of Officials from the DEA as the Agency Tried to Curb Opioid
Abuse, Wash. Post, Dec. 22, 2016, https://www.washingtonpost.com/investigations/key-officials-switch-sides-from-
dea-to-pharmaceutical-industry/2016/12/22/55d2e938-c07b-11e6-b527-949c5893595e_story.html.




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proximate cause of the opioid crisis are alleged in greater detail in Plaintiff’s racketeering

allegations below.

         248. The Distributor Defendants have abandoned their duties imposed under federal and

state law, taken advantage of a lack of DEA law enforcement, and abused the privilege of

distributing controlled substances in the State and Plaintiff’s Community.

              4. The National Retail Pharmacies Were on Notice of and Contributed to Illegal
                 Diversion of Prescription Opioids

         249. National retail pharmacy chains earned enormous profits by flooding the country

with prescription opioids.151 They were keenly aware of the oversupply of prescription opioids

through the extensive data and information they developed and maintained as both distributors

and dispensaries. Yet, instead of taking any meaningful action to stem the flow of opioids into

communities, they continued to participate in the oversupply and profit from it.

         250. Each of the National Retail Pharmacies does substantial business throughout the

United States. This business includes the distribution and dispensing of prescription opioids.

         251. On information and belief, the National Retail Pharmacies distributed and

dispensed substantial quantities of prescription opioids, including fentanyl, hydrocodone, and

oxycodone in the State. In addition, they distributed and dispensed substantial quantities of

prescription opioids in other states, and these drugs were diverted from these other states to the

State. The National Retail Pharmacies failed to take meaningful action to stop this diversion

despite their knowledge of it, and contributed substantially to the diversion problem.

         252. The National Retail Pharmacies developed and maintained extensive data on

opioids they distributed and dispensed. Through this data, National Retail Pharmacies had direct

151
   The allegations contained in this Complaint are based, in part, on discovery that is in its infancy. Plaintiff
reserves its right to further amend this complaint to add supporting allegations, claims and parties.




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knowledge of patterns and instances of improper distribution, prescribing, and use of prescription

opioids in communities throughout the country, and in the State in particular. They used the data

to evaluate their own sales activities and workforce. On information and belief, the National

Retail Pharmacies also provided Defendants with data regarding, inter alia, individual doctors in

exchange for rebates or other forms of consideration. The National Retail Pharmacies’ data is a

valuable resource that they could have used to help stop diversion, but failed to do so.

               a. The National Retail Pharmacies Have a Duty to Prevent Diversion

       253. Each participant in the supply chain of opioid distribution, including the National

Retail Pharmacies, is responsible for preventing diversion of prescription opioids into the illegal

market by, among other things, monitoring and reporting suspicious activity.

       254. The National Retail Pharmacies, like manufacturers and other distributors, are

registrants under the CSA. 21 C.F.R. § 1301.11. Under the CSA, pharmacy registrants are

required to “provide effective controls and procedures to guard against theft and diversion of

controlled substances.” See 21 C.F.R. § 1301.71(a). In addition, 21 C.F.R. § 1306.04(a) states,

“[t]he responsibility for the proper prescribing and dispensing of controlled substances is upon

the prescribing practitioner, but a corresponding responsibility rests with the pharmacist who fills

the prescription.” Because pharmacies themselves are registrants under the CSA, the duty to

prevent diversion lies with the pharmacy entity, not the individual pharmacist alone.

       255. The DEA, among others, has provided extensive guidance to pharmacies

concerning their duties to the public. The guidance advises pharmacies how to identify

suspicious orders and other evidence of diversion.

       256. Suspicious pharmacy orders include orders of unusually large size, orders that are

disproportionately large in comparison to the population of a community served by the




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pharmacy, orders that deviate from a normal pattern and/or orders of unusual frequency and

duration, among others.

       257. Additional types of suspicious orders include: (1) prescriptions written by a doctor

who writes significantly more prescriptions (or in larger quantities or higher doses) for controlled

substances compared to other practitioners in the area; (2) prescriptions which should last for a

month in legitimate use, but are being refilled on a shorter basis; (3) prescriptions for

antagonistic drugs, such as depressants and stimulants, at the same time; (4) prescriptions that

look “too good” or where the prescriber’s handwriting is too legible; (5) prescriptions with

quantities or doses that differ from usual medical usage; (6) prescriptions that do not comply

with standard abbreviations and/or contain no abbreviations; (7) photocopied prescriptions; or

(8) prescriptions containing different handwriting. Most of the time, these attributes are not

difficult to detect and should be easily recognizable by pharmacies.

       258. Suspicious pharmacy orders are red flags for if not direct evidence of diversion.

       259. Other signs of diversion can be observed through data gathered, consolidated, and

analyzed by the National Retail Pharmacies themselves. That data allows them to observe

patterns or instances of dispensing that are potentially suspicious, of oversupply in particular

stores or geographic areas, or of prescribers or facilities that seem to engage in improper

prescribing.

       260. According to industry standards, if a pharmacy finds evidence of prescription

diversion, the local Board of Pharmacy and DEA must be contacted.

       261. Despite their legal obligations as registrants under the CSA, the National Retail

Pharmacies allowed widespread diversion to occur—and they did so knowingly.




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       262. Performance metrics and prescription quotas adopted by the National Retail

Pharmacies for their retail stores contributed to their failure. Under CVS’s Metrics System, for

example, pharmacists are directed to meet high goals that make it difficult, if not impossible, to

comply with applicable laws and regulations. There is no measurement for pharmacy accuracy

or customer safety. Moreover, the bonuses for pharmacists are calculated, in part, on how many

prescriptions that pharmacist fills within a year. The result is both deeply troubling and entirely

predictable: opioids flowed out of National Retail Pharmacies and into communities throughout

the country. The policies remained in place even as the epidemic raged.

       263. Upon information and belief, this problem was compounded by the National Retail

Pharmacies’ failure to adequately train their pharmacists and pharmacy technicians on how to

properly and adequately handle prescriptions for opioid painkillers, including what constitutes a

proper inquiry into whether a prescription is legitimate, whether a prescription is likely for a

condition for which the FDA has approved treatments with opioids, and what measures and/or

actions to take when a prescription is identified as phony, false, forged, or otherwise illegal, or

when suspicious circumstances are present, including when prescriptions are procured and pills

supplied for the purpose of illegal diversion and drug trafficking.

       264. Upon information and belief, the National Retail Pharmacies also failed to

adequately use data available to them to identify doctors who were writing suspicious numbers

of prescriptions and/or prescriptions of suspicious amounts of opioids, or to adequately use data

available to them to do statistical analysis to prevent the filling of prescriptions that were

illegally diverted or otherwise contributed to the opioid crisis.

       265. Upon information and belief, the National Retail Pharmacies failed to analyze: (a)

the number of opioid prescriptions filled by individual pharmacies relative to the population of




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the pharmacy's community; (b) the increase in opioid sales relative to past years; (c) the number

of opioid prescriptions filled relative to other drugs; and (d) the increase in annual opioid sales

relative to the increase in annual sales of other drugs.

       266. Upon information and belief, the National Retail Pharmacies also failed to conduct

adequate internal or external audits of their opioid sales to identify patterns regarding

prescriptions that should not have been filled and to create policies accordingly, or if they

conducted such audits, they failed to take any meaningful action as a result.

       267. Upon information and belief, the National Retail Pharmacies also failed to

effectively respond to concerns raised by their own employees regarding inadequate policies and

procedures regarding the filling of opioid prescriptions.

       268. The National Retail Pharmacies were, or should have been, fully aware that the

quantity of opioids being distributed and dispensed by them was untenable, and in many areas

patently absurd; yet, they did not take meaningful action to investigate or to ensure that they

were complying with their duties and obligations under the law with regard to controlled

substances.

               b. Multiple Enforcement Actions against the National Retail Pharmacies
                  Confirm their Compliance Failures.

       269. The National Retail Pharmacies have long been on notice of their failure to abide

by state and federal law and regulations governing the distribution and dispensing of prescription

opioids. Indeed, several of the National Retail Pharmacies have been repeatedly penalized for

their illegal prescription opioid practices. Upon information and belief, based upon the

widespread nature of these violations, these enforcement actions are the product of, and confirm,

national policies and practices of the National Retail Pharmacies.




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                          i. CVS

        270. CVS is one of the largest companies in the world, with annual revenue of more

than $150 billion. According to news reports, it manages medications for nearly 90 million

customers at 9,700 retail locations. CVS could be a force for good in connection with the opioid

crisis, but like other Defendants, CVS sought profits over people.

        271. CVS is a repeat offender and recidivist: the company has paid fines totaling over

$40 million as the result of a series of investigations by the DEA and the United States

Department of Justice (“DOJ”). It nonetheless treated these fines as the cost of doing business

and has allowed its pharmacies to continue dispensing opioids in quantities significantly higher

than any plausible medical need would require, and to continue violating its recordkeeping and

dispensing obligations under the CSA.

        272. As recently as July 2017, CVS entered into a $5 million settlement with the U.S.

Attorney’s Office for the Eastern District of California regarding allegations that its pharmacies

failed to keep and maintain accurate records of Schedule II, III, IV, and V controlled

substances.152

        273. This fine was preceded by numerous others throughout the country.

        274. In February 2016, CVS paid $8 million to settle allegations made by the DEA and

the DOJ that from 2008-2012, CVS stores and pharmacists in Maryland violated their duties

under the CSA and filled prescriptions with no legitimate medical purpose.153


152
    Press Release, U.S. Attorney’s Office E. Dist. of Cal., CVS Pharmacy Inc. Pays $5M to Settle Alleged Violations
of the Controlled Substance Act, U.S. Dep’t of Just. (July 11, 2017), https://www.justice.gov/usao-edca/pr/cvs-
pharmacy-inc-pays-5m-settle-alleged-violations-controlled-substance-act.
153
   Press Release, U.S. Attorney’s Office Dist. of Md., United States Reaches $8 Million Settlement Agreement with
CVS for Unlawful Distribution of Controlled Substances, U.S. Dep’t of Just. (Feb. 12, 2016),
https://www.justice.gov/usao-md/pr/united-states-reaches-8-million-settlement-agreement-cvs-unlawful-
distribution-controlled.




                                         97
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        275. In October 2016, CVS paid $600,000 to settle allegations by the DOJ that stores in

Connecticut failed to maintain proper records in accordance with the CSA.154

        276. In September 2016, CVS entered into a $795,000 settlement with the

Massachusetts Attorney General wherein CVS agreed to require pharmacy staff to access the

state’s prescription monitoring program website and review a patient’s prescription history

before dispensing certain opioid drugs.155

        277. In June 2016, CVS agreed to pay the DOJ $3.5 million to resolve allegations that

50 of its stores violated the CSA by filling forged prescriptions for controlled substances—

mostly addictive painkillers—more than 500 times between 2011 and 2014.156

        278. In August 2015, CVS entered into a $450,000 settlement with the U.S. Attorney’s

Office for the District of Rhode Island to resolve allegations that several of its Rhode Island

stores violated the CSA by filling invalid prescriptions and maintaining deficient records. The

United States alleged that CVS retail pharmacies in Rhode Island filled a number of forged

prescriptions with invalid DEA numbers, and filled multiple prescriptions written by psychiatric

nurse practitioners for hydrocodone, despite the fact that these practitioners were not legally




154
   Press Release, U.S. Attorney’s Office Dist. of Conn., CVS Pharmacy Pays $600,000 to Settle Controlled
Substances Act Allegations, U.S. Dep’t of Just. (Oct. 20, 2016), https://www.justice.gov/usao-ct/pr/cvs-pharmacy-
pays-600000-settle-controlled-substances-act-allegations.
155
   Dialynn Dwyer, CVS will pay $795,000, strengthen policies around dispensing opioids in agreement with state,
Boston.com (Sept. 1, 2016), https://www.boston.com/news/local-news/2016/09/01/cvs-will-pay-795000-strengthen-
policies-around-dispensing-opioids-in-agreement-with-state.
156
   Press Release, U.S. Attorney’s Office Dist. of Mass., CVS to Pay $3.5 Million to Resolve Allegations that
Pharmacists Filled Fake Prescriptions, U.S. Dep’t of Just. (June 30, 2016), https://www.justice.gov/usao-ma/pr/cvs-
pay-35-million-resolve-allegations-pharmacists-filled-fake-prescriptions.




                                         98
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permitted to prescribe that drug.             Additionally, the government alleged that CVS had

recordkeeping deficiencies.157

        279. In May 2015, CVS agreed to pay a $22 million penalty following a DEA

investigation that found that employees at two pharmacies in Sanford, Florida, had dispensed

prescription opioids, “based on prescriptions that had not been issued for legitimate medical

purposes by a health care provider acting in the usual course of professional practice. CVS also

acknowledged that its retail pharmacies had a responsibility to dispense only those prescriptions

that were issued based on legitimate medical need.”158

        280. In September 2014, CVS agreed to pay $1.9 million in civil penalties to resolve

allegations it filled prescriptions written by a doctor whose controlled-substance registration had

expired.159

        281. In August 2013, CVS was fined $350,000 by the Oklahoma Pharmacy Board for

improperly selling prescription narcotics in at least five locations in the Oklahoma City

metropolitan area.160

        282. Dating back to 2006, CVS retail pharmacies in Oklahoma and elsewhere

intentionally violated the CSA by filling prescriptions signed by prescribers with invalid DEA

registration numbers.161


157
   Press Release, U.S. Attorney’s Office Dist. of R.I., Drug Diversion Claims Against CVS Health Corp. Resolved
With $450,000 Civil Settlement, U.S. Dep’t of Just. (Aug. 10, 2015), https://www.justice.gov/usao-ri/pr/drug-
diversion-claims-against-cvs-health-corp-resolved-450000-civil-settlement.
158
   Press Release, U.S. Attorney’s Office M. Dist. of Fla., United States Reaches $22 Million Settlement Agreement
With CVS For Unlawful Distribution of Controlled Substances, U.S. Dep’t of Just. (May 13, 2015),
https://www.justice.gov/usao-mdfl/pr/united-states-reaches-22-million-settlement-agreement-cvs-unlawful-
distribution.
159
   Patrick Danner, H-E-B, CVS Fined Over Prescriptions, San Antonio Express-News (Sept. 5, 2014),
http://www.expressnews.com/business/local/article/H-E-BCVS-fined-over-prescriptions-5736554.php.
160
  Andrew Knittle, Oklahoma pharmacy board stays busy, hands out massive fines at times, NewsOK (May 3,
2015), http://newsok.com/article/5415840.




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                          ii. Walgreens

        283. Walgreens is the second-largest pharmacy store chain in the United States behind

CVS, with annual revenue of more than $118 billion. According to its website, Walgreens

operates more than 8,100 retail locations and filled 990 million prescriptions on a 30-day

adjusted basis in fiscal 2017.

        284. Walgreens also has been penalized for serious and flagrant violations of the CSA.

Indeed, Walgreens agreed to the largest settlement in DEA history—$80 million—to resolve

allegations that it committed an unprecedented number of recordkeeping and dispensing

violations of the CSA, including negligently allowing controlled substances such as oxycodone

and other prescription painkillers to be diverted for abuse and illegal black market sales.162

        285. The settlement resolved investigations into and allegations of CSA violations in

Florida, New York, Michigan, and Colorado that resulted in the diversion of millions of opioids

into illicit channels.

        286. Walgreens’ Florida operations at issue in this settlement highlight its egregious

conduct regarding diversion of prescription opioids. Walgreens’ Florida pharmacies each

allegedly ordered more than one million dosage units of oxycodone in 2011—more than ten

times the average amount.163




161
   Press Release, U.S. Attorney’s Office W. Dist. of Okla., CVS to Pay $11 Million To Settle Civil Penalty Claims
Involving Violations of Controlled Substances Act, U.S. Dep’t of Just. (Apr. 3, 2013), https://www.justice.gov/usao-
wdok/pr/cvs-pay-11-million-settle-civil-penalty-claims-involving-violations-controlled.
162
   Press Release, U.S. Attorney’s Office S. Dist. of Fla., Walgreens Agrees To Pay A Record Settlement Of $80
Million For Civil Penalties Under The Controlled Substances Act, U.S. Dep’t of Just. (June 11, 2013),
https://www.justice.gov/usao-sdfl/pr/walgreens-agrees-pay-record-settlement-80-million-civil-penalties-under-
controlled.
  Order to Show Cause and Immediate Suspension of Registration, In the Matter of Walgreens Co. (Drug Enf’t
163

Admin. Sept. 13, 2012).




                                        100
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            287. They increased their orders over time, in some cases as much as 600% in the space

of just two years, including, for example, supplying a town of 3,000 with 285,800 orders of

oxycodone in a one-month period. Yet Walgreens corporate officers turned a blind eye to these

abuses. In fact, corporate attorneys at Walgreens suggested, in reviewing the legitimacy of

prescriptions coming from pain clinics, that “if these are legitimate indicators of inappropriate

prescriptions perhaps we should consider not documenting our own potential noncompliance,”

underscoring Walgreens’ attitude that profit outweighed compliance with the CSA or the health

of communities.164

            288. Defendant Walgreens’ settlement with the DEA stemmed from the DEA’s

investigation into Walgreens’ distribution center in Jupiter, Florida, which was responsible for

significant opioid diversion in Florida. According to the Order to Show Cause, Defendant

Walgreens’ corporate headquarters pushed to increase the number of oxycodone sales to

Walgreens’ Florida pharmacies, and provided bonuses for pharmacy employees based on number

of prescriptions filled at the pharmacy in an effort to increase oxycodone sales. In July 2010,

Defendant Walgreens ranked all of its Florida stores by number of oxycodone prescriptions

dispensed in June of that year, and found that the highest-ranking store in oxycodone sales sold

almost 18 oxycodone prescriptions per day. All of these prescriptions were filled by the Jupiter

Center.165

            289. Walgreens has also settled with a number of state attorneys general, including West

Virginia ($575,000) and Massachusetts ($200,000).166


164
      Id.
165
      Id.
166
   Walgreens to pay $200,000 settlement for lapses with opioids, APhA (Jan. 25, 2017),
https://www.pharmacist.com/article/walgreens-pay-200000-settlement-lapses-opioids.




                                           101
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            290. The Massachusetts Attorney General’s Medicaid Fraud Division found that, from

2010 through most of 2015, multiple Walgreens stores across the state failed to monitor the

opioid use of some Medicaid patients who were considered high-risk.

            291. In January 2017, an investigation by the Massachusetts Attorney General found

that some Walgreens pharmacies failed to monitor patients’ drug use patterns and did not use

sound professional judgment when dispensing opioids and other controlled substances—despite

the context of soaring overdose deaths in Massachusetts. Walgreens agreed to pay $200,000 and

follow certain procedures for dispensing opioids.167

            292. Numerous state and federal drug diversion prosecutions have occurred in which

prescription opioid pills were procured from National Retail Pharmacies. The allegations in this

Complaint do not attempt to identify all these prosecutions, and the information above is merely

by way of example.

            293. The litany of state and federal actions against the National Retail Pharmacies

demonstrate that they routinely, and as a matter of standard operating procedure, violated their

legal obligations under the CSA and other laws and regulations that govern the distribution and

dispensing of prescription opioids.

            294. Throughout the country and the State, the National Retail Pharmacies were or

should have been aware of numerous red flags of potential suspicious activity and diversion.

            295. On information and belief, from the catbird seat of their retail pharmacy operations,

the National Retail Pharmacies knew or reasonably should have known about the

disproportionate flow of opioids into the State and the operation of “pill mills” that generated

opioid prescriptions that, by their quantity or nature, were red flags for if not direct evidence of

167
      Id.




                                           102
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illicit supply and diversion. Additional information was provided by news reports, and state and

federal regulatory actions, including prosecutions of pill mills in the area.

       296. On information and belief, the National Retail Pharmacies knew or reasonably

should have known about the devastating consequences of the oversupply and diversion of

prescription opioids, including spiking opioid overdose rates in Plaintiff’s Community.

       297. On information and belief, because of (among others sources of information)

regulatory and other actions taken against the National Retail Pharmacies directly, actions taken

against others pertaining to prescription opioids obtained from their retail stores, complaints and

information from employees and other agents, and the massive volume of opioid prescription

drug sale data that they developed and monitored, the National Retail Pharmacies were well

aware that their distribution and dispensing activities fell far short of legal requirements.

       298. The National Retail Pharmacies’ actions and omission in failing to effectively

prevent diversion and failing to monitor, report, and prevent suspicious orders have contributed

significantly to the opioid crisis in the State, including Plaintiff’s Community, by enabling, and

failing to prevent, the diversion of opioids.

   D. THE MANUFACTURER DEFENDANTS’ UNLAWFUL FAILURE TO PREVENT
      DIVERSION AND MONITOR, REPORT, AND PREVENT SUSPICIOUS
      ORDERS.

       299. The same legal duties to prevent diversion, and to monitor, report, and prevent

suspicious orders of prescription opioids that were incumbent upon the Distributor Defendants

were also legally required of the Manufacturer Defendants under federal and Wisconsin law.

       300. Under Wisconsin and federal law, the Manufacturing Defendants were required to

comply with the same licensing requirements as the Distributor Defendants and the same rules

regarding prevention of diversion and reporting suspicious orders, as set out above. See Wis.

Stat. § 450.01(24) (“‘Wholesale distributor’ means a person engaged in the wholesale


                                       103
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distribution of prescription drugs, including manufacturers”); Wis. Admin. Code §§ Phar

13.02(12); Phar 13.17; Phar 12.05.

       301. Like the Distributor Defendants, the Manufacturer Defendants were required to

register with the DEA to manufacture schedule II controlled substances, like prescription

opioids. See 21 U.S.C. § 823(a). A requirement of such registration is the:

       maintenance of effective controls against diversion of particular controlled
       substances and any controlled substance in schedule I or II compounded
       therefrom into other than legitimate medical, scientific, research, or industrial
       channels, by limiting the importation and bulk manufacture of such controlled
       substances to a number of establishments which can produce an adequate and
       uninterrupted supply of these substances under adequately competitive conditions
       for legitimate medical, scientific, research, and industrial purposes . . . .

21 U.S.C. § 823(a)(1) (emphasis added).

       302. Additionally, as “registrants” under Section 823, the Manufacturer Defendants

were also required to monitor, report, and prevent suspicious orders of controlled substances:

       The registrant shall design and operate a system to disclose to the registrant
       suspicious orders of controlled substances. The registrant shall inform the Field
       Division Office of the Administration in his area of suspicious orders when
       discovered by the registrant. Suspicious orders include orders of unusual size,
       orders deviating substantially from a normal pattern, and orders of unusual
       frequency.

21 C.F.R. § 1301.74. See also 21 C.F.R. § 1301.02 (“Any term used in this part shall have the

definition set forth in section 102 of the Act (21 U.S.C. 802) or part 1300 of this chapter.”); 21

C.F.R. § 1300.01 (“Registrant means any person who is registered pursuant to either section 303

or section 1008 of the Act (21 U.S.C. 823 or 958).” Like the Distributor Defendants, the

Manufacturer Defendants breached these duties.

       303. The Manufacturer Defendants had access to and possession of the information

necessary to monitor, report, and prevent suspicious orders and to prevent diversion. The

Manufacturer Defendants engaged in the practice of paying “chargebacks” to opioid distributors.



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A chargeback is a payment made by a manufacturer to a distributor after the distributor sells the

manufacturer’s product at a price below a specified rate. After a distributor sells a

manufacturer’s product to a pharmacy, for example, the distributor requests a chargeback from

the manufacturer and, in exchange for the payment, the distributor identifies to the manufacturer

the product, volume and the pharmacy to which it sold the product. Thus, the Manufacturer

Defendants knew – just as the Distributor Defendants knew – the volume, frequency, and pattern

of opioid orders being placed and filled. The Manufacturer Defendants built receipt of this

information into the payment structure for the opioids provided to the opioid distributors.

        304. Federal statutes and regulations – and Wisconsin law incorporating those

requirements – are clear: just like opioid distributors, opioid manufacturers are required to

“design and operate a system to disclose . . . suspicious orders of controlled substances” and to

maintain “effective controls against diversion.” 21 C.F.R. § 1301.74; 21 U.S.C. § 823(a)(1).

        305. The Department of Justice has recently confirmed the suspicious order obligations

clearly imposed by federal law upon opioid manufacturers, fining Mallinckrodt $35 million for

failure to report suspicious orders of controlled substances, including opioids, and for violating

recordkeeping requirements.168

        306. In the press release accompanying the settlement, the Department of Justice stated:

Mallinckrodt “did not meet its obligations to detect and notify DEA of suspicious orders of

controlled substances such as oxycodone, the abuse of which is part of the current opioid

epidemic. These suspicious order monitoring requirements exist to prevent excessive sales of

controlled substances, like oxycodone . . . . Mallinckrodt’s actions and omissions formed a link

168
   See Press Release, U.S. Dep’t of Justice, Mallinckrodt Agrees to Pay Record $35 Million Settlement for Failure
to Report Suspicious Orders of Pharmaceutical Drugs and for Recordkeeping Violations (July 11, 2017),
https://www.justice.gov/opa/pr/mallinckrodt-agrees-pay-record-35-million-settlement-failure-report-suspicious-
orders.




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in the chain of supply that resulted in millions of oxycodone pills being sold on the street. . . .

‘Manufacturers and distributors have a crucial responsibility to ensure that controlled substances

do not get into the wrong hands. . . .’”169

            307. Among the allegations resolved by the settlement, the government alleged

“Mallinckrodt failed to design and implement an effective system to detect and report

‘suspicious orders’ for controlled substances – orders that are unusual in their frequency, size, or

other patterns . . . [and] Mallinckrodt supplied distributors, and the distributors then supplied

various U.S. pharmacies and pain clinics, an increasingly excessive quantity of oxycodone pills

without notifying DEA of these suspicious orders.”170

            308. The Memorandum of Agreement entered into by Mallinckrodt (“2017 Mallinckrodt

MOA”) avers “[a]s a registrant under the CSA, Mallinckrodt had a responsibility to maintain

effective controls against diversion, including a requirement that it review and monitor these

sales and report suspicious orders to DEA.”171

            309. The 2017 Mallinckrodt MOA further details the DEA’s allegations regarding

Mallinckrodt’s failures to fulfill its legal duties as an opioid manufacturer:

            With respect to its distribution of oxycodone and hydrocodone products,
            Mallinckrodt's alleged failure to distribute these controlled substances in a
            manner authorized by its registration and Mallinckrodt's alleged failure to
            operate an effective suspicious order monitoring system and to report suspicious
            orders to the DEA when discovered as required by and in violation of 21 C.F.R.
            § 1301.74(b). The above includes, but is not limited to Mallinckrodt's alleged
            failure to:
                     i.   conduct adequate due diligence of its customers;
                     ii. detect and report to the DEA orders of unusual size and frequency;

169
      Id. (quoting DEA Acting Administrator Chuck Rosenberg).
170
      Id.
171
   Administrative Memorandum of Agreement between the United States Department of Justice, the Drug
Enforcement Agency, and Mallinckrodt, plc. and its subsidiary Mallinckrodt, LLC (July 10, 2017),
https://www.justice.gov/usao-edmi/press-release/file/986026/download (“2017 Mallinckrodt MOA”).




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                    iii.   detect and report to the DEA orders deviating substantially from normal
                           patterns including, but not limited to, those identified in letters from the
                           DEA Deputy Assistant Administrator, Office of Diversion Control, to
                           registrants dated September 27, 2006 and December 27, 2007:
                             1. orders that resulted in a disproportionate amount of a substance which
                                 is most often abused going to a particular geographic region where
                                 there was known diversion,
                             2. orders that purchased a disproportionate amount of a substance which
                                 is most often abused compared to other products, and
                             3. orders from downstream customers to distributors who were
                                 purchasing from multiple different distributors, of which Mallinckrodt
                                 was aware;
                    iv.    use “chargeback” information from its distributors to evaluate suspicious
                           orders. Chargebacks include downstream purchasing information tied to
                           certain discounts, providing Mallinckrodt with data on buying patterns for
                           Mallinckrodt products; and
                    v.     take sufficient action to prevent recurrence of diversion by downstream
                           customers after receiving concrete information of diversion of Mallinckrodt
                           product by those downstream customers.172

            310. Mallinckrodt agreed that its “system to monitor and detect suspicious orders did not

meet the standards outlined in letters from the DEA Deputy Administrator, Office of Diversion

Control, to registrants dated September 27, 2006 and December 27, 2007.” Mallinckrodt further

agreed that it “recognizes the importance of the prevention of diversion of the controlled

substances they manufacture” and would “design and operate a system that meets the

requirements of 21 CFR 1301.74(b) . . . [such that it would] utilize all available transaction

information to identify suspicious orders of any Mallinckrodt product. Further, Mallinckrodt

agrees to notify DEA of any diversion and/or suspicious circumstances involving any

Mallinckrodt controlled substances that Mallinckrodt discovers.”173




172
      2017 Mallinckrodt MOA at 2-3.
173
      Id. at 3-4.




                                            107
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            311. Mallinckrodt acknowledged that “[a]s part of their business model Mallinckrodt

collects transaction information, referred to as chargeback data, from their direct customers

(distributors). The transaction information contains data relating to the direct customer sales of

controlled substances to ‘downstream’ registrants.” Mallinckrodt agreed that, from this data, it

would “report to the DEA when Mallinckrodt concludes that the chargeback data or other

information indicates that a downstream registrant poses a risk of diversion.”174

            312. The same duties imposed by federal law on Mallinckrodt were imposed upon all

Manufacturer Defendants.

            313. The same business practices utilized by Mallinckrodt regarding “charge backs” and

receipt and review of data from opioid distributors regarding orders of opioids were utilized

industry-wide among opioid manufacturers and distributors, including, upon information and

belief, the other Manufacturer Defendants.

            314. Through, inter alia, the charge back data, the Manufacturer Defendants could

monitor suspicious orders of opioids.

            315. The Manufacturer Defendants failed to monitor, report, and halt suspicious orders

of opioids as required by federal and state law.

            316. The Manufacturer Defendants’ failures to monitor, report, and halt suspicious

orders of opioids were intentional and unlawful.

            317. The Manufacturer Defendants have misrepresented their compliance with federal

and state law.

            318. The Manufacturer Defendants enabled the supply of prescription opioids to

obviously suspicious physicians and pharmacies, enabled the illegal diversion of opioids, aided

174
      Id. at 5.




                                            108
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criminal activity, and disseminated massive quantities of prescription opioids into the black

market.

        319. The wrongful actions and omissions of the Manufacturer Defendants which have

caused the diversion of opioids and which have been a substantial contributing factor to and/or

proximate cause of the opioid crisis are alleged in greater detail in Plaintiff’s racketeering

allegations below.

        320. The Manufacturer Defendants’ actions and omissions in failing to effectively

prevent diversion and failing to monitor, report, and prevent suspicious orders have enabled the

unlawful diversion of opioids into Plaintiff’s Community.

      E. DEFENDANTS’ UNLAWFUL CONDUCT AND BREACHES OF LEGAL
         DUTIES CAUSED THE HARM ALLEGED HEREIN AND SUBSTANTIAL
         DAMAGES.

        321. As the Manufacturer Defendants’ efforts to expand the market for opioids increased

so have the rates of prescription and sale of their products — and the rates of opioid-related

substance abuse, hospitalization, and death among the people of the State and the Plaintiff’s

Community. The Distributor Defendants have continued to unlawfully ship these massive

quantities of opioids into communities like the Plaintiff’s Community, fueling the epidemic.

        322. There is a “parallel relationship between the availability of prescription opioid

analgesics through legitimate pharmacy channels and the diversion and abuse of these drugs and

associated adverse outcomes.”175

        323. Opioid analgesics are widely diverted and improperly used, and the widespread use

of the drugs has resulted in a national epidemic of opioid overdose deaths and addictions.176



175
  See Richard C. Dart et al., Trends in Opioid Analgesic Abuse and Mortality in the United States, 372 N. Eng. J.
Med. 241 (2015).




                                         109
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        324. The epidemic is “directly related to the increasingly widespread misuse of powerful

opioid pain medications.”177

        325. The increased abuse of prescription painkillers along with growing sales has

contributed to a large number of overdoses and deaths.178

        326. As shown above, the opioid epidemic has escalated in Plaintiff’s Community with

devastating effects. Substantial opiate-related substance abuse, hospitalization and death mirrors

Defendants’ increased distribution of opiates.

        327. Because of the well-established relationship between the use of prescription opiates

and the use of non-prescription opioids, like heroin, the massive distribution of opioids to

Plaintiff’s Community and areas from which such opioids are being diverted into Plaintiff’s

Community, has caused the Defendant-caused opioid epidemic to include heroin addiction,

abuse, and death.

        328. Prescription opioid abuse, addiction, morbidity, and mortality are hazards to public

health and safety in the State and in Plaintiff’s Community.

        329. Heroin abuse, addiction, morbidity, and mortality are hazards to public health and

safety in the State and in Plaintiff’s Community.

        330. Defendants repeatedly and purposefully breached their duties under state and

federal law, and such breaches are direct and proximate causes of, and/or substantial factors




176
   See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain—Misconceptions and Mitigation
Strategies, 374 N. Eng. J. Med. 1253 (2016).
177
   See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J. Med. 1480
(2016).
178
   See Press Release, Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs.,
Prescription Painkiller Overdoses at Epidemic Levels (Nov. 1, 2011),
https://www.cdc.gov/media/releases/2011/p1101_flu_pain_killer_overdose.html.




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leading to, the widespread diversion of prescription opioids for nonmedical purposes into the

Plaintiff’s Community.

        331. The unlawful diversion of prescription opioids is a direct and proximate cause of,

and/or substantial factor leading to, the opioid epidemic, prescription opioid abuse, addiction,

morbidity and mortality in the State and Plaintiff’s Community. This diversion and the epidemic

are direct causes of foreseeable harms incurred by the Plaintiff and Plaintiff’s Community.

        332. Defendants’ intentional and/or unlawful conduct resulted in direct and foreseeable,

past and continuing, economic damages for which Plaintiff seeks relief, as alleged herein.

Plaintiff also seeks the means to abate the epidemic created by Defendants’ wrongful and/or

unlawful conduct.

        333. Plaintiff seeks economic damages from the Defendants as reimbursement for the

costs associated with past efforts to eliminate the hazards to public health and safety.

        334. Plaintiff seeks economic damages from the Defendants to pay for the cost to

permanently eliminate the hazards to public health and safety and abate the temporary public

nuisance.

        335. To eliminate the hazard to public health and safety, and abate the public nuisance, a

“multifaceted, collaborative public health and law enforcement approach is urgently needed.”179

        336. A comprehensive response to this crisis must focus on preventing new cases of

opioid addiction, identifying early opioid-addicted individuals, and ensuring access to effective

opioid addiction treatment while safely meeting the needs of patients experiencing pain. 180


179
  See Rose A. Rudd et al., Increases in Drug and Opioid Overdose Deaths—United States, 2000–2014, 64
Morbidity & Mortality Wkly. Rep. 1378 (2016), at 1145.
180
   See Johns Hopkins Bloomberg School of Public Health, The Prescription Opioid Epidemic: An Evidence-Based
Approach (G. Caleb Alexander et al. eds., 2015), http://www.jhsph.edu/research/centers-and-institutes/center-for-
drug-safety-and-effectiveness/research/prescription-opioids/JHSPH_OPIOID_EPIDEMIC_REPORT.pdf.




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        337. These community-based problems require community-based solutions that have

been limited by “budgetary constraints at the state and Federal levels.”181

        338. Having profited enormously through the aggressive sale, misleading promotion,

and irresponsible distribution of opiates, Defendants should be required to take responsibility for

the financial burdens their conduct has inflicted upon the Plaintiff and Plaintiff’s Community.

      F. DEFENDANTS’ FRAUDULENT AND DECEPTIVE MARKETING OF OPIOIDS
         DIRECTLY CAUSED HARM TO THE PLAINTIFF.

        339. In the first instance, Plaintiff was damaged directly, through its payments of false

claims for chronic opioid therapy by (a) its partially self-insured health care plans and (b) its

workers’ compensation program.

        340. The Defendants’ marketing of opioids caused health care providers to prescribe and

Plaintiff, through its health plans and workers’ compensation program, to pay for prescriptions of

opioids to treat chronic pain. Because of the Defendants’ unbranded marketing, health care

providers wrote and Plaintiff paid for prescription opioids for chronic pain that were filled not

only with their drugs, but with opioids sold by other manufacturers. All of these prescriptions

were caused by Defendants’ fraudulent marketing and therefore all of them constitute false

claims. Because, as laid out below, Plaintiff is obligated to cover medically necessary and

reasonably required care, it had no choice but to pay these false and fraudulent claims.

        341. The fact that Plaintiff would pay for these ineligible prescriptions is both the

foreseeable and intended consequence of the Defendants’ fraudulent marketing scheme. The

Defendants set out to change the medical and general consensus supporting chronic opioid

therapy so that doctors would prescribe and government payors, such as Plaintiff, would pay for

181
   See Office of Nat’l Drug Control Policy, Exec. Office of the President, Epidemic: Responding to America’s
Prescription Drug Abuse Crisis (2011), https://www.ncjrs.gov/pdffiles1/ondcp/rx_abuse_plan.pdf.




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long-term prescriptions of opioids to treat chronic pain despite the absence of genuine evidence

supporting chronic opioid therapy and the contrary evidence regarding the significant risks and

limited benefits from long-term use of opioids.

       1. Increase in Opioid Prescribing Nationally

           342. Defendants’ scheme to change the medical consensus regarding opioid therapy for

chronic pain worked. During the year 2000, outpatient retail pharmacies filled 174 million

prescriptions for opioids nationwide. During 2009, they provided 83 million more.

           343. Opioid prescriptions increased even as the percentage of patients visiting the doctor

for pain remained constant.

           344. A study of 7.8 million doctor visits between 2000 and 2010 found that opioid

prescriptions increased from 11.3% to 19.6% of visits, as NSAID and acetaminophen

prescriptions fell from 38% to 29%, driven primarily by the decline in NSAID prescribing.182

           345. Approximately 20% of the population between the ages of 30 and 44 and nearly

30% of the population over 45 have used opioids. Indeed, “[o]pioids are the most common

means of treatment for chronic pain.”183 From 1980 to 2000, opioid prescriptions for chronic

pain visits doubled. This is the result not of an epidemic of pain, but an epidemic of prescribing.

A study of 7.8 million doctor visits found that prescribing for pain increased by 73% between

2000 and 2010 – even though the number of office visits in which patients complained of pain

did not change and prescribing of non-opioid pain medications decreased. For back pain alone –

one of the most common chronic pain conditions – the percentage of patients prescribed opioids



182
  Matthew Daubress et al., Ambulatory Diagnosis and Treatment of Nonmalignant Pain in the United States, 2000-
2010, 51 (10) Med. Care 870 (2013).
183
      Deborah Grady et al., Opioids for Chronic Pain, 171 (16) Arch. Intern. Med. 1426 (2011).




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increased from 19% to 29% between 1999 and 2010, even as the use of NSAIDs or

acetaminophen declined and referrals to physical therapy remained steady.

       346. This increase corresponds with, and was caused by, the Defendants’ massive

marketing push. The industry’s spending nationwide on marketing of opioids stood at more than

$20 million per quarter and $91 million annually in 2000. By 2011, that figure hit its peak of

more than $70 million per quarter and $288 million annually, a more than three-fold increase. By

2014, the figures dropped to roughly $45 million per quarter and $182 million annually, as the

Defendants confronted increased concern regarding opioid addiction, abuse, and diversion. Even

so, the Defendants still spend double what they spent in 2000 on opioid marketing.

       347. By far the largest component of this spending was opioid drug makers’ detailing

visits to individual doctors, with total detailing expenditures more than doubling between 2000

and 2014 and now standing at $168 million annually.

   2. Plaintiff’s Increased Spending on Opioids through Self-Insured Health Care Plans
      and Worker’s Compensation Program

       348. Commensurate with the Defendants’ heavy promotion of opioids and the resultant

massive upswing in prescribing of opioids nationally, on information and belief, Plaintiff has

seen its own spending on opioids – through claims paid by its health care plans and worker’s

compensation program – increase dramatically.

         i.   Health Care Plans

       349. Plaintiff provides comprehensive health care benefits, including prescription drugs

coverage, to its employees and retirees. These benefits are provided under one health plan that

Plaintiff partially self-insures, including a preferred provider organization (“PPO”) for

employees and retirees.




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       350. The prescription drug plan under the PPO is self-insured: the costs of prescription

drugs are paid directly by Plaintiff.

       351. Throughout the relevant time period for this action, the PPO’s prescription drug

costs have been paid by Plaintiff.

       352. Doctors submit claims directly to Plaintiff’s applicable health plan for their costs

associated with prescribing opioids, including office visits and toxicology screens for patients

prescribed opioids. In addition, prescriptions for opioids written by these doctors for patients

covered by Plaintiff’s partially self-insured health plans are filled by pharmacies, which submit

claims for reimbursement to Plaintiff’s pharmacy benefit manager.

       353. Plaintiff’s applicable health plans provide benefits for “medically necessary”

services associated with opioids, including treatment related to any adverse outcomes from

chronic opioid therapy, such as overdose or addiction treatment.

       354. The Defendants caused doctors and pharmacies to submit, and Plaintiff to pay,

claims to its health plans that were false by: (a) causing doctors to write prescriptions for chronic

opioid therapy based on deceptive representations regarding the risks, benefits, and superiority of

those drugs; (b) causing doctors to certify that these prescriptions and associated services were

medically necessary; (c) causing claims to be submitted for drugs that were promoted for off-

label uses and misbranded, and therefore not FDA-approved; and (d) distorting the standard of

care for treatment of chronic pain so that doctors would feel not only that it was appropriate, but

required, that they prescribe and continue prescriptions for opioids long-term to treat chronic

pain. Each – or any – of these factors made claims to Plaintiff for chronic opioid therapy false.

       355. Plaintiff’s partially self-insured health plans only cover the cost of prescription

drugs that are medically necessary and dispensed for a FDA-approved purpose. Prescriptions




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drugs that are not medically necessary or that are dispensed for a non-FDA approved purpose are

expressly excluded from coverage under Plaintiff’s plans. Generally, under any PPO plan, a

medically necessary prescription is one which is “customary for the treatment or diagnosis of an

illness or injury, and is consistent with generally accepted medical standards.”

         356. Doctors who care for Plaintiff employees and retirees and their dependents are

bound by the provider agreements that entitle them to participate in Plaintiff’s health plans.

These agreements generally permit doctors to charge only for treatments that are medically

necessary.

         357. Plaintiff is obligated to pay for the medically necessary treatment of covered

employees.

         358. In prescribing opioids for chronic pain, doctors certify that the treatment is

medically necessary and the drugs dispense for an FDA approved purpose, and – at least with

respect to the self-insured plans (the PPO) – the health plans authorize payment from Plaintiff’s

funds.

         359. As described above, the use of opioids to treat chronic pain is not “in accordance

with generally accepted standards of medical practice” nor “clinically appropriate . . . and

considered effective for the patient’s illness, injury or disease.”

         360. Further, the Defendants’ deceptive marketing rendered opioids misbranded as

prescribed for chronic pain because they were false and misleading and because, by minimizing

the risks associated with the drugs, they did not contain adequate directions for use. The written,

printed, or graphic matter accompanying the Defendants’ drugs did not accurately describe the

risks associated with long-term use of their products, rendering them misbranded. Due to this




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misbranding, the Defendants’ opioids were not FDA-approved, within the meaning of Plaintiff’s

health plans, for the long-term treatment of chronic pain.

       361. For each and all of the reasons above, chronic opioid therapy and its attendant and

consequential costs are not eligible for reimbursement through Plaintiff’s health plan. Plaintiff

would not have knowingly reimbursed claims for prescription drugs that were not eligible for

coverage.

       362. As a result of the Defendants’ deceptive marketing, Plaintiff’s patients who used

opioids long-term to treat chronic pain also incurred additional costs and suffered additional

injuries requiring care, including doctors’ visits, toxicology screens, hospitalization for

overdoses, treatment and other adverse effects of opioids, and long-term disability, among

others, which caused Plaintiff to incur additional costs.

       363. The costs incurred by Plaintiff include, but are not limited to, doctor visits, which

would also be included with these prescriptions. This includes prescriptions that also were

caused by Defendants’ deceptive marketing, including prescriptions for Defendants’ generic

opioid products and prescriptions for opioids from other manufacturers. These figures do not

reflect the cost to Plaintiff of prescribing opioids, such as doctors’ visits or toxicology screens, or

the costs of treating the adverse effects of prescribing opioids long-term, such as overdose and

addiction. They also do not reflect the total damages for all years to Plaintiff, which will be

determined at trial, and which will include costs to the health plan for the treatment of opioid

abuse and dependency.

       364. The claims – and the attendant and consequential costs – for opioids prescribed for

chronic pain, as opposed to acute and cancer or end-of-life pain, were ineligible for payment and

the result of the Defendants’ deceptive and unfair conduct.




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          ii.   Workers’ Compensation Programs

         365. Plaintiff, through a partially self-insured program under Wis. Stats. §§ 102.28(2)(b)

and 102.28(2)(bm), provides workers’ compensation, including prescription drug benefits, to

eligible employees injured in the course of their employment. When an employee is injured on

the job, he or she may file a claim for workers’ compensation, and if the injury is deemed work-

related, Plaintiff is responsible for paying its share of the employee’s medical costs and lost

wages.

         366. Plaintiff uses a third-party pharmacy benefit manger to help manage medical

benefits under the workers’ compensation program. Doctors submit claims to Plaintiff’s workers’

compensation program for the costs associated with prescribing opioids, including office visits

and toxicology screens for patients prescribed opioids.

         367. Upon information and belief, Plaintiff’s third-party pharmacy benefit manger uses a

pharmacy and drug utilization management program to manage prescriptions for Plaintiff’s

workers’ compensation program.

         368. Plaintiff’s workers’ compensation program covers all costs associated with opioids,

including treatment related to any adverse outcomes from chronic opioid therapy, such as

addiction treatment.

         369. The Defendants cause doctors and pharmacies to submit, and Plaintiff to pay claims

to its workers’ compensation program that were false by: (a) causing doctors to write

prescriptions for chronic opioid therapy based on deceptive representations regarding the risks,

benefits, and superiority of those drugs; (b) causing doctors to certify that these prescriptions and

associated services were medically necessary; (c) causing claims to be submitted for drugs that

were promoted for off-label uses and misbranded, and therefore not FDA-approved; and (d)

distorting the standard of care for treatment of chronic pain so that doctors would feel not only


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that it was appropriate, but required, that they prescribe and continue prescriptions for opioids

long-term to treat chronic pain. Each – or any – of these factors made claims to Plaintiff for

chronic opioid therapy false.

       370. In prescribing opioids for chronic pain, doctors certify that the treatment is

medically necessary and reasonably required, and the workers’ compensation program authorizes

payment from Plaintiff funds.

       371. Plaintiff’s workers’ compensation program is obligated to cover all “medically

necessary” and “reasonably required” treatment arising from a compensable work-related injury.

       372. As described above, however, the use of opioids to treat chronic pain is not

medically necessary or reasonably required in that their risks do not materially exceed their

benefits; they do not improve physiological function; and their use is not consistent with

guidelines that are scientifically based (as opposed to marketing driven).

       373. Nevertheless, the amount of such prescriptions paid by worker’s compensation

programs is monumental. A study of the National Council on Compensation Insurance (“NCCI”)

concluded that, in 2011, approximately 38% of pharmacy costs in workers’ compensation are for

opioids and opioid combinations, amounting to approximately $1.4 billion.

       374. Upon information and belief, those trends are reflected in Plaintiff’s experience

with paying for opioids through its worker’s compensation plan.

       375. Plaintiff incurred costs associated with prescribing opioids, such as doctors’ visits

or toxicology screens, or the costs of treating the adverse effects of prescribing opioids long-term

such as overdose and addiction.




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       376. However, the costs of long-term opioid use are not limited to costs of opioid

prescriptions. Long-term opioid use is accompanied by a host of consequential costs, including

costs related to abuse, addiction, and death.

       377. These claims – and their attendant and consequential costs – for opioids prescribed

for chronic pain, as opposed to acute and cancer or end-of-life pain, were ineligible for payment

and the result of the Defendants’ fraudulent scheme.

         iii.   Plaintiff’s Increased Costs Correlate with the Defendants’ Promotion.

       378. Upon information and belief, a review of Plaintiff’s costs related to opioid

prescriptions, and the costs associated with those prescriptions, will show that as the Defendants

spent more to promote their drugs, doctors began prescribing them more often and as a result, the

costs to Plaintiff went up.

       379. It is also distressing (and a sign of further problems ahead) that the drop in opioid

prescribing beginning in 2014 has been accompanied by a corresponding increase in the

Defendants’ promotional spending, which is headed towards a new high, despite evidence of the

grave toll that opioids are taking on law enforcement, public health, and individual lives.

       380. The     Plaintiff   asserts   that   each   Defendant   made    misrepresentations   or

misrepresentation by omission of material facts by their employees, agents, or co-conspirators to

prescribing physicians who then wrote opioid prescriptions for which the Plaintiff paid.

Furthermore, the Plaintiff asserts that specific details about the names of the employees, agents,

or co-conspirators, the substance of the misrepresentations or omissions, the time and date and

location of said misrepresentations or omissions, and the names of the prescribing physicians

who were exposed to each Defendants’ misrepresentations or omissions were closely tracked by

the Defendants, are in the exclusive possession of the Defendants and Plaintiff reasonably

believes that such information will be disclosed in discovery.


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   G. STATUTES OF LIMITATIONS ARE TOLLED AND DEFENDANTS ARE
      ESTOPPED FROM ASSERTING STATUTES OF LIMITATIONS AS
      DEFENSES.

            1. Continuing Conduct.

       381. Plaintiff contends it continues to suffer harm from the unlawful actions by the

Defendants.

       382. The continued tortious and unlawful conduct by the Defendants causes a repeated

or continuous injury. The damages have not occurred all at once but have continued to occur and

have increased as time progresses. The tort is not completed nor have all the damages been

incurred until the wrongdoing ceases. The wrongdoing and unlawful activity by Defendants has

not ceased. The public nuisance remains unabated. The conduct causing the damages remains

unabated.

            2. Equitable Estoppel.

       383. Defendants are equitably estopped from relying upon a statute of limitations

defense because they undertook active efforts to deceive Plaintiff and to purposefully conceal

their unlawful conduct and fraudulently assure the public, including the State, the Plaintiff, and

Plaintiff’s Community, that they were undertaking efforts to comply with their obligations under

the state and federal controlled substances laws, all with the goal of protecting their registered

manufacturer or distributor status in the State and to continue generating profits.

Notwithstanding the allegations set forth above, the Defendants affirmatively assured the public,

including the State, the Plaintiff, and Plaintiff’s Community, that they are working to curb the

opioid epidemic.




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            384. For example, a Cardinal Health executive claimed that it uses “advanced analytics”

to monitor its supply chain, and assured the public it was being “as effective and efficient as

possible in constantly monitoring, identifying, and eliminating any outside criminal activity.”184

            385. Similarly, McKesson publicly stated that it has a “best-in-class controlled substance

monitoring program to help identify suspicious orders,” and claimed it is “deeply passionate

about curbing the opioid epidemic in our country.”185

            386. Moreover, in furtherance of their effort to affirmatively conceal their conduct and

avoid detection, the Distributor Defendants, through their trade associations, HDMA and

NACDS, filed an amicus brief in Masters Pharmaceuticals, which made the following

statements:186

            a. “HDMA and NACDS members not only have statutory and regulatory
               responsibilities to guard against diversion of controlled prescription drugs, but
               undertake such efforts as responsible members of society.”

            b. “DEA regulations that have been in place for more than 40 years require distributors
               to report suspicious orders of controlled substances to DEA based on information
               readily available to them (e.g., a pharmacy’s placement of unusually frequent or large
               orders).”

            c. “Distributors take seriously their duty to report suspicious orders, utilizing both
               computer algorithms and human review to detect suspicious orders based on the
               generalized information that is available to them in the ordering process.”

            d. “A particular order or series of orders can raise red flags because of its unusual size,
               frequency, or departure from typical patterns with a given pharmacy.”

            e. “Distributors also monitor for and report abnormal behavior by pharmacies placing
               orders, such as refusing to provide business contact information or insisting on paying
               in cash.”


184
      Bernstein et al., supra, note 149.
185
   Scott Higham et al., Drug Industry Hired Dozens of Officials from the DEA as the Agency Tried to Curb Opioid
Abuse, Wash. Post, Dec. 22, 2016, https://www.washingtonpost.com/investigations/key-officials-switch-sides-from-
dea-to-pharmaceutical-industry/2016/12/22/55d2e938-c07b-11e6-b527-949c5893595e_story.html.
186
      Brief for HDMA and NACDS, 2016 WL 1321983, at *3-4, *25.




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Through the above statements made on their behalf by their trade associations, and other similar

statements assuring their continued compliance with their legal obligations, the Distributor

Defendants not only acknowledged that they understood their obligations under the law, but they

further affirmed that their conduct was in compliance with those obligations.

       387. The Distributor Defendants have also concealed and prevented discovery of

information, including data from the ARCOS database that will confirm their identities and the

extent of their wrongful and illegal activities.

       388. The Manufacturer Defendants distorted the meaning or import of studies they cited

and offered them as evidence for propositions the studies did not support. The Manufacturer

Defendants invented “pseudoaddiction” and promoted it to an unsuspecting medical community.

The Manufacturer Defendants provided the medical community with false and misleading

information about ineffectual strategies to avoid or control opioid addiction. The Manufacturer

Defendants recommended to the medical community that dosages be increased, without

disclosing the risks. The Manufacturer Defendants spent millions of dollars over a period of

years on a misinformation campaign aimed at highlighting opioids’ alleged benefits, disguising

the risks, and promoting sales. The medical community, consumers, the State, and Plaintiff’s

Community were duped by the Manufacturer Defendants’ campaign to misrepresent and conceal

the truth about the opioid drugs that they were aggressively pushing in the State and in Plaintiff’s

Community.

       389. Defendants intended that their actions and omissions would be relied upon,

including by Plaintiff and Plaintiff’s Community. Plaintiff and Plaintiff’s Community did not

know, and did not have the means to know, the truth due to Defendants’ actions and omissions.




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        390. The Plaintiff and Plaintiff’s Community reasonably relied on Defendants’

affirmative statements regarding their purported compliance with their obligations under the law

and consent orders. To the extent statutes of limitations could apply to Plaintiff’s claims, Plaintiff

failed to commence an action within the statutory periods because of reliance on Defendants’

wrongful conduct.

        391. Defendants are estopped from asserting a statute of limitations defense because

their conduct and misrepresentations were so unfair and misleading as to outweigh the public’s

interest in setting limitations on bringing actions.

        392. The purposes of the statutes of limitations period, if any, are satisfied because

Defendants cannot claim prejudice due to a late filing where the Plaintiff filed suit promptly

upon discovering the facts essential to its claims, described herein, which Defendants knowingly

concealed.

             3. Tolling by Discovery.

        393. In Wisconsin, the “discovery rule” is generally applicable to all torts unless there is

a clear statutory prohibition to its application. Under the discovery rule, the statute of limitations

does not begin to run until the nature of the injury and the cause of the injury are discovered.187

As noted above, in this case, the Plaintiff did not know (and did not have the means to know) the

cause of its injuries or Defendants’ part in that cause. Plaintiff did not know that Defendants

engaged in conduct that caused its injuries prior to the expiration of any statute of limitations.

                               V.     LEGAL CAUSES OF ACTION
                                             COUNT I
                                        PUBLIC NUISANCE
                                       (Against all Defendants)


187
   Stuart v. Weisflog's Showroom Gallery, Inc., 2008 WI 22, ¶¶ 16-17, 308 Wis. 2d 103, 746 N.W.2d 762; Hansen
v. A.H. Robins, Inc., 113 Wis. 2d 550, 560, 335 N.W.2d 578 (1983),




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       394. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

       395. Each Defendant is liable for public nuisance because its conduct at issue has caused

an unreasonable and substantial interference with a right common to the general public, which is

the proximate cause of, and/or substantial factor leading to, Plaintiff’s injury. See Restatement

Second, Torts § 821B. See also Physicians Plus Ins. Corp. v. Midwest Mut. Ins. Co., 2002 WI

80, ¶¶ 21 n.15, 254 Wis. 2d 77, 646 N.W.2d 777 (Wisconsin definition of nuisance is consistent

with the definition in the Restatement); Milwaukee Metro. Sewerage Dist. v. City of Milwaukee,

2005 WI 8, ¶¶ 28-29, 277 Wis. 2d 635, 691 N.W.2d 658 (quoting Restatement 2d of Torts

§ 821B as simply a different way of stating Wisconsin’s definition of “public nuisance”).

       396. Under Wisconsin law, a nuisance is “a condition or activity which substantially or

unduly interferes with the use of a public place or with the activities of an entire community.”

Physicians Plus Ins. Corp., 2002 WI 80, ¶ 21.

       397. Wisconsin law further declares that repeated violations of criminal statutes may be

deemed a per se public nuisance subject to an abatement action. State v. H. Samuels Co., 60 Wis.

2d 631, 637–38, 211 N.W.2d 417 (1973) (“If the public is injured in its civil or property rights or

privileges or in respect to public health to any degree, that is sufficient to constitute a public

nuisance”).

       398. Violations of the Wisconsin Uniform Controlled Substances Act constitute public

nuisances under Chapter 823 of the Wisconsin Statutes. Wis. Stat. § 961.53.

       399. Defendants have created a public nuisance under Wisconsin law.

       400. The opioid epidemic is a public nuisance in Walworth County because of its

widespread impact on public health and safety. See Wis. Stat. § 961.001(1m) (“The manufacture,




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distribution, delivery, possession and use of controlled substances for other than legitimate

purposes have a substantial and detrimental effect on the health and general welfare of the people

of this state.”).

        401. Plaintiff has standing to bring claims for nuisance due to the opioid epidemic

affecting and causing harm in Plaintiff’s Community. See Wis. Stat. § 823.01.

        402. Defendants have created and maintained a public nuisance by marketing,

distributing, and selling opioids in ways that unreasonably interfere with the public health,

welfare, and safety in Plaintiff’s Community, and Plaintiff and the residents of Plaintiff’s

Community have a common right to be free from such conduct and to be free from conduct that

creates a disturbance and reasonable apprehension of danger to person and property.

        403. By causing dangerously addictive drugs to flood the community, and to be diverted

for illicit purposes, in contravention of federal and state law, each Defendant has injuriously

affected rights common to the general public, specifically including the rights of the people of

the Plaintiff’s Community to public health, public safety, public peace, public comfort, and

public convenience. The public nuisance caused by Defendants’ marketing and diversion of

dangerous drugs has caused substantial annoyance, inconvenience, and injury to the public.

        404. Defendants have created and maintained an absolute public nuisance through their

ongoing conduct of marketing, distributing, and selling opioids, which are dangerously addictive

drugs, in a manner which caused prescriptions and sales of opioids to skyrocket in Plaintiff’s

Community, flooded Plaintiff’s Community with opioids, and facilitated and encouraged the

flow and diversion of opioids into an illegal, secondary market, resulting in devastating

consequences to Plaintiff and the residents of Plaintiff’s Community




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       405. Defendants intentionally, unreasonably, and/or unlawfully deceptively marketed

and pushed as many opioids onto the market as possible, fueling addiction to and diversion of

these powerful narcotics, resulting in increased addiction and abuse, an elevated level of crime,

death and injuries to the residents of Plaintiff’s Community, a higher level of fear, discomfort

and inconvenience to the residents of Plaintiff’s Community, and direct costs to Plaintiff and

Plaintiff’s Community.

       406. By selling dangerously addictive opioid drugs diverted from a legitimate medical,

scientific, or industrial purpose, Defendants have committed a course of conduct that injuriously

affects the safety, health, and morals of the people of the Plaintiff’s Community.

       407. The Manufacturing Defendants intentionally and unreasonably engaged in a

deceptive marketing scheme that was designed to, and successfully did, change the perception of

opioids and cause their prescribing and sales to skyrocket in Plaintiff’s Community.

       408. The Manufacturing Defendants intentionally and unreasonably misled Plaintiff,

healthcare providers, and the public about the risks and benefits of opioids, including minimizing

the risks of addiction and overdose and exaggerating the purported benefits of long-term use of

opioids for the treatment of chronic pain.

       409. The Manufacturing Defendants violated Wisconsin and federal statutes and

regulations, including the controlled substances laws, by engaging in the deceptive marketing of

opioids, as described in this Complaint.

       410. By failing to maintain a closed system that guards against diversion of dangerously

addictive drugs for illicit purposes, Defendants injuriously affected public rights, including the

right to public health, public safety, public peace, and public comfort of the people of the

Plaintiff’s Community.




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       411. Plaintiff alleges that Defendants’ wrongful and illegal actions have created a public

nuisance. Each Defendant is liable for public nuisance because its conduct at issue has caused an

unreasonable interference with a right common to the general public.

       412. The Defendants have intentionally and/or unlawfully created a public nuisance that

substantially and unduly interferes with the activities of Plaintiff’s entire community.

       413. The residents of Plaintiff’s Community have a common right to be free from

conduct that creates an unreasonable jeopardy to the public health, welfare and safety, and to be

free from conduct that creates a disturbance and reasonable apprehension of danger to person and

property.

       414. Defendants are in the business of manufacturing, marketing, and/or distributing

prescription drugs, including opioids, which are specifically known to Defendants to be

dangerous because, inter alia, these drugs are defined under federal and state law as substances

posing a high potential for abuse and addiction.

       415. Defendants intentionally, unlawfully, and recklessly manufacture, market,

distribute, and sell prescription opioids that Defendants know, or reasonably should know, will

be diverted, causing widespread distribution of prescription opioids in and/or to Plaintiff’s

Community, resulting in addiction and abuse, an elevated level of crime, death and injuries to the

residents of Plaintiff’s Community, a higher level of fear, discomfort and inconvenience to the

residents of Plaintiff’s Community, and direct costs to Plaintiff’s Community.

       416. Defendants have unlawfully and/or intentionally caused and permitted dangerous

drugs under their control to be diverted such as to injure the Plaintiff’s Community and its

residents.




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       417. Defendants have unlawfully and/or intentionally distributed opioids or caused

opioids to be distributed without maintaining effective controls against diversion. Such conduct

was illegal.   Defendants’ failures to maintain effective controls against diversion include

Defendants’ failure to effectively monitor for suspicious orders, report suspicious orders, and/or

stop shipment of suspicious orders.

       418. Defendants have caused a significant and unreasonable interference with the public

health, safety, welfare, peace, comfort and convenience, and ability to be free from disturbance

and reasonable apprehension of danger to person or property.

       419. Defendants’ conduct in illegally distributing and selling prescription opioids, or

causing such opioids to be distributed and sold, where Defendants know, or reasonably should

know, such opioids will be diverted and possessed and/or used illegally in Plaintiff’s Community

is of a continuing nature.

       420. Defendants had control over their conduct in Plaintiff’s Community and that

conduct has had an adverse effect on rights common to the general public. The Manufacturing

Defendants controlled their deceptive advertising and efforts to mislead the public, including

their acts and omissions in detailing by their sales representatives, online communications,

publications, Continuing Medical Education programs and other speaking events, and other

means described in this Complaint. Defendants had control over their own shipments of opioids

and over their reporting, or lack thereof, of suspicious prescribers and orders. Each of the

Defendants controlled the systems they developed to prevent diversion, including the criteria and

process they used to identify suspicious orders, whether and to what extent they trained their

employees to report and halt suspicious orders, and whether they filled orders they knew or

should have known were likely to be diverted or fuel an illegal market.




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       421. Defendants’ actions have been of a continuing nature and have produced a

significant effect upon the public’s rights, including the public’s right to health and safety.

       422. A violation of any rule or law controlling the distribution of a drug of abuse in

Plaintiff’s Community and the State is a public nuisance.

       423. Defendants’ distribution of opioids while failing to maintain effective controls

against diversion was proscribed by statute and regulation.

       424. Defendants’ ongoing conduct produces an ongoing nuisance, as the prescription

opioids that they allow and/or cause to be illegally distributed and possessed in Plaintiff’s

Community will be diverted, leading to abuse, addiction, crime, and public health costs.

       425. Because of the continued use and addiction caused by these illegally distributed

opioids, the public will continue to fear for its health, safety and welfare, and will be subjected to

conduct that creates a disturbance and reasonable apprehension of danger to person and property.

       426. Defendants know, or reasonably should know, that their conduct will have an

ongoing detrimental effect upon the public health, safety and welfare, and the public’s ability to

be free from disturbance and reasonable apprehension of danger to person and property.

       427. Defendants know, or reasonably should know, that their conduct causes an

unreasonable invasion of the public right to health, safety and welfare and the public’s ability to

be free from disturbance and reasonable apprehension of danger to person and property.

       428. Defendants are aware, and at a bare minimum certainly should be aware, of the

unreasonable interference that their conduct has caused in Plaintiff’s Community. Defendants are

in the business of manufacturing, marketing, selling, and distributing prescription drugs,

including opioids, which are specifically known to Defendants to be dangerous under federal and

state law. See, e.g., 21 U.S.C. § 812 (b)(2).




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       429. Defendants’ conduct in marketing, distributing, and selling prescription opioids

which the defendants know, or reasonably should know, will likely be diverted for non-

legitimate, non-medical use, creates a strong likelihood that these illegal distributions of opioids

will cause death and injuries to residents in Plaintiff’s Community and otherwise significantly

and unreasonably interfere with public health, safety and welfare, and with the public’s right to

be free from disturbance and reasonable apprehension of danger to person and property.

       430. It is, or should be, reasonably foreseeable to defendants that their conduct will

cause deaths and injuries to residents in Plaintiff’s Community, and will otherwise significantly

and unreasonably interfere with public health, safety and welfare, and with the public’s right to

be free from disturbance and reasonable apprehension of danger to person and property.

       431. The prevalence and availability of diverted prescription opioids in the hands of

irresponsible persons and persons with criminal purposes in Plaintiff’s Community not only

causes deaths and injuries, but also creates a palpable climate of fear among residents in

Plaintiff’s Community where opioid diversion, abuse, addiction are prevalent and where diverted

opioids tend to be used frequently.

       432. Defendants’ conduct makes it easier for persons to divert prescription opioids,

constituting a dangerous threat to the public.

       433. Defendants’ actions were, at the least, a substantial factor in opioids becoming

widely available and widely used for non-medical purposes. Because of Defendants’ special

positions within the closed system of opioid distribution, without Defendants’ actions, opioid use

would not have become so widespread, and the enormous public health hazard of prescription

opioid and heroin overuse, abuse, and addiction that now exists would have been averted.




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        434. The presence of diverted prescription opioids in Plaintiff’s Community, and the

consequence of prescription opioids having been diverted in Plaintiff’s Community, proximately

results in and/or substantially contributes to the creation of significant costs to the Plaintiff and to

Plaintiff’s Community in order to enforce the law, equip law enforcement and treat the victims of

opioid abuse and addiction.

        435. Stemming the flow of illegally distributed prescription opioids, and abating the

nuisance caused by the illegal flow of opioids, will help to alleviate this problem, save lives,

prevent injuries and make Plaintiff’s Community a safer place to live.

        436. Defendants’ conduct is a direct and proximate cause of and/or a substantial

contributing factor to opioid addiction and abuse in Plaintiff’s Community, costs borne by

Plaintiff’s Community and the Plaintiff, and a significant and unreasonable interference with

public health, safety and welfare, and with the public’s right to be free from disturbance and

reasonable apprehension of danger to person and property.

        437. Defendants’ conduct constitutes a public nuisance and, if unabated, will continue to

threaten the health, safety and welfare of the residents of Plaintiff’s Community, creating an

atmosphere of fear and addiction that tears at the residents’ sense of well-being and security.

Plaintiff has a clearly ascertainable right to abate conduct that perpetuates this nuisance.

        438. Defendants created an intentional nuisance. Defendants’ actions created and

expanded the abuse of opioids, which are dangerously addictive, and the ensuing associated

plague of prescription opioid and heroin addiction. Defendants knew the dangers to public

health and safety that diversion of opioids would create in Plaintiff’s Community; however,

Defendants intentionally and/or unlawfully failed to maintain effective controls against diversion

through proper monitoring, reporting and refusal to fill suspicious orders of opioids. Defendants




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intentionally and/or unlawfully distributed opioids or caused opioids to be distributed without

reporting or refusing to fill suspicious orders or taking other measures to maintain effective

controls against diversion. Defendants intentionally and/or unlawfully continued to ship and

failed to halt suspicious orders of opioids, or caused such orders to be shipped. Defendants

intentionally and/or unlawfully marketed opioids in manners they knew to be false and

misleading. Such actions were inherently dangerous.

       439. Because of the Manufacturing Defendants’ deceptive marketing of opioids and

Defendants’ special positions within the closed system of opioid distribution, without

Defendants’ actions, opioid use would not have become so widespread, and the enormous public

health hazard of prescription opioid and heroin overuse, abuse, and addiction that now exists

would have been averted.

       440. Defendants knew the prescription opioids have a high likelihood of being diverted.

It was foreseeable to Defendants that where Defendants distributed prescription opioids or

caused such opioids to be distributed without maintaining effective controls against diversion,

including monitoring, reporting, and refusing shipment of suspicious orders, that the opioids

would be diverted, and create an opioid abuse nuisance in Plaintiff’s Community.

       441. Defendants’ actions also created a nuisance by acting recklessly, negligently and/or

carelessly, in breach of their duties to maintain effective controls against diversion, thereby

creating an unreasonable risk of harm.

       442. Defendants acted with actual malice because Defendants acted with a conscious

disregard for the rights and safety of other persons, and said actions have a great probability of

causing substantial harm.




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       443. The damages available to the Plaintiff include, inter alia, recoupment of

governmental costs, flowing from an ongoing and persistent public nuisance which the

government seeks to abate. Defendants’ conduct is ongoing and persistent, and the Plaintiff

seeks all damages flowing from Defendants’ conduct. Plaintiff further seeks to abate the

nuisance and harm created by Defendants’ conduct.

       444. As a direct result of Defendants’ conduct, the Plaintiff and Plaintiff’s Community

have suffered actual injury and damages including, but not limited to, significant expenses for

police, emergency, health, prosecution, corrections and other services. The Plaintiff here seeks

recovery for its own harm.

       445. The Plaintiff and Plaintiff’s Community have sustained specific and special injuries

because its damages include, inter alia, health services, law enforcement expenditures, and costs

related to opioid addiction treatment and overdose prevention.

       446. The Plaintiff further seeks to abate the nuisance created by the Defendants’

unreasonable, unlawful, intentional, ongoing, continuing, and persistent actions and omissions

and interference with a right common to the public.

       447. Plaintiff seeks all legal and equitable relief as allowed by law, including, inter alia,

abatement and compensatory damages, from the Defendants for the creation of a public

nuisance, attorneys’ fees and costs, and pre- and post-judgment interest.

       448. Defendants’ intentional and unlawful actions and omissions and unreasonable

interference with a right common to the public are of a continuing nature.

       449. Defendants are aware, and at a bare minimum certainly should be aware, of the

unreasonable interference that their conduct has caused in the Plaintiff’s Community. Defendants

are in the business of manufacturing or distributing prescription drugs, including opioids, which




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are specifically known to Defendants to be dangerous because, inter alia, these drugs are defined

under federal and state law as substances posing a high potential for abuse and severe addiction.

Defendants created an intentional nuisance. Defendants’ actions created and expanded the abuse

of opioids, drugs specifically codified as constituting severely harmful substances.

       450. The public nuisance created by Defendants’ actions is substantial and unreasonable

– it has caused and continues to cause significant harm to Plaintiff’s Community, and the harm

inflicted outweighs any offsetting benefit. The staggering rates of opioid and heroin use resulting

from the Defendants’ abdication of their gate-keeping and diversion prevention duties, and the

Manufacturer Defendants’ fraudulent marketing activities, have caused harm to Plaintiff’s

Community that includes, but is not limited to the following:

       a. The high rates of use leading to unnecessary opioid abuse, addiction, overdose,
          injuries, and deaths.

       b. Even children have fallen victim to the opioid epidemic. Easy access to prescription
          opioids made opioids a recreational drug of choice among teenagers. Even infants
          have been born addicted to opioids due to prenatal exposure, causing severe
          withdrawal symptoms and lasting developmental impacts.

       c. Even those residents of Plaintiff’s Community who have never taken opioids have
          suffered from the public nuisance arising from Defendants’ abdication of their gate-
          keeper duties and fraudulent promotions. Many residents have endured both the
          emotional and financial costs of caring for loved ones addicted to or injured by
          opioids, and the loss of companionship, wages, or other support from family members
          who have used, abused, become addicted to, overdosed on, or been killed by opioids.

       d. The opioid epidemic has increased health care costs.

       e. Employers have lost the value of productive and healthy employees.

       f. Defendants’ conduct created an abundance of drugs available for criminal use and
          fueled a new wave of addiction, abuse, and injury.

       g. Defendants’ dereliction of duties and/or fraudulent misinformation campaign pushing
          dangerous drugs resulted in a diverted supply of narcotics to sell, and the ensuing
          demand of addicts to buy them. More prescription opioids sold by Defendants led to
          more addiction, with many addicts turning from prescription opioids to heroin. People




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           addicted to opioids frequently require increasing levels of opioids, and many turned
           to heroin as a foreseeable result.

       h. The diversion of opioids into the secondary, criminal market and the increased
          number of individuals who abuse or are addicted to opioids increased the demands on
          health care services and law enforcement.

       i. The significant and unreasonable interference with the public rights caused by
          Defendants’ conduct taxed the human, medical, public health, law enforcement, and
          financial resources of the Plaintiff’s Community.

       j. Defendants’ interference with the comfortable enjoyment of life in the Plaintiff’s
          Community is unreasonable because there is little social utility to opioid diversion
          and abuse, and any potential value is outweighed by the gravity of the harm inflicted
          by Defendants’ actions.

       451. The Plaintiff and Plaintiff’s Community have sustained specific and special injuries

because its damages include, inter alia, health services and law enforcement expenditures, as

described in this Complaint.

       452. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

losses) resulting from Defendants’ fraudulent activity and fraudulent misrepresentations.

       453. Plaintiff seeks all legal and equitable relief as allowed by law, other than such

damages disavowed herein, including, inter alia, injunctive relief, expenses to abate the

nuisance, restitution, disgorgement of profits, compensatory damages, civil penalties and all

damages allowed by law to be paid by the Defendants, attorneys’ fees and costs, and pre- and

post-judgment interest. See Wis. Stat. § 823.03.

                                   COUNT II
        RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT
                             18 U.S.C. § 1961, et seq.
            (Against Defendants Purdue, Cephalon, Janssen, and Endo)
                      (The “Opioid Marketing Enterprise”)

       454. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges as follows.




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       455. Plaintiff brings this Count on behalf of itself against the following Defendants, as

defined above: Purdue, Cephalon, Janssen, and Endo (referred to collectively for this Claim as

the “RICO Marketing Defendants”).

       456. At all relevant times, the RICO Marketing Defendants were and are “persons”

under 18 U.S.C. § 1961(3) because they are entities capable of holding, and do hold, “a legal or

beneficial interest in property.”

       457. Section 1962(c) of RICO makes it unlawful “for any person employed by or

associated with any enterprise engaged in, or the activities of which affect, interstate or foreign

commerce, to conduct or participate, directly or indirectly, in the conduct of such enterprise’s

affairs through a pattern of racketeering activity.” 18 U.S.C. § 1962(c).

       458. The term “enterprise” is defined as including “any individual, partnership,

corporation, association, or other legal entity, and any union or group of individuals associated in

fact although not a legal entity.” 18 U.S.C. § 1961(4). The definition of “enterprise” in Section

1961(4) includes legitimate and illegitimate enterprises within its scope. Specifically, the section

“describes two separate categories of associations that come within the purview of an

‘enterprise’ -- the first encompassing organizations such as corporations, partnerships, and other

‘legal entities,’ and the second covering ‘any union or group of individuals associated in fact

although not a legal entity.’” United State v. Turkette, 452 U.S. 576, 577 (1981).

       459. Beginning in the early 1990s, the RICO Marketing Defendants aggressively sought

to bolster their revenue, increase profit, and grow their share of the prescription painkiller market

by unlawfully increasing the volume of opioids they sold. The RICO Marketing Defendants

knew that they could not increase their profits without misrepresenting that opioids were non-

addictive and safe for the long-term treatment of chronic pain.




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        460. The generally accepted standards of medical practice prior to the 1990s dictated

that opioids should only be used in short durations to treat acute pain, pain relating to recovery

from surgery, or for cancer or palliative (end-of-life) care. Due to the evidence of addiction and

lack of evidence indicating that opioids improved patients’ ability to overcome pain and

function, the use of opioids for chronic pain was discouraged or prohibited. As a result, doctors

generally did not prescribe opioids for chronic pain.

        461. Knowing that their products were highly addictive, ineffective and unsafe for the

treatment of long-term chronic pain, non-acute and non-cancer pain, the RICO Marketing

Defendants formed an association-in-fact enterprise and engaged in a scheme to unlawfully

increase their profits and sales, and grow their share of the prescription painkiller market,

through repeated and systematic misrepresentations about the safety and efficacy of opioids for

treating long-term chronic pain.

        462. The RICO Marketing Defendants formed an association-in-fact enterprise

consisting of “advocacy groups and professional societies” (“Front Groups”) and paid

“physicians affiliated with these groups” (“KOLs”) in order to unlawfully increase the demand

for opioids. Through their personal relationships, the RICO Marketing Defendants and members

of the Opioid Marketing Enterprise had the opportunity to form and take actions in furtherance

of the Opioid Marketing Enterprise’s common purpose. The RICO Marketing Defendants’

substantial financial contribution to the Opioid Marketing Enterprise, and the advancement of

opioids-friendly messaging, fueled the U.S. opioids epidemic.188




188
   Fueling an Epidemic: Exposing the Financial Ties Between Opioid Manufacturers and Third Party Advocacy
Groups, U.S. Senate Homeland Security & Governmental Affairs Committee, Ranking Members’ Office, February
12, 2018 https://www.hsdl.org/?abstract&did=808171 (“Fueling an Epidemic”), at 1.




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          463. The RICO Marketing Defendants, through the Opioid Marketing Enterprise, made

misleading statements and misrepresentations about opioids that downplayed the risk of

addiction and exaggerated the benefits of opioid use, including: (1) downplaying the serious risk

of addiction; (2) creating and promoting the concept of “pseudoaddiction” when signs of actual

addiction began appearing and advocated that the signs of addiction should be treated with more

opioids; (3) exaggerating the effectiveness of screening tools to prevent addiction; (4) claiming

that opioid dependence and withdrawal are easily managed; (5) denying the risks of higher

opioid dosages; and (6) exaggerating the effectiveness of “abuse-deterrent” opioid formulations

to prevent abuse and addiction.

          464. The RICO Marketing Defendants also falsely touted the benefits of long-term

opioid use, including the supposed ability of opioids to improve function and quality of life, even

though there was no scientifically reliable evidence to support the RICO Marketing Defendants’

claims.

          465. The RICO Marketing Defendants’ scheme, and the common purpose of the Opioid

Marketing Enterprise, has been wildly successful. Opioids are now the most prescribed class of

drugs. Globally, opioid sales generated $11 billion in revenue for drug companies in 2010 alone;

sales in the United States have exceeded $8 billion in revenue annually since 2009.189 In an open

letter to the nation’s physicians in August 2016, the then-U.S. Surgeon General expressly

connected this “urgent health crisis” to “heavy marketing of opioids to doctors . . . [m]any of




189
   See Katherine Eban, OxyContin: Purdue Pharma’s Painful Medicine, Fortune, Nov. 9, 2011,
http://fortune.com/2011/11/09/oxycontin-purdue-pharmas-painful-medicine/; David Crow, Drugmakers Hooked on
$10bn Opioid Habit, Fin. Times, Aug. 10, 2016, https://www. ft.com/content/f6e989a8-5dac-11e6-bb77-
a121aa8abd95.




                                         139
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[whom] were even taught – incorrectly – that opioids are not addictive when prescribed for

legitimate pain.”190

          466. The scheme devised and implemented by the RICO Marketing Defendants

amounted to a common course of conduct designed to ensure that the RICO Marketing

Defendants unlawfully increased their sales and profits through misrepresentations about the

addictive nature and effective use of the RICO Marketing Defendants’ drugs. As Senator

McCaskill aptly recognized:

          The opioid epidemic is the direct result of a calculated marketing and sales
          strategy developed in the 90’s, which delivered three simple messages to
          physicians. First, that chronic pain was severely undertreated in the United
          States. Second, that opioids were the best tool to address that pain. And third,
          that opioids could treat pain without risk of serious addiction. As it turns out,
          these messages were exaggerations at best and outright lies at worst.191

      A. THE OPIOID MARKETING ENTERPRISE

          467. The Opioid Marketing Enterprise consists of the RICO Marketing Defendants, the

Front Groups, and the KOLs – each of whom is identified below:

         The RICO Defendants

             o   Purdue
             o   Cephalon
             o   Janssen
             o   Endo

         The Front Groups

             o   American Pain Foundation (“APF”)
             o   American Academy of Pain Medicine (“AAPM”)
             o   American Pain Society (“APS”)
             o   Federation of State Medical Boards (“FSMB”)

190
   Letter from Vivek H. Murthy, U.S. Surgeon General (Aug. 2016), http://turnthetiderx.org/; Fueling An Epidemic,
supra, note 189, at 1.
191
   See, LIVESTREAM: Insys Opioid Sales and Marketing Practices Roundtable, September 12, 2017, at 31:03-
31:37, https://www.youtube.com/watch?v=k9mrQa8_vAo (last accessed on March 1, 2018).




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           o U.S. Pain Foundation (“USPF”)
           o American Geriatrics Society (“AGS”)

      The KOLs

           o   Dr. Russell Portenoy (“Dr. Portenoy”)
           o   Dr. Lynn Webster (“Dr. Webster”)
           o   Dr. Perry Fine (“Dr. Fine”)
           o   Dr. Scott M. Fishman (“Dr. Fishman”)

       468. The Opioid Marketing Enterprise is an ongoing and continuing business

organization that created and maintained systematic links, interpersonal relationships and

engaged in a pattern of predicate acts (i.e. racketeering activity) in order to further the common

purpose of the enterprise: unlawfully increasing profits and revenues from the continued

prescription and use of opioids for long-term chronic pain. Each of the individuals and entities

who formed the Opioid Marketing Enterprise is an entity or person within the meaning of 18

U.S.C. § 1961(3) and acted to enable the common purpose and fraudulent scheme of the Opioid

Marketing Enterprise.

       469. In order to accomplish the common purpose, members of the Opioid Marketing

Enterprise repeatedly and systematically misrepresented – affirmatively, and through half-truths

and omissions – that opioids are non-addictive and safe for the effective treatment of long-term,

chronic, non-acute and non-cancer pain, and for other off-label uses not approved by the FDA.

The Opioid Marketing Enterprise misrepresented and concealed the serious risks and lack of

corresponding benefits of using opioids for long-term chronic pain.            By making these

misrepresentations, the Opioid Marketing Enterprise ensured that a large number of opioid

prescriptions would be written and filled for chronic pain.

       470. At all relevant times, the Opioid Marketing Enterprise: (a) had an existence

separate and distinct from each RICO Marketing Defendant and its members; (b) was separate




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and distinct from the pattern of racketeering in which the RICO Defendants engaged; (c) was an

ongoing and continuing organization consisting of individuals, persons, and legal entities,

including each of the RICO Marketing Defendants; (d) was characterized by interpersonal

relationships between and among each member of the Opioid Marketing Enterprise, including

between the RICO Marketing Defendants and each of the Front Groups and KOLs; (e) had

sufficient longevity for the enterprise to pursue its purpose; and (f) functioned as a continuing

unit.

        471. The persons and entities engaged in the Opioid Marketing Enterprise are

systematically linked through contractual relationships, financial ties, personal relationships, and

continuing coordination of activities, as spearheaded by the RICO Marketing Defendants.

        472. Each of the RICO Marketing Defendants, and each member of the Opioid

Marketing Enterprise had systematic links to and personal relationships with each other through

joint participation in lobbying groups, trade industry organizations, contractual relationships and

continuing coordination of activities. Each of the RICO Marketing Defendants coordinated their

marketing efforts through the same KOLs and Front Groups, based on their agreement and

understanding that the Front Groups and KOLs were industry friendly and would work together

with the RICO Marketing Defendants to advance the common purpose of the Opioid Marketing

Enterprise.

              1. The RICO Defendants

        473. In addition to their systematic links to and personal relationships with the Front

Groups and KOLS, described below, the RICO Marketing Defendants had systematic links to

and personal relationships with each other through their participation in lobbying groups, trade

industry organizations, contractual relationships and continuing coordination of activities,




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including but not limited to, the Pain Care Forum (“PCF”) and the Healthcare Distribution

Alliance (“HDA”).

            474. The PCF has been described as a coalition of drug makers, trade groups and dozens

of non-profit organizations supported by industry funding. Plaintiff is informed and believes that

the PCF was created with the stated goal of offering a “setting where multiple organizations can

share information” and “promote and support taking collaborative action regarding federal pain

policy issues.” Plaintiff is informed and believes that past APF President Will Rowe described

the PCF as “a deliberate effort to positively merge the capacities of industry, professional

associations, and patient organizations.”

            475. The PCF recently became a national news story when it was discovered that

lobbyists for members of the PCF, including the RICO Marketing Defendants, quietly shaped

federal and state policies regarding the use of prescription opioids for more than a decade.

            476. The Center for Public Integrity and The Associated Press obtained “internal

documents shed[ding] new light on how drug makers and their allies shaped the national

response to the ongoing wave of prescription opioid abuse.”192 Specifically, PCF members spent

over $740 million lobbying in the nation’s capital and in all 50 statehouses on an array of issues,

including opioid-related measures.193

            477. Not surprisingly, each of the RICO Marketing Defendants who stood to profit from

lobbying in favor of prescription opioid use is a member of and/or participant in the PCF. 194 In


192
   Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public
Integrity (September 19, 2017, 12:01 a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-
chamber-shaped-policy-amid-drug-epidemic (emphasis added).
193
      Id.
194
   PAIN CARE FORUM 2012 Meetings Schedule, (last updated December 2011),
https://assets.documentcloud.org/documents/3108982/PAIN-CARE-FORUM-Meetings-Schedule-amp.pdf (last
visited March 8, 2018).




                                           143
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2012, membership and participating organizations in the PCF included the HDA (of which all

the RICO Defendants are members), Endo, Purdue, Johnson & Johnson (the parent company for

Janssen Pharmaceuticals), and Teva (the parent company of Cephalon). 195 Each of the RICO

Marketing Defendants worked together through the PCF to advance the interests of the Opioid

Marketing Enterprise. But, the RICO Marketing Defendants were not alone, many of the RICO

Marketing Defendants’ Front Groups were also members of the PCF, including the American

Academy of Pain Management, the American Pain Foundation, and the American Pain Society.

Upon information and belief, the RICO Marketing Defendants’ KOLs were also members of and

participated in the PCF.

            478. Through the Pain Care Forum, the RICO Marketing Defendants met regularly and

in person to form and take action to further the common purpose of the Opioid Marketing

Enterprise and shape the national response to the ongoing prescription opioid epidemic.

            479. Through the HDA – or Healthcare Distribution Alliance – the RICO Marketing

Defendants “strengthen[ed] . . . alliances”196 and took actions to further the common purpose of

the Opioid Marketing Enterprise.

            480. Beyond strengthening alliances, the benefits of HDA membership included the

ability to, among other things, “network one on one with manufacturer executives at HDA’s

members-only Business and Leadership Conference,” “participate on HDA committees, task

forces and working groups with peers and trading partners,” and “make connections.”197 Clearly,



195
      Id. Upon information and belief, Mallinckrodt became an active member of the PCF sometime after 2012.
196
    Manufacturer Membership Benefits, Healthcare Distribution Alliance, (last accessed on September 14, 2017),
https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-benefits.ashx?la=en
(emphasis added).
197
      Id.




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membership in the HDA was an opportunity to create interpersonal and ongoing organizational

relationships and “alliances” between the RICO Marketing Defendants.

        481. The closed meetings of the HDA’s councils, committees, task forces and working

groups provided the RICO Marketing Defendants with the opportunity to work closely together,

confidentially, to develop and further the common purpose and interests of the Opioid Marketing

Enterprise.

        482. The HDA also offered multiple conferences, including annual business and

leadership conferences through which the RICO Marketing Defendants had an opportunity to

“bring together high-level executives, thought leaders and influential managers . . . to hold

strategic business discussions on the most pressing industry issues.”198                   The HDA and its

conferences were significant opportunities for the RICO Marketing Defendants to interact at the

executive level and form and take actions in furtherance of the common purpose of the Opioid

Marketing Enterprise. It is clear that the RICO Marketing Defendants embraced this opportunity

by attending and sponsoring these events.199

        483. The systematic contacts and personal relationships developed by the RICO

Marketing Defendants through the PCF and the HDA furthered the common purpose of the

Opioid Marketing Enterprise because it allowed the RICO Marketing Defendants to coordinate

the conduct of the Opioid Marketing Enterprise by, including but not limited to, coordinating

their interaction and development of relationships with the Front Groups and KOLs.

              2. The Front Groups
198
   Business and Leadership Conference – Information for Manufacturers, Healthcare Distribution
Alliancehttps://www.healthcaredistribution.org/events/2015-business-and-leadership-conference/blc-for-
manufacturers (last accessed on September 14, 2017).
199
   2015 Distribution Management Conference and Expo, Healthcare Distribution Alliance,
https://www.healthcaredistribution.org/events/2015-distribution-management-conference (last accessed on
September 14, 2017).




                                        145
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             484. Each of the RICO Marketing Defendants had systematic links to and personal

relationships with Front Groups that operated as part of the Opioid Marketing Enterprise to

further the common purpose of unlawfully increasing sales by misrepresenting the non-addictive

and effective use of opioids for the treatment of long-term chronic pain. As recently reported by

the U.S. Senate in “Fueling an Epidemic”:

             The fact that these same manufacturers provided millions of dollars to the groups
             described below suggests, at the very least, a direct link between corporate
             donations and the advancement of opioids-friendly messaging. By aligning
             medical culture with industry goals in this way, many of the groups described in
             this report may have played a significant role in creating the necessary conditions
             for the U.S. opioids epidemic.200

             485. “Patient advocacy organizations and professional societies like the Front Groups

'play a significant role in shaping health policy debates, setting national guidelines for patient

treatment, raising disease awareness, and educating the public.”201 “Even small organizations—

with ‘their large numbers and credibility with policymakers and the public’—have ‘extensive

influence in specific disease areas.’ Larger organizations with extensive funding and outreach

capabilities ‘likely have a substantial effect on policies relevant to their industry sponsors.’”202

Indeed, as reflected below, the U.S. Senate’s report found that the RICO Marketing Defendants

made nearly $9 million worth of contributions to various Front Groups, including members of

the Opioid Marketing Enterprise.203




200
      Fueling an Epidemic, at p. 1.
201
      Id. at p. 2
202
      Id.
203
      Id. at p. 3.




                                            146
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       486. The Front Groups included in the Opioid Marketing Enterprise “have promoted

messages and policies favorable to opioid use while receiving millions of dollars in payments

from opioid manufacturers. Through criticism of government prescribing guidelines,

minimization of opioid addiction risk, and other efforts, ostensibly neutral advocacy

organizations have often supported industry interests at the expense of their own




                                      147
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constituencies.”204 And, as reflected below, many of the RICO Marketing Defendants’ Front

Groups received the largest contributions:




             487. But, the RICO Marketing Defendants connection with and control over the Front

Groups did not end with financial contributions. Rather, the RICO Marketing Defendants made

substantial contributions to physicians affiliated with the Front Groups totaling more than $1.6

million.205 Moreover, the RICO Marketing Defendants “made substantial payments to individual

group executives, staff members, board members, and advisory board members” affiliated with

the Front Groups subject to the Senate Committee’s study.206




204
      Id. at p. 3.
205
      Id. at p. 3.
206
      Id. at p. 10.




                                            148
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            488. As described in more detail below207, the RICO Marketing Defendants “amplified

or issued messages that reinforce industry efforts to promote opioid prescription and use,

including guidelines and policies minimizing the risk of addiction and promoting opioids for

chronic pain.”208 They also “lobbied to change laws directed at curbing opioid use, strongly

criticized landmark CDC guidelines on opioid prescribing, and challenged legal efforts to hold

physicians and industry executives responsible for overprescription and misbranding.”209




207
   The activities that the Front Groups engaged in, and the misrepresentations that they made, in furtherance of the
common purpose of the Opioid Marketing Enterprise are alleged more fully below, under the heading “Conduct of
the Opioid Marketing Enterprise.”
208
      Id. at 12-15.
209
      Id. at 12.




                                            149
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        489. The systematic contacts and interpersonal relationships of the RICO Marketing

Defendants, and the Front Groups are further described below:

        490. The American Pain Foundation (“APF”) - The American Pain Foundation was the

most prominent member of the RICO Defendants’ Front Groups and was funded almost

exclusively by the RICO Marketing Defendants. Plaintiff is informed and believes that APF

received more than $10 million in funding from the RICO Marketing Defendants between 2007

and the close of its business in May 2012. The APF had multiple contacts and personal

relationships with the RICO Marketing Defendants through its many publishing and educational

programs, funded and supported by the RICO Marketing Defendants.               Plaintiff is further

informed and believes that between 2009 and 2010, APF received more than eighty percent

(80%) of it operating budget from pharmaceutical industry sources. By 2011, upon information

and belief, APF was entirely dependent on incoming grants from Defendants Purdue, Cephalon,

Endo, and others.

        491. On information and belief, APF was often called upon to provide “patient

representatives” for the RICO Marketing Defendants’ promotional activities, including for

Purdue’s “Partners Against Pain” and Janssen’s “Let’s Talk Pain.” APF functioned largely as an

advocate for the interests of the RICO Marketing Defendants, not patients. Indeed, upon

information and belief, as early as 2001, Purdue told APF that the basis of a grant was Purdue’s

desire to “strategically align its investments in nonprofit organizations that share [its] business

interests.”

        492. APF is also credited with creating the PCF in 2004. Plaintiff is informed and

believes that the PCF was created with the stated goal of offering a “setting where multiple

organizations can share information” and “promote and support taking collaborative action




                                       150
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regarding federal pain policy issues.” Plaintiff is informed and believes that past APF President

Will Rowe described the PCF as “a deliberate effort to positively merge the capacities of

industry, professional associations, and patient organizations.”

        493. Upon information and belief, representatives of the RICO Marketing Defendants,

often at informal meetings at conferences, suggested activities and publications for APF to

pursue. APF then submitted grant proposals seeking to fund these activities and publications,

knowing that drug companies would support projects conceived as a result of these

communications.

        494. Furthermore, APF’s Board of Directors was largely comprised of doctors who were

on Defendants’ payrolls, either as consultants or speakers at medical events. 210 As described

below, many of the KOLs involved in the Opioid Marketing Enterprise also served in leadership

positions within the APF.

        495. In December 2011, a ProPublica investigation found that in 2010, nearly 90% of

APF’s funding came from the drug and medical device community, including RICO Marketing

Defendants.211      More specifically, APF received approximately $2.3 million from industry

sources out of total income of $2.85 million in 2009. Its budget for 2010 projected receipt of

approximately $2.9 million from drug companies, out of total income of approximately $3.5

million. In May 2012, the U.S. Senate Finance Committee began looking into APF to determine

the links, financial and otherwise, between the organization and the manufacturers of opioid

painkillers. Within days of being targeted by the Senate investigation, APF’s Board voted to
210
   Charles Ornstein and Tracy Weber, The Champion of Painkillers, ProPublica (Dec. 23, 2011),
https://www.propublica.org/article/the-champion-of-painkillers.
211
   Charles Ornstein & Tracy Weber, Patient advocacy group funded by success of painkiller drugs, probe finds,
Wash. Post (Dec. 23, 2011), https://www.washingtonpost.com/national/healthscience/patient-advocacy-group-
funded-by-success-of-painkiller-drugs-probefinds/2011/12/20/gIQAgvczDP_story. html?utm_term=.
22049984c606.




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dissolve the organization “due to irreparable economic circumstances.” APF “cease[d] to exist,

effective immediately.”212

        496. The American Academy of Pain Medicine (“AAPM”) – The AAPM was another

Front Group that had systematic ties and personal relationships with the RICO Defendants.

AAPM received over $2.2 million in funding since 2009 from opioid manufacturers. AAPM

maintained a corporate relations council, whose members paid $25,000 per year (on top of other

funding) to participate.       The benefits included allowing members to present educational

programs at off-site dinner symposia in connection with AAPM’s marquee event – its annual

meeting held in Palm Springs, California, or other resort locations. AAPM describes the annual

event as an “exclusive venue” for offering education programs to doctors. Membership in the

corporate relations council also allowed drug company executives and marketing staff to meet

with AAPM executive committee members in small settings. The RICO Marketing Defendants

were all members of the council and presented deceptive programs to doctors who attended this

annual event.213

        497. The RICO Marketing Defendants internally viewed AAPM as “industry friendly,”

with RICO Defendants’ advisors and speakers among its active members. The RICO Marketing

Defendants attended AAPM conferences, funded its CMEs and satellite symposia, and

distributed its publications.       AAPM conferences heavily emphasized sessions on opioids.

AAPM presidents have included top industry-supported KOLs like Perry Fine and Lynn

Webster.
212
    Charles Ornstein & Tracy Weber, Senate Panel Investigates Drug Companies’ Ties to Pain Groups, Wash. Post,
May 8, 2012, https://www.washingtonpost.com/national/health-science/senate-panel-investigates-drug-companies-
ties-to-pain-groups/2012/05/08/gIQA2X4qBU_story.html.
213
   The American Academy of Pain Medicine, Pain Medicine DC The Governing Voices of Pain: Medicine,
Science, and Government, March 24-27, 2011, http://www.painmed.org/files/2011-annual-meeting-program-
book.pdf.




                                       152
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        498. Upon information and belief, representatives of the RICO Marketing Defendants,

often at informal meetings at conferences, suggested activities and publications for AAPM to

pursue. AAPM then submitted grant proposals seeking to fund these activities and publications,

knowing that drug companies would support projects conceived as a result of these

communications.

        499. Plaintiff is informed and believes that members of AAPM’s Board of Directors

were doctors who were on the RICO Marketing Defendants’ payrolls, either as consultants or

speakers at medical events. As described below, many of the KOLs involved in the Opioid

Marketing Enterprise also served in leadership positions within the AAPM.

        500. The American Pain Society (“APS”) – The APS was another Front Group with

systematic connections and interpersonal relationships with the RICO Marketing Defendants.

APS was one of the Front Groups investigated by Senators Grassley and Baucus, as evidenced

by their May 8, 2012 letter arising out of their investigation of “extensive ties between

companies that manufacture and market opioids and non-profit organizations” that “helped

created a body of dubious information favoring opioids.”214

        501. Upon information and belief, representatives of the RICO Marketing Defendants,

often at informal meetings at conferences, suggested activities and publications for APS to

pursue. APS then submitted grant proposals seeking to fund these activities and publications,

knowing that drug companies would support projects conceived as a result of these

communications.



214
   Letter from U.S. Senators Charles E. Grassley and Max Baucus to Catherine Underwood, Executive Director
(May 8, 2012), American Pain Society,
https://www.finance.senate.gov/imo/media/doc/05092012%20Baucus%20Grassley%
20Opioid%20Investigation%20Letter%20to%20American %20Pain%20Society.pdf.




                                       153
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           502. Plaintiff is informed and believes that members of APS’s Board of Directors were

doctors who were on the RICO Marketing Defendants’ payrolls, either as consultants or speakers

at medical events. As described below, many of the KOLs involved in the Opioid Marketing

Enterprise also served in leadership positions within the APS.

           503. The Federation of State Medical Boards (“FSMB”) – FSMB was another Front

Group with systematic connections and interpersonal relationships with the RICO Marketing

Defendants. In addition to the contributions reported in Fueling an Epidemic, a June 8, 2012

letter submitted by FSMB to the Senate Finance Committee disclosed substantial payments from

the RICO Marketing Defendants beginning in 1997 and continuing through 2012. 215                            Not

surprisingly, the FSMB was another one of the Front Groups investigated by Senators Grassley

and Baucus, as evidenced by their May 8, 2012 letter arising out of their investigation of

“extensive ties between companies that manufacture and market opioids and non-profit

organizations” that “helped created a body of dubious information favoring opioids.”216

           504. The U.S. Pain Foundation (“USPF”) – The USPF was another Front Group with

systematic connections and interpersonal relationships with the RICO Marketing Defendants.

The USPF was one of the largest recipients of contributions from the RICO Marketing

Defendants, collecting nearly $3 million in payments between 2012 and 2015 alone.217 The

USPF was also a critical component of the Opioid Marketing Enterprise’s lobbying efforts to

reduce the limits on over-prescription. The U.S. Pain Foundation advertises its ties to the RICO


215
   June 8, 2012 Letter from Federation of State Medical Boards to U.S. Senators Max Baucus and Charles Grassley.
216
   Letter from U.S. Senators Charles E. Grassley and Max Baucus to Catherine Underwood, Executive Director
(May 8, 2012), American Pain Society,
https://www.finance.senate.gov/imo/media/doc/05092012%20Baucus%20Grassley%
20Opioid%20Investigation%20Letter%20to%20American %20Pain%20Society.pdf.
217
      Fueling an Epidemic, at p. 4.




                                           154
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Marketing Defendants, listing opioid manufacturers like Pfizer, Teva, Depomed, Endo, Purdue,

McNeil (i.e., Janssen), and Mallinckrodt as “Platinum,” “Gold,” and “Basic” corporate

members.218 Industry Front Groups like the American Academy of Pain Management, the

American Academy of Pain Medicine, the American Pain Society, and PhRMA are also

members of varying levels in the USPF.

        505. American Geriatrics Society (“AGS”) – The AGS was another Front Group with

systematic connections and interpersonal relationships with the RICO Defendants. The AGS

was a large recipient of contributions from the RICO Marketing Defendants, including Endo,

Purdue and Janssen. AGS contracted with the RICO Marketing Defendants to disseminate

guidelines regarding the use of opioids for chronic pain in 2002 (The Management of Persistent

Pain in Older Persons, hereinafter “2002 AGS Guidelines”) and 2009 (Pharmacological

Management of Persistent Pain in Older Persons,219 hereinafter “2009 AGS Guidelines”).

According to news reports, AGS has received at least $344,000 in funding from opioid

manufacturers since 2009.220 AGS’s complicity in the common purpose of the Opioid Marketing

Enterprise is evidenced by the fact that AGS internal discussions in August 2009 reveal that it

did not want to receive-up front funding from drug companies, which would suggest drug

company influence, but would instead accept commercial support to disseminate pro-opioid

publications.



218
  Id. at 12; Transparency, U.S. Pain Foundation, https://uspainfoundation.org/transparency/ (last accessed on
March 9, 2018).
219
   Pharmacological Management of Persistent Pain in Older Persons, 57 J. Am. Geriatrics Soc’y 1331, 1339, 1342
(2009), https://www.nhqualitycampaign.org/files/AmericanGeriatricSociety-PainGuidelines2009.pdf (last accessed
on March 9, 2018).
220
  John Fauber & Ellen Gabler, Narcotic Painkiller Use Booming Among Elderly, Milwaukee J. Sentinel, May 30,
2012.




                                        155
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       506. Upon information and belief, representatives of the RICO Marketing Defendants,

often at informal meetings at conferences, suggested activities, lobbying efforts and publications

for AGS to pursue. AGS then submitted grant proposals seeking to fund these activities and

publications, knowing that drug companies would support projects conceived as a result of these

communications.

       507. Plaintiff is informed and believes that members of AGS Board of Directors were

doctors who were on the RICO Marketing Defendants’ payrolls, either as consultants or speakers

at medical events. As described below, many of the KOLs involved in the Opioid Marketing

Enterprise also served in leadership positions within the AGS.

       508. There was regular communication between each of the RICO Marketing

Defendants, Front Groups and KOLs, in which information was shared, misrepresentations were

coordinated, and payments were exchanged. Typically, the coordination, communication and

payment occurred, and continues to occur, through the use of the wires and mail in which the

RICO Markets Defendants, Front Groups, and KOLs share information necessary to overcome

objections and resistance to the use of opioids for chronic pain.         The RICO Marketing

Defendants, Front Groups and KOLs functioned as a continuing unit for the purpose of

implementing the Opioid Marketing Enterprise’s scheme and common purpose, and each agreed

to take actions to hide the scheme and continue its existence.

       509. At all relevant times, the Front Groups were aware of the RICO Marketing

Defendants’ conduct, were knowing and willing participants in that conduct, and reaped benefits

from that conduct. Each Front Group also knew, but did not disclose, that the other Front

Groups were engaged in the same scheme, to the detriment of consumers, prescribers, and

Plaintiff. But for the Opioid Marketing Enterprise’s unlawful fraud, the Front Groups would




                                       156
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have had incentive to disclose the deceit by the RICO Marketing Defendants and the Opioid

Marketing Enterprise to their members and constituents. By failing to disclose this information,

Front Groups perpetuated the Opioid Marketing Enterprise’s scheme and common purpose, and

reaped substantial benefits.

           3. The KOLs

       510. Similarly, each of the RICO Marketing Defendants financed, supported, utilized

and relied on the same KOLs by paying, financing, supporting, managing, directing, or

overseeing, and/or relying on their work. On Information and belief, the RICO Marketing

Defendants cultivated this small circle of doctors solely because they favored the aggressive

treatment of chronic pain with opioids.

       511. The RICO Marketing Defendants and the Opioid Marketing Enterprise relied on

their KOLs to serve as part of their speakers bureaus and to attend programs with speakers

bureaus. The RICO Marketing Defendants graded their KOLs on performance, post-program

sales, and product usage. Furthermore, the RICO Marketing Defendants expected their KOLs to

stay “on message,” and obtained agreements from them, in writing, that “all slides must be

presented in their entirety and without alterations . . . and in sequence.”

       512. The RICO Marketing Defendants’ KOLs have been at the center of the Opioid

Marketing Enterprise’s marketing efforts, presenting the false appearance of unbiased and

reliable medical research supporting the broad use of opioid therapy for chronic pain. As

described in more detail below, the KOLs have written, consulted, edited, and lent their names to

books and articles, and given speeches, and CMEs supporting chronic opioid therapy. They have

served on committees that developed treatment guidelines that strongly encourage the use of

opioids to treat chronic pain (even while acknowledging the lack of evidence in support of that

position) and on the boards of the pro-opioid Front Groups identified above.


                                       157
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        513. The RICO Marketing Defendants and KOLS all had systematic connections and

interpersonal relationships, as described below, through the KOLs receipt of payments from the

RICO Marketing Defendants and Front Groups, the KOLs’ authoring, publishing, speaking, and

educating on behalf of the RICO Marketing Defendants, and their leadership roles and

participation in the activities of the Front Groups, which were in turn financed by the RICO

Marketing Defendants.

        514. The systematic contacts and interpersonal relationships of the KOLs with the RICO

Marketing Defendants and Front Groups are described below:

        515. Dr. Russell Portenoy – Dr. Portenoy was one of the main KOLs that the RICO

Marketing Defendants identified and promoted to further the common purpose of the Opioid

Marketing Enterprise. Dr. Portenoy received research support, consulting fees, and honoraria

from the RICO Defendants, and was a paid consultant to various RICO Marketing Defendants.

Dr. Portenoy was instrumental in opening the door for the regular use of opioids to treat chronic

pain. Dr. Portenoy had financial relationships with at least a dozen pharmaceutical companies,

most of which produced prescription opioids.221

        516. In exchange for the payments he received from the RICO Marketing Defendants,

Dr. Portenoy is credited as one of the authors on a primary pillar of the RICO Marketing

Defendants’ misrepresentation regarding the risks and benefits of opioids.222 Dr. Portenoy,


221
   Anna Lembke, Drug Dealer, MD: How Doctors Were Duped, Patients Got Hooked, and Why It’s So Hard to
Stop, (Johns Hopkins University Press 2016), at 59 (citing Barry Meier, Pain Killer: A “Wonder” Drug’s Trail of
Addiction and Death (St. Martin’s Press, 1st Ed 2003).
222
    In 1986, the medical journal Pain, which would eventually become the official journal of the American Pain
Society (“APS”), published an article by Portenoy and Foley summarizing the results of a “study” of 38 chronic
non-cancer pain patients who had been treated with opioid painkillers. Portenoy and Foley concluded that, for non-
cancer pain, opioids “can be safely and effectively prescribed to selected patients with relatively little risk of
producing the maladaptive behaviors which define opioid abuse.” However, their study was neither scientific nor did
it meet the rigorous standards commonly used to evaluate the validity and strength of such studies in the medical
community. For instance, there was no placebo control group, and the results were retroactive (asking patients to



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published, spoke, consulted, appeared in advertisements and on television broadcasts, and

traveled the country to travel the country to promote more liberal prescribing for many types of

pain and conduct continuing medical education (“CME”) seminars sponsored by the RICO

Marketing Defendants and Front Groups.

        517. Dr. Portenoy was also a critical component of the RICO Marketing Defendants’

control over their Front Groups, and the Front Groups support of the Opioid Marketing

Enterprise’s common purpose. Specifically, Dr. Portenoy sat as a Director on the board of the

APF. He was also the President of the APS.

        518. In a 2011 interview released by Physicians for Responsible Opioid Prescribing, Dr.

Portenoy admitted that his earlier work relied on evidence that was not “real” and left real

evidence behind, all in furtherance of the Opioid Marketing Enterprise’s common purpose:

        I gave so many lectures to primary care audiences in which the Porter and Jick
        article was just one piece of data that I would then cite, and I would cite six,
        seven, maybe ten different avenues of thought or avenues of evidence, none of
        which represented real evidence, and yet what I was trying to do was to create a
        narrative so that the primary care audience would look at this information in
        [total] and feel more comfortable about opioids in a way they hadn’t before. In
        essence this was education to destigmatize [opioids], and because the primary
        goal was to destigmatize, we often left evidence behind.223

        519. Dr. Lynn Webster – Dr. Webster was a critical component of the Opioid Marketing

Enterprise, including advocating the RICO Marketing Defendants’ fraudulent messages

regarding prescription opioids and had systematic contacts and personal relationships with the

RICO Marketing Defendants and the Front Groups.

describe prior experiences with opioid treatment rather than less biased, in-the-moment reports). The authors
themselves advised caution, stating that the drugs should be used as an “alternative therapy” and recognizing that
longer term studies of patients on opioids would have to be performed. None were. See Russell K. Portenoy &
Kathleen M. Foley, Chronic use of opioid analgesics in non-malignant pain: report of 38 cases, 25(2) Pain 171-86
(May 1986).
223
   Andrew Kolodny, Opioids for Chronic Pain: Addiction is NOT Rare, YouTube (Oct. 30, 2011),
https://www.youtube.com/watch?v=DgyuBWN9D4w&feature=youtu.be.




                                        159
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       520. Dr. Webster was the co-founder and Chief Medical Director of an otherwise

unknown pain clinic in Salt Lake City, Utah (Lifetree Clinical Research), who went on to

become one of the RICO Marketing Defendants’ main KOLs. Dr. Webster was the President of

American Academy of Pain Medicine (“AAPM”) in 2013. He is a Senior Editor of Pain

Medicine, the same journal that published Endo special advertising supplements touting Opana

ER. Dr. Webster was the author of numerous CMEs sponsored by Cephalon, Endo, and Purdue.

At the same time, Dr. Webster was receiving significant funding from the RICO Marketing

Defendants (including nearly $2 million from Cephalon alone).

       521. During a portion of his time as a KOL, Dr. Webster was under investigation for

overprescribing by the U.S. Department of Justice’s Drug Enforcement Agency, which raided his

clinic in 2010. Although the investigation was closed without charges in 2014, more than twenty

(20) of Dr. Webster’s former patients at the Lifetree Clinic have died of opioid overdoses.

       522. Dr. Webster created and promoted the Opioid Risk Tool, a five question, one-

minute screening tool relying on patient self-reports that purportedly allows doctors to manage

the risk that their patients will become addicted to or abuse opioids. The claimed ability to pre-

sort patients likely to become addicted is an important tool in giving doctors confidence to

prescribe opioids long-term, and, for this reason, references to screening appear in various

industry-supported guidelines. Versions of Dr. Webster’s Opioid Risk Tool appear on, or are

linked to, websites run by Endo, Janssen, and Purdue.

       523. Dr. Webster is also credited as one of the leading proponents of “pseudoaddiction”

that the RICO Marketing Defendants, Front Groups and KOLs disseminated as part of the

common purpose of the Opioid Marketing Enterprise.




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        524. Plaintiff is informed and believes that in exchange for the payments he received

from the RICO Marketing Defendants, Dr. Webster published, spoke, consulted, appeared in

advertisements and on television broadcasts, and traveled the country to promote more liberal

prescribing of opioids for many types of pain and conduct CME seminars sponsored by the

RICO Marketing Defendants and Front Groups.

        525. Like Dr. Portenoy, Dr. Webster later reversed his opinion and disavowed his

previous work on and opinions regarding pseudoaddiction.                       Specifically, Dr. Webster

acknowledged that “[pseudoaddiction] obviously became too much of an excuse to give patients

more medication.”224

        526. Dr. Perry Fine – Dr. Webster was a critical component of the Opioid Marketing

Enterprise, including advocating the RICO Marketing Defendants’ fraudulent messages

regarding prescription opioids and had systematic contacts and personal relationships with the

RICO Marketing Defendants and the Front Groups.

        527. Dr. Fine was originally a doctor practicing in Utah, who received support from the

RICO Marketing Defendants, including Janssen, Cephalon, Endo, and Purdue. Dr. Fine’s ties to

the RICO Marketing Defendants have been well documented.225 He has authored articles and

testified in court cases and before state and federal committees, and he served as president of the

AAPM, and argued against legislation restricting high-dose opioid prescription for non-cancer

patients. Multiple videos featured Fine delivering educational talks about prescription opioids.

He even testified in a trial that the 1,500 pills a month prescribed to celebrity Anna Nicole Smith
224
   John Fauber, Painkiller Boom Fueled by Networking, Milwaukee Wisc. J. Sentinel, Feb. 18, 2012,
http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-networking-dp3p2rn-
139609053.html.
225
   Tracy Weber & Charles Ornstein, Two Leaders in Pain Treatment Have Long Ties to Drug Industry,
PROPUBLICA (Dec. 23, 2011 9:14 AM), https://www.propublica.org/article/two-leaders-in-pain-treatment-have-
long-ties-to-drug-industry.




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for pain did not make her an addict before her death.226 He has also acknowledged having failed

to disclose numerous conflicts of interest.

        528. Dr. Fine was also a critical component of the RICO Marketing Defendants’ control

over their Front Groups, and the Front Groups support of the Opioid Marketing Enterprise’s

common purpose. Specifically, Dr. Fine served on the Board of Directors of APF and served as

the President of the AAPM in 2011.

        529. Plaintiff is informed and believes that in exchange for the payments he received

from the RICO Marketing Defendants, Dr. Fine published, spoke, consulted, appeared in

advertisements and on television broadcasts, and traveled the country to promote more liberal

prescribing of opioids for many types of pain and conduct CME seminars sponsored by the

RICO Marketing Defendants and Front Groups.

        530. Dr. Scott M. Fishman – Dr. Fishman was a critical component of the Opioid

Marketing Enterprise, including advocating the RICO Marketing Defendants’ fraudulent

messages regarding prescription opioids and had systematic contacts and personal relationships

with the RICO Marketing Defendants and the Front Groups.

        531. Dr. Fishman’s ties to the opioid drug industry are legion.227

        532. As Dr. Fishman’s personal biography indicates, he is a critical component of the

RICO Marketing Defendants’ control over their Front Groups, and the Front Groups support of

the Opioid Marketing Enterprise’s common purpose.                       Specifically, Dr. Fishman is an

“internationally recognized expert on pain and pain management” who has served in “numerous
226
   Linda Deutsch, Doctor: 1,500 pills don’t prove Smith was addicted, SEATTLE TIMES
https://www.seattletimes.com/entertainment/doctor-1500-pills-dont-prove-smith-was-addicted/ (last updated Sept.
22, 2010).
227
   Scott M. Fishman, M.D., Professor, U.C. Davis Health, Center for Advancing Pain Relief,
https://www.ucdmc.ucdavis.edu/advancingpainrelief/our_team/Scott_Fishman.html (last accessed on February 28,
2018).




                                        162
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leadership roles with the goal to alleviate pain.”228 Dr. Fishman’s roles in the pain industry

include “past president of the American Academy of Pain Medicine [AAPM], past chairman of

the board of directors of the American Pain Foundation [APF], and past board member of the

American Pain Society [APS].”229 Dr. Fishman is also “the immediate past chair and current

member of the Pain Care Coalition of the American Society of Anesthesiologists, American Pain

Society, and Academy of Pain Medicine.”230 Dr. Fishman’s leadership positions within the

central core of the RICO Marketing Defendants’ Front Groups was a direct result of his

participation in the Opioid Marketing Enterprise and agreement to cooperate with the RICO

Marketing Defendants’ pattern of racketeering activity.

            533. Plaintiff is informed and believes that in exchange for the payments he received

from the RICO Marketing Defendants, Dr. Fishman published, spoke, consulted, appeared in

advertisements and on television broadcasts, and traveled the country to promote more liberal

prescribing of opioids for many types of pain and conduct CME seminars sponsored by the

RICO Marketing Defendants and Front Groups.

            534. There was regular communication between each of the RICO Marketing

Defendants, Front Groups and KOLs, in which information was shared, misrepresentations are

coordinated, and payments were exchanged. Typically, the coordination, communication and

payment occurred, and continues to occur, through the use of the wires and mail in which the

RICO Marketing Defendants, Front Groups, and KOLs share information regarding overcoming

objections and resistance to the use of opioids for chronic pain.          The RICO Marketing

Defendants, Front Groups and KOLs functioned as a continuing unit for the purpose of

228
      Id.
229
      Id.
230
      Id.




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implementing the Opioid Marketing Enterprise’s scheme and common purpose, and each agreed

to take actions to hide the scheme and continue its existence.

       535. At all relevant times, the KOLs were aware of the RICO Marketing Defendants’

conduct, were knowing and willing participants in that conduct, and reaped benefits from that

conduct. The RICO Marketing Defendants selected KOLs solely because they favored the

aggressive treatment of chronic pain with opioids. The RICO Marketing Defendants’ support

helped the KOLs become respected industry experts. And, as they rose to prominence, the KOLs

falsely touted the benefits of using opioids to treat chronic pain, repaying the RICO Marketing

Defendants by advancing their marketing goals. The KOLs also knew, but did not disclose, that

the other KOLS and Front Groups were engaged in the same scheme, to the detriment of

consumers, prescribers, and Plaintiff.    But for the Opioid Marketing Enterprise’s unlawful

conduct, the KOLs would have had incentive to disclose the deceit by the RICO Marketing

Defendants and the Opioid Marketing Enterprise, and to protect their patients and the patients of

other physicians. By failing to disclose this information, KOLs furthered the Opioid Marketing

Enterprise’s scheme and common purpose, and reaped substantial benefits.

       536. As public scrutiny and media coverage focused on how opioids ravaged

communities in Wisconsin and throughout the United States, the Front Groups and KOLS did

not challenge the RICO Marketing Defendants’ misrepresentations, seek to correct their previous

misrepresentations, terminate their role in the Opioid Marketing Enterprise, nor disclose publicly

that the risks of using opioids for chronic pain outweighed their benefits and were not supported

by medically acceptable evidence.

       537. The RICO Marketing Defendants, Front Groups and KOLs engaged in certain

discrete categories of activities in furtherance of the common purpose of the Opioid Marketing




                                       164
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Enterprise. As reported in Fueling an Epidemic, the Opioid Marketing Enterprise’s conduct in

furtherance of the common purpose of the Opioid Marketing Enterprise involved: (1)

misrepresentations regarding the risk of addiction and safe use of prescription opioids for long-

term chronic pain; (2) lobbying to defeat measures to restrict over-prescription; (3) efforts to

criticize or undermine CDC guidelines; and (4) efforts to limit prescriber accountability. The

misrepresentations made in these publications are described in the following section.

          538. Efforts to Minimize the Risk of Addiction and Promote Opioid Use As Safe for

Long-Term Treatment of Chronic Pain – Members of the Opioid Marketing Enterprise furthered

the common purpose of the enterprise by publishing and disseminating statements that

minimized the risk of addiction and misrepresented the safety of using prescription opioids for

long-term treatment of chronic, non-acute, and non-cancer pain.                            The categories of

misrepresentations made by the Opioid Marketing Enterprise and the RICO Marketing

Defendants included the following:231

         The Use of Opioids for the Treatment of Chronic Pain: A Consensus Statement From the
          American Academy of Pain Medicine and the American Pain Society, 13 Clinical J. Pain
          6 (1997). The “landmark consensus” was published by the AAPM and APS. Dr.
          Portenoy was the sole consultant. A member of Purdue’s speaker bureau authored the
          consensus.

         Model Guidelines for the Use of Controlled Substances for the Treatment of Pain (1998,
          2004, 2007).232 These guidelines, originally published by the FSMB in collaboration
          with RICO Marketing Defendants, advocated that opioids were “essential” and that
          “misunderstanding of addiction” contributed to undertreated pain.



231
   As noted below, the earliest misrepresentations disseminated by the RICO Marketing Defendants and the Opioid
Marketing Enterprise began in 1997 and has continued unabated since that time. Therefore, this list is alleged as
fully and completely as possible.
232
    Model Policy for the Use of Controlled Substances for the Treatment of Pain, Federation of State Medical Boards
of the United States, May 2004,
https://www.ihs.gov/painmanagement/includes/themes/newihstheme/display_objects/documents/modelpolicytreatm
entpain.pdf (last accessed on March 9, 2018).




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         Oxycontin: Balancing Risks and Benefits: Hearing of the S. Comm. on Health, Education,
          Labor and Pensions, Testimony by John D. Giglio, M.A., J.D., Executive Director of the
          APF (2002.)233

         The Management of Persistent Pain in Older Persons (2002). These guidelines were
          published by AGS with substantial funding from Endo, Purdue and Janssen.

         Overview of Management Options (2003, 2007, 2010, and 2013).234 This CME was
          edited by Dr. Portenoy, sponsored by Purdue, and published by the American Medical
          Association. It taught that opioids, unlike non-prescription pain medication are safe at
          high doses.

         Understanding Your Pain: Taking Oral Opioid Analgesics (2004).235 This article,
          published by Endo Pharmaceuticals, advocated that withdrawal and needing to take
          higher dosages are not signs of addiction.

         Interview by Paula Moyer with Scott M. Fishman, M.D. (2005). Dr. Fishman advocated
          that “the risks of addiction are . . . small and can be managed.”236

         Open-label study of fentanyl effervescent buccal tablets in patients with chronic pain and
          breakthrough pain: interim safety and tolerability results (2006).237 Dr. Webster gave
          this CME, sponsored by Cephalon, that misrepresented that opioids were safe for the
          treatment of non-cancer pain.

         Treatment Options: A Guide for People Living With Pain (2007). This document was
          published by the APF and sponsored by Cephalon and Purdue.238


233
  Oxycontin: Balancing Risks and Benefits: Hearing of the S. Comm. on Health, Education, Labor and Pensions,
Testimony by John D. Giglio, M.A., J.D., Executive Director of the APF (2002.)
234
   Portenoy, et al., Overview of Management Options, https://cme.ama-assn.org/activity/1296783/detail.aspx. On
information and belief, this CME was published by the American Medical Association in 2003, 2007, 2010, and
2013.
235
   Margo McCaffery & Chris Pasero, Understanding Your Pain: Taking Oral Opioid Analgesics, Endo
Pharmaceuticals (2004), https://www.yumpu.com/en/document/view/35479278/understanding-your-pain-taking-
oral-opioid-analgesics (last accessed March 8, 2018).
236
    Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of Anesthesiology and Pain Medicine, Chief
of the Division of Pain Medicine, Univ. of Cal., Davis (2005), http://www.medscape.org/viewarticle/500829.
237
   Hale ME, Webster LR, Peppin JF, Messina J. Open-label study of fentanyl effervescent buccal tablets in patients
with chronic pain and breakthrough pain: interim safety and tolerability results. Program and abstracts of the
annual meeting of the American Academy of Pain Medicine; February 22-25, 2006; San Diego, California. Abstract
120. Published with permission of Lynn R. Webster, MD, https://www.medscape.org/viewarticle/524538_2 (last
accessed on March 6, 2018).
238
  Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter APF, Treatment
Options], https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf (last accessed on March 8,
2018).




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          Responsible Opioid Prescribing: A Physician’s Guide (2007).239 This book, authored by
           Dr. Fishman was financed by the FSMB with funding from Cephalon, Endo and Purdue.

          Avoiding Opioid Abuse While Managing Pain (2007).240 This book, co-authored by Dr.
           Webster, misrepresented that for prescribers facing signs of aberrant behavior, increasing
           the dose in “most cases . . . should be a clinician’s first response.”

          Screener and Opioid Assessment for Patients with Pain (SOAPP)® Version 1.0-SF
           (2008).241 This screening tool was published by the National Institutes of Health with
           support from Endo through an educational grant, and advocated that most patients are
           able to successfully remain on long-term opioid therapy without significant problems.

          Case Challenges in Pain Management: Opioid Therapy for Chronic Pain (2007).242 This
           article, sponsored by Endo, misrepresented that opioids are a highly effective class of
           analgesic drugs.

          Opioid-Based Management of Persistent and Breakthrough Pain (2008).243 This
           document was written by Dr. Fine and sponsored by an educational grant from Cephalon.
           Dr. Fine advocated for the prescription of rapid onset opioids “in patients with non-
           cancer pain.”

          Optimizing Opioid Treatment for Breakthrough Pain (2008).244 Dr. Webster presented
           an online seminar (webinar) sponsored by Cephalon, that misrepresented that non-opioid
           analgesics and combination opioids containing non-opioids are less effective because of
           dose limitations.

          Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic Non-Cancer Pain
           (2009).245 These guidelines were published by AAPM and APS. Fourteen of the twenty-
           one panel members, including Dr. Portenoy and Dr. Fine, received support from the
           RICO Marketing Defendants.

239
      Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9 (Waterford Life Sciences 2007).

240
      Lynn Webster & Beth Dove, Avoiding Opioid Abuse While Managing Pain (2007).
241
   Screener and Opioid Assessment for Patients with Pain (SOAPP)® Version 1.0-SF, PainEdu.org, 2008,
https://www.nhms.org/sites/default/files/Pdfs/SOAPP-5.pdf (last accessed on March 8, 2018).
242
   Charles E. Argoff, Case Challenges in Pain Management: Opioid Therapy for Chronic Pain, Pain Med. News,
https://www.painmedicinenews.com/download/BtoB_Opana_WM.pdf (last visited on March 8, 2018).
243
   Perry G Fine, MD, et al. Opioid-Based Management of Persistent and Breakthrough Pain, Pain Medicine News,
https://www.yumpu.com/en/document/view/11409251/opioid-based-management-of-persistent-and-breakthrough-
pain (last accessed on February 27, 2018).
244
   Lynn Webster, Optimizing Opioid Treatment for Breakthrough Pain, Medscape,
http://www.medscape.org/viewarticle/563417_6 (last visited Dec. 11, 2017).
245
   Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic Non-Cancer Pain, 10 J.
Pain 113 (2009).




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          Pharmacological Management of Persistent Pain in Older Persons (2009).246 These
           guidelines were published by AGS, with substantial funding from Endo, Purdue, and
           Janssen, updated the 2002 guidelines and misrepresented that the risks of addiction are
           exceedingly low.

          Iraq War Veteran Amputee, Pain Advocate and New Author Release Exit Wounds: A
           Survival Guide to Pain Management for Returning Veterans and Their Families,247
           American Pain Foundation, 2009. This article was published in 2009 and sponsored by
           Purdue.

          Finding Relief: Pain Management for Older Adults, (2009).248 This article was a
           collaboration between the American Geriatrics Society, AAPM and Janssen.

          Good Morning America (2010). Dr. Portenoy appeared on Good Morning America and
           stated that “Addiction, when treating pain, is distinctly uncommon.”249

          A Policymaker’s Guide to Understanding Pain & Its Management, American Pain
           Foundation (2011).250 APF published this document, that was sponsored by Purdue,
           which argued that the notion of strong pain leading to addiction is a common
           misconception.

          Managing Patient’s Opioid Use: Balancing the Need and the Risk (2011).251 Dr.
           Webster presented a webinar, sponsored by Purdue, that misrepresented the ability to use
           risk screen tools, urine samples and patient agreements to prevent overuse and overdose
           death.




246
   Pharmacological Management of Persistent Pain in Older Persons, 57 J. Am. Geriatrics Soc’y 1331, 1339, 1342
(2009), https://www.nhqualitycampaign.org/files/AmericanGeriatricSociety-PainGuidelines2009.pdf (last accessed
on March 9, 2018).
247
   Iraq War Veteran Amputee, Pain Advocate and New Author Release Exit Wounds: A Survival Guide to Pain
Management for Returning Veterans and Their Families, Coalition for Iraq + Afghanistan Veterans,
http://web.archive.org/web/20100308224011/http://coalitionforveterans.org:80/2009/10/iraq-war-veteran-amputee-
pain-advocate-and-new-author-releases-exit-wounds-a-survival-guide-to-pain-management-for-returning-veterans-
and-their-families (last visited March 1, 2018)
248
      Finding Relief, Pain Management for Older Adults, (2009).
249
      Good Morning America (ABC television broadcast Aug. 30, 2010).
250
   A Policymaker’s Guide to Understanding Pain & Its Management, American Pain Foundation (2011) at 5,
http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf (last visited March 6, 2018).
251
   See, Managing Patient’s Opioid Use: Balancing the Need and the Risk, Emerging Solutions in Pain
http://www.emergingsolutionsinpain.com/ce-education/opioid-
management?option=com_continued&view=frontmatter&Itemid=303&course=209 (last visited Aug. 22, 2017).




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          Safe and Effective Opioid Rotation (2012).252 This CME, delivered by Dr. Fine, that is
           also available online, advocated for the safe and non-addictive use of opioids to treat
           cancer and non-cancer patients over a person’s “lifetime.”

          Pain: Opioid Facts (2012).253 This document was published online on Endo’s website
           painknowledge.org and advocated for the use of opioids and downplayed the risk of
           addiction, even for people with a history of addiction and opioid use, and supported the
           concept of pseudoaddiction.

           539. Efforts to Criticize or Undermine CDC Guidelines – Members of the Opioid

Marketing Enterprise criticized or undermined the CDC Guidelines which represented “an

important step – and perhaps the first major step from the federal government – toward limiting

opioid prescriptions for chronic pain.”254 The following are examples of the actions taken by

Opioid Marketing Enterprise members to prevent restriction on over-prescription:

          Several Front Groups, including the U.S. Pain Foundation, and the AAPM criticized the
           draft guidelines in 2015, arguing that the “CDC slides presented on Wednesday were not
           transparent relative to process and failed to disclose the names, affiliation, and conflicts
           of interest of the individuals who participated in the construction of these guidelines.”255

          The AAPM criticized the prescribing guidelines in 2016, through its immediate past
           president, stating “that the CDC guideline makes disproportionately strong
           recommendations based upon a narrowly selected portion of the available clinical
           evidence.”256

           540. In each of the actions performed by members of the Opioid Marketing Enterprise,

described above, the members of the Opioid Marketing Enterprise made branded and unbranded


252
   Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
https://www.youtube.com/watch?v=_G3II9yqgXI.
253
   Pain: Opioid Facts,
http://web.archive.org/web/20120112051109/http://www.painknowledge.org/patiented/pdf/Patient%20Education%2
0b380_b385%20%20pf%20opiod.pdf (last visited March 6, 2018).
254
      Fueling an Epidemic, supra, at p. 13.
255
   Pat Anson, Chronic Pain Group Blasts CDC for Opioid Guidelines, Pain News Networks,
https://www.painnewsnetwork.org/stories/2015/9/22/chronic-pain-groups-blast-cdc-for-opioid-guidelines (last
accessed on March 8, 2018).
256
   Practical Pain Management, Responses and Criticisms Over New CDC Opioid Prescribing Guidelines
(https://www.practicalpainmanagement.com/resources/news-and-research/responses-criticisms-over-new-cdc-
opioid-prescribing-guidelines) (last accessed Sept. 28, 2017).




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marketing claims about prescription opioids that misrepresented prescription opioids as non-

addictive and safe for use as identified in following section.

             4. Members of the Opioid Marketing Enterprise Furthered the Common
                Purpose by Making Misrepresentations.

          541. The RICO Marketing Defendants, Front Groups and KOLs participated in the

conduct of the Opioid Marketing Enterprise and shared in the common purpose of marketing

opioids for chronic pain through a pattern of racketeering activity (including multiple instances

of mail and wire fraud) by knowingly making material misrepresentations or omissions to

Wisconsin prescribers, consumers, the general public, regulators and Plaintiff.                   All of the

misrepresentations made by members of the Opioid Marketing Enterprise furthered the common

purpose of the Enterprise.

          542. Members of the Opioid Marketing Enterprise, including the RICO Marketing

Defendants, Front Groups and KOLs made multiple unbranded marketing misrepresentations

about the benefits and risks of opioid use, in furtherance of the Opioid Marketing Enterprise’s

common purpose, as follows:

          543. Members of the Opioid Marketing Enterprise minimized the risks of addiction

and/or construed opioids as non-addictive:

         AAMP and APS endorsed the use of opioids to treat chronic pain and claimed that the
          risk of a patients’ addiction to opioids was low.257

         “[O]pioids are safe and effective, and only in rare cases lead to addiction.”258

         “[T]he risks of addiction are . . . small and can be managed.”259


257
  The Use of Opioids for the Treatment of Chronic Pain: A Consensus Statement From the American Academy of
Pain Medicine and the American Pain Society, 13 Clinical J. Pain 6 (1997).
258
  Oxycontin: Balancing Risks and Benefits: Hearing of the S. Comm. on Health, Education, Labor and Pensions,
107th Cong. 2 (Feb. 12, 2002) (testimony of John D. Giglio, M.A., J.D., Executive Director, American Pain
Foundation), https://www.help.senate.gov/imo/media/doc/Giglio.pdf.




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          Represented that calling opioids “‘narcotics’ reinforces myths and misunderstandings as
           it places emphasis on their potential abuse rather than on the importance of their use as
           pain medicines.”260




          “Addiction, when treating pain, is distinctly uncommon. If a person does not have a
           history, a personal history, of substance abuse, and does not have a history in the family
           of substance abuse, and does not have a very major psychiatric disorder, most doctors can
           feel very assured that that person is not going to become addicted.”261

          The risk of addiction is manageable for patients regardless of past abuse histories.262

          “[T]he likelihood that the treatment of pain using an opioid drug which is prescribed by a
           doctor will lead to addiction is extremely low.”263



259
    Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of Anesthesiology and Pain Medicine, Chief
of the Division of Pain Medicine, Univ. of Cal., Davis (2005), http://www.medscape.org/viewarticle/500829.
260
   APF, Treatment Options, https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf (last
accessed on March 8, 2018).
261
      Good Morning America (ABC television broadcast Aug. 30, 2010).
262
   Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic Non-Cancer Pain, 10 J.
Pain 113 (2009).
263
  Thomas Catan and Evan Perez, A Pain-Drug Champion Has Second Thoughts, The Wall Street Journal (Dec. 17,
2012), https://www.wsj.com/articles/SB10001424127887324478304578173342657044604.




                                          171
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         Patients might experience withdrawal symptoms associated with physical dependence as
          they decrease their dose, “[b]ut unlike actual addicts, such individuals, if they resume
          their opioid use, will only take enough medication to alleviate their pain.”264

         The notion that “strong pain medication leads to addiction” is a “common
          misconception.”265




         “Addiction to an opioid would mean that your pain has gone away but you still take the
          medicine regularly when you don’t need it for pain, maybe just to escape your
          problems.”266




264
   Brief Amici Curiae of American Pain Foundation, National Foundation for the Treatment of Pain, and The Ohio
Pain Initiative, in Support of Defendants/Appellants, Howland v. Purdue Pharma, L.P., et al., Appeal No. CA 2002
09 0220 (Butler Co., Ohio 12th Court of Appeals, Dec. 23, 2002), https://ia801005.us.archive.org/23/items/279014-
howland-apf-amicus/279014-howland-apf-amicus.pdf.
265
   A Policymaker’s Guide to Understanding Pain & Its Management, American Pain Foundation (2011) at 5,
http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf (last visited March 6, 2018).
266
   Margo McCaffery & Chris Pasero, Understanding Your Pain: Taking Oral Opioid Analgesics, Endo
Pharmaceuticals (2004), https://www.yumpu.com/en/document/view/35479278/understanding-your-pain-taking-
oral-opioid-analgesics (last accessed March 8, 2018).




                                         172
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           Even for patients assessed to have a risk of abuse, “it does not mean that opioid use will
            become problematic or that opioids are contraindicated.” 267

           [P]eople who have no history of drug abuse, including tobacco, and use their opioid
            medication as directed will probably not become addicted.”268




           “A history of addiction would not rule out the use of opioid pain relievers.”269




           APF published Exit Wounds, wherein it represented that “[l]ong experience with opioids
            shows that people who are not predisposed to addiction are very unlikely to become
            addicted to opioid pain medications.”270

267
      Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9 (Waterford Life Sciences 2007).
268
   Pain: Opioid Facts, http://web.archive.org/web/20120112051109/http:
//www.painknowledge.org/patiented/pdf/Patient%20Education%20b380_b385%20%20pf%20opiod.pdf (last visited
March 6, 2018).
269
      Id.




                                           173
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           Patients rarely become addicted to prescribed opioids.271

           Concern about patients becoming addicted reflects widespread failure to appreciate the
            distinction between “(1) tolerance – the body’s tendency to become accustomed to a
            substance so that, over time, a larger amount is needed to produce the same physical
            effect (pain relief) and physical dependence – the state defined by the experience of
            adverse symptoms if a drug is abruptly withdrawn . . . each of which is common with
            pain patients” . . . “and, on the other hand, (2) the psychological and behavioral patterns –
            an unhealthy craving for, compulsive use of, and unhealthy fixation – that characterize
            addiction.”272

           Evidence establishes that the risk of drug addiction (historically the principal medical
            justification for withholding or limiting opioids) is far less substantial than long and
            widely assumed.273

           The “risks [of addiction] are exceedingly low in older patients with no current or past
            history of substance abuse.”274




270
   Iraq War Veteran Amputee, Pain Advocate and New Author Release Exit Wounds: A Survival Guide to Pain
Management for Returning Veterans and Their Families, Coalition for Iraq + Afghanistan Veterans,
http://web.archive.org/web/20100308224011/http://coalitionforveterans.org:80/2009/10/iraq-war-veteran-amputee-
pain-advocate-and-new-author-releases-exit-wounds-a-survival-guide-to-pain-management-for-returning-veterans-
and-their-families (last visited March 1, 2018).
271
   Brief of Amici the American Pain Foundation, the National Pain Foundation , and the National Foundation for
the Treatment of Pain, 2005 WL 2405247, *9 (citing Portenoy, Russell, et al., Acute and Chronic Pain, in
COMPREHENSIVE TEXTBOOK OF SUBSTANCE ABUSE, 863-903 (Lowinson et al. eds., 4th ed. 2005), United
States v. Hurowitz, 459 F.3d 463 (2006) (citing Portenoy et. al, Chronic Use of Opioid Analgesics in Non-
Malignant Pain: Report of 38 Cases, PAIN, Vol. 25, 171-186, (1986)).
  Brief of Amici Russel K. Portenoy, et al., 2005 WL 2405249, United States v. Hurwitz, 459 F.3d 463 (2006)
272

(emphasis in original).
273
      Id. and sources cited at note 9.




                                           174
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           544. Members of the Opioid Marketing Enterprise advocated that opioids were safe and

effective for long-term treatment of chronic, non-acute and non-cancer pain:

          “Opioids are an essential option for treating moderate to severe pain associated with
           surgery or trauma. They may also be an important part of the management of persistent
           pain unrelated to cancer.”275




          Opioids were a safe and effective treatment for of pain as part of a physicians’ treatment
           guidelines.276

          The “small risk of abuse does not justify the withholding of these highly effective
           analgesics from chronic pain patients.”277

          Opioids, unlike some non-prescription pain medications, are safe at high doses.278

          Falsely representing “recent findings suggesting that most patients are able to
           successfully remain on long-term opioid therapy without significant problems.”279



274
   Pharmacological Management of Persistent Pain in Older Persons, 57 J. Am. Geriatrics Soc’y 1331, 1339, 1342
(2009), https://www.nhqualitycampaign.org/files/AmericanGeriatricSociety-PainGuidelines2009.pdf (last accessed
on March 9, 2018).
275
      APF, Treatment Options, https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf.
276
   Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic Non-Cancer Pain, 10 J.
Pain 113 (2009).
277
   Brief Amici Curiae of American Pain Foundation, National Foundation for the Treatment of Pain, and The Ohio
Pain Initiative, in Support of Defendants/Appellants, Howland v. Purdue Pharma, L.P., et al., Appeal No. CA 2002
09 0220 (Butler Co., Ohio 12th Court of Appeals, Dec. 23, 2002), https://ia801005.us.archive.org/23/items/279014-
howland-apf-amicus/279014-howland-apf-amicus.pdf.
278
   Portenoy, et al., Overview of Management Options, https://cme.ama-assn.org/activity/1296783/detail.aspx. On
information and belief, this CME was published in 2003, 2007, 2010, and 2013.
279
   Screener and Opioid Assessment for Patients with Pain (SOAPP)® Version 1.0-SF, PainEdu.org, 2008,
https://www.nhms.org/sites/default/files/Pdfs/SOAPP-5.pdf (last accessed on March 8, 2018).




                                           175
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           Opioid therapy is an appropriate treatment for chronic, non-cancer pain and integral to
            good medical practice.280

           Even for patients assessed to have a risk of abuse, “it does not mean that opioid use will
            become problematic or that opioids are contraindicated.”281

           Opioid therapy is an appropriate treatment for chronic, non-cancer pain and integral to
            good medical practice.282

           Broadly classifying pain syndromes as “either cancer- or non-cancer-related has limited
            utility,” and recommended dispensing rapid onset opioids “in patients with non-cancer
            pain.”283

           Opioids are safe and well-tolerated in patients with chronic pain and break through
            pain.284




           Non-opioid analgesics and combination opioids containing non-opioids such as aspirin
            and acetaminophen are less effective than opioids because of dose limitations on non-
            opioids.285




280
      Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9 (Waterford Life Sciences 2007).
281
      Id.
282
      Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9 (Waterford Life Sciences 2007).
283
   Perry G Fine, MD, et al. Opioid-Based Management of Persistent and Breakthrough Pain, Pain Medicine News,
https://www.yumpu.com/en/document/view/11409251/opioid-based-management-of-persistent-and-breakthrough-
pain (last accessed on February 27, 2018).
284
   Hale ME, Webster LR, Peppin JF, Messina J. Open-label study of fentanyl effervescent buccal tablets in patients
with chronic pain and breakthrough pain: interim safety and tolerability results. Program and abstracts of the
annual meeting of the American Academy of Pain Medicine; February 22-25, 2006; San Diego, California. Abstract
120. Published with permission of Lynn R. Webster, MD, https://www.medscape.org/viewarticle/524538_2 (last
accessed on March 6, 2018).
285
   Lynn Webster, Optimizing Opioid Treatment for Breakthrough Pain, Medscape,
http://www.medscape.org/viewarticle/563417_6 (last visited Dec. 11, 2017).




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           Opioids can safely alleviate chronic pain unresponsive to other medication.286

           Medical organization and government-sponsored clinical guidelines support and
            encourage opioid treatment for chronic pain.287

           Respiratory depression, even at extremely high levels, does not occur in the context of
            appropriate clinical treatment.288

           There is no “ceiling dose” for opioids.289

           Opioid analgesics are the most effective way to treat pain of moderate to severe intensity
            and often the only treatment that provides significant relief.290

           “Opioid rotations” (switching from one opioid to another) not only for cancer patients,
            but also for non-cancer patients, may need to occur four or five times over a person’s
            “lifetime” to manage pain.291

           Opioids represent a highly effective . . . class of analgesic medications for controlling
            both chronic and acute pain. The phenomenon of tolerance to opioids – the gradual
            waning of relief at a given dose – and fears of abuse, diversion, and misuse of these
            medications by patients have led many clinicians to be wary of prescribing these drugs,




286
   Brief for American Pain Foundation, et al. as Amici, United States v. Hurowitz, 459 F.3d 463 (4th Cir.2006) (No.
05-4474) 2005 WL 2405247, *8 (citing Portenoy et al., Chronic Use of Opioid Analgesics in Non-Malignant Pain:
Report of 38 Cases, 25 PAIN 171-186, (1986)).
287
      Id. at *8, and sources cited in note 11.
288
      Id.
289
      Id.
290
  Brief for Portenoy, et al. as Amici, United States v. Hurowitz, 459 F.3d 463 (4th Cir.2006) (No. 05-4474), 2005
WL 2405249.
291
   Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
https://www.youtube.com/watch?v=_G3II9yqgXI.




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          and/or to restrict dosages to levels that may be insufficient to provide meaningful
          relief.292




          545. Members of the Opioid Marketing Enterprise created and championed the concept

of “pseudoaddiction,” advocating that signs of addiction were actually pseudoaddiction that

required prescribing additional opioids:

         Patients might experience withdrawal symptoms associated with physical dependence as
          they decrease their dose, “[b]ut unlike actual addicts, such individuals, if they resume
          their opioid use, will only take enough medication to alleviate their pain.”293

         “Addiction IS NOT when a person develops ‘withdrawal’ (such as abdominal cramping
          or sweating) after the medicine is stopped or the dose is reduced by a large amount. . . .
          Addiction also IS NOT what happens when some people taking opioids need to take a
          higher dose after a period of time in order for it to continue to relieve their pain. This
          normal ‘tolerance’ to opioid medications doesn’t affect everyone who takes them and
          does not, by itself, imply addiction.”294




292
  Charles E. Argoff, Case Challenges in Pain Management: Opioid Therapy for Chronic Pain, Pain Med. News,
2007, https://www.painmedicinenews.com/download/BtoB_Opana_WM.pdf (last visited on March 8, 2018).
293
  Brief for American Pain Foundation, et al. as Amici, Howland v. Purdue Pharma L.P., in support of Appellants,
Appeal No. CA 2002-09-0220 Butler Co., 12th Court of Appeals, 2002).
294
   Margo McCaffery & Chris Pasero, Understanding Your Pain: Taking Oral Opioid Analgesics, Endo
Pharmaceuticals (2004), http://www.thblack.com/links/RSD/Understand_Pain_Opioid_Analgesics.pdf (emphasis in
original) (last accessed on March 9, 2018).




                                         178
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           “Addiction to an opioid would mean that your pain has gone away but you still take the
            medicine regularly when you don’t need it for pain, maybe just to escape your
            problems.”295




295
      Id.




                                           179
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          Behaviors such as “[r]equesting [drugs] by name,” “[d]emanding or manipulative
           behavior,” “[o]btaining drugs from more than one physician,” and “[h]oarding opioids,”
           are all really signs of pseudoaddiction, rather than genuine addiction.” 296

          “Sometimes people behave as if they are addicted, when they are really in need of more
           medication.”297




          For prescribers facing signs of aberrant behavior, increasing the does “in most cases . . .
           should be the clinician’s first response.”298

           546. Members of the Opioid Marketing Enterprise advocated that long-term use of

prescription opioids would improve function, including but not limited to, psychological health,

and health-related quality of life:

          When opioids are managed, properly prescribed and taken as directed, they are effective
           in improving daily function, psychological health and health-related quality of life. 299



296
    Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9 (Waterford Life Sciences 2007).
297
   Pain: Opioid Facts,
http://web.archive.org/web/20120112051109/http://www.painknowledge.org/patiented/pdf/Patient%20Education%2
0b380_b385%20%20pf%20opiod.pdf (last visited March 6, 2018).
298
      Lynn Webster & Beth Dove, Avoiding Opioid Abuse While Managing Pain (2007).
299
   A Policymaker’s Guide to Understanding Pain & Its Management, American Pain Foundation (2011) at 5,
http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf (last visited March 6, 2018).




                                          180
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         Opioid therapy to relieve pain and improve function is a legitimate medical practice for
          acute and chronic pain of both cancer and non-cancer origins.300

         “[Y]our level of function should improve, you may find you are now able to participate in
          activities of daily living, such as work and hobbies, that you were not able to enjoy when
          your pain was worse.”301

         “The goal of opioid therapy is to . . . improve your function.”302




         The “goal” for chronic pain patients is to “improve effectiveness which is different from
          efficacy and safety.”303




300
     Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9 (Waterford Life Sciences 2007);
Scott M. Fishman, Responsible Opioid Prescribing: A Clinician’s Guide, 10-11 (2d ed. 2012).
301
    Plaintiff is informed and believes that this misrepresentation was made on the website painknowledge.org.
302
   Pain: Opioid Facts,
http://web.archive.org/web/20120112051109/http://www.painknowledge.org/patiented/pdf/Patient%20Education%2
0b380_b385%20%20pf%20opiod.pdf (last visited March 6, 2018).
303
   Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
https://www.youtube.com/watch?v=_G3II9yqgXI.




                                         181
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          547. Members of the Opioid Marketing Enterprise represented that screening questions

and professional guidelines would help curb addiction and potential abuse:

         Screening questions and professional guidelines will “easily and efficiently” allow
          physicians to manage risk and “minimize the potential for abuse.”304

         Risk screening tools, urine testing, and patient agreements are a way to prevent “overuse
          of prescriptions” and “overdose deaths.”305




         The risks of addiction and abuse can be managed by doctors and evaluated with
          “tools.”306

304
      Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9 (Waterford Life Sciences 2007).
305
   See, Managing Patient’s Opioid Use: Balancing the Need and the Risk, Emerging Solutions in Pain
http://www.emergingsolutionsinpain.com/ce-education/opioid-
management?option=com_continued&view=frontmatter&Itemid=303&course=209 (last visited Aug. 22, 2017).
306
   Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
https://www.youtube.com/watch?v=_G3II9yqgXI.




                                          182
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            548. In addition to the unbranded marketing misrepresentations made by members of the

Opioid Marketing Enterprise, the RICO Marketing Defendants made misrepresentations in their

branded marketing activities.            The RICO Marketing Defendants’ branded marketing

misrepresentations furthered the common purpose of the Opioid Marketing Enterprise because

they advanced the common messages of the Opioid Marketing Enterprise. For example:

            549. The RICO Marketing Defendants misrepresented that opioids were non-addictive

or posed less risk of addiction or abuse:

           Purdue:

               o “Fear of addiction is exaggerated.”307




               o “[W]e’ve discovered that the simplicity and convenience of twice-daily dosing
                 also enhances patient compliance with their doctor’s instructions.”308




  Harriet Ryan, et al., “You Want A Description of Hell?” OxyContin’s 12-Hour Problem, L.A. Times (May 5,
307

2016), http://documents.latimes.com/oxycontin-press-release-1996/ (hereinafter “Ryan, Description of Hell”)
308
      Id.




                                           183
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            o Long-acting, extended release formulations are safe and “less prone” to abuse by
              patients and addiction.309

            o OxyContin is safe and non-addictive when using extended release formulations,
              and appropriate for use in non-cancer patients.310

            o Consistently minimizing the risk of addiction in the use of opioids for the
              treatment of chronic non-cancer-related pain.311

            o OxyContin is virtually non-addicting.312

            o “Assur[ing] doctors – repeatedly and without evidence – that ‘fewer than one
              percent’ of patients who took OxyContin became addicted.”313




309
    Barry Meier, In Guilty Plea, OxyContin Maker to Pay $600 Million, N.Y. Times (May 10, 2007),
http://www.nytimes.com/2007/05/10/business/11drug-web.html (hereinafter “Meier, Guilty Plea”).
310
    Charles Ornstein & Tracy Weber, American Pain Foundation Shuts Down as Senators Launch Investigation of
Prescription Narcotics, ProPublica (May 8, 2012, 8:57 PM),
http://www.opb.org/news/article/america_pain_foundation_shuts_down_as_senators_launch_investigation_of_presc
ription_narcotis/ (hereinafter “Ornstein, American Pain Foundation”).
311
  Art Van Zee, The Promotion and Marketing of OxyContin: Commercial Triumph, Public Health Tragedy, 99(2)
Am. J. Pub. Health 221-27 (Feb. 2009) (hereinafter, “Van Zee, Promotion and Marketing”).
312
   Patrick Keefe, The Family that Built an Empire of Pain, New Yorker (Oct. 30, 2017),
https://www.newyorker.com/magazine/2017/10/30/the-family-that-built-an-empire-of-pain
313
   Id.; see also “I got my life back,” OxyContin Promotional Video, 1998,
https://www.youtube.com/watch?v=Er78Dj5hyeI (last accessed on March 8, 2018).




                                       184
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              o OxyContin was addiction resistant and had “abuse-deterrent properties.”314

              o Misrepresented the risk of addiction using misleading and inaccurate promotions
                of OxyContin that were unsupported by science.315

              o It was more difficult to extract the oxycodone from an OxyContin tablet for
                intravenous abuse.316

              o OxyContin created fewer chances for addiction than immediate-release opioids.317

              o OxyContin had fewer “peak and trough” effects than immediate-release opioids
                resulting in less euphoria and less potential for abuse than short-acting opioids.318

              o Patients could abruptly stop opioid therapy without experiencing withdrawal
                symptoms, and patients who took OxyContin would not develop tolerance.319

              o OxyContin did not cause a “buzz,” caused less euphoria, had less addiction
                potential, had less abuse potential, was less likely to be diverted than immediate-
                release opioids, and could be used to “weed out” addicts and drug seekers.320

314
      Id.
315
  Press Release, U.S. Attorney for the Western District of Virginia, Statement of United States Attorney John
Brownlee on the Guilty Plea of the Purdue Frederick Company and Its Executives for Illegally Misbranding
OxyContin (May 10, 2007), https://assets.documentcloud.org/documents/279028/purdue-guilty-plea.pdf.
316
      Id.
317
      Id.
318
      Id.
319
      Id.




                                           185
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              o Purdue published a prescriber and law enforcement education pamphlet in 2011
                entitled Providing Relief, Preventing Abuse, which under the heading,
                “Indications of Possible Drug Abuse,” shows pictures of the stigmata of injecting
                or snorting opioids—skin popping, track marks, and perforated nasal septa. In
                fact, opioid addicts who resort to these extremes are uncommon; the far more
                typical reality is patients who become dependent and addicted through oral use.
                Thus, these misrepresentations wrongly reassured doctors that as long as they do
                not observe those signs, they need not worry that their patients are abusing or
                addicted to opioids.

              o Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its
                Management, which inaccurately claimed that less than 1% of children prescribed
                opioids will become addicted. This publication is still available online. This
                publication also asserted that pain is undertreated due to “misconceptions about
                opioid addiction.”

              o Purdue sponsored APF’s Treatment Options: A Guide for People Living with Pain
                (2007), which asserted that addiction is rare and limited to extreme cases of
                unauthorized dose escalations, obtaining opioids from multiple sources, or theft.

              o A Purdue-funded study with a Purdue co-author claimed that “evidence that the
                risk of psychological dependence or addiction is low in the absence of a history of
                substance abuse.”321 The study relied only on the 1980 Porter-Jick letter to the
                editor concerning a chart review of hospitalized patients, not patients taking
                Purdue’s long-acting, take-home opioid. Although the term “low” is not defined,
                the overall presentation suggests the risk is so low as not to be a worry.

              o Purdue contracted with AGS to produce a CME promoting the 2009 guidelines
                for the Pharmacological Management of Persistent Pain in Older Persons. These
                guidelines falsely claim that “the risks [of addiction] are exceedingly low in older
                patients with no current or past history of substance abuse.” None of the
                references in the guidelines corroborates the claim that elderly patients are less
                likely to become addicted to opioids and the claim is, in fact, untrue. Purdue was
                aware of the AGS guidelines’ content when it agreed to provide this funding, and
                AGS drafted the guidelines with the expectation it would seek drug company
                funding to promote them after their completion.

              o Purdue sponsored APF’s Exit Wounds (2009), which counseled veterans that
                “[l]ong experience with opioids shows that people who are not predisposed to
                addiction are very unlikely to become addicted to opioid pain medications.”
                Although the term “very unlikely” is not defined, the overall presentation suggests
                it is so low as not to be a worry.

320
      Id.
321
   C. Peter N. Watson et al., Controlled-release oxycodone relieves neuropathic pain: a randomized controlled trial
I painful diabetic neuropathy, 105 Pain 71 (2003).




                                           186
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                o Purdue sales representatives told prescribers that its drugs were “steady state,” the
                  implication of which was that they did not produce a rush or euphoric effect, and
                  therefore were less addictive and less likely to be abused.

                o Purdue sales representatives told prescribers that Butrans has a lower abuse
                  potential than other drugs because it was essentially tamperproof and, after a
                  certain point, patients no longer experience a “buzz” from increased dosage.

                o Advertisements that Purdue sent to prescribers stated that OxyContin ER was less
                  likely to be favored by addicts, and, therefore, less likely to be abused or diverted,
                  or result in addiction.

                o In discussions with prescribers, Purdue sales representatives omitted discussion of
                  addiction risks related to Purdue’s drugs.

          Janssen:

                o Myth: Opioid medications are always addictive.
                  Fact: Many studies show that opioids are rarely addictive when used properly for
                  the management of chronic pain.322

                o Myth: Opioid doses have to get bigger over time because the body gets used to
                  them.
                  Fact: Unless the underlying cause of your pain gets worse (such as with cancer or
                  arthritis), you will probably remain on the same dose or need only small increases
                  over time.323

                o “[Q]uestions of addiction,” “are often overestimated” because, “[a]ccording to
                  clinical opinion polls, true addiction occurs only in a small percentage of patients
                  with chronic pain who receive chronic opioid analgesics.”324




322
      Finding Relief, Pain Management for Older Adults, (2009) (emphasis in original).
323
      Finding Relief, Pain Management for Older Adults, (2009) (emphasis in original).
324
   Use of Opioid Analgesics in Pain Management, Prescribe Responsibly,
http://www.prescriberesponsibly.com/articles/opioid-pain-management (last visited Dec. 11, 2017).




                                           187
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  o Janssen sponsored a patient education guide titled Finding Relief: Pain
    Management for Older Adults (2009), which its personnel reviewed and approved
    and which its sales force distributed. This guide described a “myth” that opioids
    are addictive, and asserts as fact that “[m]any studies show that opioids are rarely
    addictive when used properly for the management of chronic pain.” Although the
    term “rarely” is not defined, the overall presentation suggests the risk is so low as
    not to be a worry. The language also implies that as long as a prescription is
    given, opioid use is not a problem.

  o Janssen contracted with AGS to produce a CME promoting the 2009 guidelines
    for the Pharmacological Management of Persistent Pain in Older Persons. These
    guidelines falsely claim that “the risks [of addiction] are exceedingly low in older
    patients with no current or past history of substance abuse.” The study supporting
    this assertion does not analyze addiction rates by age and, as already noted,
    addiction remains a significant risk for elderly patients. Janssen was aware of the
    AGS guidelines’ content when it agreed to provide this funding, and AGS drafted
    the guidelines with the expectation it would seek drug company funding to
    promote them after their completion.

  o Janssen provided grants to APF to distribute Exit Wounds (2009) to veterans,
    which taught that [l]ong experience with opioids shows that people who are not
    predisposed to addiction are very unlikely to become addicted to opioid pain
    medications.” Although the term “very unlikely” is not defined, the overall
    presentation suggests the risk is so low as not to be a worry.

  o Janssen currently runs a website, Prescriberesponsibly.com (last modified July 2,
    2015), which claims that concerns about opioid addiction are “overstated.”

  o A June 2009 Nucynta Training module warns Janssen’s sales force that
    physicians are reluctant to prescribe controlled substances like Nucynta, but this
    reluctance is unfounded because “the risks . . . are much smaller than commonly
    believed.”




                               188
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                  o Janssen sales representatives told prescribers that its drugs were “steady state,”
                    the implication of which was that they did not produce a rush or euphoric effect,
                    and therefore were less addictive and less likely to be abused.

                  o Janssen sales representatives told prescribers that Nucynta and Nucynta ER were
                    “not opioids,” implying that the risks of addiction and other adverse outcomes
                    associated with opioids were not applicable to Janssen’s drugs. In truth, however,
                    as set out in Nucynta’s FDA-mandated label, Nucynta “contains tapentadol, an
                    opioid agonist and Schedule II substance with abuse liability similar to other
                    opioid agonists, legal or illicit.”

                  o Janssen’s sales representatives told prescribers that Nucynta’s unique properties
                    eliminated the risk of addiction associated with the drug.

                  o In discussions with prescribers, Janssen sales representatives omitted discussion
                    of addiction risks related to Janssen’s drugs.

            Cephalon:

                  o Cephalon sponsored and facilitated the development of a guidebook, Opioid
                    Medications and REMS: A Patient’s Guide, which claims, among other things,
                    that “patients without a history of abuse or a family history of abuse do not
                    commonly become addicted to opioids.”

                  o Cephalon sponsored APF’s Treatment Options: A Guide for People Living with
                    Pain (2007), which taught that addiction is rare and limited to extreme cases of
                    unauthorized dose escalations, obtaining opioids from multiple sources, or theft.

                  o In discussions with prescribers, Cephalon sales representatives omitted any
                    discussion of addiction risks related to Cephalon’s drugs.

            Endo:

                  o Opana ER was designed to be crush resistant

                  o Opana ER was crush and abuse resistant and not addictive.325

                  o “[T]he Reformulated Opana ER as ‘designed to be’ crush resistant.”326

                  o “[P]atients treated with prolonged opioid medicines usually do not become
                    addicted.”327

325
   In the Matter of Endo Health Solutions Inc. and Endo Pharmaceuticals Inc., Assurance No. 15-228, Assurance of
Discontinuance Under Executive Law Section 63, Subdivision 15, at 5 (Mar. 1, 2016),
https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.
326
      Id. at 6.




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            o Endo trained its sales force in 2012 that use of long-acting opioids resulted in
              increased patient compliance, without any supporting evidence.

            o Endo’s advertisements for the 2012 reformulation of Opana ER claimed it was
              designed to be crush resistant, in a way that conveyed that it was less likely to be
              abused. This claim was false; the FDA warned in a May 10, 2013 letter that there
              was no evidence Endo’s design “would provide a reduction in oral, intranasal or
              intravenous abuse” and Endo’s “post-marketing data submitted are insufficient to
              support any conclusion about the overall or route-specific rates of abuse.” Further,
              Endo instructed its sales representatives to repeat this claim about “design,” with
              the intention of conveying Opana ER was less subject to abuse.

            o Endo sponsored a website, painknowledge.com, through APF and NIPC, which
              claimed in 2009 that: “[p]eople who take opioids as prescribed usually do not
              become addicted.” Although the term “usually” is not defined, the overall
              presentation suggests the risk is so low as not to be a worry. The language also
              implies that as long as a prescription is given, opioid use will not become
              problematic. Endo continued to provide funding for this website through 2012,
              and closely tracked unique visitors to it.

            o Endo sponsored a website, PainAction.com, which stated “Did you know? Most
              chronic pain patients do not become addicted to the opioid medications that are
              prescribed for them.”

            o Endo sponsored CMEs published by APF’s NIPC, of which Endo was the sole
              funder, titled Persistent Pain in the Older Adult and Persistent Pain in the Older
              Patient. These CMEs claimed that opioids used by elderly patients present
              “possibly less potential for abuse than in younger patients[,]” which lacks
              evidentiary support and deceptively minimizes the risk of addiction for elderly
              patients.

            o Endo distributed an education pamphlet with the Endo logo titled Living with
              Someone with Chronic Pain, which inaccurately minimized the risk of addiction:
              “Most health care providers who treat people with pain agree that most people do
              not develop an addiction problem.”

            o Endo distributed a patient education pamphlet edited by key opinion leader Dr.
              Russell Portenoy titled Understanding Your Pain: Taking Oral Opioid
              Analgesics. It claimed that “[a]ddicts take opioids for other reasons [than pain
              relief], such as unbearable emotional problems.” This implies that pain patients
              prescribed opioids will not become addicted, which is unsupported and untrue.


327
   In the Matter of Endo Health Solutions Inc. and Endo Pharmaceuticals Inc., Assurance No. 15-228, Assurance of
Discontinuance Under Executive Law Section 63, Subdivision 15, at 5 (Mar. 1, 2016),
https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.




                                        190
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             o Endo contracted with AGS to produce a CME promoting the 2009 guidelines for
               the Pharmacological Management of Persistent Pain in Older Persons. These
               guidelines falsely claim that “the risks [of addiction] are exceedingly low in older
               patients with no current or past history of substance abuse.” None of the
               references in the guidelines corroborates the claim that elderly patients are less
               likely to become addicted to opioids, and there is no such evidence. Endo was
               aware of the AGS guidelines’ content when it agreed to provide this funding, and
               AGS drafted the guidelines with the expectation it would seek drug company
               funding to promote them after their completion.

             o Endo sales representatives told prescribers that its drugs were “steady state,” the
               implication of which was that they did not produce a rush or euphoric effect, and
               therefore were less addictive and less likely to be abused.

             o Endo provided grants to APF to distribute Exit Wounds (2009) to veterans, which
               taught that “[l]ong experience with opioids shows that people who are not
               predisposed to addiction are very unlikely to become addicted to opioid pain
               medications.” Although the term “very unlikely” is not defined, the overall
               presentation suggests that the risk is so low as not to be a worry.

             o In discussions with prescribers, Endo sales representatives omitted discussion of
               addiction risks related to Endo’s drugs.

          550. The RICO Marketing Defendants misrepresented that opioids improved function

and quality of life:

         Purdue:

             o “[W]e’ve discovered that the simplicity and convenience of twice-daily dosing
               also enhances patient compliance with their doctor’s instructions.”328




328
   Harriet Ryan ET AL., ‘You Want a Description of Hell?’, Oxycontin’s 12-Hour Problem, (May 5, 2016),
http://www.latimes.com/projects/oxycontin-part1/.




                                         191
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               o Purdue ran a series of advertisements for OxyContin in 2012 in medical journals
                 titled “Pain vignettes,” which were case studies featuring patients, each with pain
                 conditions persisting over several months, recommending OxyContin for each.
                 One such patient, “Paul,” is described to be a “54-year-old writer with
                 osteoarthritis of the hands,” and the vignettes imply that an OxyContin
                 prescription will help him work more effectively.

               o Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its
                 Management, which inaccurately claimed that “multiple clinical studies” have
                 shown that opioids are effective in improving daily function, psychological
                 health, and health-related quality of life for chronic pain patients.” The sole
                 reference for the functional improvement claim noted the absence of long-term
                 studies and actually stated: “For functional outcomes, the other analgesics were
                 significantly more effective than were opioids.” The Policymaker’s Guide is still
                 available online.

               o Purdue sponsored APF’s Treatment Options: A Guide for People Living with
                 Pain (2007), which counseled patients that opioids, when used properly, “give
                 [pain patients] a quality of life we deserve.” APF distributed 17,200 copies in one
                 year alone, according to its 2007 annual report, and the guide currently is
                 available online.

               o Purdue sponsored APF’s Exit Wounds (2009), which taught veterans that opioid
                 medications “increase your level of functioning.” Exit Wounds also omits
                 warnings of the risk of interactions between opioids and benzodiazepines, which
                 would increase fatality risk. Benzodiazepines are frequently prescribed to veterans
                 diagnosed with post-traumatic stress disorder.

               o Purdue sponsored the FSMB’s Responsible Opioid Prescribing (2007), which
                 taught that relief of pain itself improved patients’ function. Responsible Opioid
                 Prescribing explicitly describes functional improvement as the goal of a “long-
                 term therapeutic treatment course.” Purdue also spent over $100,000 to support
                 distribution of the book.

           Janssen:

               o Misrepresented that patients experienced “[s]ignificantly reduced nighttime
                 awakenings.”329

               o Misrepresented “[s]ignificant improvement in disability scores as measured by the
                 Oswestry Disability Questionnaire and Pain Disability Index.”330


329
  NDA 19-813 Letter from Spencer Salis, U.S. Food & Drug Administration, to Cynthia Chianese, Janssen
Pharmaceutica (Mar. 30, 2000) at 2.
330
      Id.




                                           192
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                 o Misrepresented “[s]ignificant improvement in social functioning.”

                 o Misrepresented outcome claims that were misleading because they lacked
                   substantial support, evidence or clinical experience and “impl[ied] that patients
                   will experience improved social or physical functioning or improved work
                   productivity when using Duragesic,” including: “1,360 loaves . . . and counting,
                   [w]ork, uninterrupted, [l]ife, uninterrupted, [g]ame, uninterrupted, [c]hronic pain
                   relief that supports functionality, [h]elps patients think less about their pain, and
                   [i]mprove[s] . . . physical and social functioning.”331

                 o Misrepresented that “[o]pioid analgesics, for example, have no true ‘ceiling dose’
                   for analgesia and do not cause direct organ damage.”332




                 o Myth: Opioids make it harder to function normally.
                   Fact: When used correctly for appropriate conditions, opioids may make it easier
                   for people to live normally.333

                 o Janssen sponsored a patient education guide titled Finding Relief: Pain
                   Management for Older Adults (2009), which its personnel reviewed and
                   approved and its sales force distributed. This guide features a man playing
                   golf on the cover and lists examples of expected functional improvement
                   from opioids, like sleeping through the night, returning to work,
                   recreation, sex, walking, and climbing stairs. The guide states as a “fact”
                   that “opioids may make it easier for people to live normally” (emphasis in
                   the original). The myth/fact structure implies authoritative backing for the
                   claim that does not exist. The targeting of older adults also ignored
                   heightened opioid risks in this population.

                 o Janssen sponsored, developed, and approved content of a website, Let’s
                   Talk Pain in 2009, acting in conjunction with the APF and AAPM whose

331
      Id. at 3 (internal quotations omitted).
332
   Use of Opioid Analgesics in Pain Management, Prescribe Responsibly,
http://www.prescriberesponsibly.com/articles/opioid-pain-management (last visited Dec. 11, 2017).
333
      Finding Relief, Pain Management for Older Adults, (2009) (emphasis in original).




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                  participation in Let’s Talk Pain Janssen financed and orchestrated. This
                  website featured an interview, which was edited by Janssen personnel,
                  claiming that opioids were what allowed a patient to “continue to
                  function,” inaccurately implying her experience would be representative.
                  This video is still available today on youtube.com.

             o Janssen provided grants to APF to distribute Exit Wounds to veterans,
               which taught that opioid medications “increase your level of functioning”
               (emphasis in the original). Exit Wounds also omits warnings of the risk of
               interactions between opioids and benzodiazepines, which would increase
               fatality risk. Benzodiazepines are frequently prescribed to veterans
               diagnosed with post-traumatic stress disorder.

         Cephalon:

             o Cephalon sponsored the FSMB’s Responsible Opioid Prescribing (2007),
               which taught that relief of pain itself improved patients’ function.
               Responsible Opioid Prescribing explicitly describes functional
               improvement as the goal of a “long-term therapeutic treatment course.”
               Cephalon also spent $150,000 to purchase copies of the book in bulk and
               distributed the book through its pain sales force to 10,000 prescribers and
               5,000 pharmacists.

             o Cephalon sponsored the American Pain Foundation’s Treatment Options:
               A Guide for People Living with Pain (2007), which taught patients that
               opioids when used properly “give [pain patients] a quality of life we
               deserve.” The Treatment Options guide notes that non-steroidal anti-
               inflammatory drugs have greater risks with prolonged duration of use, but
               there was no similar warning for opioids. APF distributed 17,200 copies in
               one year alone, according to its 2007 annual report, and the publication is
               currently available online.

             o Cephalon sponsored a CME written by Dr. Webster, titled Optimizing
               Opioid Treatment for Breakthrough Pain, which was offered online by
               Medscape, LLC from September 28, 2007, through December 15, 2008.
               The CME taught that Cephalon’s Actiq and Fentora improve patients’
               quality of life and allow for more activities when taken in conjunction
               with long-acting opioids.

         Endo:

             o Opana ER “will benefit patients, physicians and payers.”334


334
   FDA Approves Endo Pharmaceuticals’ Crush-Resistant Opana ER, December 12, 2011,
https://www.biospace.com/article/releases/fda-approves-endo-pharmaceuticals-crush-resistant-opana-er-/.




                                         194
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                  o “Endo distributed a pamphlet in New York and posted on its public website,
                    www.opana.com, photographs of purported Opana ER patients that implied that
                    patients can achieve higher function with Opana ER.”335

                  o Endo sponsored a website, painknowledge.com, through APF and NIPC, which
                    claimed in 2009 that with opioids, “your level of function should improve; you
                    may find you are now able to participate in activities of daily living, such as work
                    and hobbies, that you were not able to enjoy when your pain was worse.” Endo
                    continued to provide funding for this website through 2012, and closely tracked
                    unique visitors to it.

                  o A CME sponsored by Endo, titled Persistent Pain in the Older Patient, taught that
                    chronic opioid therapy has been “shown to reduce pain and improve depressive
                    symptoms and cognitive functioning.”

                  o Endo distributed handouts to prescribers that claimed that use of Opana ER to
                    treat chronic pain would allow patients to perform work as a chef. This flyer also
                    emphasized Opana ER’s indication without including equally prominent
                    disclosure of the “moderate to severe pain” qualification.

                  o Endo’s sales force distributed FSMB’s Responsible Opioid Prescribing (2007).
                    This book taught that relief of pain itself improved patients’ function. Responsible
                    Opioid Prescribing explicitly describes functional improvement as the goal of a
                    “long-term therapeutic treatment course.”

                  o Endo provided grants to APF to distribute Exit Wounds to veterans, which taught
                    that opioid medications “increase your level of functioning” (emphasis in the
                    original). Exit Wounds also omits warnings of the risk of interactions between
                    opioids and benzodiazepines, which would increase fatality risk. Benzodiazepines
                    are frequently prescribed to veterans diagnosed with post-traumatic stress
                    disorder.

             551. The RICO Marketing Defendants misrepresented that addiction risks can be

avoided or managed through screening tools and prescription guidelines:



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      Id. at 8.




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         Purdue:

             o Purdue’s unbranded website, In the Face of Pain (inthefaceofpain.com) states that
               policies that “restrict[] access to patients with pain who also have a history of
               substance abuse” and “requiring special government-issued prescription forms for
               the only medications that are capable of relieving pain that is severe” are “at odds
               with” best medical practices.336

             o Purdue sponsored a 2012 CME program taught by a KOL titled Chronic Pain
               Management and Opioid Use: Easing Fears, Managing Risks, and Improving
               Outcomes. This presentation recommended that use of screening tools, more
               frequent refills, and switching opioids could treat a high-risk patient showing
               signs of potentially addictive behavior.

             o Purdue sponsored a 2011 webinar taught by Dr. Lynn Webster, titled Managing
               Patient’s Opioid Use: Balancing the Need and Risk. This publication taught
               prescribers that screening tools, urine tests, and patient agreements have the effect
               of preventing “overuse of prescriptions” and “overdose deaths.”

             o Purdue sales representatives told prescribers that screening tools can be used to
               select patients appropriate for opioid therapy and to manage the risks of addiction.

         Cephalon:

             o Cephalon sponsored APF’s Treatment Options: A Guide for People Living with
               Pain (2007), which taught patients that “opioid agreements” between doctors and
               patients can “ensure that you take the opioid as prescribed.”

         Endo:

             o Endo paid for a 2007 supplement337 available for continuing education credit in
               the Journal of Family Practice and written by a doctor who later became a
               member of Endo’s speakers bureau. This publication, titled Pain Management
               Dilemmas in Primary Care: Use of Opioids, recommended screening patients
               using tools like the Opioid Risk Tool or the Screener and Opioid Assessment for
               Patients with Pain, and advised that patients at high risk of addiction could safely
               (e.g., without becoming addicted) receive chronic opioid therapy using a
               “maximally structured approach” involving toxicology screens and pill counts.




336
   See In the Face of Pain Fact Sheet: Protecting Access to Pain Treatment, Purdue Pharma L.P. (Resources
verified Mar. 2012), www.inthefaceofpain.com/content/uploads/2011/12/factsheet_ProtectingAccess.pdf.
337
  The medical journal, the Lancet found that all of the supplement papers it received failed peer-review. 375
LANCET No. 9712, 347 (2010).




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       552. The RICO Marketing Defendants misrepresented that signs of opioid addiction

were not addiction, withdrawal could be simply managed, and promoted the concept of

pseudoaddiction:

      Purdue:

          o Purdue published a prescriber and law enforcement education pamphlet in 2011
            entitled Providing Relief, Preventing Abuse, which described pseudoaddiction as
            a concept that “emerged in the literature to describe the inaccurate interpretation
            of [drug-seeking behaviors] in patients who have pain that has not been
            effectively treated.”

          o Purdue distributed to physicians, at least as of November 2006 and posted on its
            unbranded website, Partners Against Pain, a pamphlet copyrighted 2005 and titled
            Clinical Issues in Opioid Prescribing. This pamphlet included a list of conduct
            including “illicit drug use and deception” it defined as indicative of
            pseudoaddiction or untreated pain. It also states: “Pseudoaddiction is a term which
            has been used to describe patient behaviors that may occur when pain is
            undertreated. . . . Even such behaviors as illicit drug use and deception can occur
            in the patient’s efforts to obtain relief. Pseudoaddiction can be distinguished from
            true addiction in that the behaviors resolve when the pain is effectively treated.”

          o Purdue sponsored FSMB’s Responsible Opioid Prescribing (2007), which taught
            that behaviors such as requesting drugs by name, “demanding or manipulative
            behavior,” seeing more than one doctor to obtain opioids, and hoarding, are all
            signs of pseudoaddiction. Purdue also spent over $100,000 to support distribution
            of the book.

          o Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its
            Management, which states: “Pseudo-addiction describes patient behaviors that
            may occur when pain is undertreated. . . . Pseudo-addiction can be distinguished
            from true addiction in that this behavior ceases when pain is effectively treated.”

          o A Policymaker’s Guide to Understanding Pain & Its Management also taught that
            “Symptoms of physical dependence can often be ameliorated by gradually
            decreasing the dose of medication during discontinuation,” but did not disclose
            the significant hardships that often accompany cessation of use.

          o Purdue sales representatives told prescribers that the effects of withdrawal from
            opioid use can be successfully managed.

          o Purdue sales representatives told prescribers that the potential for withdrawal on
            Butrans was low due to Butrans’ low potency and its extended release
            mechanism.



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   Janssen:

       o Janssen’s website, Let’s Talk Pain, stated from 2009 through 2011 that
         “pseudoaddiction . . . refers to patient behaviors that may occur when pain is
         under-treated” and “[p]seudoaddiction is different from true addiction because
         such behaviors can be resolved with effective pain management.”

       o A Janssen PowerPoint presentation used for training its sales representatives titled
         “Selling Nucynta ER” indicates that the “low incidence of withdrawal symptoms”
         is a “core message” for its sales force. This message is repeated in numerous
         Janssen training materials between 2009 and 2011. The studies supporting this
         claim did not describe withdrawal symptoms in patients taking Nucynta ER
         beyond 90 days or at high doses and would therefore not be representative of
         withdrawal symptoms in the chronic pain population. Patients on opioid therapy
         long-term and at high doses will have a harder time discontinuing the drugs and
         are more likely to experience withdrawal symptoms. In addition, in claiming a
         low rate of withdrawal symptoms, Janssen relied upon a study that only began
         tracking withdrawal symptoms in patients two to four days after discontinuing
         opioid use, when Janssen knew or should have known that these symptoms peak
         earlier than that for most patients. Relying on data after that initial window
         painted a misleading picture of the likelihood and severity of withdrawal
         associated with chronic opioid therapy. Janssen also knew or should have known
         that the patients involved in the study were not on the drug long enough to
         develop rates of withdrawal symptoms comparable to rates of withdrawal suffered
         by patients who use opioids for chronic pain—the use for which Janssen
         promoted Nucynta ER.

       o Janssen sales representatives told prescribers that patients on Janssen’s drugs were
         less susceptible to withdrawal than those on other opioids.

   Cephalon:

       o Cephalon sponsored FSMB’s Responsible Opioid Prescribing (2007), which
         taught that behaviors such as “requesting drugs by name,” “demanding or
         manipulative behavior,” seeing more than one doctor to obtain opioids, and
         hoarding are all signs of pseudoaddiction. Cephalon also spent $150,000 to
         purchase copies of the book in bulk and distributed it through its pain sales force
         to 10,000 prescribers and 5,000 pharmacists.

   Endo:

       o Endo distributed copies of a book by KOL Dr. Lynn Webster entitled Avoiding
         Opioid Abuse While Managing Pain (2007). Endo’s internal planning documents
         describe the purpose of distributing this book as to “[i]ncrease the breadth and
         depth of the Opana ER prescriber base.” The book claims that when faced with
         signs of aberrant behavior, the doctor should regard it as pseudoaddiction and



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                  thus, “increasing the dose in most cases . . . should be the clinician’s first
                  response.”

               o Endo spent $246,620 to buy copies of FSMB’s Responsible Opioid Prescribing
                 (2007), which was distributed by Endo’s sales force. This book asserted that
                 behaviors such as “requesting drugs by name,” “demanding or manipulative
                 behavior,” seeing more than one doctor to obtain opioids, and hoarding, are all
                 signs of “pseudoaddiction.”

               o A CME sponsored by Endo, titled Persistent Pain in the Older Adult, taught that
                 withdrawal symptoms can be avoided entirely by tapering the dose by 10-20% per
                 day for ten days.

               o Endo misrepresented that “symptoms of withdrawal do not indicate addiction.”338

               o “Endo also trained its sales representatives to distinguish addiction from
                 ‘pseudoaddiction.’”339

            553. The RICO Marketing Defendants misrepresented that opioids were safe for the

long-term treatment of chronic, non-acute, and non-cancer pain:

           Purdue:

               o “[W]e do not want to niche OxyContin just for cancer pain.”340




               o OxyContin was safe and non-addictive when using extended release formulations,
                 and appropriate for use in non-cancer patients.341



338
   In the Matter of Endo Health Solutions Inc. and Endo Pharmaceuticals Inc., Assurance No. 15-228, Assurance of
Discontinuance Under Executive Law Section 63, Subdivision 15, at 7 (Mar. 1, 2016),
https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.
339
      Id.
340
  Ryan, Description of Hell, http://documents.latimes.com/oxycontin-launch-1995/ (emphasis in the L.A. Times
document).
341
    Charles Ornstein & Tracy Weber, American Pain Foundation Shuts Down as Senators Launch Investigation of
Prescription Narcotics, ProPublica (May 8, 2012, 8:57 PM),
http://www.opb.org/news/article/america_pain_foundation_shuts_down_as_senators_launch_investigation_of_presc
ription_narcotis/ (hereinafter “Ornstein, American Pain Foundation”).




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                    o OxyContin should be prescribed not merely for severe short-term pain associated
                      with surgery or cancer, but also for less acute, longer-lasting pain like arthritis,
                      back pain, sports injuries, fibromyalgia with almost limitless treatment
                      potential.342

           Janssen:

                    o Duragesic was “more useful in a broader range of conditions or patients than has
                      been demonstrated by substantial evidence.”343

                    o Duragesic was “not just for end stage cancer anymore” when the FDA only
                      approved Duragesic for “the management of chronic pain in patients who require
                      continuous opioid analgesia for pain that cannot be managed by lesser means.”344

                    o Misrepresented that “Duragesic can be used for any type of pain management”
                      despite the fact that the FDA approved warning stated that “BECAUSE
                      SERIOUS OR LIFE-THREATENING HYPOVENTILATION COULD OCCUR,
                      DURAGESIC®           (FENTANYL              TRANSDERMAL     SYSTEM)      IS
                      CONTRAINDICATED: In the management of acute or post-operative pain,
                      including use in outpatient surgeries . . . .”345

                    o Misrepresented “numerous claims for the efficacy and safety of Duragesic,” but
                      failed to “present[] any risk information concerning the boxed warnings,
                      contraindications, warnings, or side effects associated with Duragesic’s use . . .
                      [and] . . . fail[ed] to address important risks and restrictions associated with
                      Duragesic therapy.”346

                    o Misrepresented “[d]emonstrated effectiveness in chronic back pain with
                      additional patient benefits, . . . 86% of patients experienced overall benefit in a
                      clinical study based on: pain control, disability in ADLs, quality of sleep.”347

           Cephalon:

                    o “[P]romoting [Actiq] for non-cancer patients to use for such maladies as
                      migraines, sickle-cell pain crises, injuries, and in anticipation of changing wound
                      dressings or radiation therapy.”348

342
   Patrick Keefe, The Family That Built an Empire of Pain, NEW YORKER (Oct. 30, 2012),
https://www.newyorker.com/magazine/2017/10/30/the-family-that-built-an-empire-of-pain.
343
  NDA 19-813 Letter from Spencer Salis, U.S. Food & Drug Administration, to Cynthia Chianese, Janssen
Pharmaceutica (Mar. 30, 2000) at 2.
344
      Id.
345
      Id.
346
      Id.
347
      Id. at 2-3.




                                            200
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               o “[P]romot[ing] Actiq for use in patients who were not yet opioid tolerant, and for
                 whom it could have life-threatening results.”349

               o In 2011, Cephalon wrote an article titled “2011 Special Report: An Integrated
                 Risk Evaluation and Risk Mitigation Strategy for Fentanyl Buccal Tablet
                 (FENTORA®) AND Oral Transmucosal Fentanyl Citrate (Actiq®), published in
                 Pain Medicine News. Plaintiff is informed and believes that Cephalon
                 misrepresented that its drugs were “shown to be effective in treatment of [break
                 through pain] associated with multiple causes of pain,” not just cancer.

            554. The RICO Marketing Defendants also misrepresented that opioids were safer that

non-opioid analgesics because there is no ceiling dose for opioid treatment.

           Purdue:

               o Purdue’s In the Face of Pain website, along with initiatives of APF, promoted the
                 notion that if a patient’s doctor does not prescribe them what—in their view—is a
                 sufficient dose of opioids, they should find another doctor who will. In so doing,
                 Purdue exerted undue, unfair, and improper influence over prescribers who face
                 pressure to accede to the resulting demands.

               o Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its
                 Management, which taught that dose escalations are “sometimes necessary,” even
                 indefinitely high ones, which suggested that high dose opioids are safe and
                 appropriate and did not disclose the risks from high dose opioids. This publication
                 is still available online.

               o Purdue sponsored APF’s Treatment Options: A Guide for People Living with Pain
                 (2007), which taught patients that opioids have “no ceiling dose” and are
                 therefore the most appropriate treatment for severe pain. The guide also claimed
                 that some patients “need” a larger dose of the drug, regardless of the dose
                 currently prescribed. This language fails to disclose heightened risks at elevated
                 doses.

               o Treatment Options, also taught that opioids differ from NSAIDs in that they have
                 “no ceiling dose” and are therefore the most appropriate treatment for severe pain.
                 Treatment Options continued, warning that risks of NSAIDs increase if “taken for
                 more than a period of months,” with no corresponding warning about opioids.
                 The publication attributed 10,000 to 20,000 deaths annually to NSAID overdose.


348
   Press Release, U.S. Department of Justice, Pharmaceutical Company Cephalon To Pay $425 Million For Off-
Label Drug Marketing (Sept. 29, 2008),
https://www.justice.gov/archive/usao/pae/News/2008/sep/cephalonrelease.pdf.
349
      Id.




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       o Purdue sponsored a CME issued by the American Medical Association in 2003,
         2007, 2010, and 2013. The CME, Overview of Management Options, was edited
         by KOL Dr. Russell Portenoy, among others, and taught that other drugs, but not
         opioids, are unsafe at high doses. The 2013 version is still available for CME
         credit.

       o Overview of Management Options also taught NSAIDs and other drugs, but not
         opioids, are unsafe at high doses.

       o Purdue sponsored APF’s Exit Wounds (2009), which omits warnings of the risk of
         interactions between opioids and benzodiazepines, which would increase fatality
         risk.

       o Purdue sales representatives told prescribers that opioids were just as effective for
         treating patients long-term and omitted any discussion that increased tolerance
         would require increasing, and increasingly dangerous, doses.

       o Purdue sales representatives told prescribers that NSAIDs were more toxic than
         opioids.

   Janssen:

       o Janssen sponsored a patient education guide entitled Finding Relief: Pain
         Management for Older Adults (2009), which its personnel reviewed and approved
         and its sales force distributed. This guide listed dose limitations as
         “disadvantages” of other pain medicines but omitted any discussion of risks of
         increased doses from opioids. The publication also falsely claimed that it is a
         “myth” that “opioid doses have to be bigger over time.”

       o Finding Relief: Pain Management for Older Adults also described the advantages
         and disadvantages of NSAIDs on one page, and the “myths/facts” of opioids on
         the facing page. The disadvantages of NSAIDs are described as involving
         “stomach upset or bleeding,” “kidney or liver damage if taken at high doses or for
         a long time,” “adverse reactions in people with asthma,” and “can increase the
         risk of heart attack and stroke.” The only adverse effects of opioids listed are
         “upset stomach or sleepiness,” which the brochure claims will go away, and
         constipation.

       o Janssen sponsored APF’s Exit Wounds (2009), which omits warnings of the risk
         of interactions between opioids and benzodiazepines. Janssen’s label for
         Duragesic, however, states that use with benzodiazepines “may cause respiratory
         depression, [low blood pressure], and profound sedation or potentially result in
         coma. Exit Wounds also contained a lengthy discussion of the dangers of using
         alcohol to treat chronic pain but did not disclose dangers of mixing alcohol and
         opioids.




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               o Janssen sales representatives told prescribers that Nucynta was not an opioid,
                 making it a good choice for chronic pain patients who previously were unable to
                 continue opioid therapy due to excessive side effects. This statement was
                 misleading because Nucynta is an opioid and has the same effects as other
                 opioids.

           Cephalon:

               o Cephalon sponsored APF’s Treatment Options: A Guide for People Living with
                 Pain (2007), which claims that some patients “need” a larger dose of their opioid,
                 regardless of the dose currently prescribed.

               o Treatment Options, also taught patients that opioids differ from NSAIDs in that
                 they have “no ceiling dose” and are therefore the most appropriate treatment for
                 severe pain. Treatment Options continued, warning that risks of NSAIDs increase
                 if “taken more than a period of months,” but it included no corresponding warning
                 about opioids. The publication attributed 10,000 to 20,000 deaths annually to
                 NSAID overdose.

               o Cephalon sponsored a CME written by KOL Dr. Lynn Webster, Optimizing
                 Opioid Treatment for Breakthrough Pain, which was offered online by Medscape,
                 LLC from September 28, 2007 through December 15, 2008. The CME taught that
                 non-opioid analgesics and combination opioids that include aspirin and
                 acetaminophen are less effective to treat breakthrough pain because of dose
                 limitations.

               o Cephalon sales representatives assured prescribers that opioids were safe, even at
                 high doses.

               o Cephalon sales representatives told prescribers that NSAIDs were more toxic than
                 opioids.

               o “[P]romot[ing] Actiq for use in patients who were not yet opioid tolerant, and for
                 whom it could have life-threatening results.”350

           Endo:

               o Endo sponsored a website, painknowledge.com, through APF and NIPC, which
                 claimed in 2009 that opioids may be increased until “you are on the right dose of
                 medication for your pain,” and once that occurs, further dose increases would not
                 occur. Endo funded the site, which was a part of Endo’s marketing plan, and
                 tracked visitors to it.



350
      Id.




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           o Through painknowledge.com Endo distributed a flyer called “Pain: Opioid
             Therapy.” This publication included a list of adverse effects from opioids that
             omitted significant adverse effects like hyperalgesia, immune and hormone
             dysfunction, cognitive impairment, tolerance, dependence, addiction, and death.
             Endo continued to provide funding for this website through 2012, and closely
             tracked unique visitors to it.

           o Endo provided grants to APF to distribute Exit Wounds (2009), which omitted
             warnings of the risk of interactions between opioids and benzodiazepines, which
             would increase fatality risk. Exit Wounds also contained a lengthy discussion of
             the dangers of using alcohol to treat chronic pain but did not disclose dangers of
             mixing alcohol and opioids.

           o Endo sales representatives told prescribers that NSAIDs were more toxic than
             opioids.

           o Endo distributed a patient education pamphlet edited by KOL Dr. Russell
             Portenoy titled Understanding Your Pain: Taking Oral Opioid Analgesics. In
             Q&A format, it asked: “If I take the opioid now, will it work later when I really
             need it?” The response was: “The dose can be increased . . . . You won’t ‘run out’
             of pain relief.”

           o Endo distributed a “case study” to prescribers titled Case Challenges in Pain
             Management: Opioid Therapy for Chronic Pain. The study cites an example,
             meant to be representative, of a patient “with a massive upper gastrointestinal
             bleed believed to be related to his protracted use of NSAIDs” (over eight years),
             and recommends treating with opioids instead.

       555. These misrepresentations, and the legion of other representations made by the

RICO Marketing Defendants and members of Opioid Marketing Enterprise all furthered the

common purpose and fraudulent scheme of the Opioid Marketing Enterprise. But they were

demonstrably false, as confirmed by investigations and enforcement actions against the RICO

Marketing Defendants.

       556. In May 2007, Purdue and three of its executives pled guilty to federal charges of

misbranding OxyContin in what the company acknowledged was an attempt to mislead doctors

about the risk of addiction. Purdue was ordered to pay $600 million in fines and fees. In its plea,

Purdue admitted that its promotion of OxyContin was misleading and inaccurate, misrepresented




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the risk of addiction and was unsupported by science. The Order adopting the guilty pleas

provides:




        557. Additionally, Michael Friedman (“Friedman”), the company’s president, pled

guilty to a misbranding charge and agreed to pay $19 million in fines; Howard R. Udell

(“Udell”), Purdue’s top lawyer, also pled guilty and agreed to pay $8 million in fines; and Paul

D. Goldenheim (“Goldenheim”), its former medical director, pled guilty as well and agreed to

pay $7.5 million in fines.351

        558. In a statement announcing the guilty plea, John Brownlee (“Brownlee”), the U.S.

Attorney for the Western District of Virginia, stated:

        Purdue claimed it had created the miracle drug – a low risk drug that could
        provide long acting pain relief but was less addictive and less subject to abuse.
        Purdue’s marketing campaign worked, and sales for OxyContin skyrocketed –
        making billions for Purdue and millions for its top executives.
351
   Barry Meier, “Narcotic Maker Guilty of Deceit Over Marketing, New York Times (May 11, 2007),
https://www.nytimes.com/2007/05/11/business/11drug.html.




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            But OxyContin offered no miracles to those suffering in pain. Purdue’s claims
            that OxyContin was less addictive and less subject to abuse and diversion were
            false – and Purdue knew its claims were false. The result of their
            misrepresentations and crimes sparked one of our nation’s greatest prescription
            drug failures. . . . OxyContin was the child of marketers and bottom line financial
            decision making.352

            559. Brownlee characterized Purdue’s criminal activity as follows:

                 First, Purdue trained its sales representatives to falsely inform health care
            providers that it was more difficult to extract the oxycodone from an OxyContin
            tablet for the purpose of intravenous abuse. Purdue ordered this training even
            though its own study showed that a drug abuser could extract approximately 68%
            of the oxycodone from a single 10 mg OxyContin tablet by simply crushing the
            tablet, stirring it in water, and drawing the solution through cotton into a syringe.

                Second, Purdue falsely instructed its sales representatives to inform health
            care providers that OxyContin could create fewer chances for addiction than
            immediate-release opioids.

                 Third, Purdue sponsored training that falsely taught Purdue sales supervisors
            that OxyContin had fewer “peak and trough” blood level effects than immediate-
            release opioids resulting in less euphoria and less potential for abuse than short-
            acting opioids.

                 Fourth, Purdue falsely told certain health care providers that patients could
            stop therapy abruptly without experiencing withdrawal symptoms and that
            patients who took OxyContin would not develop tolerance to the drug.

                 And fifth, Purdue falsely told health care providers that OxyContin did not
            cause a “buzz” or euphoria, caused less euphoria, had less addiction potential, had
            less abuse potential, was less likely to be diverted than immediate-release opioids,
            and could be used to “weed out” addicts and drug seekers.353

            560. Purdue pled guilty to illegally misbranding OxyContin in an effort to mislead and

defraud physicians and consumers, while Friedman, Udell and Goldenheim pled guilty to the

misdemeanor charge of misbranding OxyContin for introducing misbranded drugs into interstate

commerce in violation of 21 U.S.C. §§ 331(a), 333(a)(1)-(2) and 352(a).

352
  Press Release, U.S. Attorney for the Western District of Virginia, Statement of United States Attorney John
Brownlee on the Guilty Plea of the Purdue Frederick Company and Its Executives for Illegally Misbranding
OxyContin (May 10, 2007), https://assets.documentcloud.org/documents/279028/purdue-guilty-plea.pdf.
353
      Id.




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             561. Similarly, Endo’s marketing of Opana ER was criticized and punished by the FDA

and New York Attorney General.

             562. On February 18, 2017, the State of New York announced a settlement with Endo

requiring it “to cease all misrepresentations regarding the properties of Opana ER [and] to

describe accurately the risk of addiction to Opana ER.”354 In the Assurance of Discontinuance

that effectuated the settlement, the State of New York stated that Endo knew about the risks

arising from the reformulated Opana ER even before it received FDA approval. Among other

things, the investigation concluded that:

            Endo improperly marketed Opana ER as designed to be crush resistant, when Endo’s own
             studies dating from 2009 and 2010 showed that the pill could be crushed and ground;

            Endo improperly instructed its sales representatives to diminish and distort the risks
             associated with Opana ER, including the serious danger of addiction; and

            Endo made unsupported claims comparing Opana ER to other opioids and failed to
             disclose accurate information regarding studies addressing the negative effects of Opana
             ER.355

             563. The 2017 settlement also identified and discussed a February 2013 communication

from a consultant hired by Endo to the company, in which the consultant concluded that “‘[t]he

initial data presented do not necessarily establish that the reformulated Opana ER is tamper

resistant.’” The same consultant also reported that the distribution of the reformulated Opana ER

had already led to higher levels of abuse of the drug via injection.356




354
   Press Release, Attorney General Eric T. Schneiderman, A.G. Schneiderman Announces Settlement With Endo
Health Solutions Inc. & Endo Pharmaceuticals Inc. Over Marketing Of Prescription Opioid Drugs (Mar. 3, 2016),
https://ag.ny.gov/press-release/ag-schneiderman-announces-settlement-endo-health-solutions-inc-endo-
pharmaceuticals (last accessed on March 9, 2018).
355
      Id.
356
      Id. at 6.




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             564. The Office of the Attorney General of New York also revealed that the “managed

care dossier” Endo provided to formulary committees of healthcare plans and pharmacy benefit

managers misrepresented the studies that had been conducted on Opana ER. According to

Endo’s vice president for pharmacovigilance and risk management, the dossier was presented as

a complete compendium of all research on the drug. However, it omitted certain studies: Study

108 (completed in 2009) and Study 109 (completed in 2010), which showed that reformulated

Opana ER could be ground and chewed.

             565. The settlement also detailed Endo’s false and misleading representations about the

non-addictiveness of opioids and Opana. For example, until April 2012, Endo’s website for the

drug, www.opana.com, contained the following representation: “‘Most healthcare providers who

treat patients with pain agree that patients treated with prolonged opioid medicines usually do not

become addicted.’”357 However, Endo neither conducted nor possessed a survey demonstrating

that most healthcare providers who treat patients with pain agree with that representation.

             566. The Office of the Attorney General of New York also disclosed the following facts

that it determined to violate Opana’s obligations to truthfully market its products:

                    a.     Training materials provided by Endo to sales representatives stated:
                           “‘Symptoms of withdrawal do not indicate addiction.’”358              This
                           representation is inconsistent with the diagnosis of opioid-use disorder as
                           provided in the Diagnostic and Statistical Manual of Mental Disorders by
                           the American Psychiatric Association (Fifth Edition).

                    b.     Endo trained its sales representatives to falsely distinguish addiction from
                           “pseudoaddiction,” which it defined as a condition in which patients
                           exhibit drug-seeking behavior that resembles but is not the same as
                           addiction. Endo’s vice president for pharmacovigilance and risk
                           management testified that he was not aware of any research validating the
                           concept of pseudoaddiction.

357
      Id.
358
      Id. at 7.




                                            208
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            567. On June 9, 2017, the FDA asked Endo to voluntarily cease sales of Opana ER after

determining that the risks associated with its abuse outweighed the benefits. According to Dr.

Janet Woodcock, director of the FDA’s Center for Drug Evaluation and Research, the risks

include “several serious problems,” including “outbreaks of HIV and Hepatitis C from sharing

the drug after it was extracted by abusers” and “a serious disease outbreak.”359 If Endo did not

comply, the FDA stated that it “intends to take steps to formally require its removal by

withdrawing approval.”360

            568. Like Purdue and Endo, Janssen was the subject of an FDA enforcement action that

identified its marketing statements as misrepresentations. For example:

            569. On February 15, 2000, the FDA sent Janssen a letter concerning the alleged

dissemination of “homemade” promotional pieces that promoted Duragesic in violation of the

Federal Food, Drug, and Cosmetic Act. In a subsequent letter, dated March 30, 2000, the FDA

explained that the “homemade” promotional pieces were “false or misleading because they

contain misrepresentations of safety information, broaden Duragesic’s indication, contain

unsubstantiated claims, and lack fair balance.”361

            570. The     March    30,   2000    letter   identified    specific    violations,    including

misrepresentations that Duragesic had a low potential for abuse:

           You present the claim, “Low abuse potential!” This claim suggests that Duragesic has
            less potential for abuse than other currently available opioids. However, this claim has
            not been demonstrated by substantial evidence. Furthermore, this claim is contradictory
            to information in the approved product labeling (PI) that states, “Fentanyl is a Schedule II


359
   FDA requests removal of Opana ER for risks related to abuse, June 8, 2017,
https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm562401.htm.
360
      Id.
361
  NDA 19-813 Letter from Spencer Salis, U.S. Food & Drug Administration, to Cynthia Chianese, Janssen
Pharmaceutica (Mar. 30, 2000) at 2.




                                           209
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             controlled substance and can produce drug dependence similar to that produced by
             morphine.” Therefore, this claim is false or misleading.362

             571. The March 30, 2000 letter also stated that the promotional materials represented

that Duragesic was “more useful in a broader range of conditions or patients than has been

demonstrated by substantial evidence.”363 Specifically, the FDA stated that Janssen was

marketing Duragesic for indications other than the treatment of chronic pain that cannot

otherwise be managed, for which it was approved:

            You present the claim, “It’s not just for end stage cancer anymore!” This claim suggests
             that Duragesic can be used for any type of pain management. However, the PI for
             Duragesic states, “Duragesic (fentanyl transdermal system) is indicated in the
             management of chronic pain in patients who require continuous opioid analgesia for pain
             that cannot be managed by lesser means . . ..” Therefore, the suggestion that Duragesic
             can be used for any type of pain management promotes Duragesic[] for a much broader
             use than is recommended in the PI, and thus, is misleading. In addition, the suggestion
             that Duragesic can be used to treat any kind of pain is contradictory to the boxed warning
             in the PI. Specifically, the PI states,

             BECAUSE SERIOUS OR LIFE-THREATENING HYPOVENTILATION
             COULD OCCUR, DURAGESIC® (FENTANYL TRANSDERMAL SYSTEM)
             IS CONTRAINDICATED:

            In the management of acute or post-operative pain, including use in outpatient surgeries .
             . . .364

             572. The March 30, 2000 letter also stated Janssen failed to adequately present

“contraindications, warnings, precautions, and side effects with a prominence and readability

reasonably comparable to the presentation of information relating to the effectiveness of the

product.”365




362
      Id.
363
      Id.
364
      Id. at 2-3.
365
      Id. at 3.




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            Although this piece contains numerous claims for the efficacy and safety of
            Duragesic, you have not presented any risk information concerning the boxed
            warnings, contraindications, warnings, precautions, or side effects associated with
            Duragesic’s use . . . . Therefore, this promotional piece is lacking in fair balance,
            or otherwise misleading, because it fails to address important risks and restrictions
            associated with Duragesic therapy.366

            573. On September 2, 2004, the U.S. Department of Health and Human Services

(“HHS”) sent Janssen a warning letter concerning Duragesic due to “false or misleading claims

about the abuse potential and other risks of the drug, and . . . unsubstantiated effectiveness claims

for Duragesic,” including, specifically, “suggesting that Duragesic has a lower potential for

abuse compared to other opioid products.”

            574. The September 2, 2004 letter warned Janssen regarding its claims that Duragesic

had a low reported rate of mentions in the Drug Abuse Warning Network (“DAWN”) as

compared to other opioids. The letter stated that the claim was false or misleading because the

claim was not based on substantial data and because the lower rate of mentions was likely

attributable to Duragesic’s lower frequency of use compared to other opioids listed in DAWN:

                   The file card presents the prominent claim, “Low reported rate of
            mentions in DAWN data,” along with Drug Abuse Warning Network (DAWN)
            data comparing the number of mentions for Fentanyl/combinations (710
            mentions) to other listed opioid products, including Hydrocodone/combinations
            (21,567 mentions), Oxycodone/combinations (18,409 mentions), and Methadone
            (10,725 mentions). The file card thus suggests that Duragesic is less abused than
            other opioid drugs.

                     This is false or misleading for two reasons. First, we are not aware of
            substantial evidence or substantial clinical experience to support this comparative
            claim. The DAWN data cannot provide the basis for a valid comparison among
            these products. As you know, DAWN is not a clinical trial database. Instead, it is
            a national public health surveillance system that monitors drug-related emergency
            department visits and deaths. If you have other data demonstrating that Duragesic
            is less abused, please submit them.



366
      Id.




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                    Second, Duragesic is not as widely prescribed as other opioid products. As
            a result, the relatively lower number of mentions could be attributed to the lower
            frequency of use, and not to a lower incidence of abuse. The file card fails to
            disclose this information.367

            575. The September 2, 2004 letter also detailed a series of unsubstantiated false or

misleading claims regarding Duragesic’s effectiveness. The letter concluded that various claims

made by Janssen were insufficiently supported, including:

           “‘Demonstrated effectiveness in chronic back pain with additional patient benefits, . . .
            86% of patients experienced overall benefit in a clinical study based on: pain control,
            disability in ADLs, quality of sleep.’”

           “‘All patients who experienced overall benefit from DURAGESIC would recommend it
            to others with chronic low back pain.’”

           “‘Significantly reduced nighttime awakenings.’”

           “‘Significant improvement in disability scores as measured by the Oswestry Disability
            Questionnaire and Pain Disability Index.’”

           “‘Significant improvement in physical functioning summary score.’”

           “‘Significant improvement in social functioning.’”368

            576. In addition, the September 2, 2004 letter identified “outcome claims [that] are

misleading because they imply that patients will experience improved social or physical

functioning or improved work productivity when using Duragesic.” The claims include “‘1,360

loaves . . . and counting,’ ‘[w]ork, uninterrupted,’ ‘[l]ife, uninterrupted,’ ‘[g]ame, uninterrupted,’

‘[c]hronic pain relief that supports functionality,’ ‘[h]elps patients think less about their pain,’

and ‘[i]mprove[s] . . . physical and social functioning.’” The September 2, 2004 letter stated:



367
   Warning Letter from Thomas W. Abrams, U.S. Department of Health and Human Services, to Ajit Shetty,
Janssen Pharmaceutica, Inc. (Sept. 2, 2004),
https://www.pharmamedtechbi.com/~/media/Images/Publications/Archive/The%20Pink%20Sheet/66/038/00660380
018/040920_ duragesic_letter.pdf at 2.
368
      Id. at 2-3.




                                            212
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“Janssen has not provided references to support these outcome claims. We are not aware of

substantial evidence or substantial clinical experience to support these claims.”369

             577. On July 15, 2005, the FDA issued a public health advisory warning doctors of

deaths resulting from the use of Duragesic and its generic competitor, manufactured by Mylan

N.V. Plaintiff is informed and believes that the advisory noted that the FDA had been

“‘examining the circumstances of product use to determine if the reported adverse events may be

related to inappropriate use of the patch’” and noted the possibility “that patients and physicians

might be unaware of the risks” of using the fentanyl transdermal patch, which is a potent opioid

analgesic meant to treat chronic pain that does not respond to other painkillers.370

             578. Finally, Cephalon has been the subject of investigations and enforcement actions

for is misrepresentations concerning Actiq. For example:

             579. In October 2000, Cephalon acquired the worldwide product rights to Actiq and

began marketing and selling Actiq in the United States. The FDA explicitly stated that Actiq

“must not be used in opioid non-tolerant patients,” was contraindicated for the management of

acute or postoperative pain, could be deadly to children, and was “intended to be used only in the

care of opioid-tolerant cancer patients and only by oncologists and pain specialists who are

knowledgeable of and skilled in the use of Schedule II opioids to treat cancer pain.” 371 The FDA

also required that Actiq be provided only in compliance with a strict risk management program




369
      Id. at 3.
370
  New Fentanyl Warnings: More Needed to Protect Patients, Institute for Safe Medication Practices, August 11,
2005, https://www.ismp.org/newsletters/acutecare/articles/20050811.asp
371
      Id.




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that explicitly limited the drug’s direct marketing to the approved target audiences, defined as

oncologists, pain specialists, their nurses and office staff.372

        580. Cephalon purchased the rights to Fentora, an even faster-acting tablet formulation

of fentanyl, from Cima Labs, and submitted a new drug application to the FDA in August 2005.

In September 2006, Cephalon received FDA approval to sell this faster-acting version of Actiq;

but once again, concerned about the power and risks inherent to fentanyl, the FDA limited

Fentora’s approval to the treatment of BTP in cancer patients who were already tolerant to

around-the-clock opioid therapy for their underlying persistent cancer pain. Cephalon began

marketing and selling Fentora in October 2006.

        581. Due to the FDA’s restrictions, Actiq’s consumer base was limited, as was its

potential for growing revenue. In order to increase its revenue and market share, Cephalon

needed to find a broader audience and thus began marketing its lollipop to treat headaches, back

pain, sports injuries and other chronic non-cancer pain, targeting non-oncology practices,

including, but not limited to, pain doctors, general practitioners, migraine clinics,

anesthesiologists and sports clinics. It did so in violation of applicable regulations prohibiting the

marketing of medications for off-label use and in direct contravention of the FDA’s strict

instructions that Actiq be prescribed only to terminal cancer patients and by oncologists and pain

management doctors experienced in treating cancer pain.

        582. Beginning in or about 2003, former Cephalon employees filed four whistleblower

lawsuits claiming the company had wrongfully marketed Actiq for unapproved off-label uses.

On September 29, 2008, Cephalon finalized and entered into a corporate integrity agreement


372
   See John Carreyrou, Narcotic “Lollipop” Becomes Big Seller Despite FDA Curbs, Wall St. J. (Nov. 3, 2006),
https://www.opiates.com/media/narcotic-lollipop-becomes-big-seller-despite-fdacurbs/.




                                        214
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with the Office of the Inspector General of HHS and agreed to pay $425 million in civil and

criminal penalties for its off-label marketing of Actiq and two other drugs (Gabitril and Provigil).

            583. According to a DOJ press release, Cephalon trained sales representatives to

disregard restrictions of the FDA-approved label, employed sales representatives and healthcare

professionals to speak to physicians about off-label uses of the three drugs and funded CME to

promote off-label uses. Specifically, the DOJ stated:

            From 2001 through at least 2006, Cephalon was allegedly promoting [Actiq] for
            non-cancer patients to use for such maladies as migraines, sickle-cell pain crises,
            injuries, and in anticipation of changing wound dressings or radiation therapy.
            Cephalon also promoted Actiq for use in patients who were not yet opioid-
            tolerant, and for whom it could have life-threatening results.373

            584. Then-acting U.S. Attorney Laurie Magid commented on the dangers of Cephalon’s

unlawful practices:

            “This company subverted the very process put in place to protect the public from
            harm, and put patients’ health at risk for nothing more than boosting its bottom
            line. People have an absolute right to their doctors’ best medical judgment. They
            need to know the recommendations a doctor makes are not influenced by sales
            tactics designed to convince the doctor that the drug being prescribed is safe for
            uses beyond what the FDA has approved.”374

            585. Upon information and belief, documents uncovered in the government’s

investigations confirm that Cephalon directly targeted non-oncology practices and pushed its

sales representatives to market Actiq for off-label use. For instance, the government’s

investigations confirmed:

             a.   Cephalon instructed its sales representatives to ask non-cancer doctors whether
                  they have the potential to treat cancer pain. Even if the doctor answered “no,” a
                  decision tree provided by Cephalon instructed the sales representatives to give
                  these physicians free Actiq coupons;
373
   Press Release, U.S. Department of Justice, Pharmaceutical Company Cephalon To Pay $425 Million For Off-
Label Drug Marketing (Sept. 29, 2008),
https://www.justice.gov/archive/usao/pae/News/2008/sep/cephalonrelease.pdf.
374
      Id.




                                           215
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          b.   Cephalon targeted neurologists in order to encourage them to prescribe Actiq to
               patients with migraine headaches;

          c.   Cephalon sales representatives utilized the assistance of outside pain management
               specialists when visiting non-cancer physicians to pitch Actiq. The pain
               management specialist would falsely inform the physician that Actiq does not cause
               patients to experience a “high” and carries a low risk of diversion toward
               recreational use;

          d.   Cephalon set sales quotas for its sales and marketing representatives that could not
               possibly have been met solely by promoting Actiq for its FDA-approved indication;

          e.   Cephalon promoted the use of higher doses of Actiq than patients required by
               encouraging prescriptions of the drug to include larger-than-necessary numbers of
               lozenges with unnecessarily high doses of fentanyl; and

          f.   Cephalon promoted Actiq for off-label use by funding and controlling CME
               seminars that promoted and misrepresented the efficacy of the drug for off-label
               uses such as treating migraine headaches and for patients not already opioid-
               tolerant.375

        586. The FDA’s letters and safety alerts, the DOJ and state investigations, and the

massive settlement seemed to have had little impact on Cephalon as it continued its deceptive

marketing strategy for both Actiq and Fentora.

        587. On September 27, 2007, the FDA issued a public health advisory to address

numerous reports that patients who did not have cancer or were not opioid-tolerant had been

prescribed Fentora, and death or life-threatening side effects had resulted. The FDA warned:

“Fentora should not be used to treat any type of short-term pain.”376

        588. Nevertheless, in 2008, Cephalon pushed forward to expand the target base for

Fentora and filed a supplemental drug application requesting FDA approval of Fentora for the

treatment of non-cancer BTP. In the application and supporting presentations to the FDA,

375
   John Carreyrou, Cephalon Used Improper Tactics to Sell Drug, Probe Finds, Wall St. J., Nov. 21, 2006, at B1
(hereinafter “Carreyrou, Cephalon Used Improper Tactics”).
376
   Press Release, U.S. Food & Drug Administration, Public Health Advisory: Important Information for the Safe
Use of Fentora (fentanyl buccal tablets) (Sept. 26, 2007),
https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProviders/ucm051273.htm.




                                        216
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Cephalon admitted both that it knew the drug was heavily prescribed for off-label use and that

the drug’s safety for such use had never been clinically evaluated.377 An FDA advisory

committee noted that Fentora’s existing risk management program was ineffective and stated that

Cephalon would have to institute a risk evaluation and mitigation strategy for the drug before the

FDA would consider broader label indications. In response, Cephalon revised Fentora’s label and

medication guide to add strengthened warnings.

        589. But in 2009, the FDA once again informed Cephalon that the risk management

program was not sufficient to ensure the safe use of Fentora for already approved indications.

        590. On March 26, 2009, the FDA warned Cephalon against its misleading advertising

of Fentora (“Warning Letter”). The Warning Letter described a Fentora Internet advertisement as

misleading because it purported to broaden “the indication for Fentora by implying that any

patient with cancer who requires treatment for breakthrough pain is a candidate for Fentora . . .

when this is not the case.”378 Rather, Fentora was only indicated for those who were already

opioid tolerant. It further criticized Cephalon’s other direct Fentora advertisements because they

did not disclose the risks associated with the drug.

        591. Flagrantly disregarding the FDA’s refusal to approve Fentora for non-cancer BTP

and its warning against marketing the drug for the same, Cephalon continued to use the same

sales tactics to push Fentora as it did with Actiq.

        592. The misrepresentations disseminated by members of the Opioid Marketing

Enterprise, and the RICO Marketing Defendants, caused Plaintiff and Wisconsin consumers to

377
   FENTORA (fentanyl buccal tablet) CII, Joint Meeting of Anesthetic and Life Support Drugs andDrug Safety and
Risk Management Advisory Committee, U.S. Food & Drug Administration (May 6,2008),
https://www.fda.gov/ohrms/dockets/ ac/08/slides/2008-4356s2-03-Cephalon.pdf.
378
  Letter from Michael Sauers, Regulatory Review Officer, Division of Drug Marketing, Advertising and
Communications, to Carole S. Marchione, Senior Director and Group Leader, Regulatory Affairs (March 26, 2009).




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pay for excessive opioid prescriptions, suffer injuries and losses, and to incur costs associated

with the opioid epidemic caused by the Opioid Marketing Enterprise.

       593. The RICO Marketing Defendants alone could not have accomplished the purpose

of the Opioid Marketing Enterprise without the assistance of the Front Groups and KOLs, who

were perceived as “neutral” and more “scientific” than the RICO Defendants themselves.

Without these misrepresentations, the Opioid Marketing Enterprise could not have achieved its

common purpose.

       594. The impact of the Opioid Marketing Enterprise’s scheme is still in place – i.e., the

opioids continue to be prescribed and used for chronic pain throughout the State of Wisconsin,

and the epidemic continues to injure Plaintiff, and consume the resources of Plaintiff’s and

Wisconsin’s health care and law enforcement systems.

       595. The foregoing evidences that the RICO Marketing Defendants, the Front Groups,

and the KOLs were each willing participants in the Opioid Marketing Enterprise, had a common

purpose and interest in the object of the scheme, and functioned within a structure designed to

effectuate the Enterprise’s purpose.

   B. CONDUCT OF THE OPIOID MARKETING ENTERPRISE.

       596. During time period described in this Complaint, from approximately the late 1990s

to the present, the RICO Marketing Defendants exerted control over the Opioid Marketing

Enterprise and participated in the operation or management of the affairs of the Opioid

Marketing Enterprise, directly or indirectly, in the following ways:

       a.   Creating a body of deceptive, misleading and unsupported medical and popular
            literature about opioids that (a) understated the risks and overstated the benefits of
            long-term use; (b) appeared to be the result of independent, objective research; and
            (c) was thus more likely to be relied upon by physicians, patients, and payors;

       b.   Creating a body of deceptive, misleading and unsupported electronic and print
            advertisements about opioids that (a) understated the risks and overstated the benefits


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     of long-term use; (b) appeared to be the result of independent, objective research;
     and (c) was thus more likely to be relied upon by physicians, patients, and payors;

c.   Creating a body of deceptive, misleading and unsupported sales and promotional
     training materials about opioids that (a) understated the risks and overstated the
     benefits of long-term use; (b) appeared to be the result of independent, objective
     research; and (c) was thus more likely to be relied upon by physicians, patients, and
     payors;

d.   Creating a body of deceptive, misleading and unsupported CMEs and speaker
     presentations about opioids that (a) understated the risks and overstated the benefits
     of long-term use; (b) appeared to be the result of independent, objective research;
     and (c) was thus more likely to be relied upon by physicians, patients, and payors;

e.   Selecting, cultivating, promoting and paying KOLs based solely on their willingness
     to communicate and distribute the RICO Marketing Defendants’ messages about the
     use of opioids for chronic pain;

f.   Providing substantial opportunities for KOLs to participate in research studies on
     topics the RICO Marketing Defendants suggested or chose, with the predictable
     effect of ensuring that many favorable studies appeared in the academic literature;

g.   Paying KOLs to serve as consultants or on the RICO Marketing Defendants’
     advisory boards, on the advisory boards and in leadership positions on Front Groups,
     and to give talks or present CMEs, typically over meals or at conferences;

h.   Selecting, cultivating, promoting, creating and paying Front Groups based solely on
     their willingness to communicate and distribute the RICO Marketing Defendants’
     messages about the use of opioids for chronic pain;

i.   Providing substantial opportunities for Front Groups to participate in and/or publish
     research studies on topics the RICO Marketing Defendants suggested or chose (and
     paid for), with the predictable effect of ensuring that many favorable studies
     appeared in the academic literature;

j.   Paying significant amounts of money to the leaders and individuals associated with
     Front Groups;

k.   Donating to Front Groups to support talks or CMEs, that were typically presented
     over meals or at conferences;

l.   Disseminating many of their false, misleading, imbalanced, and unsupported
     statements through unbranded materials that appeared to be independent publications
     from Front Groups;

m. Sponsoring CME programs put on by Front Groups that focused exclusively on the
   use of opioids for chronic pain;



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       n.   Developing and disseminating pro-opioid treatment guidelines with the help of the
            KOLs as authors and promoters, and the help of the Front Groups as publishers, and
            supporters;

       o.   Encouraging Front Groups to disseminate their pro-opioid messages to groups
            targeted by the RICO Marketing Defendants, such as veterans and the elderly, and
            then funded that distribution;

       p.   Concealing their relationship to and control of Front Groups and KOLs from the
            Plaintiff and the public at large; and

       q.   Intending that Front Groups and KOLs would distribute through the U.S. mail and
            interstate wire facilities, promotional and other materials that claimed opioids could
            be safely used for chronic pain.

       597. The Front Groups also participated in the conduct of the Opioid Marketing

Enterprise, directly or indirectly, in the following ways:

       a.   The Front Groups promised to, and did, make representations regarding opioids and
            the RICO Marketing Defendants’ drugs that were consistent with the RICO
            Marketing Defendants’ messages;

       b.   The Front Groups distributed, through the U.S. Mail and interstate wire facilities,
            promotional and other materials which claimed that opioids could be safely used for
            chronic pain without addiction, and misrepresented the benefits of using opioids for
            chronic pain outweighed the risks;

       c.   The Front Groups echoed and amplified messages favorable to increased opioid
            use—and ultimately, the financial interests of the RICO Marketing Defendants;

       d.   The Front Groups issued guidelines and policies minimizing the risk of opioid
            addiction and promoting opioids for chronic pain;

       e.   The Front Groups strongly criticized the 2016 guidelines from the Center for Disease
            Control and Prevention (CDC) that recommended limits on opioid prescriptions for
            chronic pain; and

       f.   The Front Groups concealed their connections to the KOLs and the RICO Marketing
            Defendants.

       598. The RICO Marketing Defendants’ Front Groups, “with their large numbers and

credibility with policymakers and the public—have ‘extensive influence in specific disease

areas.’” The RICO Marketing Defendants’ larger Front Groups “likely have a substantial effect




                                       220
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on policies relevant to their industry sponsors.”379 “By aligning medical culture with industry

goals in this way, many of the groups described in this report may have played a significant role

in creating the necessary conditions for the U.S. opioid epidemic.”380

             599. The KOLs also participated, on information and belief, in the conduct of the affairs

of the Opioid Marketing Enterprise, directly or indirectly, in the following ways:

             a.   The KOLs promised to, and did, make representations regarding opioids and the
                  RICO Marketing Defendants’ drugs that were consistent with the RICO Marketing
                  Defendants’ messages themselves;

             b.   The KOLs distributed, through the U.S. Mail and interstate wire facilities,
                  promotional and other materials which claimed that opioids could be safely used for
                  chronic pain without addiction, and misrepresented the benefits of using opioids for
                  chronic pain outweighed the risks;

             c.   The KOLs echoed and amplified messages favorable to increased opioid use—and
                  ultimately, the financial interests of the RICO Marketing Defendants;

             d.   The KOLs issued guidelines and policies minimizing the risk of opioid addiction and
                  promoting opioids for chronic pain;

             e.   The KOLs strongly criticized the 2016 guidelines from the Center for Disease
                  Control and Prevention (CDC) that recommended limits on opioid prescriptions for
                  chronic pain; and

             f.   The KOLs concealed their connections to the Front Groups and the RICO Marketing
                  Defendants, and their sponsorship by the RICO Marketing Defendants.

             600. The scheme devised and implemented by the RICO Marketing Defendants and

members of the Opioid Marketing Enterprise, amounted to a common course of conduct intended

to increase the RICO Marketing Defendants’ sales from prescription opioids by encouraging the

prescribing and use of opioids for long-term chronic pain. The scheme was a continuing course

of conduct, and many aspects of it continue through to the present.

379
   Fueling an Epidemic: Exposing the Financial Ties Between Opioid Manufacturers and Third Party Advocacy
Groups, U.S. Senate Homeland Security & Governmental Affairs Committee, Ranking Members’ Office, February
12, 2018 https://www.hsdl.org/?abstract&did=808171 (“Fueling an Epidemic”), at 1.
380
      Id. at 2.




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   C. PATTERN OF RACKETEERING ACTIVITY

       601. The RICO Marketing Defendants conducted and participated in the conduct of the

Opioid Marketing Enterprise through a pattern of racketeering activity within the meaning of 18

U.S.C. § 1961(1) that employed the use of mail and wire facilities, in violation of 18 U.S.C. §

1341 (mail fraud) and § 1343 (wire fraud).

       602. The RICO Marketing Defendants committed, conspired to commit, and/or aided

and abetted in the commission of at least two predicate acts of racketeering activity (i.e.,

violations of 18 U.S.C. §§ 1341 and 1343) within the past ten years. The multiple acts of

racketeering activity that the RICO Marketing Defendants committed, or aided and abetted in the

commission of, were related to each other, posed a threat of continued racketeering activity, and

therefore constitute a “pattern of racketeering activity.” The racketeering activity was made

possible by the RICO Marketing Defendants’ regular use of the facilities, services, distribution

channels, and employees of the Opioid Marketing Enterprise, the U.S. Mail and interstate wire

facilities. The RICO Marketing Defendants participated in the scheme to defraud by using mail,

telephones and the Internet to transmit mailings and wires in interstate or foreign commerce.

       603. The pattern of racketeering activity described herein used by the RICO Marketing

Defendants and the Opioid Marketing Enterprise likely involved thousands of separate instances

of the use of the U.S. Mail or interstate wire facilities in furtherance of the unlawful Opioid

Marketing Enterprise, including virtually uniform misrepresentations, concealments and material

omissions regarding the beneficial uses and non-addictive qualities for the long-term treatment of

chronic, non-acute and non-cancer pain, with the goal of profiting from increased sales of the

RICO Marketing Defendants’ drugs induced by consumers, prescribers, regulators and Plaintiff’s

reliance on the RICO Marketing Defendants’ misrepresentations.




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       604. Each of these fraudulent mailings and interstate wire transmissions constitutes

racketeering activity and collectively, these violations constitute a pattern of racketeering

activity, through which the RICO Marketing Defendants, the Front Groups and the KOLs

defrauded and intended to defraud Wisconsin consumers, the State, and other intended victims.

       605. In devising and executing the illegal scheme, the RICO Marketing Defendants

devised and knowingly carried out a material scheme and/or artifice to defraud by means of

materially false or fraudulent pretenses, representations, promises, or omissions of material facts

regarding the safe, non-addictive and effective use of opioids for long-term chronic, non-acute

and non-cancer pain. The RICO Marketing Defendants and members of the Opioid Marketing

Enterprise knew that these representations violated the FDA approved uses for these drugs, and

were not supported by actual evidence. For the purpose of executing the illegal scheme, the

RICO Marketing Defendants intended that that their common purpose and scheme to defraud

would, and did, use the U.S. Mail and interstate wire facilities, intentionally and knowingly with

the specific intent to advance their illegal scheme.

       606. The RICO Marketing Defendants’ predicate acts of racketeering (18 U.S.C. §

1961(1)) include, but are not limited to:

       a.   Mail Fraud: The RICO Marketing Defendants violated 18 U.S.C. § 1341 by sending
            or receiving, or by causing to be sent and/or received, materials via U.S. mail or
            commercial interstate carriers for the purpose of executing the unlawful scheme to
            design, manufacture, market, and sell the prescription opioids by means of false
            pretenses, misrepresentations, promises, and omissions.

       b.   Wire Fraud: The RICO Marketing Defendants violated 18 U.S.C. § 1343 by
            transmitting and/or receiving, or by causing to be transmitted and/or received,
            materials by wire for the purpose of executing the unlawful scheme to design,
            manufacture, market, and sell the prescription opioids by means of false pretenses,
            misrepresentations, promises, and omissions.

       607. Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar


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results affecting similar victims, including Wisconsin consumers, prescribers, regulators and

Plaintiff. The RICO Marketing Defendants, Front Groups and KOLs calculated and intentionally

crafted the scheme and common purpose of the Opioid Marketing Enterprise to ensure their own

profits remained high.    In designing and implementing the scheme, the RICO Marketing

Defendants understood and intended that those in the distribution chain rely on the integrity of

the pharmaceutical companies and ostensibly neutral third parties to provide objective and

scientific evidence regarding the RICO Marketing Defendants’ products.

       608. By intentionally misrepresenting the risks and benefits of using opioids for chronic

pain, and then subsequently failing to disclose such practices to Wisconsin consumers,

prescribers, regulators and Plaintiff, the RICO Marketing Defendants, the Front Groups and the

KOLs engaged in a fraudulent and unlawful course of conduct constituting a pattern of

racketeering activity.

       609. The racketeering activities conducted by the RICO Marketing Defendants, Front

Groups and KOLs amounted to a common course of conduct, with a similar pattern and purpose,

intended to deceive Wisconsin consumers, prescribers, regulators and Plaintiff. Each separate

use of the U.S. Mail and/or interstate wire facilities employed by the RICO Marketing

Defendants was related, had similar intended purposes, involved similar participants and

methods of execution, and had the same results affecting the same victims, including Wisconsin

consumers, prescribers, regulators and Plaintiff. The RICO Marketing Defendants have engaged

in the pattern of racketeering activity for the purpose of conducting the ongoing business affairs

of the Opioid Marketing Enterprise.




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       610. The RICO Marketing Defendants’ pattern of racketeering activity alleged herein

and the Opioid Marketing Enterprise are separate and distinct from each other. Likewise, the

RICO Marketing Defendants are distinct from the Opioid Marketing Enterprise.

       611. The pattern of racketeering activity alleged herein is continuing as of the date of

this complaint, and, upon information and belief, will continue into the future unless enjoined by

this Court.

       612. Many of the precise dates of the Opioid Marketing Enterprise’s uses of the U.S.

Mail and interstate wire facilities (and corresponding predicate acts of mail and wire fraud) have

been hidden and cannot be alleged without access to the books and records maintained by the

RICO Marketing Defendants, Front Groups, and KOLs.              Indeed, an essential part of the

successful operation of the Opioid Marketing Enterprise alleged herein depended upon secrecy.

However, Plaintiff has described the occasions on which the RICO Marketing Defendants, Front

Groups, and KOLs disseminated misrepresentations and false statements to Wisconsin

consumers, prescribers, regulators and Plaintiff, and how those acts were in furtherance of the

scheme, and do so further below.

       613. The RICO Marketing Defendants’ use of the U.S. Mail and interstate wire facilities

to perpetrate the opioids marketing scheme involved thousands of communications, publications,

representations, statements, electronic transmissions, payments, including, inter alia:

               a.      Marketing materials about opioids, and their risks and benefits, which the
                       RICO Marketing Defendants sent to health care providers, transmitted
                       through the internet and television, published, and transmitted to Front
                       Groups and KOLs located across the country and the State;

               b.      Written representations and telephone calls between the RICO Marketing
                       Defendants and Front Groups regarding the misrepresentations, marketing
                       statements and claims about opioids, including the non-addictive, safe use
                       for chronic long-term pain generally;




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               c.      Written representations and telephone calls between the RICO Marketing
                       Defendants and KOLs regarding the misrepresentations, marketing
                       statements and claims about opioids, including the non-addictive, safe use
                       for chronic long-term pain generally;

               d.      E-mails, telephone and written communications between the RICO
                       Marketing Defendants and the Front Groups agreeing to or implementing
                       the opioids marketing scheme;

               e.      E-mails, telephone and written communications between the RICO
                       Marketing Defendants and the KOLs agreeing to or implementing the
                       opioids marketing scheme;

               f.      Communications between the RICO Marketing Defendants, Front Groups
                       and the media regarding publication, drafting of treatment guidelines, and
                       the dissemination of the same as part of the Opioid Marketing Enterprise;

               g.      Communications between the RICO Marketing Defendants, KOLs and the
                       media regarding publication, drafting of treatment guidelines, and the
                       dissemination of the same as part of the Opioid Marketing Enterprise;

               h.      Written and oral communications directed to State agencies, federal and
                       state courts, and private insurers throughout the State that fraudulently
                       misrepresented the risks and benefits of using opioids for chronic pain;
                       and

               i.      Receipts of increased profits sent through the U.S. Mail and interstate wire
                       facilities – the wrongful proceeds of the scheme.

       614. In addition to the above-referenced predicate acts, it was foreseeable to the RICO

Marketing Defendants that the Front Groups and the KOLs would distribute publications through

the U.S. Mail and by interstate wire facilities, and, in those publications, claim that the benefits

of using opioids for chronic pain outweighed the risks of doing so.

       615. The RICO Marketing Defendants aided and abetted others in the violations of the

above laws, thereby rendering them indictable as principals in the 18 U.S.C. §§ 1341 and 1343

offenses.

       616. To achieve the common goal and purpose of the Opioid Marketing Enterprise, the

RICO Marketing Defendants and members of the Opioid Marketing Enterprise hid from the




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consumers, prescribers, regulators and Plaintiff: (1) the fraudulent nature of the RICO Marketing

Defendants’ marketing scheme; (2) the fraudulent nature of statements made by the RICO

Marketing Defendants and by their KOLs, Front Groups and other third parties regarding the

safety and efficacy of prescription opioids; and (3) the true nature of the relationship between the

members of the Opioid Marketing Enterprise.

       617. The RICO Marketing Defendants, and each member of the Opioid Marketing

Enterprise agreed, with knowledge and intent, to the overall objective of the RICO Marketing

Defendants’ fraudulent scheme and participated in the common course of conduct to commit acts

of fraud and indecency in marketing prescription opioids.

       618. Indeed, for the RICO Marketing Defendants’ fraudulent scheme to work, each of

the RICO Marketing Defendants had to agree to implement similar tactics regarding fraudulent

marketing of prescription opioids. This conclusion is supported by the fact that the RICO

Marketing Defendants each financed, supported, and worked through the same KOLs and Front

Groups, and often collaborated on and mutually supported the same publications, CMEs,

presentations, and prescription guidelines.

       619. As described herein, the RICO Marketing Defendants engaged in a pattern of

related and continuous predicate acts for years. The predicate acts constituted a variety of

unlawful activities, each conducted with the common purpose of obtaining significant money

and revenue from the marketing and sale of their highly addictive and dangerous drugs. The

predicate acts also had the same or similar results, participants, victims, and methods of

commission. The predicate acts were related and not isolated events.

       620. The RICO Marketing Defendants’ predicate acts all had the purpose of creating the

opioid epidemic that substantially injured Plaintiff’s business and property, while simultaneously




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generating billion-dollar revenue and profits for the RICO Marketing Defendants. The predicate

acts were committed or caused to be committed by the RICO Marketing Defendants through

their participation in the Opioid Marketing Enterprise and in furtherance of its fraudulent

scheme.

       621. The RICO Marketing Defendants’ predicate acts and pattern of racketeering

activity were a substantial and foreseeable cause of Plaintiff’s injury and the relationship

between the RICO Marketing Defendants’ conduct and Plaintiff’s injury is logical and not

speculative. It was foreseeable to the RICO Marketing Defendants that when they fraudulently

marketed highly-addictive and dangerous drugs, that were approved for very limited and specific

uses by the FDA, as non-addictive and safe for off-label uses such as moderate pain, non-cancer

pain, and long-term chronic pain, that the RICO Marketing Defendants would create an opioid-

addiction epidemic that logically, substantially and foreseeably harmed Plaintiff.

       622. The pattern of racketeering activity alleged herein is continuing as of the date of

this Complaint and, upon information and belief, will continue into the future unless enjoined by

this Court. The last racketeering incident occurred within five years of the commission of a prior

incident of racketeering.

   D. DAMAGES.

           1.     Impact of the Opioid Marketing Enterprise.

       623. Wisconsin has been especially ravaged by the national opioid crisis.

       624. The Wisconsin State Health Assessment and Health Improvement Plan reports that

between 2005 and 2015—as prescription opioid sales steadily increased—the number of opioid-




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related overdose deaths in Wisconsin more than doubled.381 The main cause of drug overdoses is

prescription opioids, which caused six of 10 opioid-related deaths and eight of 10 hospital visits

in Wisconsin.382 By 2015, over two hundred thousand Wisconsin residents aged 12 and older had

used opioids non-medically or illegally—slightly less than the population of Madison,

Wisconsin.383 And from 2010 to 2014, the rate of prescription drug deaths increased by 21

percent in Wisconsin, alongside a 188% increase in the number of deaths from heroin (which is

cheaper and easier for addicts to obtain, and causally related to the use of prescription

opioids).384 Three out of four people in Wisconsin who use heroin began their drug abuse using

prescription opioids.385 “In 2014, more than 14,000 hospital visits in Wisconsin were because of

opioids, and almost 3,000 were for opioid overdoses.”386

            625. The rate of opioid overdose deaths in Wisconsin almost doubled from 2006 to

2015, going up from 5.9 deaths per 100,000 residents in 2006 to 10.7 deaths per 100,000 people

in 2015.387      “Prescription opioids have been the main driver of drug overdose deaths and

poisonings.”388 In 2015, almost two-third of opioid-related deaths involved prescription drugs.389




381
   See Wisconsin State Health Assessment and Health Improvement Plan, Priority: Opioids (2015)
https://healthy.wisconsin.gov/healthywifiles/8346-healthy-wi-plan-opioids.pdf (last visited February 5, 2015).
382
      Id.
383
      Id.
384
      Id.
385
      Id.
386
      Id.
387
  Wisconsin Department of Health Services, Select Opioid-Related Morbidity and Mortality Data for Wisconsin,
November 2016, https://www.dhs.wisconsin.gov/publications/p01690.pdf (last visited May 18, 2018).
388
      Id.
389
      Id.




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            626. Wisconsin suffered a statistically significant increase in the drug overdose death

rate from 2015 to 2016, according to data from the Centers for Disease Control and Prevention

(CDC).390 The death rate rose by 24.5 percent.391

Statistically significant drug overdose death rate increase from 2015-2016, US states




            627. According to the CDC, in 2016, 1,074 people died of drug overdoses in Wisconsin,

for a rate of 19.3 per 100,000 people.392 In 2015, 878 people died from drug overdoses while in

2014, 853 people died.393

            628. Based on data from emergency room visits from July 2016 to September 2017,

Wisconsin had a 109 percent increase in opioid overdoses, well above the national increase of




390
    Centers for Disease Control and Prevention, Drug Overdose Death Data, (“2015-2016 Death Increases” tab,
https://www.cdc.gov/drugoverdose/data/statedeaths.html (last visited Feb. 9, 2018).
391
      Id.
392
      Id. at “2016 Deaths” tab.
393
      Id. at “2015 Deaths” tab and “2014 Deaths” tab.




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29.7 percent.394 That number likely underreports overdoses since many people do not go to the

emergency room.395

        629. The number of opioid-related hospitalizations also steadily increased from 2006-

2015 in Wisconsin:




        630. Neonatal Abstinence Syndrome (NAS), a collection of symptoms newborn babies

experience withdrawing from opioid medications taken by the mother, increased dramatically in


  Alana M. Vivolo-Kantor, et al, Centers for Disease Control and Prevention, “Vital Signs: Trends in Emergency
394

Department Visits for Suspected Opioid Overdoses – United States, July 2016-September 2017,” Morbidity and
Mortality Weekly Report (March 6, 2018), https://www.cdc.gov/mmwr/volumes/67/wr/mm6709e1.htm (last visited
March 7, 2018).
395
   Rob Stein, “Jump In Overdoses Shows Opioid Epidemic Has Worsened,” NPR (March 6, 2018),
https://www.npr.org/sections/health-shots/2018/03/06/590923149/jump-in-overdoses-shows-opioid-epidemic-has-
worsened (last visited March 7, 2018).




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Wisconsin between 2000 and 2013 from 0.4 per 1,000 hospital births in 2000 to 7.9 in 2013.396

From 2006 to 2014 the NAS rate increased 335 percent, from 2.0 to 8.7 per 1,000 live births.397

             631. The opioid epidemic is particularly devastating in Plaintiff’s Community.

             632. The number of deaths due to opioids has risen considerably. For example, in 2015,

there were 12 opioid-involved deaths and in 2014 there were 14, up from 5 opioid-related deaths

in 2006.398

             633. Walworth County also has a high overdose death rate for deaths involving opioids -

a rate of 12.7 deaths per 100,000 residents from 2013 to 2015 with 39 total deaths.399 Walworth

County’s death rate for opioid overdoses increased from 5 deaths per 100,000 residents in 2006

to 13.6 in 2014 and 11.7 in 2015.400

             634. A high percentage of these opioid-related deaths are due to prescription opioids.

Walworth County had a death rate of 7.8 deaths due to prescription opioid overdoses per 100,000

residents from 2013 to 2015 with 24 total deaths.401 The County has also seen deaths from drug

overdoses involving heroin rise. From 2013 to 2015, there were 12 deaths from heroin.402

             635. Opioids have also been responsible for a large number of hospitalizations and

emergency department visits in Walworth County. In 2014, the county had 29 inpatient and




  Jean Y. Ko, et al., Incidence of Neonatal Abstinence Syndrome — 28 States, 1999-2013, 65 Morbidity &
396

Mortality Wkly. Rep. 799 (2016).
397
   Wisconsin Department of Health Services, Select Opioid-Related Morbidity and Mortality Data for Wisconsin,
supra note 32, at 38.
398
   Wisconsin Department of Health Services, Select Opioid-Related Morbidity and Mortality Data for Wisconsin,
supra at 4.
399
      Id. at 5.
400
      Id. at 4.
401
      Id. at 10.
402
      Id. at 15.




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emergency hospitalizations visits involving opioids at a rate of 28.2 per 100,000 residents.403

This frequency has more than doubled since 2006 when there were 14 such visits at a rate of 13.9

per 100,000 residents.404 Of the 98 hospital-encounters involving opioids from 2012 to 2014,405

seventy-five (75) of these were due to prescription opioids.406

            636. Walworth County also has experienced increased hospital encounters involving

heroin, up from zero in 2006 and 2007 to 10 in 2014.407 From 2012 to 2014, there were 25 such

hospital visits, which is a rate of 8.1 per 100,000 residents.408

            637. In 2015, Walworth County had 80 ambulance runs in which naloxone was

administered, which is tied for sixth highest in the State with for a rate of 78.1 per 100,000

residents.409 This is down from 95 such runs in 2012.410 From 2013 to 2015 naloxone was

dispensed on 240 ambulance trips.411

            638. Walworth County’s incidence of neonatal abstinence syndrome rose from two (2)

cases in 2006 to eight (8) each year in 2012, 2013 and 2014.412

                   2. Relief Sought.

            639. The RICO Marketing Defendants’ violations of law and their pattern of

racketeering activity directly and proximately caused Plaintiff injury in its business and property.


403
      Id. at 19.
404
      Id.
405
      Id. at 21.
406
      Id. at 27.
407
      Id. at 31.
408
      Id. at 32.
409
      Id. at 36.
410
      Id.
411
      Id. at 37.
412
      Id. at 41.




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The RICO Marketing Defendants’ pattern of racketeering activity logically, substantially and

foreseeably caused an opioid epidemic.               Plaintiff’s injuries, as described below, were not

unexpected, unforeseen or independent.413 Rather, as Plaintiff alleges, the RICO Marketing

Defendants knew that the opioids were unsuited to treatment of long-term chronic, non-acute,

and non-cancer pain, or for any other use not approved by the FDA, and knew that opioids were

highly addictive and subject to abuse.414 Nevertheless, the RICO Marketing Defendants engaged

in a scheme of deception, that utilized the mail and wires as part of their fraud, in order to

increase sales of their opioid products.

            640. It was foreseeable and expected that a massive marketing campaign utilized by the

RICO Marketing Defendants that misrepresented the non-addictive and effective use of

prescription opioids for purposes for which they are not suited and not approved by the FDA

would lead to a nationwide opioid epidemic.415 It was also foreseeable and expected that the

RICO Marketing Defendants’ marketing campaign would lead to increased opioid addiction and

overdose.416 Plaintiff’s injuries were logically, foreseeable, and substantially caused by the

opioid epidemic that the RICO Marketing Defendants created.

            641. Specifically, the RICO Marketing Defendants’ predicate acts and pattern of

racketeering activity caused the opioid epidemic which has injured Plaintiff in the form of

substantial losses of money and property that logically, directly and foreseeably arise from the

opioid-addiction epidemic.          Plaintiff’s injuries, as alleged throughout this complaint, and

expressly incorporated herein by reference, include:
413
  Traveler's Prop. Cas. Co. of Am. v. Actavis, Inc., 16 Cal. App. 5th 1026, 1042, 225 Cal. Rptr. 3d 5 (Ct. App.
2017).
414
      Id.
415
      Id.
416
      Id.




                                           234
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     a.    Losses caused by purchasing and/or paying reimbursements for the RICO
           Marketing Defendants’ prescription opioids, that Plaintiff would not have
           paid for or purchased but for the RICO Marketing Defendants’ conduct;

     b.    Losses caused by the decrease in funding available for Plaintiff’s public
           services for which funding was lost because it was diverted to other public
           services designed to address the opioid epidemic;

     c.    Costs for providing healthcare and medical care, additional therapeutic,
           and prescription drug purchases, and other treatments for patients
           suffering from opioid-related addiction or disease, including overdoses
           and deaths;

     d.    Costs of training emergency and/or first responders in the proper treatment
           of drug overdoses;

     e.    Costs associated with providing police officers, firefighters, and
           emergency and/or first responders with Naloxone – an opioid antagonist
           used to block the deadly effects of opioids in the context of overdose;

     f.    Costs associated with emergency responses by police officers, firefighters,
           and emergency and/or first responders to opioid overdoses;

     g.    Costs for providing mental-health services, treatment, counseling,
           rehabilitation services, and social services to victims of the opioid
           epidemic and their families;

     h.    Costs for providing services to infants born with opioid-related medical
           conditions, or born addicted to opioids due to drug use by mother during
           pregnancy;

     i.    Costs associated with law enforcement and public safety relating to the
           opioid epidemic, including but not limited to attempts to stop the flow of
           opioids into local communities, to arrest and prosecute street-level dealers,
           to prevent the current opioid epidemic from spreading and worsening, and
           to deal with the increased levels of crimes that have directly resulted from
           the increased homeless and drug-addicted population;

     j.    Costs associated with increased burden on Plaintiff’s judicial system,
           including increased security, increased staff, and the increased cost of
           adjudicating criminal matters due to the increase in crime directly
           resulting from opioid addiction;

     k.    Costs associated with providing care for children whose parents suffer
           from opioid-related disability or incapacitation;

     l.    Loss of tax revenue due to the decreased efficiency and size of the
           working population in Plaintiff’s Community;


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                m.      Losses caused by diminished property values in neighborhoods where the
                        opioid epidemic has taken root; and

                n.      Losses caused by diminished property values in the form of decreased
                        business investment and tax revenue.

        642. Plaintiff’s injuries were proximately caused by the RICO Marketing Defendants’

racketeering activities because they were the logical, substantial and foreseeable cause of

Plaintiff’s injuries. But for the opioid-addiction epidemic created by the RICO Marketing

Defendants’ conduct, Plaintiff would not have lost money or property.

        643. Plaintiff’s injuries were directly caused by the RICO Marketing Defendants’

pattern of racketeering activities.

        644. Plaintiff is the most directly harmed entity and there is no other Plaintiff better

suited to seek a remedy for the economic harms at issue here.

        645. Plaintiff seeks all legal and equitable relief as allowed by law, including, inter alia,

actual damages, treble damages, equitable relief, forfeiture as deemed proper by the Court,

attorney’s fees and all costs and expenses of suit and pre- and post-judgment interest.

                                     COUNT III
        RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT
                               18 U.S.C. § 1961, et seq.
          (Against Defendants Purdue, Cephalon, Endo, Mallinckrodt, Actavis,
                    McKesson, Cardinal, and AmerisourceBergen)
                         (The “Opioid Diversion Enterprise”)

        646. Plaintiff hereby incorporates by reference all other paragraphs of this Complaint as

if fully set forth herein, and further alleges as follows.

        647. Plaintiff brings this Claim against the following Defendants, as defined above:

Purdue, Cephalon, Endo, Mallinckrodt, Actavis (the “Manufacturer Defendants”), McKesson,

Cardinal, and AmerisourceBergen (the “Distributor Defendants”) (collectively, for purposes of

this Claim, the “RICO Diversion Defendants”).




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        648. The RICO Diversion Defendants conducted and continue to conduct their business

through legitimate and illegitimate means in the form of an association-in-fact enterprise and/or a

legal entity enterprise as defined in 18 U.S.C. § 1961(4). Alternatively, the RICO Diversion

Defendants were members of a legal entity enterprise within the meaning of 18 U.S.C. §

1961(4). Specifically, each of the RICO Diversion Defendants was a member of the Healthcare

Distribution Alliance (the “HDA”)417 which is a distinct legal entity that satisfies the definition

of a RICO enterprise because it is a non-profit corporation and, therefore, and “enterprise” within

the definition set out in 18 U.S.C. § 1961(4). On information and belief, each of the RICO

Diversion Defendants is a member, participant, and/or sponsor of the HDA and utilized the HDA

to conduct the Opioid Diversion Enterprise and to engage in the pattern of racketeering activity

that gives rise to this cause of action. The legal and association-in-fact enterprises alleged in the

previous and subsequent paragraphs are pleaded in the alternative and are collectively referred to

as the “Opioid Diversion Enterprise.”

        649. For over a decade, the RICO Diversion Defendants aggressively sought to bolster

their revenue, increase profit, and grow their share of the prescription painkiller market by

unlawfully and surreptitiously increasing the volume of opioids they sold. However, the RICO

Diversion Defendants are not permitted to engage in a limitless expansion of their sales through

the unlawful sales of regulated painkillers. As “registrants” under the Controlled Substances

Act, 21 U.S.C. § 821, et seq. (the “CSA”), the RICO Diversion Defendants operated and

continue to operate within a “closed-system.”                The CSA restricts the RICO Diversion

Defendants’ ability to manufacture or distribute Schedule II substances like opioids by: (1)


417
    Health Distribution Alliance, History, Health Distribution Alliance, (last accessed on September 15, 2017),
https://www.healthcaredistribution.org/about/hda-history.




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requiring them to make sales within a limited quota set by the DEA for the overall production of

Schedule II substances like opioids; (2) register to manufacture or distribute opioids; (3)

maintain effective controls against diversion of the controlled substances that they manufacturer

or distribute; and (4) design and operate a system to identify suspicious orders of controlled

substances, halt such unlawful sales, and report them to the DEA.

        650. The closed-system created by the CSA, and the establishment of quotas, was

specifically intended to reduce or eliminate the diversion of Schedule II substances like opioids

from “legitimate channels of trade” to the illicit market by controlling the “quantities of the basic

ingredients needed for the manufacture of [controlled substances].”418

        651. Finding it impossible to legally achieve their ever-increasing sales ambitions,

members of the Opioid Diversion Enterprise (defined below) engaged in the common purpose of

fraudulently increasing the quotas that governed the manufacture and distribution of their

prescription opioids.      The RICO Diversion Defendants formed and pursued their common

purpose through the many personal interactions that they had, confidentially, in organizations

like the Pain Care Forum and the Healthcare Distribution Alliance.

        652. The RICO Diversion Defendants’ common purpose and fraudulent scheme to

unlawfully increase the DEA quotas violated the RICO Act in two ways. First, the RICO

Diversion Defendants violated the RICO Act because they engaged in the felonious manufacture,

buying selling, or otherwise dealing in controlled substances that are punishable by law in the

United States. Specifically, the RICO Diversion Defendants “furnish[ed] false or fraudulent

material information in, or omit[ted] material information from, applications, reports, records,


418
   1970 U.S.C.C.A.N. 4566 at 5490; see also Testimony of Joseph T. Rannazzisi before the Caucus on International
Narcotics Control, United States Senate, May 5, 2015,
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf.




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and other documents required to be made, kept, and filed under 21 U.S.C. §§ 801, et seq.”, in

violation of 21 U.S.C. § 843(b), which is a felony. Second, the RICO Diversion Defendants

violated the RICO Act by engaging in mail and wire fraud. The RICO Diversion Defendants

common purpose and fraudulent scheme was intended to, and did, utilize interstate mail and wire

facilities for the commission of their fraud in violation 18 U.S.C. §§ 1341 (mail fraud) and 1343

(wire fraud).

           653. The RICO Diversion Defendants’ fraudulent scheme arises at the intersection

between the quotas governing the RICO Diversion Defendants’ prescription opioids and the

RICO Diversion Defendants’ duty to identify, report, and halt suspicious orders of controlled

substances.         The RICO Diversion Defendants’ formed an enterprise with the intent to

fraudulently increase the quotas for prescription opioids by refusing to identify, report and halt

suspicious orders, thereby omitting both the fact and the RICO Diversion Defendants’

knowledge of widespread diversion of prescription opioids into illegitimate channels.

           654. The RICO Diversion Defendants engaged in systematic and fraudulent acts as part

of the Opioid Diversion Enterprise, that furnished false or fraudulent material information in, and

omitted material information from their applications, reports, records and other documents that

the RICO Diversion Defendants were required to make, keep and/or file. Furthermore, the RICO

Diversion Defendants engaged in systematic and fraudulent acts as part of the Opioid Diversion

Enterprise that were intended to and actually did utilize the mail and wire facilities of the United

States and Wisconsin, including refusing to maintain effective controls against diversion of their

drugs, to design and operate a system to identify suspicious orders of their drugs, to halt unlawful

sales of suspicious orders, and to notify the DEA of suspicious orders.419


419
      21 U.S.C. § 823(a)(1), (b)(1); 21 C.F.R. § 1301.74(b)-(c).




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           655. Through the RICO Diversion Defendants’ scheme, members of the Opioid

Diversion Enterprise repeatedly requested increases of the quotas governing the manufacture,

sale and distribution of prescription opioids, misrepresented that they were complying with their

duties under the CSA, furnished false or fraudulent material information in, and omitted material

information from their applications, reports, records and other documents, engaged in unlawful

sales of painkillers that resulted in diversion of controlled substances through suspicious orders,

and refused to identify or report suspicious orders of controlled substances sales to the DEA.420

Defendants’ refusal to report suspicious orders resulted in artificial and illegal increases in the

annual production quotas for opioids allowed by the DEA.            The end result of the RICO

Diversion Defendants’ fraudulent scheme and common purpose was continually increasing

quotas that generated obscene profits and, in turn, fueled an opioid epidemic.

           656. The RICO Diversion Defendants’ illegal scheme was hatched by an enterprise

between the Manufacturer Defendants and the Distributor Defendants, and executed in perfect

harmony by each of them. In particular, each of the RICO Diversion Defendants were associated

with, and conducted or participated in, the affairs of the Opioid Diversion Enterprise, whose

common purpose was fraudulently increasing the quotas governing the manufacture and sale of

prescription opioids.

           657. The success of the RICO Diversion Defendants’ scheme allowed them to

unlawfully increase and/or maintain high production quotas and, as a direct result, allowed them

to make billions from the unlawful sale and diversion of opioids.

           658. Simultaneously, the opioid epidemic created by the RICO Diversion Defendants’

actions caused Plaintiff’s multi-million dollar injuries.    Plaintiff’s injuries were and are a

420
      21 C.F.R. § 1303.11(b); 21 C.F.R. § 1303.23.




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reasonably foreseeable consequence of the prescription opioid addiction epidemic that the RICO

Diversion Defendants created by fraudulently increasing quotas, misrepresenting their

compliance with their duties under the CSA, and allowing the widespread diversion of legally

produced prescription opioids into the illicit market. As explained in detail below, the RICO

Diversion Defendants’ misconduct violated Section 1962(c) and Plaintiff is entitled to treble

damages for their injuries under 18 U.S.C. § 1964(c).

       A. THE OPIOID DIVERSION ENTERPRISE.

           659. Recognizing that there is a need for greater scrutiny over controlled substances due

to their potential for abuse and danger to public health and safety, the United States Congress

enacted the Controlled Substances Act in 1970.421 The CSA and its implementing regulations

created a closed-system of distribution for all controlled substances and listed chemicals.422

Congress specifically designed the closed chain of distribution to prevent the diversion of legally

produced controlled substances into the illicit market.423 Congress was concerned with the

diversion of drugs out of legitimate channels of distribution and acted to halt the “widespread

diversion of [controlled substances] out of legitimate channels into the illegal market.”424

Moreover, the closed-system was specifically designed to ensure that there are multiple ways of

identifying and preventing diversion through active participation by registrants within the drug




421
   Joseph T. Rannazzisi Decl. ¶ 4, Cardinal Health, Inc. v. Eric Holder, Jr., Attorney General, D.D.C. Case No. 12-
cv-185 (Document 14-2 February 10, 2012).
422
      See H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N. at 4566.
423
  Gonzalez v. Raich, 545 U.S. 1, 12-14 (2005); 21 U.S.C. § 801(20; 21 U.S.C. §§ 821-824, 827, 880; H.R. Rep.
No. 91-1444, 1970 U.S.C.C.A.N. 4566, 4572 (Sept. 10, 1970).
424
  See Testimony of Joseph T. Rannazzisi before the Caucus on International Narcotics Control, United States
Senate, May 5, 2015, https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf.




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delivery chain.425 All registrants -- manufacturers and distributors alike -- must adhere to the

specific security, recordkeeping, monitoring and reporting requirements that are designed to

identify or prevent diversion.426 When registrants at any level fail to fulfill their obligations, the

necessary checks and balances collapse.427 The result is the scourge of addiction that has

occurred.

            660. Central to the closed-system created by the CSA was the directive that the DEA

determine quotas of each basic class of Schedule I and II controlled substances each year. The

quota system was intended to reduce or eliminate diversion from “legitimate channels of trade”

by controlling the “quantities of the basic ingredients needed for the manufacture of [controlled

substances], and the requirement of order forms for all transfers of these drugs.”428 When

evaluating production quotas, the DEA was instructed to consider the following information:

                  a.      Information provided by the Department of Health and Human Services;

                  b.      Total net disposal of the basic class by all manufacturers;

                  c.      Trends in the national rate of disposal of the basic class;

                  d.      An applicant’s production cycle and current inventory position;

                  e.      Total actual or estimated inventories of the class and of all substances
                          manufactured from the class and trends in inventory accumulation; and

                  f.      Other factors such as: changes in the currently accepted medical use of
                          substances manufactured for a basic class; the economic and physical


425
   See Statement of Joseph T. Rannazzisi before the Caucus on International Narcotics Control United States
Senate, July 18, 2012, https://www.justice.gov/sites/default/files/testimonies/witnesses/attachments/07/18/12/07-18-
12-dea-rannazzisi.pdf.
426
      Id.
427
   Joseph T. Rannazzisi Decl. ¶ 10, Cardinal Health, Inc. v. Eric Holder, Jr., Attorney General, D.D.C. Case No.
12-cv-185 (Document 14-2 February 10, 2012).
428
   1970 U.S.C.C.A.N. 4566 at 5490; see also Testimony of Joseph T. Rannazzisi before the Caucus on International
Narcotics Control, United States Senate, May 5, 2015,
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf.




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                              availability of raw materials; yield and sustainability issues; potential
                              disruptions to production; and unforeseen emergencies.429

            661. It is unlawful for a registrant to manufacture a controlled substance in Schedule II,

like prescription opioids, that is (1) not expressly authorized by its registration and by a quota

assigned to it by DEA, or (2) in excess of a quota assigned to it by the DEA.430

            662. At all relevant times, the RICO Diversion Defendants operated as an association-

in-fact enterprise formed for the purpose of unlawfully increasing sales, revenues and profits by

fraudulently increasing the quotas set by the DEA that would allow them to collectively benefit

from a greater pool of prescription opioids to manufacture and distribute. In support of this

common purpose and fraudulent scheme, the RICO Diversion Defendants jointly agreed to

disregard their statutory duties to identify, investigate, halt and report suspicious orders of

opioids and diversion of their drugs into the illicit market so that those orders would not result in

a decrease, or prevent an increase in, the necessary quotas. The RICO Diversion Defendants

conducted their pattern of racketeering activity in this jurisdiction and throughout the United

States through this enterprise.

            663. The opioid epidemic has its origins in the mid-1990s when, between 1997 and

2007, per capita purchase of methadone, hydrocodone, and oxycodone increased 13-fold, 4-fold,

and 9-fold, respectively. By 2010, enough prescription opioids were sold in the United States to

medicate every adult in the country with a dose of 5 milligrams of hydrocodone every 4 hours




429
  See Testimony of Joseph T. Rannazzisi before the Caucus on International Narcotics Control, United State
Senate, May 5, 2015, https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf.
430
      Id. (citing 21 U.S.C. 842(b)).




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for 1 month.431 On information and belief, the Opioid Diversion Enterprise has been ongoing for

at least the last decade.432

        664. The Opioid Diversion Enterprise was and is a shockingly successful endeavor. The

Opioid Diversion Enterprise has been conducting business uninterrupted since its genesis.

However, it was not until recently that federal and state regulators finally began to unravel the

extent of the enterprise and the toll that it exacted on the American public.

        665. At all relevant times, the Opioid Diversion Enterprise: (a) had an existence separate

and distinct from each RICO Diversion Defendant; (b) was separate and distinct from the pattern

of racketeering in which the RICO Diversion Defendants engaged; (c) was an ongoing and

continuing organization consisting of legal entities, including each of the RICO Diversion

Defendants; (d) was characterized by interpersonal relationships among the RICO Diversion

Defendants; (e) had sufficient longevity for the enterprise to pursue its purpose; and (f)

functioned as a continuing unit. Each member of the Opioid Diversion Enterprise participated in

the conduct of the enterprise, including patterns of racketeering activity, and shared in the

astounding growth of profits supplied by fraudulently inflating opioid quotas and resulting sales.

        666. The Opioid Diversion Enterprise also engaged in efforts to constrain the DEA’s

authority to hold the RICO Diversion Defendants liable for disregarding their duty to prevent

diversion. Members of the Pain Care Forum (described in greater detail below) and the

Healthcare Distribution Alliance lobbied for the passage of legislation to weaken the DEA’s

enforcement authority. To this end, the Ensuring Patient Access and Effective Drug Enforcement
431
  Katherine Keyes et al., Understanding the Rural-urban Differences in Nonmedical Prescription Opioid Use an
Abuse in the United States, Am. J. of Pub. Health: Promoting Public Health Research, Policy, Practice and
Education, v. 104(2), Feb. 2014, https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3935688/.
432
   Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public
Integrity (September 19, 2017, 12:01 a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-
chamber-shaped-policy-amid-drug-epidemic.




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Act significantly reduced the DEA’s ability to issue orders to show cause and to suspend and/or

revoke registrations.433 The HDA and other members of the Pain Care Forum contributed

substantial amounts of money to political campaigns for federal candidates, state candidates,

political action committees and political parties. Upon information and belief, the Pain Care

Forum and its members and HDA, poured millions into such efforts.

        667. The RICO Diversion Defendants, through their illegal enterprise, engaged in a

pattern of racketeering activity that involves a fraudulent scheme to profit from the unlawful sale

of prescription opioids by increasing the quotas governing the manufacture and sale of these

controlled substances. In order to achieve that goal, the RICO Diversion Defendants knowingly

allowed suspicious orders of controlled substances to occur unhindered while millions of opioid

doses were diverted into illegal markets. The end result of this strategy was exactly as the RICO

Diversion Defendants intended – artificially increased quotas for the manufacture and

distribution of opioids, all of which resulted in a National opioid epidemic.

        668. The Opioid Diversion Enterprise engaged in, and its activities affected, interstate

and foreign commerce because the enterprise involved commercial activities across states lines,

such as manufacture, sale, distribution, and shipment of prescription opioids throughout the

United States, and the corresponding payment and/or receipt of money from such interstate sales.



433
    See HDMA is now the Healthcare Distribution Alliance, Pharmaceutical Commerce, (June 13, 2016, updated
July 6, 2016), http://pharmaceuticalcommerce.com/business-and-finance/hdma-now-healthcare-distribution-
alliance/; Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid
Epidemic Grew Out of Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-
slowed-enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-
d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of
DEA Enforcement Slowdown Amid Opioid Crisis, Wash. Post, Mar. 6, 2017,
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-enforcement-
slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had no
Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-Mail, Feb. 18, 2017,
http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.




                                       245
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       669. Within the Opioid Diversion Enterprise, there were interpersonal relationships and

common communication by which the RICO Diversion Defendants shared information on a

regular basis. These interpersonal relationships also formed the organization of the Opioid

Diversion Enterprise. The Opioid Diversion Enterprise used their interpersonal relationships and

communication network for the purpose of conducting the enterprise through a pattern of

racketeering activity.

       670. Each of the RICO Diversion Defendants had systematic links to each other through

joint participation in trade industry organizations, contractual relationships and continuing

coordination of activities. The RICO Diversion Defendants participated in the operation and

management of the Opioid Diversion Enterprise by directing its affairs, as described herein.

While the RICO Diversion Defendants participated in, and are members of, the enterprise, they

each have a separate existence from the enterprise, including distinct legal statuses, different

offices and roles, bank accounts, officers, directors, employees, individual personhood, reporting

requirements, and financial statements.

       671. The RICO Diversion Defendants exerted substantial control over the Opioid

Diversion Enterprise through their membership in the Pain Care Forum, the HDA, and through

their contractual relationships.

       672. The Pain Care Forum (“PCF”) has been described as a coalition of drug makers,

trade groups and dozens of non-profit organizations supported by industry funding. The PCF

recently became a national news story when it was discovered that lobbyists for members of the

PCF quietly shaped federal and state policies regarding the use of prescription opioids for more

than a decade.




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            673. The Center for Public Integrity and The Associated Press obtained “internal

documents shed[ding] new light on how drug makers and their allies shaped the national

response to the ongoing wave of prescription opioid abuse.”434 Specifically, PCF members spent

over $740 million lobbying in the nation’s capital and in all 50 statehouses on an array of issues,

including opioid-related measures.435

            674. Not surprisingly, each of the RICO Diversion Defendants who stood to profit from

expanded prescription opioid use is a member of and/or participant in the PCF.436 In 2012,

membership and participating organizations included the HDA (of which all RICO Defendants

are members), Endo, Purdue, Actavis (i.e., Allergan), and Teva (the parent company of

Cephalon).437 Each of the Manufacturer Defendants worked together through the PCF to advance

the interests of the enterprise.           But, the Manufacturer Defendants were not alone.                   The

Distributor Defendants actively participated, and continue to participate in the PCF, at a

minimum, through their trade organization, the HDA.438 Upon information and belief, the

Distributor Defendants participated directly in the PCF as well.

            675. Additionally, the HDA -- or Healthcare Distribution Alliance -- led to the formation

of interpersonal relationships and an organization between the RICO Diversion Defendants.


434
   Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public
Integrity (September 19, 2017, 12:01 a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-
chamber-shaped-policy-amid-drug-epidemic (emphasis added).
435
      Id.
436
   PAIN CARE FORUM 2012 Meetings Schedule, (last updated December 2011),
https://assets.documentcloud.org/documents/3108982/PAIN-CARE-FORUM-Meetings-Schedule-amp.pdf
437
      Id. Upon information and belief, Mallinckrodt became an active member of the PCF sometime after 2012.
438
   Id. The Executive Committee of the HDA (formerly the HDMA) currently includes the Chief Executive Officer,
Pharmaceutical Segment for Cardinal Health, Inc., the Group President, Pharmaceutical Distribution and Strategic
Global Source for AmerisourceBergen Corporation, and the President, U.S. Pharmaceutical for McKesson
Corporation. Executive Committee, Healthcare Distribution Alliance (last accessed on September 14, 2017),
https://www.healthcaredistribution.org/about/executive-committee.




                                           247
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Although the entire HDA membership directory is private, the HDA website confirms that each

of the Distributor Defendants and the Manufacturer Defendants named in the Complaint,

including Actavis (i.e., Allergan), Endo, Purdue, Mallinckrodt and Cephalon were members of

the HDA.439 Additionally, the HDA and each of the Distributor Defendants, eagerly sought the

active membership and participation of the Manufacturer Defendants by advocating for the many

benefits of members, including “strengthening . . . alliances.”440

            676. Beyond strengthening alliances, the benefits of HDA membership included the

ability to, among other things, “network one on one with manufacturer executives at HDA’s

members-only Business and Leadership Conference,” “networking with HDA wholesale

distributor members,” “opportunities to host and sponsor HDA Board of Directors events,”

“participate on HDA committees, task forces and working groups with peers and trading

partners,” and “make connections.”441             Clearly, the HDA and the Distributor Defendants

believed that membership in the HDA was an opportunity to create interpersonal and ongoing

organizational relationships and “alliances” between the Manufacturers Defendants and the

Distributors Defendants.

            677. The application for manufacturer membership in the HDA further indicates the

level of connection between the RICO Diversion Defendants and the level of insight that they

had into each other’s businesses.442          For example, the manufacturer membership application


439
   Manufacturer Membership, Healthcare Distribution Alliance, (last accessed on September 14, 2017),
https://www.healthcaredistribution.org/about/membership/manufacturer.
440
   Manufacturer Membership Benefits, Healthcare Distribution Alliance, (last accessed on September 14, 2017),
https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-benefits.ashx?la=en.
441
      Id.
442
   Manufacturer Membership Application, Healthcare Distribution Alliance, (last accessed on September 14, 2017),
https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-
application.ashx?la=en.




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must be signed by a “senior company executive,” and it requests that the manufacturer applicant

identify a key contact and any additional contacts from within its company.

            678. The HDA application also requests that the manufacturer identify its current

distribution information, including the facility name and contact information.

            679. And, manufacturer members were asked to identify their “most recent year end net

sales” through wholesale distributors, including the Distributor Defendants AmerisourceBergen,

Cardinal Health, and McKesson and their subsidiaries.

            680. The closed meetings of the HDA’s councils, committees, task forces and working

groups provided the Manufacturer and Distributor Defendants with the opportunity to work

closely together, confidentially, to develop and further the common purpose and interests of the

enterprise.

            681. The HDA also offers a multitude of conferences, including annual business and

leadership conferences. The HDA and the Distributor Defendants advertise these conferences to

the Manufacturer Defendants as an opportunity to “bring together high-level executives, thought

leaders and influential managers . . . to hold strategic business discussions on the most pressing

industry issues.”443 The conferences also gave the Manufacturer and Distributor Defendants

“unmatched opportunities to network with [their] peers and trading partners at all levels of the

healthcare distribution industry.”444 The HDA and its conferences were significant opportunities

for the Manufacturer and Distributor Defendants to interact at a high-level of leadership. It is




443
   Business and Leadership Conference – Information for Manufacturers, Healthcare Distribution
Alliancehttps://www.healthcaredistribution.org/events/2015-business-and-leadership-conference/blc-for-
manufacturers (last accessed on September 14, 2017).
444
      Id.




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clear that the Manufacturer Defendants embraced this opportunity by attending and sponsoring

these events.445

            682. Third, the RICO Diversion Defendants maintained their interpersonal relationships

by working together, through contractual chargeback arrangements, to exchange sales

information and drive the unlawful sales of their opioids.                 To this end, the Manufacturer

Defendants engaged in an industry-wide practice of paying rebates to the Distributor Defendants

for sales of prescription opioids.446

            683. For example, the Washington Post reported that “[o]n Aug. 23, 2011, DEA

supervisors met with Mallinckrodt executives at the agency’s headquarters in Arlington, Va., the

day a rare 5.8-magnitude earthquake hit the Washington region. People involved in the case still

call the gathering ‘the earthquake meeting.’ DEA officials showed the company the remarkable

amounts of its oxycodone going to distributors and the number of arrests being made for

oxycodone possession and distribution on the street, according to one participant in the meeting

who also spoke on the condition of anonymity because the case is pending.”447




445
   2015 Distribution Management Conference and Expo, Healthcare Distribution Alliance,
https://www.healthcaredistribution.org/events/2015-distribution-management-conference (last accessed on
September 14, 2017).
446
   Lenny Bernstein & Scott Higham, The government’s struggle to hold opioid manufacturers accountable, The
Washington Post, (April 2, 2017), https://www.washingtonpost.com/graphics/investigations/dea-
mallinckrodt/?utm_term=.b24cc81cc356; see also, Letter from Sen. Claire McCaskill, (July 27, 2017),
https://www.mccaskill.senate.gov/imo/media/image/july-opioid-investigation-letter-manufacturers.png; Letter from
Sen. Claire McCaskill, (July 27, 2017), https://www.mccaskill.senate.gov/imo/media/image/july-opioid-
investigation-letter-manufacturers.png; Letters From Sen. Claire McCaskill, (March 28, 2017),
https://www.mccaskill.senate.gov/opioid-investigation; Purdue Managed Markets, Purdue Pharma, (last accessed on
September 14, 2017), http://www.purduepharma.com/payers/managed-markets/.
447
      Id.



                                           250
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            684. “Three weeks after the Aug. 23 meeting, Mallinckrodt notified 43 of its distributors

that they would no longer receive rebates from the company if they continued to supply certain

pharmacies whose orders appeared to be suspicious.”448

            685. “On Nov. 30, 2011, the DEA served a subpoena on Mallinckrodt, demanding

documents related to its suspicious-order-monitoring program, according to the company’s

filings with the Securities and Exchange Commission. The subpoena brought a windfall of

information. The DEA gained access to data from Mallinckrodt’s rebate or ‘chargeback’

program, an industry-wide practice that provides reimbursements to wholesale distributors. That

information and other records showed where Mallinckrodt’s oxycodone was going — from the

company to its network of distributors to retailers down the chain.”449

            686. In addition, the Distributor Defendants and Manufacturer Defendants participated,

through the HDA, in webinars and other meetings designed to exchange detailed information

regarding their prescription opioid sales, including purchase orders, acknowledgements, ship

notices, and invoices.450 For example, on April 27, 2011, the HDA offered a Webinar to

“accurately and effectively exchange business transactions between distributors and

manufacturers…”:




448
      Id.
449
      Id.
450
   Webinars, Healthcare Distribution Alliance, (last accessed on September 14, 2017),
https://www.healthcaredistribution.org/resources/webinar-leveraging-edi.




                                           251
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       687. On information and belief, the Manufacturer Defendants used this information to

gather high-level data regarding overall distribution and direct the Distributor Defendants on

how to most effectively sell the prescription opioids.

       688. And, through the HDA, Manufacturer Members were asked to identify their “most

recent year end net sales” through wholesale distributors, including the Distributor Defendants as

follows:




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       689. The contractual relationships among the RICO Diversion Defendants also include

vault security programs. The RICO Diversion Defendants are required to maintain certain

security protocols and storage facilities for the manufacture and distribution of their opiates.

Upon information and belief, the manufacturers negotiated agreements whereby the

manufacturers installed security vaults for distributors in exchange for agreements to maintain

minimum sales performance thresholds. Upon information and belief, these agreements were

used by the RICO Diversion Defendants as a tool to violate their reporting and diversion duties

in order to reach the required sales requirements.




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        690. Taken together, the interaction and length of the relationships between and among

the Manufacturer and Distributor Defendants reflects a deep level of interaction and cooperation

between two groups in a tightly knit industry. The Manufacturer and Distributor Defendants

were not two separate groups operating in isolation or two groups forced to work together in a

closed system. The RICO Diversion Defendants operated together as a united entity, working

together on multiple fronts, to engage in the unlawful sale of prescription opioids. The HDA and

the Pain Care Forum are but two examples of the overlapping relationships, and concerted joint

efforts to accomplish common goals and demonstrates that the leaders of each of the RICO

Diversion Defendants were in communication and cooperation.

        691. Alternatively, the RICO Diversion Defendants were members of a legal entity

enterprise within the meaning of 18 U.S.C. § 1961(4), through which the RICO Diversion

Defendants conducted their pattern of racketeering activity in this jurisdiction and throughout the

United States. As alleged, the Healthcare Distribution Alliance (the “HDA”)451 is a distinct legal

entity that satisfies the definition of a RICO enterprise because it is a corporation formed under

the laws of the District of Columbia, doing business in Virginia. As such, the HDA qualifies as

an “enterprise” within the definition set out in 18 U.S.C. § 1961(4).

        692. On information and belief, each of the RICO Diversion Defendants is a member,

participant, and/or sponsor of the HDA, and has been since at least 2006, and utilized the HDA

to conduct the Opioid Diversion Enterprise and to engage in the pattern of racketeering activity

that gives rise to the Count.




451
   Health Distribution Alliance, History, Health Distribution Alliance, (last accessed on September 15, 2017),
https://www.healthcaredistribution.org/about/hda-history.




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        693. Each of the RICO Diversion Defendants is a legal entity separate and distinct from

the HDA. Additionally, the HDA serves the interests of distributors and manufacturers beyond

the RICO Diversion Defendants.        Therefore, the HDA exists separately from the Opioid

Diversion Enterprise, and each of the RICO Diversion Defendants exists separately from the

HDA. Therefore, the HDA may serve as a RICO enterprise.

   B.    CONDUCT OF THE OPIOID DIVERSION ENTERPRISE.

        694. During the time period alleged in this Complaint, the RICO Diversion Defendants

exerted control over, conducted and/or participated in the Opioid Diversion Enterprise by

fraudulently claiming that they were complying with their duties under the CSA to identify,

investigate and report suspicious orders of opioids in order to prevent diversion of those highly

addictive substances into the illicit market, and to halt such unlawful sales, so as to increase

production quotas and generate unlawful profits, as follows:

        695. The RICO Diversion Defendants disseminated false and misleading statements to

state and federal regulators claiming that (1) the quotas for prescription opioids should be

increased, (2) they were complying with their obligations to maintain effective controls against

diversion of their prescription opioids, (3) they were complying with their obligations to design

and operate a system to disclose to the registrant suspicious orders of their prescription opioids,

(4) they were complying with their obligation to notify the DEA of any suspicious orders or

diversion of their prescription opioids and (5) they did not have the capability to identify

suspicious orders of controlled substances despite their possession of national, regional, state,

and local prescriber- and patient-level data that allowed them to track prescribing patterns over

time, which the RICO Diversion Defendants obtained from data companies, including but not

limited to: IMS Health, QuintilesIMS, Iqvia, Pharmaceutical Data Services, Source Healthcare

Analytics, NDS Health Information Services, Verispan, Quintiles, SDI Health, ArcLight,


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Scriptline, Wolters Kluwer, and/or PRA Health Science, and all of their predecessors or

successors in interest (the “Data Vendors”).

        696. The RICO Diversion Defendants applied political and other pressure on the DOJ

and DEA to halt prosecutions for failure to report suspicious orders of prescription opioids and

lobbied Congress to strip the DEA of its ability to immediately suspend registrations pending

investigation by passing the “Ensuring Patient Access and Effective Drug Enforcement Act.”452

        697. The Distributor Defendants developed “know your customer” questionnaires and

files. This information, compiled pursuant to comments from the DEA in 2006 and 2007 was

intended to help the RICO Diversion Defendants identify suspicious orders or customers who

were likely to divert prescription opioids.453           On information and belief, the “know your

customer” questionnaires informed the RICO Diversion Defendants of the number of pills that

the pharmacies sold, how many non-controlled substances are sold compared to controlled

substances, whether the pharmacy buys from other distributors, the types of medical providers in

the area, including pain clinics, general practitioners, hospice facilities, cancer treatment




452
    See HDMA is now the Healthcare Distribution Alliance, Pharmaceutical Commerce, (June 13, 2016, updated
July 6, 2016), http://pharmaceuticalcommerce.com/business-and-finance/hdma-now-healthcare-distribution-
alliance/; Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid
Epidemic Grew Out of Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-
slowed-enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-
d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of
DEA Enforcement Slowdown Amid Opioid Crisis, Wash. Post, Mar. 6, 2017,
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-enforcement-
slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had no
Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-Mail, Feb. 18, 2017,
http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.
453
   Suggested Questions a Distributor should ask prior to shipping controlled substances, Drug Enforcement
Administration, https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques.pdf; Richard
Widup, Jr., Kathleen H. Dooley, Esq. Pharmaceutical Production Diversion: Beyond the PDMA, Purdue Pharma and
McGuireWoods LLC, https://www.mcguirewoods.com/news-
resources/publications/lifesciences/product_diversion_beyond_pdma.pdf.




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facilities, among others, and these questionnaires put the recipients on notice of suspicious

orders.

          698. The RICO Diversion Defendants purchased nationwide, regional, state, and local

prescriber- and patient-level data from the Data Vendors that allowed them to track prescribing

trends, identify suspicious orders, identify patients who were doctor shopping, identify pill mills,

etc. The Data Vendors’ information purchased by the RICO Diversion Defendants allowed them

to view, analyze, compute, and track their competitors’ sales, and to compare and analyze market

share information.454

          699. IMS, for example, provided the RICO Diversion Defendants with reports detailing

prescriber behavior and the number of prescriptions written between competing products.455




454
   A Verispan representative testified that the RICO Defendants use the prescribing information to “drive market
share.” Sorrell v. IMS Health Inc., 2011 WL 661712, *9-10 (Feb. 22, 2011).
455
   Paul Kallukaran & Jerry Kagan, Data Mining at IMS HEALTH: How we Turned a Mountain of Data into a Few
Information-rich Molehills, (last accessed on February 15, 2018),
http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.198.349&rep=rep1&type=pdf, Figure 2 at p.3.




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           700. Similarly, Wolters Kluwer, an entity that eventually owned data mining companies

that were created by McKesson (Source) and Cardinal Health (ArcLight), provided the RICO

Diversion Defendants with charts analyzing the weekly prescribing patterns of multiple

physicians, organized by territory, regarding competing drugs, and analyzed the market share of

those drugs.456




456
      Sorrell v. IMS Health Inc., 2011 WL 705207, *467-471 (Feb. 22, 2011).




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                               259
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         701. This information allowed the RICO Diversion Defendants to track and identify

instances of overprescribing.457           In fact, one of the Data Venders’ experts testified that a

manufacturer of “narcotic analgesics” used the Data Venders’ information to track, identify,

report and halt suspicious orders of controlled substances.458


457
   See Sorrell v. IMS Health Inc., 2011 WL 1449043, *37-38 (March 24, 2011) (arguing that data had been used to
“identify overuse of antibiotics in children,” and “whether there is a wide use of anthrax prophylactic medicines
after the scares happened in 2001.”). The Data Vender Respondents also cited evidence from the trial court proving
that “because analysis of PI data makes it possible to ‘identify overuse of a pharmaceutical in specific conditions,
the government employs the data to monitor usage of controlled substances.” Id.
458
   Id. at *38. Eugene “Mick” Kolassa testified as an expert on behalf of the Data Vender stating that "a firm that
sells narcotic analgesics was able to use prescriber-identifiable information to identify physicians that seemed to be
prescribing an inordinately high number of prescriptions for their product.” Id.; see also Joint Appendix in Sorrell v.
IMS Health, 2011 WL 687134, at *204 (Feb. 22, 2011).




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            702. The RICO Diversion Defendants were, therefore, collectively aware of the

suspicious orders that flowed daily from their manufacturing and distribution facilities.

            703. The RICO Diversion Defendants refused to identify, investigate and report

suspicious orders to the DEA when they became aware of the same despite their actual

knowledge of drug diversion rings. The RICO Diversion Defendants refused to identify

suspicious orders and diverted drugs despite the DEA issuing final decisions against the

Distributor Defendants in 178 registrant actions between 2008 and 2012459 and 117

recommended decision in registrant actions from The Office of Administrative Law Judges.

These numbers include seventy-six (76) actions involving orders to show cause and forty-one

(41) actions involving immediate suspension orders – all for failure to report suspicious

orders.460


  Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
459

Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.
460
      Id.




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        704. The RICO Diversion Defendants’ scheme had a decision-making structure driven

by the Manufacturer Defendants and corroborated by the Distributor Defendants. The

Manufacturer Defendants worked together to control the state and federal government’s response

to the manufacture and distribution of prescription opioids by increasing production quotas

through a systematic refusal to maintain effective controls against diversion, and identify

suspicious orders and report them to the DEA.

        705. The RICO Diversion Defendants worked together to control the flow of

information and influence state and federal governments and political candidates to pass

legislation that was pro-opioid. The Manufacturer and Distributor Defendants did this through

their participation in the PCF and HDA.

        706. The RICO Diversion Defendants also worked together to ensure that the Aggregate

Production Quotas, Individual Quotas and Procurement Quotas allowed by the DEA remained

artificially high and ensured that suspicious orders were not reported to the DEA in order to

ensure that the DEA had no basis for refusing to increase or decrease production quotas due to

diversion.

        707. The scheme devised and implemented by the RICO Diversion Defendants

amounted to a common course of conduct characterized by a refusal to maintain effective

controls against diversion, and all designed and operated to ensure the continued unlawful sale of

controlled substances.

   C.    PATTERN OF RACKETEERING ACTIVITY.

        708. The RICO Diversion Defendants conducted and participated in the conduct of the

Opioid Diversion Enterprise through a pattern of racketeering activity as defined in 18 U.S.C. §

1961(1)(D), by the felonious manufacture, importation, receiving, concealment buying selling, or

otherwise dealing in a controlled substance or listed chemical (as defined in section 102 of the


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Controlled Substance Act), punishable under any law of the United States; and 18 U.S.C.

1961(1)(B), including mail fraud (18 U.S.C. § 1341) and wire fraud (18 U.S.C. § 1343).

              1. The RICO Defendants Manufactured, Sold and/or Dealt in Controlled
                 Substances and Their Actions Constitute Crimes Punishable as Felonies.

           709. The RICO Diversion Defendants committed crimes that are punishable as felonies

under the laws of the United States. Specifically, 21 U.S.C. § 843(a)(4) makes it unlawful for

any person to knowingly or intentionally furnish false or fraudulent information in, or omit any

material information from, any application, report, record or other document required to be

made, kept or filed under this subchapter. A violation of section 843(a)(4) is punishable by up to

four years in jail, making it a felony. 21 U.S.C. § 843(d)(1).

           710. Each of the RICO Diversion Defendants qualifies as a registrant under the CSA.

Their status as registrants under the CSA requires that they maintain effective controls against

diversion of controlled substances in schedule I or II, design and operate a system to disclose to

the registrant suspicious orders of controlled substances and inform the DEA of suspicious

orders when discovered by the registrant. 21 U.S.C. § 823; 21 C.F.R. § 1301.74(b).

           711. The CSA and the Code of Federal Regulations, require the RICO Diversion

Defendants to make reports to the DEA of any suspicious orders identified through the design

and operation of their system to disclose suspicious orders. The failure to make reports as

required by the CSA and Code of Federal Regulations amounts to a criminal violation of the

statute.

           712. The RICO Diversion Defendants knowingly and intentionally furnished false or

fraudulent information in their reports to the DEA about suspicious orders, and/or omitted

material information from reports, records and other documents required to be filed with the

DEA including the Manufacturer Defendants’ applications for production quotas. Specifically,



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the RICO Diversion Defendants were aware of suspicious orders of prescription opioids and the

diversion of their prescription opioids into the illicit market, and failed to report this information

to the DEA in their mandatory reports and their applications for production quotas.

        713. Upon information and belief, the foregoing examples reflect the RICO Diversion

Defendants’ pattern and practice of willfully and intentionally omitting information from their

mandatory reports to the DEA as required by 21 C.F.R. § 1301.74. The sheer volume of

enforcement actions available in the public record against the Distributor Defendants supports

this conclusion.461 For example:

        714. On April 24, 2007, the DEA issued an Order to Show Cause and Immediate

Suspension Order against the AmerisourceBergen Orlando, Florida distribution center (“Orlando

Facility”) alleging failure to maintain effective controls against diversion of controlled

substances. On June 22, 2007, AmerisourceBergen entered into a settlement that resulted in the

suspension of its DEA registration.

        715. On November 28, 2007, the DEA issued an Order to Show Cause and Immediate

Suspension Order against the Cardinal Health Auburn, Washington Distribution Center

(“Auburn Facility”) for failure to maintain effective controls against diversion of hydrocodone.

        716. On December 5, 2007, the DEA issued an Order to Show Cause and Immediate

Suspension Order against the Cardinal Health Lakeland, Florida Distribution Center (“Lakeland

Facility”) for failure to maintain effective controls against diversion of hydrocodone.

        717. On December 7, 2007, the DEA issued an Order to Show Cause and Immediate

Suspension Order against the Cardinal Health Swedesboro, New Jersey Distribution Center



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461

Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.




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(“Swedesboro Facility”) for failure to maintain effective controls against diversion of

hydrocodone.

       718. On January 30, 2008, the DEA issued an Order to Show Cause and Immediate

Suspension Order against the Cardinal Health Stafford, Texas Distribution Center (“Stafford

Facility”) for failure to maintain effective controls against diversion of hydrocodone.

       719. On May 2, 2008, McKesson Corporation entered into an Administrative

Memorandum of Agreement (“McKesson 2008 MOA”) with the DEA which provided that

McKesson would “maintain a compliance program designed to detect and prevent the diversion

of controlled substances, inform DEA of suspicious orders required by 21 C.F.R. § 1301.74(b),

and follow the procedures established by its Controlled Substance Monitoring Program.”

       720. On September 30, 2008, Cardinal Health entered into a Settlement and Release

Agreement and Administrative Memorandum of Agreement with the DEA related to its Auburn

Facility, Lakeland Facility, Swedesboro Facility and Stafford Facility.        The document also

referenced allegations by the DEA that Cardinal failed to maintain effective controls against the

diversion of controlled substances at its distribution facilities located in McDonough, Georgia

(“McDonough Facility”), Valencia, California (“Valencia Facility”) and Denver, Colorado

(“Denver Facility”).

       721. On February 2, 2012, the DEA issued an Order to Show Cause and Immediate

Suspension Order against the Cardinal Health Lakeland, Florida Distribution Center (“Lakeland

Facility”) for failure to maintain effective controls against diversion of oxycodone.

       722. On May, 14, 2012, Cardinal Health entered into an Administrative Memorandum

of Agreement with the DEA in which, among other things, Cardinal Health “admits that its due




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diligence efforts for some pharmacy customers and its compliance with the 2008 MOA, in

certain respects, were inadequate.”

       723. Thereafter, on December 23, 2016, Cardinal Health agreed to pay a $44 million

fine to the DEA to resolve the civil penalty portion of the administrative action taken against its

Lakeland, Florida Distribution Center.

       724. On January 5, 2017, McKesson Corporation entered into an Administrative

Memorandum Agreement with the DEA wherein it agreed to pay a $150,000,000 civil penalty for

violation of the 2008 McKesson MOA as well as failure to identify and report suspicious orders

at its facilities in Aurora CO, Aurora IL, Delran NJ, LaCrosse WI, Lakeland FL, Landover MD,

La Vista NE, Livonia MI, Methuen MA, Santa Fe Springs CA, Washington Courthouse OH and

West Sacramento CA.

       725. In the January 5, 2017 Administrative Memorandum Agreement, McKesson

acknowledged its wrongdoing and failure to comply with the obligations imposed by the CSA:




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       726. On April 23, 2015, McKesson filed a Form-8-K announcing a settlement with the

DEA and DOJ wherein it admitted to violating the CSA and agreed to pay $150 million and have

some of its DEA registrations suspended on a staggered basis.

       727. In 2016, the Los Angeles Times reported that Purdue was aware of a pill mill

operating out of Los Angeles yet failed to alert the DEA. The L.A. Times uncovered that Purdue

began tracking a surge in prescriptions in Los Angeles, including one prescriber in particular.

       728. Purdue was clearly aware of diversion. As a registrant, Purdue has the same

obligation to report suspicious orders as a wholesale distributor. Although Purdue claimed that it

was considering making a report to the DEA, it shirked its responsibility, claimed that it was the

wholesaler's responsibility and then reserved the right to make the report.

       729. Despite its knowledge of obvious diversion, "Purdue did not shut off the supply of

highly addictive OxyContin and did not tell authorities what it knew about [a pill mill] until


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several years later when the clinic was out of business and its leaders indicted. By that time, 1.1

million pills had spilled into the hands of Armenian mobsters, the Crips gang and other

criminals."

        730. Finally, Mallinckrodt was recently the subject of a DEA and Senate investigation

for its opioid practices. Specifically, in 2011, the DEA targeted Mallinckrodt arguing that it

ignored its responsibility to report suspicious orders as 500 million of its pills ended up in

Florida between 2008 and 2012. After six years of DEA investigation, Mallinckrodt agreed to a

settlement involving a $35 million fine. Federal prosecutors summarized the case by saying that

Mallinckrodt's response was that everyone knew what was going on in Florida but they had no

duty to report it.

        731. These actions confirm that the Distributor Defendants knew they had a duty to

maintain effective controls against diversion, design and operate a system to disclose suspicious

orders, and to report suspicious orders to the DEA.         These actions also demonstrate, on

information and belief, that the Manufacturer Defendants were aware of the enforcement against

their distributors and the diversion of the prescription opioids and a corresponding duty to report

suspicious orders.

        732. The pattern of racketeering activity alleged herein is continuing as of the date of

this Complaint and, upon information and belief, will continue into the future unless enjoined by

this Court.

        733. Many of the precise dates of the RICO Diversion Defendants’ criminal actions at

issue herein were hidden and cannot be alleged without access to their books and records.

Indeed, an essential part of the successful operation of the Opioid Diversion Enterprise depended

upon the secrecy of the participants in that enterprise.




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       734. Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, Plaintiff’s Community and the Plaintiff. The RICO Diversion

Defendants calculated and intentionally crafted the diversion scheme to increase and maintain

profits from unlawful sales of opioids, without regard to the effect such behavior would have on

this jurisdiction, its citizens or the Plaintiff. The RICO Diversion Defendants were aware that

Plaintiff and the citizens of this jurisdiction rely on the RICO Diversion Defendants to maintain a

closed system of manufacturing and distribution to protect against the non-medical diversion and

use of their dangerously addictive opioid drugs.

       735. By intentionally refusing to report and halt suspicious orders of their prescription

opioids, the RICO Diversion Defendants engaged in a fraudulent scheme and unlawful course of

conduct constituting a pattern of racketeering activity.

       736. The RICO Diversion Defendants’ predicate acts and pattern of racketeering activity

were a substantial and foreseeable cause of Plaintiff’s injury and the relationship between the

RICO Diversion Defendants’ conduct and Plaintiff’s injury are logical and not speculative. It

was foreseeable to the RICO Diversion Defendants that when they refused to identify, report and

halt suspicious orders as required by the CSA and Code of Federal Regulations, it would allow

the wide-spread diversion of prescriptions opioids into the illicit market and create an opioid-

addiction epidemic that logically, substantially, and foreseeably harmed Plaintiff.

       737. The RICO Diversion Defendants’ predicate acts and pattern of racketeering activity

were a substantial and foreseeable cause of Plaintiff’s injury and the relationship between the

RICO Diversion Defendants’ conduct and Plaintiff’s injury is logical and not speculative. It was

foreseeable to the RICO Diversion Defendants that when they fraudulently marketed highly-




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addictive and dangerous drugs, that were approved for very limited and specific uses by the

FDA, as non-addictive and safe for off-label uses such as moderate pain, non-cancer pain, and

long-term chronic pain, that the RICO Diversion Defendants would create an opioid-addiction

epidemic that logically, substantially and foreseeably harmed Plaintiff.

       738. The last racketeering incident occurred within five years of the commission of a

prior incident of racketeering.

           2. The RICO Diversion Defendants Engaged in Mail and Wire Fraud.

       739. The RICO Diversion Defendants carried out, or attempted to carry out, a scheme to

defraud federal and state regulators, and the American public by knowingly conducting or

participating in the conduct of the Opioid Diversion Enterprise through a pattern of racketeering

activity within the meaning of 18 U.S.C. § 1961(1) that employed the use of mail and wire

facilities, in violation of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud).

       740. The RICO Diversion Defendants committed, conspired to commit, and/or aided

and abetted in the commission of at least two predicate acts of racketeering activity (i.e.

violations of 18 U.S.C. §§ 1341 and 1343) within the past ten years. The multiple acts of

racketeering activity that the RICO Diversion Defendants committed, or aided and abetted in the

commission of, were related to each other, posed a threat of continued racketeering activity, and

therefore constitute a “pattern of racketeering activity.” The racketeering activity was made

possible by the RICO Diversion Defendants’ regular use of the facilities, services, distribution

channels, and employees of the Opioid Diversion Enterprise. The RICO Diversion Defendants

participated in the scheme to defraud by using mail, telephone and the Internet to transmit

mailings and wires in interstate or foreign commerce.

       741. The RICO Diversion Defendants used, directed the use of, and/or caused to be

used, thousands of interstate mail and wire communications in service of their scheme through


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virtually uniform misrepresentations, concealments and material omissions regarding their

compliance with their mandatory reporting requirements and the actions necessary to carry out

their unlawful goal of selling prescription opioids without reporting suspicious orders or the

diversion of opioids into the illicit market.

       742. In devising and executing the illegal scheme, the RICO Diversion Defendants

devised and knowingly carried out a material scheme and/or artifice to defraud by means of

materially false or fraudulent pretenses, representations, promises, or omissions of material facts.

For the purpose of executing the illegal scheme, the RICO Diversion Defendants committed

these racketeering acts, which number in the thousands, intentionally and knowingly with the

specific intent to advance the illegal scheme.

       743. The RICO Diversion Defendants’ predicate acts of racketeering (18 U.S.C. §

1961(1)) include, but are not limited to:

               a.      Mail Fraud: The RICO Defendants violated 18 U.S.C. § 1341 by sending
                       or receiving, or by causing to be sent and/or received, materials via U.S.
                       mail or commercial interstate carriers for the purpose of executing the
                       unlawful scheme to design, manufacture, market, and sell the prescription
                       opioids by means of false pretenses, misrepresentations, promises, and
                       omissions.

               b.      Wire Fraud: The RICO Defendants violated 18 U.S.C. § 1343 by
                       transmitting and/or receiving, or by causing to be transmitted and/or
                       received, materials by wire for the purpose of executing the unlawful
                       scheme to design, manufacture, market, and sell the prescription opioids
                       by means of false pretenses, misrepresentations, promises, and omissions.

       744. The RICO Diversion Defendants’ use of the mail and wires includes, but is not

limited to, the transmission, delivery, or shipment of the following by the Manufacturers,

Distributors, or third parties that were foreseeably caused to be sent as a result of the RICO

Diversion Defendants’ illegal scheme, including but not limited to:

               a.      The prescription opioids themselves;



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               b.      Documents and communications that supported and/or facilitated the
                       Defendants’ request for higher aggregate production quotas, individual
                       production quotas, and procurement quotas;

               c.      Documents and communications that facilitated the manufacture, purchase
                       and sale of prescription opioids;

               d.      Defendants’ DEA registrations;

               e.      Documents and communications that supported and/or facilitated
                       Defendants’ DEA registrations;

               f.      Defendants’ records and reports that were required to be submitted to the
                       DEA pursuant to 21 U.S.C. § 827;

               g.      Documents and communications related to the Defendants’ mandatory
                       DEA reports pursuant to 21 U.S.C. § 823 and 21 C.F.R. § 1301.74;

               h.      Documents intended to facilitate the manufacture and distribution of
                       Defendants’ prescription opioids, including bills of lading, invoices,
                       shipping records, reports and correspondence;

               i.      Documents for processing and receiving payment for prescription opioids;

               j.      Payments from the Distributor Defendants to the Manufacturer
                       Defendants;

               k.      Rebates and chargebacks from the Manufacturers to the Distributors;

               l.      Payments to Defendants’ lobbyists through the PCF;

               m.      Payments to Defendants’ trade organizations, like the HDA, for
                       memberships and/or sponsorships;

               n.      Deposits of proceeds from Defendants’ manufacture and distribution of
                       prescription opioids; and

               o.      Other documents and things, including electronic communications.

       745. On information and belief, the RICO Diversion Defendants (and/or their agents),

for the purpose of executing the illegal scheme, sent and/or received (or caused to be sent and/or

received) by mail or by private or interstate carrier, shipments of prescription opioids and related

documents by mail or by private carrier affecting interstate commerce, including the following:




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                                                               Drugs
 Defendant
                   Company Names             Drug Name      Chemical Name        CSA
Group Name
                                                                               Schedule
                                                           Oxycodone
                                            OxyContin      hydrochloride      Schedule II
                                                           extended release
                                                           Morphine sulfate
                                            MS Contin                         Schedule II
                                                           extended release
               (1) Purdue Pharma, LP,                      Hydromorphone
                                            Dilaudid                          Schedule II
               (2) Purdue Pharma, Inc.,                    hydrochloride
  Purdue
               (3) The Purdue Frederick                    Hydromorphone
                                            Dilaudid-HP                       Schedule II
               Company                                     hydrochloride
                                            Butrans        Buprenorphine      Schedule II
                                                           Hydrocodone
                                            Hysinga ER                        Schedule II
                                                           bitrate
                                                           Oxycodone
                                            Targiniq ER                       Schedule II
                                                           hydrochloride
               (1) Cephalon, Inc.,          Actiq          Fentanyl citrate   Schedule II
               (2) Teva Pharmaceutical
 Cephalon      Industries, Ltd.,            Fentora        Fentanyl citrate   Schedule II
               (3) Teva Pharmaceuticals
                                            Generec        Oxycodone
               USA, Inc.                                                      Schedule II
                                            oxycontin      hydrochloride
                                                           Oxymorphone
                                            Opana ER       hydrochloride      Schedule II
                                                           extended release
                                                           Oxymorphone
                                            Opana                             Schedule II
               (1) Endo Health Solutions,                  hydrochloride
               Inc.,                                       Oxymorphone
               (2) Endo Pharmaceuticals     Percodan       hydrochloride      Schedule II
               Inc.,                                       and aspirin
   Endo
               (3) Qualitest                               Oxymorphone
               Pharmaceuticals, Inc.                       hydrochloride
                                            Percocet                          Schedule II
               (wholly-owned subsidiary                    and
               of Endo)                                    acetaminophen
                                            Generic oxycodone                 Schedule II
                                            Generic oxymorphone               Schedule II
                                            Generic hydromorphone             Schedule II
                                            Generic hydrocodone               Schedule II
               (1) Mallinckrodt PLC,                       Hydromorphone
                                            Exalgo                            Schedule II
               (2) Mallinckrodt LLC                        hydrochloride
Mallinckrodt
               (wholly-owned subsidiary                    Oxycodone
               of Mallinckrodt PLC)         Roxicodone                        Schedule II
                                                           hydrochloride
               (1) Allergan Plc,
  Allergan                                  Kadian         Morphine Sulfate   Schedule II
               (2) Actavis LLC,


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                                                                     Drugs
 Defendant
                        Company Names             Drug Name       Chemical Name           CSA
Group Name
                                                                                        Schedule
                 (3) Actavis Pharma, Inc.,      Norco
                                                                  Hydrocodone and
                 (4) Actavis Plc,               (Generic of                       Schedule II
                                                                  acetaminophen
                 (5) Actavis, Inc.,             Kadian)
                 (6) Watson                     Generic
                 Pharmaceuticals, Inc.,                           Fentanyl             Schedule II
                                                Duragesic
                 Watson Pharma, Inc.
                                                Generic           Oxymorphone
                                                                                       Schedule II
                                                Opana             hydrochloride


       746. Each of the RICO Diversion Defendants identified manufactured, shipped, paid for

and received payment for the drugs identified above, throughout the United States.

       747. The RICO Diversion Defendants also used the internet and other electronic

facilities to carry out their scheme and conceal the ongoing fraudulent activities. Specifically, the

RICO Diversion Defendants made misrepresentations about their compliance with federal and

state laws requiring them to identify, investigate and report suspicious orders of prescription

opioids and/or diversion of the same into the illicit market.

       748. At the same time, the RICO Diversion Defendants misrepresented the superior

safety features of their order monitoring programs, ability to detect suspicious orders,

commitment to preventing diversion of prescription opioids, and their compliance with all state

and federal regulations regarding the identification and reporting of suspicious orders of

prescription opioids.

       749. Upon information and belief, the RICO Diversion Defendants utilized the internet

and other electronic resources to exchange communications, to exchange information regarding

prescription opioid sales, and to transmit payments and rebates/chargebacks.

       750. The RICO Diversion Defendants also communicated by U.S. Mail, by interstate

facsimile, and by interstate electronic mail with each other and with various other affiliates,



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regional offices, regulators, distributors, and other third-party entities in furtherance of the

scheme.

          751. The mail and wire transmissions described herein were made in furtherance of the

RICO Diversion Defendants’ scheme and common course of conduct to deceive regulators, the

public and Plaintiff that Defendants were complying with their state and federal obligations to

identify and report suspicious orders of prescription opioids all while Defendants were

knowingly allowing millions of doses of prescription opioids to divert into the illicit drug

market. The RICO Diversion Defendants’ scheme and common course of conduct was to

increase or maintain high production quotas for their prescription opioids from which they could

profit.

          752. Many of the precise dates of the fraudulent uses of the U.S. mail and interstate wire

facilities have been deliberately hidden by Defendants and cannot be alleged without access to

Defendants’ books and records. However, Plaintiff has described the types of, and in some

instances, occasions on which the predicate acts of mail and/or wire fraud occurred. They include

thousands of communications to perpetuate and maintain the scheme, including the things and

documents described in the preceding paragraphs.

          753. The RICO Diversion Defendants did not undertake the practices described herein in

isolation, but as part of a common scheme. Various other persons, firms, and corporations,

including third-party entities and individuals not named as defendants in this Complaint, may

have contributed to and/or participated in the scheme with the RICO Diversion Defendants in

these offenses and have performed acts in furtherance of the scheme to increase revenues,

increase market share, and /or minimize the losses for the RICO Diversion Defendants.




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       754. The RICO Diversion Defendants aided and abetted others in the violations of the

above laws, thereby rendering them indictable as principals in the 18 U.S.C. §§ 1341 and 1343

offenses.

       755. The RICO Diversion Defendants hid from the general public and suppressed and/or

ignored warnings from third parties, whistleblowers and governmental entities about the reality

of the suspicious orders that the RICO Diversion Defendants were filling on a daily basis –

leading to the diversion of hundreds of millions of doses of prescriptions opioids into the illicit

market.

       756. The RICO Diversion Defendants, with knowledge and intent, agreed to the overall

objective of their fraudulent scheme and participated in the common course of conduct to

commit acts of fraud and indecency in manufacturing and distributing prescription opioids.

       757. Indeed, for the RICO Diversion Defendants’ fraudulent scheme to work, each of

the Defendants had to agree to implement similar tactics regarding manufacturing prescription

opioids and refusing to report suspicious orders.

       758. As described herein, the RICO Diversion Defendants engaged in a pattern of

related and continuous predicate acts for years. The predicate acts constituted a variety of

unlawful activities, each conducted with the common purpose of obtaining significant monies

and revenues from the sale of their highly addictive and dangerous drugs. The predicate acts also

had the same or similar results, participants, victims, and methods of commission. The predicate

acts were related and not isolated events.

       759. The predicate acts all had the purpose of creating the opioid epidemic that

substantially injured Plaintiff’s business and property, while simultaneously generating billion-

dollar revenue and profits for the RICO Diversion Defendants. The predicate acts were




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committed or caused to be committed by the RICO Diversion Defendants through their

participation in the Opioid Diversion Enterprise and in furtherance of its fraudulent scheme.

       760. The pattern of racketeering activity alleged herein and the Opioid Diversion

Enterprise are separate and distinct from each other. Likewise, the RICO Diversion Defendants

are distinct from the enterprise.

       761. The pattern of racketeering activity alleged herein is continuing as of the date of

this Complaint and, upon information and belief, will continue into the future unless enjoined by

this Court.

       762. Many of the precise dates of the RICO Diversion Defendants’ criminal actions at

issue here have been hidden by the RICO Diversion Defendants and cannot be alleged without

access to the RICO Diversion Defendants’ books and records. Indeed, an essential part of the

successful operation of the Opioid Diversion Enterprise alleged herein depended upon secrecy.

       763. Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, including Plaintiff’s Community and the Plaintiff. The RICO

Diversion Defendants calculated and intentionally crafted the Opioid Diversion Enterprise and

their scheme to increase and maintain their increased profits, without regard to the effect such

behavior would have on Plaintiff’s Community, its citizens or the Plaintiff. In designing and

implementing the scheme, at all times the RICO Diversion Defendants were cognizant of the fact

that those in the manufacturing and distribution chain rely on the integrity of the pharmaceutical

companies and ostensibly neutral third parties to provide objective and reliable information

regarding Defendants’ products and their manufacture and distribution of those products. The

RICO Diversion Defendants were also aware that Plaintiff and the citizens of this jurisdiction




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rely on the Defendants to maintain a closed system and to protect against the non-medical

diversion and use of their dangerously addictive opioid drugs.

            764. By intentionally refusing to report and halt suspicious orders of their prescription

opioids, the RICO Diversion Defendants engaged in a fraudulent scheme and unlawful course of

conduct constituting a pattern of racketeering activity.

            765. It was foreseeable to the RICO Diversion Defendants that Plaintiff would be

harmed when they refused to report and halt suspicious orders, because their violation of the

duties imposed by the CSA and Code of Federal Regulations allowed the widespread diversion

of prescription opioids out of appropriate medical channels and into the illicit drug market –

causing the opioid epidemic that the CSA intended to prevent.

            766. The last racketeering incident occurred within five years of the commission of a

prior incident of racketeering.

       D.    DAMAGES.

               1.     Impact of the Opioid Diversion Enterprise.

            767. Wisconsin has been especially ravaged by the national opioid crisis.

            768. The Wisconsin State Health Assessment and Health Improvement Plan reports that

between 2005 and 2015—as prescription opioid sales steadily increased—the number of opioid-

related overdose deaths in Wisconsin more than doubled.462 The main cause of drug overdoses is

prescription opioids, which caused six of 10 opioid-related deaths and eight of 10 hospital visits

in Wisconsin.463 By 2015, over two hundred thousand Wisconsin residents aged 12 and older had

used opioids non-medically or illegally—slightly less than the population of Madison,

462
   See Wisconsin State Health Assessment and Health Improvement Plan, Priority: Opioids (2015),
https://healthy.wisconsin.gov/healthywifiles/8346-healthy-wi-plan-opioids.pdf (last visited February 5, 2015).
463
      Id.




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Wisconsin.464 And from 2010 to 2014, the rate of prescription drug deaths increased by 21

percent in Wisconsin, alongside a 188% increase in the number of deaths from heroin (which is

cheaper and easier for addicts to obtain, and causally related to the use of prescription

opioids).465 Three out of four people in Wisconsin who use heroin began their drug abuse using

prescription opioids.466 “In 2014, more than 14,000 hospital visits in Wisconsin were because of

opioids, and almost 3,000 were for opioid overdoses.”467

            769. The rate of opioid overdose deaths in Wisconsin almost doubled from 2006 to

2015, going up from 5.9 deaths per 100,000 residents in 2006 to 10.7 deaths per 100,000 people

in 2015.468       “Prescription opioids have been the main driver of drug overdose deaths and

poisonings.”469 In 2015, almost two-third of opioid-related deaths involved prescription drugs.470

            770. Wisconsin suffered a statistically significant increase in the drug overdose death

rate from 2015 to 2016, according to data from the Centers for Disease Control and Prevention

(CDC).471 The death rate rose by 24.5 percent.472




464
      Id.
465
      Id.
466
      Id.
467
      Id.
468
  Wisconsin Department of Health Services, Select Opioid-Related Morbidity and Mortality Data for Wisconsin,
November 2016, https://www.dhs.wisconsin.gov/publications/p01690.pdf (last visited May 18, 2018).
469
      Id.
470
      Id.
471
    Centers for Disease Control and Prevention, Drug Overdose Death Data, (“2015-2016 Death Increases” tab,
https://www.cdc.gov/drugoverdose/data/statedeaths.html (last visited Feb. 9, 2018).
472
      Id.




                                           279
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Statistically significant drug overdose death rate increase from 2015-2016, US states




           771. According to the CDC, in 2016, 1,074 people died of drug overdoses in Wisconsin,

for a rate of 19.3 per 100,000 people.473 In 2015, 878 people died from drug overdoses while in

2014, 853 people died.474

           772. Based on data from emergency room visits from July 2016 to September 2017,

Wisconsin had a 109 percent increase in opioid overdoses, well above the national increase of

29.7 percent.475 That number likely underreports overdoses since many people do not go to the

emergency room.476



473
      Id. at “2016 Deaths” tab.
474
      Id. at “2015 Deaths” tab and “2014 Deaths” tab.
  Alana M. Vivolo-Kantor, et al, Centers for Disease Control and Prevention, “Vital Signs: Trends in Emergency
475

Department Visits for Suspected Opioid Overdoses – United States, July 2016-September 2017,” Morbidity and
Mortality Weekly Report (March 6, 2018), https://www.cdc.gov/mmwr/volumes/67/wr/mm6709e1.htm (last visited
March 7, 2018).
476
   Rob Stein, “Jump In Overdoses Shows Opioid Epidemic Has Worsened,” NPR (March 6, 2018)
https://www.npr.org/sections/health-shots/2018/03/06/590923149/jump-in-overdoses-shows-opioid-epidemic-has-
worsened (last visited March 7, 2018).




                                           280
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        773. The number of opioid-related hospitalizations also steadily increased from 2006-

2015 in Wisconsin:




        774. Neonatal Abstinence Syndrome (NAS), a collection of symptoms newborn babies

experience withdrawing from opioid medications taken by the mother, increased dramatically in

Wisconsin between 2000 and 2013 from 0.4 per 1,000 hospital births in 2000 to 7.9 in 2013.477

From 2006 to 2014 the NAS rate increased 335 percent, from 2.0 to 8.7 per 1,000 live births.478

        775. The opioid epidemic is particularly devastating in Plaintiff’s Community.



  Jean Y. Ko, et al., Incidence of Neonatal Abstinence Syndrome — 28 States, 1999-2013, 65 Morbidity &
477

Mortality Wkly. Rep. 799 (2016).
478
   Wisconsin Department of Health Services, Select Opioid-Related Morbidity and Mortality Data for Wisconsin,
supra, note 32, at 38.




                                       281
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             776. The number of deaths due to opioids has risen considerably. For example, in 2015,

there were 12 opioid-involved deaths and in 2014 there were 14, up from 5 opioid-related deaths

in 2006.479

             777. Walworth County also has a high overdose death rate for deaths involving opioids -

a rate of 12.7 deaths per 100,000 residents from 2013 to 2015 with 39 total deaths.480 Walworth

County’s death rate for opioid overdoses increased from 5 deaths per 100,000 residents in 2006

to 13.6 in 2014 and 11.7 in 2015.481

             778. A high percentage of these opioid-related deaths are due to prescription opioids.

Walworth County had a death rate of 7.8 deaths due to prescription opioid overdoses per 100,000

residents from 2013 to 2015 with 24 total deaths.482 The County has also seen deaths from drug

overdoses involving heroin rise. From 2013 to 2015, there were 12 deaths from heroin.483

             779. Opioids have also been responsible for a large number of hospitalizations and

emergency department visits in Walworth County. In 2014, the county had 29 inpatient and

emergency hospitalizations visits involving opioids at a rate of 28.2 per 100,000 residents.484

This frequency has more than doubled since 2006 when there were 14 such visits at a rate of 13.9




479
   Wisconsin Department of Health Services, Select Opioid-Related Morbidity and Mortality Data for Wisconsin,
supra at 4.
480
      Id. at 5.
481
      Id. at 4.
482
      Id. at 10.
483
      Id. at 15.
484
      Id. at 19.




                                            282
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per 100,000 residents.485 Of the 98 hospital-encounters involving opioids from 2012 to 2014,486

seventy-five (75) of these were due to prescription opioids.487

            780. Walworth County also has experienced increased hospital encounters involving

heroin, up from zero in 2006 and 2007 to 10 in 2014.488 From 2012 to 2014, there were 25 such

hospital visits, which is a rate of 8.1 per 100,000 residents.489

            781. In 2015, Walworth County had 80 ambulance runs in which naloxone was

administered, which is tied for sixth highest in the State with for a rate of 78.1 per 100,000

residents.490 This is down from 95 such runs in 2012.491 From 2013 to 2015 naloxone was

dispensed on 240 ambulance trips.492

            782. Walworth County’s incidence of neonatal abstinence syndrome rose from two (2)

cases in 2006 to eight (8) each year in 2012, 2013 and 2014.493

                   2.   The Relief Sought.

            783. The RICO Diversion Defendants’ violations of law and their pattern of racketeering

activity directly and proximately caused Plaintiff injury in its business and property. The RICO

Diversion Defendants’ pattern of racketeering activity, including their refusal to identify, report

and halt suspicious orders of controlled substances, logically, substantially and foreseeably cause



485
      Id.
486
      Id. at 21.
487
      Id. at 27.
488
      Id. at 31.
489
      Id. at 32.
490
      Id. at 36.
491
      Id.
492
      Id. at 37.
493
      Id. at 41.




                                            283
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an opioid epidemic.        Plaintiff was injured by the RICO Diversion Defendants’ pattern of

racketeering activity and the opioid epidemic that they created.

            784. As Plaintiff alleges, the RICO Diversion Defendants knew that the opioids they

manufactured and supplied were unsuited to treatment of long-term, chronic, non-acute, and non-

cancer pain, or for any other use not approved by the FDA, and knew that opioids were highly

addictive and subject to abuse. 494 Nevertheless, the RICO Diversion Defendants engaged in a

scheme of deception, that utilized the mail and wires as part of their fraud, in order to increase

sales of their opioid products by refusing to identify, report suspicious orders of prescription

opioids that they knew were highly addictive, subject to abuse, and were actually being diverted

into the illegal market.495

            785. Here, as Plaintiff alleges, the link of causation generally breaks down into three

very short steps: (1) the RICO Diversion Defendants’ affirmative action to continue supplying

prescription opioids through legal channels with knowledge that they were being diverted into

the illicit market; (2) an opioid epidemic in the form of criminal drug trafficking, misuse and

abuse; and (3) injuries to the Plaintiff.496 Although not as direct as a car accident or a slip-and-

fall case, this causal chain is still a “direct sequence” and a logical, substantial and foreseeable

cause of Plaintiff’s injury.497

            786. Specifically, the RICO Diversion Defendants’ predicate acts and pattern of

racketeering activity caused the opioid epidemic which has injured Plaintiff in the form of


494
   Traveler's Prop. Cas. Co. of Am. v. Actavis, Inc., 16 Cal. App. 5th 1026, 1042, 225 Cal. Rptr. 3d 5 (Ct. App.
2017).
495
   City of Everett v. Purdue Pharma L.P., No. C17-209RSM, 2017 WL 4236062, at *6 (W.D. Wash. Sept. 25,
2017).
496
      Id.
497
      Id.




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substantial losses of money and property that logically, directly and foreseeably arise from the

opioid-addiction epidemic.    Plaintiff’s injuries, as alleged throughout this complaint, and

expressly incorporated herein by reference, include:

               a.     Losses caused by purchasing and/or paying reimbursements for the RICO
                      Defendants’ prescription opioids, that Plaintiff would not have paid for or
                      purchased but for the RICO Diversion Defendants’ conduct;

               b.     Losses caused by the decrease in funding available for Plaintiff’s public
                      services for which funding was lost because it was diverted to other public
                      services designed to address the opioid epidemic;

               c.     Costs for providing healthcare and medical care, additional therapeutic,
                      and prescription drug purchases, and other treatments for patients
                      suffering from opioid-related addiction or disease, including overdoses
                      and deaths;

               d.     Costs of training emergency and/or first responders in the proper treatment
                      of drug overdoses;

               e.     Costs associated with providing police officers, firefighters, and
                      emergency and/or first responders with Naloxone – an opioid antagonist
                      used to block the deadly effects of opioids in the context of overdose;

               f.     Costs associated with emergency responses by police officers, firefighters,
                      and emergency and/or first responders to opioid overdoses;

               g.     Costs for providing mental-health services, treatment, counseling,
                      rehabilitation services, and social services to victims of the opioid
                      epidemic and their families;

               h.     Costs for providing services to infants born with opioid-related medical
                      conditions, or born addicted to opioids due to drug use by mother during
                      pregnancy;

               i.     Costs associated with law enforcement and public safety relating to the
                      opioid epidemic, including but not limited to attempts to stop the flow of
                      opioids into local communities, to arrest and prosecute street-level dealers,
                      to prevent the current opioid epidemic from spreading and worsening, and
                      to deal with the increased levels of crimes that have directly resulted from
                      the increased homeless and drug-addicted population;

               j.     Costs associated with increased burden on Plaintiff’s judicial system,
                      including increased security, increased staff, and the increased cost of
                      adjudicating criminal matters due to the increase in crime directly
                      resulting from opioid addiction;


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               k.      Costs associated with providing care for children whose parents suffer
                       from opioid-related disability or incapacitation;

               l.      Loss of tax revenue due to the decreased efficiency and size of the
                       working population in Plaintiff’s Community;

               m.      Losses caused by diminished property values in neighborhoods where the
                       opioid epidemic has taken root; and

               n.      Losses caused by diminished property values in the form of decreased
                       business investment and tax revenue.

       787. Plaintiff’s injuries were proximately caused by the RICO Diversion Defendants’

racketeering activities because they were the logical, substantial and foreseeable cause of

Plaintiff’s injuries. But for the opioid-addiction epidemic created by RICO Diversion

Defendants’ conduct, Plaintiff would not have lost money or property.

       788. Plaintiff’s injuries were directly caused by the RICO Diversion Defendants’ pattern

of racketeering activities.

       789. Plaintiff is most directly harmed and there is no other Plaintiff better suited to seek

a remedy for the economic harms at issue here.

       790. Plaintiff seeks all legal and equitable relief as allowed by law, including, inter alia,

actual damages, treble damages, equitable relief, forfeiture as deemed proper by the Court,

attorney’s fees and all costs and expenses of suit and pre- and post-judgment interest.

                                     COUNT IV
                    WISCONSIN DECEPTIVE TRADE PRACTICES ACT,
                                 Wis. Stat. § 100.18
                               (Against All Defendants)

       791. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

       792. Plaintiff brings this count under the “Fraudulent representations” section of

Wisconsin’s Deceptive Trade Practices Act. Wis. Stat. § 100.18. “Any person suffering




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pecuniary loss because of a violation of this section by any other person may sue in any court of

competent jurisdiction and shall recover such pecuniary loss.” Wis. Stat. § 100.18(11)(b)2.

       793. Section 100.18 provides that “[n]o person, firm, corporation or association, . . .

with intent to sell, distribute, increase the consumption of any . . . merchandise . . . to the public

for sale . . . or other distribution . . . shall make, publish, disseminate, circulate, or place before

the public, or cause, directly or indirectly, to be made, published, disseminated, circulated, or

placed before the public, in this state, in a newspaper, magazine or other publication, or in the

form of a book, notice, handbill, poster, bill, circular, pamphlet, letter, sign, placard, card, label,

or over any radio or television station . . . an advertisement, announcement, statement or

representation of any kind . . . which. . . is untrue, deceptive or misleading.” Wis. Stat. §

100.18(1).

       794. The elements of a claim under Wis. Stat. § 100.18(1) are: (1) the defendant made a

representation to the public with the intent to induce an obligation, 2) the representation was

untrue, deceptive or misleading, and (3) the representation caused a pecuniary loss to the

plaintiff. See Novell v. Migliaccio, 2008 WI 44, ¶ 44, 309 Wis. 2d 132, 749 N.W.2d 544

(citations omitted).   “[T]he purpose of § 100.18 is to deter sellers from making false and

misleading representations in order to protect the public.” Id.¶ 30. .

       795. Each Defendant is a “person, firm, corporation, or association” within the meaning

of Wis. Stat. § 100.18(1).

       796. Defendants violated Wis. Stat. § 100.18(1) by making the foregoing repeated

representations to the public that were untrue, deceptive and misleading, with the intent to sell or

induce the sale of prescription opioids. These representations caused pecuniary losses to Plaintiff

and Plaintiff’s Community.




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       797. Each Defendant failed to report suspicious orders of and/or prevent the diversion of

highly addictive prescription drugs to illegal sources.

       798. Because of the dangerously addictive nature of these drugs, the Defendants’

marketing, sales, and/or distribution practices unlawfully caused an opioid and heroin plague and

epidemic in the State and Plaintiff’s Community. Each Defendant had a non-delegable duty to

guard against and prevent the diversion of prescription opioids to other than legitimate medical,

scientific, and industrial channels.

       799. The Defendants failed to disclose and mispresented the material facts that, inter

alia, they were not in compliance with laws and regulations requiring that they maintain a system

to prevent diversion, protect against addiction and severe harm, and specifically monitor,

investigate, report, and refuse suspicious orders. But for these material factual omissions and

misrepresentations, the Defendants would not have been able to sell opioids, and the Defendants

would not have been able to receive and renew licenses to sell opioids.

       800. As evidenced by the conduct detailed above, the Defendants falsely represented to

the public that Defendants were complying with their legal obligations to monitor, detect,

investigate, refuse to fill, and report suspicious orders of prescription opioids.

       801. As alleged herein, each Manufacturer Defendant wrongfully represented to the

public that the opioid prescription medications they manufactured, marketed, distributed and sold

had characteristics, uses and benefits that they do not have.

       802. The Manufacturer Defendants also wrongfully represented to the public that the

opioid prescription medications were safe and effective when such representations were untrue,

false and misleading.




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          803. The Manufacturer Defendants also omitted material facts and used exaggeration

and/or ambiguity as to material facts, which tended to deceive and/or did in fact deceive the

public.

          804. Because of the dangerously addictive nature of these drugs, which the

Manufacturer Defendants concealed and misrepresented, they lacked medical value, and in fact

caused addiction and overdose deaths. Defendants’ sales and marketing of opioids to the public

constituted a violation of Wisconsin law.

          805. The Manufacturer Defendants made deceptive representations to the public about

the use of opioids to treat chronic non-cancer pain. Each Manufacturer Defendant also omitted or

concealed material facts and failed to correct prior misrepresentations and omissions to the

public about the risks and benefits of opioids. Each Manufacturer Defendant’s omissions

rendered even their seemingly truthful statements about opioids deceptive.

          806. The Manufacturer Defendants also made untrue, false, deceptive, and misleading

statements including but not limited to the following:

             a. Claiming or implying that opioids would improve patients’ function and quality
                of life (see pages 190-195, supra);

             b. Mischaracterizing the risk of opioid addiction and abuse, including by stating or
                implying the opioids were rarely addictive, that “steady state” and abuse-resistant
                properties meant the drugs were less likely to be addictive or abused, and that
                specific opioid drugs were less addictive or less likely to be abused than other
                opioids (see pages 169-177, 182-190, supra);

             c. Claiming or implying that addiction can be avoided or successfully managed
                through the use of screening and other tools (see pages 195-196, supra);

             d. Promoting the misleading concept of pseudoaddiction, thus concealing the true
                risk of addiction (see pages 177-179, 196-198, supra);

             e. Mischaracterizing the difficulty of discontinuing opioid therapy, including by
                mischaracterizing the prevalence and severity of withdrawal symptoms (see pages
                177, 184, 197, 198, 205, 208, supra);



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            f. Claiming or implying that increased doses of opioids pose no significant
               additional risk (see pages 200-203, supra);

            g. Misleadingly depicting the safety profile of opioids prescribed by minimizing
               their risks and adverse effects while emphasizing or exaggerating the risks of
               competing products, including NSAIDs (see pages 200-203, supra); and

            h. In the case of Purdue, mischaracterizing OxyContin’s onset of action and duration
               of efficacy to imply that the drug provided a full 12 hours of pain relief (see pages
               54-55, supra).

        807. Defendants’ unfair, deceptive, and unconscionable representations, concealments,

and omissions are reasonably calculated to deceive the State, the public, Plaintiff’s Community,

and Plaintiff.

        808. As described more specifically above, Defendants’ representations, concealments,

and omissions constitute a willful course of conduct which continues to this day.

        809. The damages which Plaintiff seeks to recover were sustained as a direct and

proximate cause of the Defendants’ intentional and/or unlawful actions.

        810. The Defendants’ actions and omissions to the public in the course of marketing,

selling, and distributing prescriptions opioids constituted untrue, deceptive, and misleading

representations within the meaning of Wis. Stat. § 100.18.

        811. Defendants have made and continue to make untrue, deceptive, and misleading

representations in the conduct of commerce in this State and in Plaintiff’s Community.

        812. Defendants acted intentionally and/or unlawfully in making the various untrue,

deceptive, and misleading representations described herein.

        813. Defendants’ actions were directed toward the public, the Plaintiff and Plaintiff’s

Community, and proximately caused injury to Plaintiff, as described herein.

        814. The Defendants egregiously, knowingly, willfully and/or unlawfully engaged in the

untrue, deceptive, and misleading actions described herein.



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       815. Plaintiff has been damaged, and is likely to be further damaged in the future, by the

misrepresentations described herein.

       816. Plaintiff seeks all available damages pursuant to Wis. Stat. § 100.18(11)(b)2,

including costs and attorneys’ fees, for injuries sustained because of Defendants’ violations of

Wis. Stat. § 100.18(11)(b)2.

       817. Plaintiff seeks all legal and equitable relief as allowed by law, other than such

damages disavowed herein, including, inter alia, injunctive relief, restitution, disgorgement of

profits, compensatory damages, attorneys’ fees and costs, and pre- and post-judgment interest.

                                  COUNT V
               NEGLIGENCE AND NEGLIGENT MISREPRESENTATION
                            (Against All Defendants)

       818. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

       819. Plaintiff seeks economic damages which were the foreseeable result of the

Defendants’ intentional and/or unlawful actions and omissions.

       820. Under        Wisconsin      law,      to   establish   actionable    negligence,     a

plaintiff must prove four elements: “(1) [a] duty of care on the part of the defendant[s]; (2) a

breach of that duty; (3) a causal connection between the conduct and the injury; and (4)

an actual loss or damage as a result of the injury.” Martindale v. Ripp, 2001 WI 113, ¶ 33, 246

Wis. 2d 67, 629 N.W.2d 698. All such essential elements exist here.

       821. Defendants could have reasonably foreseen the probable harm as a result of their

negligence. Padilla v. Bydalek, 56 Wis. 2d 772, 778, 203 N.W.2d 15, 19 (1973) (citations

omitted). Defendants’ acts and omissions were a substantial factor in causing harm to Plaintiff

and Plaintiff’s Community. See Morgan v. Pennsylvania Gen. Ins. Co., 87 Wis. 2d 723, 735-36,

275 N.W.2d 660 (1979).


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       822. Further, as Section 302B of the Restatement of Torts provides: “An act or an

omission may be negligent if the actor realizes or should realize that it involves an unreasonable

risk of harm to another through the conduct of the other or a third person which is intended to

cause harm, even though such conduct is criminal.” See Restatement (Second) of Torts § 302B

(1965) (June 2018 Update).

       823. Each Defendant had an obligation to exercise reasonable care in manufacturing,

marketing, selling, and distributing highly dangerous opioid drugs to the State and Plaintiff’s

Community.

       824. Each Defendant had an obligation to exercise due care in manufacturing,

marketing, selling, and distributing highly dangerous opioid drugs in the State and Plaintiff’s

Community.

       825. Each Defendant owed a duty to the Plaintiff, and to the public in Plaintiff’s

Community, because the injury was foreseeable, and in fact foreseen, by the Defendants.

       826. Reasonably prudent manufacturers and distributors of prescription opioids would

have anticipated that the scourge of opioid addiction would wreak havoc on communities and

impose significant costs upon the governmental entities associated with those communities. The

closed system of opioid distribution whereby wholesale distributors are the gatekeepers between

manufacturers and pharmacies, and wherein all links in the chain have a duty to prevent

diversion, exists for the purpose of controlling dangerous substances such as opioids and

preventing diversion and abuse.

       827. Reasonably prudent manufacturers of pharmaceutical products would know that

aggressively pushing highly addictive opioids for chronic pain would result in the severe harm of

addiction, foreseeably causing patients to seek increasing levels of opioids, frequently turning to




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the illegal drug market as a result of a drug addiction that was foreseeable to the Manufacturer

Defendants.

       828. Moreover, law enforcement repeatedly warned Defendants of the unlawfulness and

consequences of their actions and omissions.

       829. The escalating amounts of addictive drugs flowing through Defendants’ businesses,

and the sheer volume of these prescription opioids, further alerted Defendants that addiction was

fueling increased consumption and that legitimate medical purposes were not being served.

       830. As described above in allegations expressly incorporated herein, Distributor

Defendants breached their duties to exercise due care in the business of wholesale distribution of

dangerous opioids, which are Schedule II Controlled Substances, by failing to monitor for,

failing to report, and filling highly suspicious orders time and again. Because the very purpose of

these duties was to prevent the resulting harm – diversion of highly addictive drugs for non-

medical purposes – the causal connection between Defendants’ breach of duties and the ensuing

harm was entirely foreseeable.

       831. The elements of negligent misrepresentation in Wisconsin are: (1) the defendant

made a representation of fact; (2) the representation was untrue; (3) the defendant was negligent

in making the representation; and (4) the plaintiff believed that the representation was true and

relied on it. Malzewski v. Rapkin, 2006 WI App 183, ¶ 20, 296 Wis. 2d 98, 723 N.W.2d 156.

       832. As described elsewhere in the Complaint in allegations expressly incorporated

herein, Distributor Defendants negligently misrepresented their compliance with their duties

under the law and negligently concealed their noncompliance and shipments of suspicious orders

of opioids to Plaintiff’s Community and destinations from which they knew opioids were likely




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to be diverted into Plaintiff’s Community, in addition to other misrepresentations alleged and

incorporated herein.

       833. As described elsewhere in the Complaint in allegations expressly incorporated

herein, Manufacturer Defendants breached their duties to exercise due care in the business of

pharmaceutical manufacturers of dangerous opioids, which are Schedule II Controlled

Substances, by negligently misrepresenting the nature of the drugs and aggressively promoting

them for chronic pain for which they knew the drug were not safe or suitable.

       834. The Manufacturer Defendants negligently misrepresented and negligently

concealed the addictive nature of prescription opioids and their lack of suitability for chronic

pain, in addition to other misrepresentations alleged and incorporated herein.

       835. All Defendants were negligent in their duties to prevent diversion and report and

halt suspicious orders, and they misrepresented their compliance with their legal duties.

       836. The representations outlined above were untrue.

       837. The Defendants were negligent in making the false representations of fact and

concealments of fact described above.

       838. Plaintiff believed that the representations were true and justifiably relied on

Defendants’ representations and/or concealments, both directly and indirectly. This reliance

proximately caused Plaintiff’s injuries.

       839. The causal connection between the Defendants’ breaches of their duties and

misrepresentations and the ensuing harm was entirely foreseeable.

       840. As described above in allegations expressly incorporated herein, Defendants’

breaches of duty and misrepresentations caused, bear a causal connection with and/or

proximately resulted in the damages sought herein.




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        841. The Defendants’ breaches of their duties and misrepresentations were the cause-in-

fact of Plaintiff’s injuries.

        842. The risk of harm to Plaintiff and Plaintiff’s Community and the harm caused should

have been reasonably foreseen by Defendants. The Defendants’ conduct was substantial factor

in causing Plaintiff’s injuries.

        843. The Defendants were selling dangerous drugs statutorily categorized as posing a

high potential for abuse and severe dependence. The Defendants knowingly traded in drugs that

presented a high degree of danger if prescribed incorrectly or diverted to other than medical,

scientific, or industrial channels. However, the Defendants breached their duties to monitor for,

report, and halt suspicious orders, breached their duties to prevent diversion, and, further,

misrepresented what their duties were and their compliance with their legal duties.

        844. The Defendants failed to disclose the material facts that, inter alia, they were not in

compliance with laws and regulations requiring that they maintain a system to prevent diversion,

protect against addiction and severe harm, and specifically monitor, investigate, report, and

refuse suspicious orders. But for these material factual omissions, the Defendants would not have

been able to sell opioids.

        845. As alleged herein, each Manufacturer Defendant made wrongful representations of

fact that the opioid prescription medications they manufactured, marketed and sold had

characteristics, uses or benefits that they do not have. The Manufacturer Defendants also made

wrongful representations of fact that the opioids were safe and effective when the Manufacturer

Defendants knew, or should have known, such representations were untrue, false and misleading.




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       846. Because of the dangerously addictive nature of these drugs, which the

Manufacturer Defendants concealed and misrepresented, they lacked medical value and in fact

caused addiction and overdose deaths.

       847. The Manufacturer Defendants negligently made false representations of fact about

the use of opioids to treat chronic non-cancer pain. Each Manufacturer Defendant also

negligently omitted or concealed material facts and failed to correct prior negligent

misrepresentations and omissions about the risks and benefits of opioids. Each Defendant’s

omissions rendered even their seemingly truthful statements about opioids deceptive.

       848. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

losses) resulting from the Defendants’ actions and omissions.

       849. Plaintiff seeks all legal and equitable relief as allowed by law, other than such

damages disavowed herein, including, inter alia, injunctive relief, restitution, disgorgement of

profits, compensatory and punitive damages, and all damages allowed by law, including all

reasonable attorneys’ fees and costs, and pre- and post-judgment interest.

                                           COUNT VI
                                     NEGLIGENCE PER SE
                                     (Against All Defendants)

       850. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

       851. Wisconsin law recognizes the doctrine of negligence per se: “When a statute

provides that under certain circumstances particular acts shall or shall not be done, it may be

interpreted as fixing a standard . . . from which it is negligence to deviate.” Bennett v. Larsen

Co., 118 Wis. 2d 681, 693-94, 348 N.W.2d 540 (1984) (quoting Prosser on Torts § 36 at 190 and

citing Restatement (Second) of Torts § 285 (1965)).




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         852. Violations of statutes and regulations support a cause of action for negligence per

se where the plaintiff is within the class of persons the statute was designed to protect, the harm

sustained is the type sought to be prevented and there is legislative intent that the statute become

a basis for the imposition of civil liability. Antwaun A. ex rel. Muwonge v. Heritage Mut. Ins.

Co., 228 Wis. 2d 44, 66-67, 596 N.W.2d 456 (1999) (citing Tatur v. Solsrund, 174 Wis. 2d 735,

743, 498 N.E.2d 232 (1993)).

         853. Defendants were required under Wisconsin law to be licensed by the Wisconsin

Pharmacy Examining Board. See Wis. Stat. § 450.071(1). See also Wis. Stat. § 961.31; Wis.

Admin. Code §§ Phar 13.01 et seq.

         854. Wisconsin’s minimum requirement for controlled substance manufacture and

wholesale drug distribution is that they must comply with “applicable federal, state, and local

laws and regulations.” Wis. Admin. Code § Phar 13.17(1). See also Wis. Stat. § 450.10(1)(a)(2);

Wis. Admin. Code § Phar 13.17(2); Wis. Admin. Code § Phar 8.02(2); Wis. Admin. Code § Phar

12.05.

         855. The Pharmacy Examining Board makes a determination of what is in the interest of

public health and safety when it decides whether to register manufacturers and distributors of

controlled substances. Wis. Admin. Code § Phar 13.06(8).

         856. The Wisconsin Pharmacy Examining Board may deny, revoke or suspend a license

to manufacture or distribute a controlled substance if licensee has “[e]ngaged in unprofessional

conduct.” Wis. Stat. § 450.10(1)(b)(1). Unprofessional conduct includes, inter alia, making

material false statements “or giving any materially false information in connection with an

application for a license[.]” Wis. Stat. § 450.10(1)(a)(1).




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       857. Federal and Wisconsin laws and regulations require Defendants to act as

gatekeepers guarding against the diversion of the highly addictive, dangerous opioid drugs. See,

e.g., Wis. Admin. Code §§ Phar 13.10(5); 13.02(8); 13.15.

       858. The federal mandates incorporated into Wisconsin law require that Defendants

must maintain “effective control against diversion of particular controlled substances into other

than legitimate medical, scientific, and industrial channels.” 21 U.S.C. §§ 823(a)(1), (b)(1).

These federal regulations impose a non-delegable duty upon both manufacturers and distributors

to “design and operate a system to disclose to the registrant suspicious orders of controlled

substances. The registrant [distributor or manufacturer] shall inform the Field Division Office of

the Administration in his area of suspicious orders when discovered by the registrant. Suspicious

orders include orders of unusual size, orders deviating substantially from a normal pattern, and

orders of unusual frequency.” 21 C.F.R. § 1301.74(b).

       859. In addition to reporting all suspicious orders, distributors must also stop shipment

on any order which is flagged as suspicious and only ship orders which were flagged as

potentially suspicious if, after conducting due diligence, the distributor can determine that the

order is not likely to be diverted into illegal channels. See Southwood Pharm., Inc., 72 Fed. Reg.

36,487, 36,501 (Drug Enf’t Admin. July 3, 2007); Masters Pharm., Inc. v. Drug Enf’t Admin.,

861 F.3d 206, 212 (D.C. Cir. 2017). Regardless, all flagged orders must be reported. Masters

Pharm., Inc., 861 F.3d at 212–213.

       860. Defendants violated section 961.41 of the Wisconsin Uniform Controlled

Substances Act, which provides that, “Except as authorized by this chapter, it is unlawful for any

person any person to manufacture, distribute or deliver a controlled substance.” Wis. Stat. §

961.41(1).




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       861. Defendants’ actions were not “authorized” by the Wisconsin Uniform Controlled

Substances Act because Defendants did not comply with the mandatory terms of the licenses

issued to them by the Wisconsin Pharmacy Examining Board or with federal requirements

incorporated by reference, as further detailed in this Complaint.

       862. Defendants also violated section 961.42 of the Wisconsin Uniform Controlled

Substances Act, which provides that, “It is unlawful for any person knowingly to keep or

maintain any . . . warehouse, . . . building, . . . or other structure or place, . . . which is used for

manufacturing, keeping or delivering [controlled substances] in violation of this chapter.” Wis.

Stat. § 961.42(1).

       863. Defendants also violated section 961.43 of the Wisconsin Uniform Controlled

Substances Act, which provides that it is unlawful for any person to “acquire or obtain

possession of a controlled substance by misrepresentation, fraud, forgery, deception or

subterfuge.” Wis. Stat. § 961.43(1)(a).

       864. Defendants also violated regulations promulgated by the Wisconsin Pharmacy

Examining Board by violating the requirements for distributors to receive a license, including,

inter alia, reporting all suspicious orders (Wis. Admin. Code § Phar 8.10) and complying with

“applicable federal, state, and local laws and regulations.” Wis. Admin. Code § Phar 13.17(1).

       865. Section 961.53 of the Wisconsin Uniform Controlled Substances Act provides that

“Violations of this chapter constitute public nuisances under ch. 823, irrespective of any criminal

prosecutions which may be or are commenced based on the same acts.” Wis. Stat. § 961.53. The

Wisconsin Legislature expressly contemplated that violations of the Wisconsin Uniform

Controlled Substances Act would become a basis for the imposition of civil liability, because




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section 961.53 expressly states that these violations constitute a nuisance under Chapter 823 of

the Wisconsin Statutes, which authorizes civil actions by persons injured by nuisances.

       866. The Wisconsin Uniform Controlled Substances Act further provides that “[a]ny

penalty imposed for violation of this chapter is in addition to, and not in lieu of, any civil or

administrative penalty or sanction otherwise authorized by law.” Wis. Stat. § 961.44.

       867. The Wisconsin Legislature authorized the Wisconsin Pharmacy Examining Board

to specify through regulations precisely how the manufacturers and distributors were to comply

with the Wisconsin Uniform Controlled Substances Act. See Wis. Stat. § 961.31. The Legislature

also has found that “the abuse of controlled substances constitutes a serious problem for society”

that the “manufacture, distribution, delivery, possession and use of controlled substances for

other than legitimate purposes have a substantial and detrimental effect on the health and general

welfare of the people of this state.” Wis. Stats. §§ 961.001, .001(1m). Thus, violations of the

rules implementing the Wisconsin Uniform Controlled Substances Act, to the extent that they

were intended to protect public safety, are a basis for the imposition of civil liability under

Wisconsin law.

       868. Plaintiff is within the class intended to be protected by the public safety statutes

and regulations concerning controlled substances.

       869. Defendants’ violations of these public safety laws are prima facie evidence of

negligence per se. Each Defendant had a duty under, inter alia, these laws to maintain effective

controls against diversion of prescription opioids and to guard against, prevent, and report

suspicious orders of opioids. Defendants’ violations of the law constitute negligence per se.

Defendants breached mandatory, non-delegable legal duties and did not act reasonably under the

circumstances.




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       870. As described above in allegations expressly incorporated herein, Defendants

breached their duties to maintain effective controls against diversion of dangerously addictive

opioids, including violating public safety statutes and regulations requiring that as wholesale

drug distributors, Defendants could only distribute these dangerous drugs under a closed system

– a system Defendants were responsible for guarding.

       871. As described above in allegations expressly incorporated herein, Defendants’

breach of statutory and regulatory duties caused, bears a causal connection with, is and was a

substantial factor contributing to, and/or proximately resulted in, harm and damages to Plaintiff.

       872. The injuries and damages sustained are those which the Wisconsin statutes and

regulations were designed to prevent.

       873. Defendants’ violations of the Wisconsin statutes and public safety regulations cited

herein were and are substantial factors in the injuries and damages sustained.

       874. It was foreseeable that Defendants’ breaches of statutory and regulatory duties

described herein would result in the damages sustained.

       875. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

losses) resulting from Defendants’ negligence per se. Plaintiff does not seek damages for

physical, personal injury or any physical damage to property caused by Defendants’ actions.

       876. Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including, inter alia, injunctive relief, restitution, disgorgement of profits,

compensatory and punitive damages, and all damages allowed by, including all reasonable

attorneys’ fees and costs, and pre- and post-judgment interest.




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                                   COUNT VII
                   STRICT RESPONSIBILITY MISREPRESENTATION
                              (Against All Defendants)

       877. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

       878. In Wisconsin, the tort of strict responsibility misrepresentation has five elements:

(1) the defendant made a representation of fact; (2) the representation was untrue; (3) the

defendant made the representation based on his or her personal knowledge, or was so situated

that he or she necessarily ought to have known the truth or untruth of the statement; (4) the

defendant had an economic interest in the transaction; and (5) the plaintiff believed that the

representation was true and relied on it. Malzewski v. Rapkin, 2006 WI App 183, ¶ 19, 296 Wis.

2d 98, 723 N.W.2d 156 (citing D'Huyvetter v. A.O. Smith Harvestore Prods., 164 Wis. 2d 306,

336, 475 N.W.2d 587 (Ct. App. 1991)).

       879. The Defendants failed to disclose the material facts that, inter alia, they were not in

compliance with laws and regulations requiring that they maintain a system to prevent diversion,

protect against addiction and severe harm, and specifically monitor, investigate, report, and

refuse suspicious orders. But for these material factual omissions, the Defendants would not have

been able to sell and profit from opioids.

       880. As described elsewhere in the Complaint in allegations expressly incorporated

herein, Defendants misrepresented their compliance with their duties under the law and

concealed their noncompliance and shipments of suspicious orders of opioids to Plaintiff’s

Community and destinations from which they knew opioids were likely to be diverted into

Plaintiff’s Community, in addition to other misrepresentations alleged and incorporated herein.

       881. As described elsewhere in the Complaint in allegations expressly incorporated

herein, Manufacturer Defendants engaged in false representations and concealments of material


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fact regarding the use of opioids to treat chronic, non-cancer pain and instead aggressively

promoted them for chronic pain for which they knew the drugs were not safe or suitable.

       882. As alleged herein, each Manufacturer Defendant wrongfully represented that the

opioid prescription medications they manufactured, marketed and sold had characteristics, uses

or benefits that they do not have. The Manufacturer Defendants also wrongfully misrepresented

that the opioids were safe when the Manufacturer Defendants knew, or should have known, such

representations were untrue, false and misleading.

       883. The Manufacturer Defendants concealed and misrepresented the dangerously

addictive nature of these drugs. Each Manufacturer Defendant also omitted or concealed material

facts and failed to correct prior misrepresentations and omissions about the risks and benefits of

opioids. Each Defendant’s omissions rendered even their seemingly truthful statements about

opioids deceptive.

       884. Defendants’ representations and concealments were made with Defendants’

personal knowledge.      Defendants knew or necessarily should have known that these

representations were untrue because only they had the means of knowing the truth of their

statements about the safety and uses of opioids and their compliance with their duties to prevent

suspicious orders and diversion.

       885. Defendants had economic interests in the sale of opioids to Plaintiff’s Community.

Defendants gained financially and profited from the sale of opioids. Defendants have profited

and benefited from the increase in the distribution and purchase of opioids within Plaintiff’s

Community. Defendants protected their own profits at the expense of public health and safety,

and profited from their misrepresentations.




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        886. Plaintiff, Plaintiff’s Community, and the physicians who prescribed opioids

believed and reasonably relied on Defendants’ misrepresentations and concealments of material

fact, both directly and indirectly. This reliance proximately caused Plaintiff’s injuries.

        887. As described above in allegations expressly incorporated herein, Defendants’

misrepresentations caused, bear a causal connection with and/or proximately resulted in the

damages sought herein.

        888. The Defendants’ breaches of their duties and misrepresentations were the cause-in-

fact of Plaintiff’s injuries.

        889. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

losses) resulting from the Defendants’ actions and omissions.

        890. Plaintiff seeks all legal and equitable relief as allowed by law, other than such

damages disavowed herein, including, inter alia, injunctive relief, restitution, disgorgement of

profits, compensatory and punitive damages, and all damages allowed by law to be paid by the

Defendants, attorneys’ fees and costs, and pre- and post-judgment interest.

                                   COUNT VIII
                   FRAUD AND FRAUDULENT MISREPRESENTATION
                              (Against All Defendants)

        891. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

        892. In Wisconsin, the tort of fraud or intentional misrepresentation has five elements:

(1) the defendant must have made a representation of fact to the plaintiff; (2) the representation

of fact must be false; (3) the plaintiff must have believed and relied on the misrepresentation to

his detriment or damage; (4) the defendant must have made the misrepresentation with

knowledge that it was false or recklessly without caring whether it was true or false; and (5) the

defendant must have made the misrepresentation with intent to deceive and to induce the plaintiff


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to act on it to his detriment or damage.” Tietsworth v. Harley-Davidson, Inc., 2004 WI 32, ¶13,

270 Wis. 2d 146, 677 N.W.2d 233 (citing Ollerman v. O'Rourke Co., 94 Wis. 2d 17, 24-25, 288

N.W.2d 95 (1980)).

       893. Defendants violated their general duty not to actively deceive and have made

knowingly false statements. Further, Defendants have knowingly omitted and/or concealed

material information, thereby making its representations knowingly false. In so doing,

Defendants acted intentionally and/or unlawfully.

       894. As alleged herein, Defendants made false statements regarding their compliance

with state and federal law regarding their duties to prevent diversion, their duties to monitor,

report and halt suspicious orders, and/or concealed their noncompliance with these requirements.

       895. As alleged herein, the Manufacturer Defendants engaged in false representations

and concealments of material fact regarding the use of opioids to treat chronic, non-cancer pain.

       896. As alleged herein, the Defendants knowingly and/or intentionally made

representations that were false. Defendants had a duty to disclose material facts and concealed

them. These false representations and concealed facts were material to the conduct and actions at

issue. Defendants made these false representations and concealed facts with knowledge of the

falsity of their representations, and did so with the intent of misleading Plaintiff, Plaintiff’s

Community, the public, and persons on whom Plaintiff relied.

       897. These false representations and concealments were reasonably calculated to

deceive Plaintiff, Plaintiff’s Community, and the physicians who prescribed opioids for persons

in Plaintiff’s Community, were made with the intent to deceive, and did in fact deceive these

persons, Plaintiff, and Plaintiff’s Community.




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       898. Plaintiff, Plaintiff’s Community, and the physicians who prescribed opioids

reasonably relied on these false representations and concealments of material fact.

       899. Plaintiff justifiably relied on Defendants’ representations and/or concealments, both

directly and indirectly. Plaintiff’s injuries were proximately caused by this reliance.

       900. The injuries alleged by Plaintiff herein were sustained as a direct and proximate

cause of the Defendants’ fraudulent conduct.

       901. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

losses) resulting from Defendants’ fraudulent activity, including fraudulent misrepresentations

and fraudulent concealment.

       902. Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including, inter alia, injunctive relief, restitution, disgorgement of profits,

compensatory damages and punitive damages, and all damages allowed by law to be paid by the

Defendants, attorneys’ fees and costs, and pre- and post-judgment interest.

                                          COUNT IX
                                    UNJUST ENRICHMENT
                                    (Against All Defendants)

       903. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

       904. An action for unjust enrichment is based on the principle that one who has received

a benefit has a duty to make restitution when retaining such benefit would be unjust. JBCB, LLC

v. McKenna Berry Co., LLC, 2018 WI App 8, ¶ 92, 379 Wis. 2d 767, 909 N.W.2d 210. The

theory of unjust enrichment has the following elements: (1) a benefit is conferred upon

the defendant by the plaintiff; (2) an appreciation or knowledge by the defendant of that benefit;

and (3) it is inequitable for the defendant to accept or retain that benefit without payment of the

value. Id. (citing Puttkamer v. Minth, 83 Wis. 2d 686, 689, 266 N.W.2d 361 (1978)).


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        905. Defendants have unjustly retained a benefit to Plaintiff’s detriment, and the

Defendants’ retention of the benefit violates the fundamental principles of justice, equity, and

good conscience.

        906. As an expected and intended result of their conscious wrongdoing as set forth in

this Complaint, Defendants have profited and benefited from the increase in the distribution and

purchase of opioids within Plaintiff’s Community, including from opioids foreseeably and

deliberately diverted within and into Plaintiff’s Community.

        907. Unjust enrichment arises not only where an expenditure by one party adds to the

property of another, but also where the expenditure saves the other from expense or loss.

        908. Plaintiff has expended substantial amounts of money in an effort to remedy or

mitigate the societal harms caused by Defendants’ conduct.

        909. These expenditures include the provision of healthcare services and treatment

services to people who use opioids.

        910. These expenditures have helped sustain Defendants’ businesses.

        911. Plaintiff has conferred a benefit upon Defendants by paying for Defendants’

externalities: the cost of the harms caused by Defendants’ improper distribution practices.

        912. Defendants were aware of these obvious benefits, and their retention of the benefit

is unjust.

        913. Plaintiff has paid for the cost of Defendants’ externalities and Defendants have

benefited from those payments because they allowed them to continue providing customers with

a high volume of opioid products. The cost of Defendants’ wrongful conduct in selling and

distributing opioids includes, inter alia, increased healthcare services and addiction treatment for

opioid users. These costs are part of Defendants’ business, yet Defendants are not paying for




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them. Plaintiff does, and these costs are not part of the normal and expected costs of a local

government’s existence. By using Plaintiff to fund Defendants’ negative externalities (i.e., the

cost of the harms caused by their wrongful practices), Defendants knowingly saved on expenses,

thereby allowing them to sell and distribute more opioids, and make more money, than if they

had internalized the actual cost of their activities. Defendants have thereby received a benefit

unjustly financed by the Plaintiff.

          914. Because of their deceptive marketing of prescription opioids, Manufacturer

Defendants obtained enrichment they would not otherwise have obtained. Because of their

conscious failure to exercise due diligence in preventing diversion, Defendants obtained

enrichment they would not otherwise have obtained. The enrichment was without justification

and Plaintiff lacks a remedy provided by law.

          915. Defendants have unjustly retained benefits to the detriment of Plaintiff, and

Defendants’ retention of such benefits violates the fundamental principles of justice, equity, and

good conscience.

          916. Defendants’ misconduct alleged in this case is ongoing and persistent.

          917. Defendants’ misconduct alleged in this case does not concern a discrete event or

discrete emergency of the sort a political subdivision would reasonably expect to occur, and is

not part of the normal and expected costs of a local government’s existence. Plaintiff alleges

wrongful acts which are neither discrete nor of the sort a local government can reasonably

expect.

          918. Plaintiff has incurred expenditures for special programs over and above its ordinary

public services.




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        919. In addition, Plaintiff has made payments for opioid prescriptions, and Defendants

benefitted from those payments. Because of their deceptive promotion of opioids, Defendants

obtained enrichment they would not otherwise have obtained. The enrichment was without

justification and Plaintiff lacks a remedy provided by law.

        920. By reason of Defendants’ unlawful acts, Plaintiff has been damaged and continues

to be damaged, in a substantial amount to be determined at trial.

        921. Plaintiff seeks an order compelling Defendants to disgorge all unjust enrichment to

Plaintiff; and awarding such other, further, and different relief as this Honorable Court may deem

just.

                                     PUNITIVE DAMAGES

        922. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges as follows.

        923. The purposes of punitive damages are to punish and deter. See Reyes v. Greatway

Ins. Co., 220 Wis. 2d 285, 303, 582 N.W.2d 480, 487 (Ct. App. 1998), aff'd, 227 Wis. 2d 357,

597 N.W.2d 687 (1999) (internal citation omitted). Wis. Stat. § 895.043 states that, “[t[he

plaintiff may receive punitive damages if evidence is submitted showing that the defendant acted

maliciously toward the plaintiff or in an intentional disregard of the rights of the plaintiff.” See

Wis. Stat. § 895.043(3).

        924. By engaging in the above-described intentional and/or unlawful acts or practices,

Defendants acted maliciously towards Plaintiff and with an intentional disregard of the Plaintiff’s

rights. Defendants acted with a prolonged intentional disregard to the adverse consequences of

their actions and/or omissions. Defendants acted with a conscious disregard for the rights and

safety of others in a manner that had a great probability of causing substantial harm. Defendants




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acted toward the Plaintiff with malice and were grossly negligent in failing to perform the duties

and obligations imposed upon them under applicable federal and state statutes and common law.

       925. Defendants were selling and/or manufacturing dangerous drugs statutorily

categorized as posing a high potential for abuse and severe dependence. Thus, Defendants

knowingly traded in drugs that presented a high degree of danger if prescribed incorrectly or

diverted to other than legitimate medical, scientific or industrial channels. Because of the severe

level of danger posed by, and indeed visited upon the State and Plaintiff’s Community by, these

dangerous drugs, Defendants owed a high duty of care to ensure that these drugs were only used

for proper medical purposes. Defendants chose profit over prudence and the safety of the

community, and an award of punitive damages is appropriate as punishment and a deterrence.

Punitive damages should be awarded pursuant to the common law and Wis. Stat. § 895.043.

                                            RELIEF

       WHEREFORE, the Plaintiff respectfully prays that this Court grant the following relief:

       926. Entering Judgment in favor of the Plaintiff in a final order against each of the

Defendants;

       927. Enjoining the Defendants and their employees, officers, directors, agents,

successors, assignees, merged or acquired predecessors, parent or controlling entities,

subsidiaries, and all other persons acting in concert or participation with it, from engaging in

unfair or deceptive practices in violation of law and ordering temporary, preliminary or

permanent injunction;

       928. Order that Defendants compensate the Plaintiff for past and future costs to abate the

ongoing public nuisance caused by the opioid epidemic, including restitution;

       929. Order Defendants to fund an “abatement fund” for the purposes of abating the

opioid nuisance;


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       930. Awarding actual damages, treble damages, injunctive and equitable relief,

forfeiture as deemed proper by the Court, and attorneys’ fees and all costs and expenses of suit

pursuant to Plaintiff’s racketeering claims;

       931. Awarding the Plaintiff the damages caused by the opioid epidemic, including (A)

costs for providing medical care, additional therapeutic and prescription drug purchases, and

other treatments for patients suffering from opioid-related addiction or disease, including

overdoses and deaths; (B) costs for providing treatment, counseling, and rehabilitation services;

(C) costs for providing services to infants born with opioid-related medical conditions; (D) costs

for providing care for children whose parents suffer from opioid-related disability or

incapacitation; and (E) costs associated with law enforcement and public safety relating to the

opioid epidemic.

       932. Enter a judgment against the Defendants requiring Defendants to pay punitive

damages;

       933. Granting the Plaintiff

           1. The cost of investigation, reasonable attorneys’ fees, and all costs and expenses;

           2. Pre-judgment and post-judgment interest; and,

           3. All other relief as provided by law and/or as the Court deems appropriate and just.

Dated: August 1, 2018                           Respectfully Submitted,

                                                WALWORTH COUNTY, WISCONSIN,
                                                Plaintiff

                                    By: /s/K. Scott Wagner
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